6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-3   Page 1 of 94
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-3   Page 2 of 94
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-3   Page 3 of 94
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-3   Page 4 of 94
      6:08-cv-03760-GRA     Date Filed 09/25/09   Entry Number 22-3   Page 5 of 94


John Howard Alexander                                                 July 27, 2009

                                                                                     Page 1
             IN THE UNITED STATES DISTRICT COURT
                 DISTRICT OF SOUTH CAROLINA
                    C.A. NO. 6:08-CV-3760



   UNITED STATES OF AMERICA,

        PLAINTIFF,

           VERSUS

   JOHN HOWARD ALEXANDER,

         DEFENDANT.



                 DEPOSITION OF JOHN HOWARD ALEXANDER

        PURSUANT TO NOTICE AND/OR AGREEMENT, THE

   DEPOSITION OF JOHN HOWARD ALEXANDER WAS CALLED BY THE

   PLAINTIFF ON THE 27TH DAY OF JULY, 2009, COMMENCING AT

   THE HOUR OF 12:54 P.M., AT THE OFFICE OF THE UNITED

   STATES ATTORNEY, 105 NORTH SPRING STREET, GREENVILLE,

   SOUTH CAROLINA, ATTENDED BY COUNSEL AS FOLLOWS:



                      JILL BISHOP EDWARDS

                       VERBATIM REPORTER




                                                                       4898d016-a8b8-4355-9859-eeb63c142382
                 6:08-cv-03760-GRA                    Date Filed 09/25/09     Entry Number 22-3               Page 6 of 94


John Howard Alexander                                                                                         July 27, 2009
                                                              Page 2                                                             Page 4
 1                                                                     1     PLAINTIFF'S EXHIBIT NUMBER 16, MARKED,
                                                                             YOUR PRIVACY AND ASSET ACCUMULATION GUIDE,
 2                                                                     2     ATTACHED.................................. 77
 3                                                                     3     PLAINTIFF'S EXHIBIT NUMBER 17, MARKED,
                                                                             DOCUMENT, ATTACHED........................ 81
 4                                                                     4
 5                                                                           PLAINTIFF'S EXHIBIT NUMBER 18, MARKED,
                                                                       5     MANAGEMENT TRUSTS, ATTACHED............... 82
 6                       APPEARANCES                                   6     PLAINTIFF'S EXHIBIT NUMBER 19, MARKED,
 7                                                                           HOLDING TRUSTS, ATTACHED.................. 82
 8                                                                     7
                                                                             PLAINTIFF'S EXHIBIT NUMBER 20, MARKED,
 9                                                                     8     BANKING TRUSTS, ATTACHED.................. 82
10         JAMES C. STRONG, ESQUIRE, OF THE                            9     PLAINTIFF'S EXHIBIT NUMBER 21, MARKED,
                                                                             OFFSHORE TRUSTS, ATTACHED................. 82
11         UNITED STATES DEPARTMENT OF JUSTICE                         10
12         POST OFFICE BOX 7238                                              PLAINTIFF'S EXHIBIT NUMBER 22, MARKED,
                                                                       11    PURE TRUST INFORMATION, ATTACHED.......... 84
13         BEN FRANKLIN STATION                                        12    PLAINTIFF'S EXHIBIT NUMBER 23, MARKED,
14         WASHINGTON, DISTRICT OF COLUMBIA 20044                            NEWSLETTER, ATTACHED...................... 89
                                                                       13
15         james.c.strong@usdoj.gov                                          PLAINTIFF'S EXHIBIT NUMBER 24, MARKED,
16                                                                     14    NEWSLETTER, ATTACHED...................... 90
17             ATTORNEY FOR THE PLAINTIFF,                             15    PLAINTIFF'S EXHIBIT NUMBER 25, MARKED,
                                                                             NEWSLETTER, ATTACHED...................... 91
18                                                                     16
19                                                                         PLAINTIFF'S EXHIBIT NUMBER 26, MARKED,
                                                                       17  CHECKS AND BANK STATEMENTS, ATTACHED...... 93
20         BRADLEY BENNETT, ESQUIRE, OF THE FIRM                       18
21         SALVINI AND BENNETT                                         19 OBJECTIONS:
                                                                       20  BY MR. BENNETT......................76,101,101
22         101 WEST PARK STREET                                        21
23         GREENVILLE, SOUTH CAROLINA 29601                            22
24                                                                     23
                                                                       24
25             ATTORNEY FOR THE DEFENDANT.                             25

                                                              Page 3                                                             Page 5
1              INDEX                                                   1        PURSUANT TO NOTICE AND/OR AGREEMENT TO TAKE
2
                            PAGE                                       2      DEPOSITIONS, THE WITHIN VIDEOTAPED DEPOSITION WAS
3
     NON-WAIVER AND STIPULATIONS............... 5                      3      TAKEN BY THE ABOVE-NAMED COURT REPORTER, A NOTARY
4
     EXAMINATION BY MR. STRONG................. 5                      4      PUBLIC FOR THE STATE OF SOUTH CAROLINA, BY CONSENT
5
     CERTIFICATE OF NOTARY PUBLIC.............. 105                    5      OF ALL PARTIES AT THE OFFICE OF THE UNITED STATES
6
7  EXHIBITS:
                                                                       6      ATTORNEY, GREENVILLE, SOUTH CAROLINA.
    PLAINTIFF'S EXHIBIT NUMBER THREE, MARKED,                          7          ****     ****    ****
 8  MORTGAGE, ATTACHED........................ 11
 9  PLAINTIFF'S EXHIBIT NUMBER FOUR, MARKED,                           8    STIPULATIONS:
    MORTGAGE, ATTACHED........................ 14
10                                                                     9      IT IS AGREED BY AND BETWEEN COUNSEL FOR THE PARTIES
    PLAINTIFF'S EXHIBIT NUMBER FIVE, MARKED,
11  APPRAISAL, ATTACHED....................... 16                      10 AS FOLLOWS:
12  PLAINTIFF'S EXHIBIT NUMBER SIX, MARKED,
    LETTER, ATTACHED.......................... 17                      11     1. THE DEPOSITION IS BEING TAKEN PURSUANT TO THE
13
    PLAINTIFF'S EXHIBIT NUMBER SEVEN, MARKED,
                                                                       12       FEDERAL RULES OF CIVIL PROCEDURE.
14  CHECKS AND BANK STATEMENTS, ATTACHED...... 21                      13     2. THE READING AND SIGNING OF THE DEPOSITION
15  PLAINTIFF'S EXHIBIT NUMBER EIGHT, MARKED,
    FREEDOM FILES, ATTACHED................... 36                      14       TRANSCRIPT ARE RESERVED BY THE WITNESS AND THE
16
    PLAINTIFF'S EXHIBIT NUMBER NINE, MARKED,                           15       PARTIES.
17  NEWSLETTER, ATTACHED...................... 48
18  PLAINTIFF'S EXHIBIT NUMBER TEN, MARKED,                            16         ****     ****    ****
    DO YOU OWN YOUR LAND?, ATTACHED........... 59
19                                                                     17     THE WITNESS WAS DULY SWORN TO TELL THE TRUTH, THE
    PLAINTIFF'S EXHIBIT NUMBER 11, MARKED,
20  STEPS TO SECURE A LAND PATENT CLAIM,
                                                                       18 WHOLE TRUTH AND NOTHING BUT THE TRUTH CONCERNING THE
    ATTACHED.................................. 61                      19 MATTER HEREIN:
21
    PLAINTIFF'S EXHIBIT NUMBER 12, MARKED,                             20         ****     ****    ****
22  LAND PATENTS, EJECTMENTS AND ESTOPPEL,
    ATTACHED.................................. 65                      21           JOHN HOWARD ALEXANDER,
23
    PLAINTIFF'S EXHIBIT NUMBER 13, MARKED,                             22 BEING FIRST DULY SWORN, TESTIFIED ON HIS OATH AS
24  GETTING STARTED, ATTACHED................. 67
25  PLAINTIFF'S EXHIBIT NUMBER 14, MARKED,                             23 FOLLOWS:EXAMINATION BY MR. STRONG:
    FORMS AND TEMPLATES, ATTACHED............. 67
26
                                                                       24 Q. GOOD MORNING, MR. ALEXANDER.
    PLAINTIFF'S EXHIBIT NUMBER 15, MARKED,                             25 A. GOOD MORNING. GOOD AFTERNOON.
27  BENEFITS OF A PURE TRUST, ATTACHED........ 74


                                                                                                              2 (Pages 2 to 5)

                                                                                                                4898d016-a8b8-4355-9859-eeb63c142382
              6:08-cv-03760-GRA             Date Filed 09/25/09         Entry Number 22-3          Page 7 of 94


John Howard Alexander                                                                              July 27, 2009
                                                        Page 6                                                        Page 8
1 Q. GOOD AFTERNOON. I APOLOGIZE. WE'RE HERE TODAY ON            1      GREENVILLE?
2      NOTICE TO TAKE THE DEPOSITION, TO TAKE YOUR               2 A. WHEN?
3      DEPOSITION TODAY IN THE CASE STYLED U.S.A. VERSUS         3 Q. WELL, LET'S START WITH THE PRESENT. WHERE DO YOU
4      ALEXANDER IN THE U.S. DISTRICT COURT FOR THE              4      LIVE NOW?
5      DISTRICT OF SOUTH CAROLINA. IN THE ROOM TODAY, WE         5 A. AT 6350 WHITE HORSE ROAD.
6      HAVE YOUR ATTORNEY, MR. BENNETT; YOURSELF; THE COURT 6 Q. WHEN DID YOU MOVE TO 6350 WHITE HORSE ROAD?
7      REPORTER; AND ME, JAMES STRONG. HAVE YOU EVER HAD         7 A. I THINK IT WAS LATE 1994.
8      YOUR DEPOSITION TAKEN BEFORE, MR. ALEXANDER?              8 Q. DID YOU RENT THE PROPERTY, PURCHASE THE PROPERTY,
9 A. NO.                                                         9      THE 6350 WHITE HORSE ROAD?
10 Q. OKAY. WELL, LET ME EXPLAIN A LITTLE BIT ABOUT              10 A. MY MOTHER PURCHASED THE PROPERTY.
11     WHAT'S GOING TO HAPPEN. I'M GOING TO ASK YOU SOME         11 Q. OKAY. BEFORE 1994, WHERE WERE YOU LIVING?
12     QUESTIONS AND YOU'LL ANSWER. IF AT ANY TIME I'M NOT       12 A. I HAD AN APARTMENT IN CALIFORNIA.
13     MAKING MYSELF CLEAR OR IF YOU'RE CONFUSED BY WHAT I       13 Q. AND IN '91, '92, WHEN YOU WERE HERE IN GREENVILLE?
14     SAY, OR YOU KNOW, IF YOU NEED ME TO EXPLAIN               14 A. I HAD AN APARTMENT IN GREENVILLE.
15     SOMETHING, PLEASE ASK ME TO CLARIFY. DO YOU               15 Q. I'D LIKE TO ASK YOU A LITTLE BIT ABOUT 6350 WHITE
16     UNDERSTAND?                                               16     HORSE ROAD. YOU SAID YOUR MOTHER PURCHASED THE
17 A. YES.                                                       17     PROPERTY. WHEN WAS THAT?
18 Q. IF YOU NEED AT ANY TIME TO TAKE A BREAK OR YOU NEED        18 A. IT WAS, I THINK, IN '94.
19     TO USE THE REST ROOM, YOU KNOW, OR GET A GLASS OF         19 Q. AND YOU MOVED IN -- BUT YOU MOVED INTO THE HOUSE?
20     WATER, JUST LET ME KNOW. DO YOU UNDERSTAND?               20 A. RIGHT.
21 A. OKAY.                                                      21 Q. DID YOUR MOM MOVE IN WITH YOU?
22 Q. ALSO, REMEMBER TO GIVE YOUR ANSWERS OUT VERBALLY.          22 A. NO, MY MOM HAD A HOUSE, HER OWN HOUSE.
23     THE COURT REPORTER CAN'T UNDERSTAND HEAD SHAKES AND 23 Q. AND WHEN YOU SAY SHE PURCHASED THE HOUSE, WHAT DO
24     HEAD NODS AND SO FORTH. SO, WE'VE GOT TO REMEMBER         24     YOU MEAN BY THAT?
25     TO SAY YES AND NO.                                        25 A. SHE BOUGHT THE HOUSE.

                                                        Page 7                                                        Page 9
1    A. OKAY.                                                    1    Q. DID SHE BUY THE HOUSE IN FULL OR DID SHE TAKE OUT A
2    Q. OKAY. MR. ALEXANDER, WHEN DID YOU FIRST MOVE TO          2      MORTGAGE?
3      SOUTH CAROLINA?                                           3    A. SHE BOUGHT THE HOUSE FROM A GENTLEMAN THAT HAD A
4    A. I THINK IT WAS IN '91 OR '92, SOMETHING LIKE THAT.       4      MORTGAGE ON IT, AND SHE JUST PAID HIM A CERTAIN
5    Q. AND HAVE YOU ALWAYS LIVED IN GREENVILLE SINCE YOU        5      AMOUNT OF MONEY AND TOOK OVER THE MORTGAGE.
6      MOVED TO SOUTH CAROLINA?                                  6    Q. OKAY. AND THEN, WHO PAID THE MORTGAGE FROM THERE
7    A. NO.                                                      7      ON?
8    Q. WHERE ELSE HAVE YOU LIVED?                               8    A. IF I HAD THE MONEY TO GIVE TO MY MOTHER TO PAY, I
9    A. I WENT BACK TO CALIFORNIA FOR A YEAR.                    9      WOULD, OR SHE WOULD PAY IT. ONE OR THE OTHER.
10 Q    WHEN WAS THAT?                                           10 Q. SO, YOU MADE SOME MORTGAGE PAYMENTS DURING THIS
11 A. IT WAS EITHER '92 OR '93. IT'S ---                         11     TIME?
12 Q. OKAY. WELL, WHY DON'T WE JUST START AND LET'S MAYBE 12 A. WELL, I PAID HER. SHE PRETTY MUCH TOOK CARE OF THE
13     WORK OUR WAY FORWARD AND TRY TO SET UP A TIMELINE         13     MORTGAGE.
14     HERE. IN '91, YOU MOVED TO SOUTH CAROLINA?                14 Q. BUT SOME OF THE FUNDS THAT ARE BEING USED TO PAY THE
15 A. '91 OR '92. I'M NOT SURE EXACTLY WHAT THE TIME WAS.        15     MORTGAGE WERE BEING SUPPLIED BY YOU DURING THIS
16 Q. AND YOU MOVED TO GREENVILLE?                               16     TIME?
17 A. TO GREENVILLE, YES.                                        17 A. SOMETIMES. IF I HAD IT.
18 Q. OKAY. AND THEN, IN '92 OR '93, YOU MOVED BACK TO           18 Q. OKAY. DOES YOUR MOTHER STILL OWN THE PROPERTY?
19     CALIFORNIA FOR A SPELL?                                   19 A. NO.
20 A. ONE YEAR.                                                  20 Q. WHO OWNS IT?
21 Q. AND THEN, AFTER THAT YEAR, WHERE DID YOU MOVE THEN? 21 A. IT'S OWNED BY THE ALEXANDER FAMILY TRUST.
22 A. BACK TO GREENVILLE.                                        22 Q. AND WHAT IS THE ALEXANDER FAMILY TRUST?
23 Q. AND HAVE YOU BEEN IN GREENVILLE SINCE THEN?                23 A. IT'S A FAMILY TRUST THAT WAS ESTABLISHED WITH MY
24 A. YES.                                                       24     MOTHER AS THE SETTLER AND ESTABLISHED WITH ME AS THE
25 Q. WHERE HAVE YOU -- WHERE HAVE YOU LIVED IN                  25     TRUSTEE TO TAKE CARE OF THE ASSETS IN THE TRUST.


                                                                                                   3 (Pages 6 to 9)

                                                                                                     4898d016-a8b8-4355-9859-eeb63c142382
               6:08-cv-03760-GRA          Date Filed 09/25/09      Entry Number 22-3            Page 8 of 94


John Howard Alexander                                                                           July 27, 2009
                                                    Page 10                                                      Page 12
1    Q. AND WHEN WAS THIS ESTABLISHED?                        1 Q. AND PLEASE LET THE RECORD REFLECT I'M ALSO HANDING A
2    A. THERE'S TOO MANY NUMBERS HERE. APPROXIMATELY 2002     2    COPY TO MR. BENNETT.
3      OR 2001, SOMEWHERE IN THERE.                           3 BY MR. BENNETT:
4    Q. AND WHO CREATED IT?                                   4       THANK YOU.
5    A. WHO CREATED ---                                       5 EXAMINATION RESUMED BY MR. STRONG:
6    Q. WHO DRAFTED THE PAPERS?                               6 Q. TAKE A MOMENT AND REVIEW THAT DOCUMENT, AND WHEN
7    A. MY THEN WIFE HEATHER.                                 7    YOU'RE READY, LET ME KNOW.
8    Q. AND WHERE -- ARE THERE ANY TRUST DOCUMENTS EXISTING 8 A. IS THIS FOR ME TO KEEP?
9      TO THIS DAY, SHOWING THE ESTABLISHMENT OF THE TRUST?   9 Q. IT WILL BE GIVEN BACK TO THE COURT REPORTER.
10 A. YES.                                                    10 A. OH.
11 Q. AND WHO HAS THOSE?                                      11 Q. BUT YOUR ATTORNEY HAS A COPY NOW.
12 A. I HAVE THE ORIGINAL COPY.                               12 A. OH, OKAY.
13 Q. I'M SORRY.                                              13 Q. DO YOU RECOGNIZE THIS DOCUMENT?
14 BY MR. BENNETT:                                            14 A. YES.
15       WE'LL GET IT TO YOU.                                 15 Q. WHAT IS IT?
16 BY MR. STRONG:                                             16 A. IT'S A MORTGAGE.
17       OKAY.                                                17 Q. FROM WHOM TO WHOM?
18 EXAMINATION RESUMED BY MR. STRONG:                         18 A. I DON'T KNOW WHICH WAY IT TURNS, BUT IT SHOWS THAT
19 Q. I HAVEN'T SEEN IT. THAT'S WHY I'M ASKING. DID YOU       19   THE MORTGAGE IS IN FAVOR OF ME.
20     GET ANY HELP IN CREATING THE TRUST, OTHER THAN FROM    20 Q. OKAY. SO, HELP ME UNDERSTAND WHAT -- AND I'M SORRY.
21     HEATHER?                                               21   THIS IS FROM 2003. IS THAT CORRECT?
22 A. HOW DO YOU MEAN THAT?                                   22 A. YES.
23 Q. DID A LAWYER REVIEW IT?                                 23 Q. OKAY. SO, BACK IN 2003, YOUR MOTHER TOOK OUT A
24 A. NO, IT WAS A PRIVATE PARTY CONTRACT. MY MOTHER --       24   MORTGAGE ON THE PROPERTY TO YOU?
25     MY MOTHER REVIEWED IT. I REVIEWED IT. HEATHER          25 A. SHE DIDN'T TAKE OUT A MORTGAGE. SHE AGREED TO ALLOW

                                                    Page 11                                                      Page 13
1      REVIEWED IT.                                           1    ME TO PUT THE MORTGAGE ON IT.
2    Q. IS IT SIMILAR TO THE TRUSTS THAT YOU ARE SELLING      2 Q. OKAY. BUT SO, FROM THAT TIME FORWARD, SHE WAS
3      THROUGH THE FREEDOM TRUST GROUP?                       3    PAYING YOU A MONTHLY MORTGAGE ON THE PROPERTY?
4    A. IT WAS TAKEN OFF THE TEMPLATE, YES.                   4 A. NO.
5    Q. OKAY. WHY DID YOU CREATE THE ALEXANDER FAMILY         5 Q. MAYBE I'M CONFUSED. SO, YOU ALLOWED HER -- SHE
6      TRUST?                                                 6    ALLOWED YOU TO PUT A MORTGAGE ON THE PROPERTY, OR
7    A. IT WAS MY MOTHER'S AND MY IDEA. WE MUTUALLY CAME TO 7      SHE TOOK OUT A MORTGAGE ON THE PROPERTY, BUT SHE
8      AGREEMENT THAT THAT NEEDED TO BE DONE.                 8    WASN'T MAKING ANY PAYMENTS TO YOU?
9    Q. WHY?                                                  9 A. THAT'S CORRECT.
10 A. I CAN'T SAY THE EXACT REASONS WHY. I DON'T RECALL.      10 Q. OKAY. WHY DID YOU -- WHY DID SHE TAKE OUT A -- WHY
11     SHE WAS LOOKING FOR PROTECTION.                        11   DID YOU TAKE OUT A MORTGAGE ON THE -- OR WHY DID SHE
12 Q. PROTECTION FROM WHAT?                                   12   TAKE OUT A MORTGAGE ON THE PROPERTY?
13 A. SHE WAS GETTING OLD.                                    13 A. IT'S NOT THAT SHE TOOK OUT A MORTGAGE ON THE
14 Q. AND WHY DO YOU KEEP IT IN THE, THE PROPERTY IN THE      14   PROPERTY. TO BEST ANSWER YOUR QUESTION, HEATHER HAD
15     TITLE OF THE ALEXANDER FAMILY TRUST?                   15   TABULATED HOW MUCH IMPROVEMENTS WE HAD DONE ON THE
16 A. BECAUSE THAT WAS MY MOTHER'S WISHES.                    16   PROPERTY AND WAS CONCERNED THAT IT WAS SECURED
17 Q. SHE'S PASSED AWAY. IS THAT CORRECT?                     17   SOMEHOW. AND I AGREED. MY MOTHER AGREED, AND THIS
18 A. YES.                                                    18   IS A RESULT OF IT.
19 Q. WHEN WAS THAT, ABOUT?                                   19 Q. OKAY. SO, WHAT DID YOU AND YOUR MOTHER INTEND TO DO
20 A. THAT WAS SEPTEMBER 7, 2006.                             20   WITH THE MORTGAGE, THEN, IF SHE WASN'T GOING TO MAKE
21 Q. I'M GOING TO HAND YOU WHAT I WILL ASK THE COURT         21   PAYMENTS ON IT?
22     REPORTER TO MARK AS PLAINTIFF'S EXHIBIT THREE.         22 A. THERE WAS NO INTENT.
23 (COURT REPORTER MARKS PLAINTIFF'S EXHIBIT NUMBER THREE,    23 Q. SO, YOU WERE JUST IN THE BUSINESS OF PUTTING OUT A
24 MORTGAGE, ATTACHED.)                                       24   DOCUMENT OUT THERE WITHOUT AN INTENT TO DO SO?
25 EXAMINATION RESUMED BY MR. STRONG:                         25 A. NO, IT WAS TO -- FROM HEATHER'S STANDPOINT, IT WAS


                                                                                            4 (Pages 10 to 13)

                                                                                                 4898d016-a8b8-4355-9859-eeb63c142382
                6:08-cv-03760-GRA            Date Filed 09/25/09          Entry Number 22-3            Page 9 of 94


John Howard Alexander                                                                                  July 27, 2009
                                                           Page 14                                                        Page 16
1      TO PROTECT WHAT SHE FELT WAS WHAT WE HAD IMPROVED 1 A. YES.
2      THE PROPERTY ON FOR THE TIME THAT WE WERE THERE.              2 Q. ABOUT WHEN?
3    Q. YOU'RE STILL THERE, IF I'M NOT MISTAKEN, CORRECT?            3 A. I CAN'T SAY FOR SURE WHAT THE DATE WAS. I'M NOT
4    A. YEAH. THAT'S CORRECT.                                        4    EVEN SURE WHAT THE YEAR WAS. SOMEWHERE AFTER THE
5    Q. WHAT KIND OF IMPROVEMENTS DID YOU MAKE ON THE                5    TURN OF THE MILLENNIUM.
6      PROPERTY?                                                     6 Q. LET ME SHOW YOU NUMBER FIVE, AND MR. BENNETT IS ALSO
7    A. FENCES, POOL, DECK, PAINT, WALLPAPER, I DON'T KNOW.          7    GETTING A COPY OF THIS.
8      HEATHER HAD A LONG LIST OF WHATEVER IT WAS THAT SHE 8 (COURT REPORTER MARKS PLAINTIFF'S EXHIBIT NUMBER FIVE,
9      PRESENTED TO ME.                                              9 APPRAISAL, ATTACHED.)
10 Q. I'LL HAND YOU WHAT I'M GOING TO MARK AS PLAINTIFF'S            10 EXAMINATION RESUMED BY MR. STRONG:
11     EXHIBIT FOUR.                                                 11 Q. DO YOU RECOGNIZE THIS DOCUMENT?
12 (COURT REPORTER MARKS PLAINTIFF'S EXHIBIT NUMBER FOUR, 12 A. I'VE SEEN IT, YES.
13 MORTGAGE, ATTACHED.)                                              13 Q. AND WHAT IS THIS DOCUMENT?
14 EXAMINATION RESUMED BY MR. STRONG:                                14 A. I CAN'T BE SURE, BECAUSE IT HAS 108 ENCHANTED CIRCLE
15 Q. DID -- WELL, I'LL GIVE YOU A MINUTE AND WHEN YOU'RE            15   ON HERE.
16     READY, LET ME KNOW.                                           16 Q. WHAT IS 108 ENCHANTED CIRCLE?
17 A. WHAT'S THE DATE ON THIS? OKAY.                                 17 A. THAT WAS MY, WHERE MY MOTHER LIVED.
18 Q. IS THAT YOUR SIGNATURE IN THE MIDDLE OF THE PAGE OF 18 Q. THE FAX, THE BEGINNING FAX SHEET IS DATED IN 2001.
19     PAGE ONE?                                                     19   DOES THIS HELP YOUR MEMORY AS TO WHEN THE DEPARTMENT
20 A. MY ACTUAL SIGNATURE? NO, IT'S A COPY OF MY                     20   OF TRANSPORTATION HAD AN INTEREST IN THE PROPERTY?
21     SIGNATURE.                                                    21 A. IF THAT'S WHEN IT WAS, THAT'S WHEN IT WAS. I'M A
22 Q. AND IS IT DATED JULY 27, 2006?                                 22   LITTLE -- WAIT A MINUTE. I DON'T KNOW IF THIS IS AN
23 A. UH-HUH.                                                        23   APPRAISAL OR NOT OF MY MOTHER'S HOUSE ON ENCHANTED
24 Q. OKAY.                                                          24   CIRCLE OR THE ONE ON WHITE HORSE ROAD. I'M NOT SURE
25 A. ISN'T TODAY -- YES.                                            25   WHAT THIS IS. OKAY.

                                                           Page 15                                                        Page 17
1    Q. IS THIS YOUR HANDWRITING WHERE IT SAID PAID THIS             1 Q. DID YOU EVER MEET WITH ANY OF THE REPRESENTATIVES
2      JULY 27, 2006?                                                2     FROM THE DEPARTMENT OF TRANSPORTATION?
3    A. YEAH, IT'S A RELEASE.                                        3 A. I MET WITH THEM AND MY MOTHER, BOTH.
4    Q. OKAY.                                                        4 Q. FOR WHAT PURPOSE?
5    A. I DON'T REMEMBER EVEN DOING THIS, BUT IT MAKES               5 A. TO NEGOTIATE LAND THAT THEY WANTED TO TAKE. IT WAS
6      SENSE.                                                        6     NO NEGOTIATION. IT WAS PRETTY CUT AND DRY.
7    Q. OKAY. SO, WHAT DOES THIS DOCUMENT SIGNIFY TO YOU?            7 Q. BUT YOU WERE INVOLVED IN THESE NEGOTIATIONS?
8    A. THAT THE MORTGAGE IS BEING RELEASED.                         8 A. I WAS THERE TO HELP MY MOTHER.
9    Q. SO, AFTER THREE YEARS, THE MORTGAGE WAS RELEASED.            9 Q. I'LL HAND THESE COPIES TO YOU.
10     WHAT CHANGED THAT CAUSED IT TO BE RELEASED?                   10 A. DOES SHE NEED TO ---
11 A. DIDN'T SEE THE NEED FOR IT.                                    11 Q. SHE NEEDS TO, YEAH, MARK EXHIBIT SIX.
12 Q. WELL, OKAY. YOU SAW THE -- SOMEBODY SAW THE NEED               12 (COURT REPORTER MARKS PLAINTIFF'S EXHIBIT NUMBER SIX,
13     FOR IT IN 2003. YOU DIDN'T SEE THE NEED FOR IT IN             13 LETTER, ATTACHED.)
14     2006. WHAT CHANGED?                                           14 EXAMINATION RESUMED BY MR. STRONG:
15 A. JUST CHANGE OF MIND, CHANGE OF HEART.                          15 Q. THIS IS PLAINTIFF'S EXHIBIT SIX. I'VE ALSO PROVIDED
16 Q. BUT NO SIGNIFICANT EVENT CAUSED YOU TO RELEASE THE             16    A COPY TO MR. BENNETT. DO YOU RECALL RECEIVING THIS
17     ---                                                           17    LETTER?
18 A. NO, THE DATE DOESN'T MEAN ANYTHING. JUST                       18 A. NO.
19     COINCIDENTALLY, IT'S TODAY'S DATE.                            19 Q. BUT IT IS ADDRESSED TO YOU?
20 Q. WHAT CAUSED YOU TO RELEASE THE MORTGAGE ON THE                 20 A. NO.
21     PROPERTY?                                                     21 Q. IT'S NOT ADDRESSED IN CARE OF YOU AT 2435 NORTH
22 A. UH-UH.                                                         22    STREET?
23 Q. DID THE SOUTH CAROLINA DEPARTMENT OF TRANSPORTATION 23 A. IT'S ADDRESSED TO MIRIAM GETZ, 108 ENCHANTED CIRCLE,
24     EVER TAKE AN INTEREST IN THE PROPERTY, IN 6350 WHITE          24    CARE OF JOHN HOWARD ALEXANDER AT 2435 EAST NORTH
25     HORSE ROAD?                                                   25    STREET.


                                                                                                    5 (Pages 14 to 17)

                                                                                                         4898d016-a8b8-4355-9859-eeb63c142382
              6:08-cv-03760-GRA           Date Filed 09/25/09            Entry Number 22-3             Page 10 of 94


John Howard Alexander                                                                                   July 27, 2009
                                                         Page 18                                                         Page 20
1    Q. OKAY. THIS IS A LETTER FROM CRIDER AND ASSOCIATES          1      WHAT I'M MOST KNOWN FOR IS TALKING ABOUT THE
2      REGARDING THE VALUE OF THE PROPERTY ON YOUR HOUSE?          2      ECONOMY.
3    A. UH-HUH.                                                    3    Q. AND WHAT WOULD YOU TELL THEM? I MEAN, WHAT SERVICES
4    Q. SO, YOU WERE AT LEAST, AT LEAST THEY ADDRESSED             4      ARE YOU PROVIDING IN WHICH THEY ARE GIVING YOU MONEY
5      LETTERS TO YOU AS WELL AS YOUR MOTHER CONCERNING THE 5             FOR?
6      VALUE OF THE PROPERTY OF THIS HOUSE?                        6    A. GIVING THEM INFORMATION.
7    A. APPARENTLY SO.                                             7    Q. INFORMATION ABOUT WHAT?
8    Q. OKAY. AND YOU WERE LIVING AT 6350 WHITE HORSE ROAD         8    A. THE ECONOMY, MONEY, HISTORY.
9      DURING THIS TIME?                                           9    Q. WELL, WHAT ABOUT THE ECONOMY?
10 A. AT THE TIME, YES.                                            10 A. CAN YOU BE MORE SPECIFIC?
11 Q. DURING THIS TIME, LET'S SAY FROM WHEN THE HOUSE WAS          11 Q. UNFORTUNATELY, NO. I MEAN, YOU'RE TELLING ME YOU'RE
12     PURCHASED IN 1994 UNTIL YOUR MOTHER'S PASSING AWAY,         12     TALKING TO THEM ABOUT THE ECONOMY. WHAT TOPICS
13     WHO PAID THE UTILITIES ON THE PROPERTY?                     13     ABOUT THE ECONOMY ARE YOU TALKING TO THEM ABOUT?
14 A. I PAID FOR MOST OF THE UTILITIES.                            14 A. THE GENERAL CONDITION OF THE ECONOMY.
15 Q. THE POWER BILL?                                              15 Q. AND WHAT IS THE GENERAL CONDITION OF THE ECONOMY? I
16 A. YES.                                                         16     MEAN, WHAT SPECIFICALLY ARE YOU TALKING TO THEM
17 Q. WATER BILL?                                                  17     ABOUT?
18 A. YES.                                                         18 A. YOU MEAN LIKE NOW?
19 Q. PHONE BILL?                                                  19 Q. SURE.
20 A. WHEN THERE WAS A PHONE.                                      20 A. THE ECONOMY'S IN VERY BAD SHAPE.
21 Q. PROPERTY TAXES?                                              21 Q. OKAY. BETWEEN 2000 AND 2005, WERE YOU ALSO TALKING
22 A. SOMETIMES.                                                   22     TO PEOPLE IN EXCHANGE FOR MONEY?
23 Q. DID YOU PAY THE PROPERTY TAXES -- AFTER YOUR                 23 A. I'VE BEEN WARNING PEOPLE FOR A LONG TIME ABOUT THE
24     MOTHER'S PASSING AWAY, DO YOU PAY THE PROPERTY TAXES        24     ECONOMY, THAT WE WOULD GET WHERE WE ARE NOW.
25     NOW?                                                        25 Q. OKAY. THE ADDRESS THAT'S ON THERE, THIS 2435 EAST

                                                         Page 19                                                         Page 21
1    A. IF I NEED TO, YES.                                         1      NORTH STREET, WHAT TYPE OF ADDRESS IS THAT?
2    Q. WHAT DO YOU MEAN IF YOU NEED TO?                           2    A. IT'S A MAILBOXES, ET CETERA. A UPS STORE NOW. IT
3    A. IF THEY NEED TO BE PAID, THEY NEED TO BE PAID.             3      USED TO BE A MAILBOXES, ET CETERA.
4      EITHER I PAY OR I MAKE OTHER ARRANGEMENTS.                  4    Q. OKAY. OKAY. YOU OPERATED A GROUP CALLED THE
5    Q. WHAT OTHER ARRANGEMENTS MIGHT YOU MAKE?                    5      FREEDOM TRUST GROUP?
6    A. IF I CAN GET SOMEBODY ELSE TO PAY, IF I CAN GET YOU        6    A. FREEDOM TRUST GROUP WAS JUST A NAME OF A COMPANY
7      TO PAY, I WOULD BE HAPPY TO HAVE YOU PAY THAT.              7      THAT WE CREATED JUST TO SELL SOFTWARE. IT WASN'T AN
8    Q. HAVE YOU BEEN SUCCESSFUL IN GETTING SOMEBODY OTHER         8      OPERATION.
9      THAN YOURSELF TO PAY THE PROPERTY TAXES?                    9    Q. WHO CREATED IT?
10 A. NOT YET.                                                     10 A. HEATHER AND I.
11 Q. AND DO YOU PAY THE UTILITIES ON THAT, ON THE                 11 Q. WHAT WAS YOUR ROLE AT THE FREEDOM TRUST GROUP?
12     PROPERTY NOW?                                               12 A. MY ROLE WAS TO HELP PUT THE PROGRAM TOGETHER, AND
13 A. CORRECT.                                                     13     ONCE THE PROGRAM WAS PUT TOGETHER, TO SEE IF IT
14 Q. AND WHERE ARE THE -- WHERE DO YOU GET THE MONEY TO           14     COULD BE MARKETED AND MARKET IT.
15     PAY FOR THE PROPERTY TAXES AND THE UTILITIES?               15 Q. COULD YOU MARKET IT?
16 A. I HAD SOME.                                                  16 A. IT WAS MARKETED, NOT AS GOOD AS WE THOUGHT, BUT IT
17 Q. SOME WHAT?                                                   17     WAS MARKETED.
18 A. I HAD SOME MONEY.                                            18 Q. OKAY.
19 Q. AND WHERE DID -- HOW DID YOU GET THIS MONEY?                 19 BY MR. BENNETT:
20 A. IT'S HARD TO SAY.                                            20       CAN WE TAKE A QUICK BREAK TO GRAB SOME WATER?
21 Q. YOU DON'T KNOW WHERE YOU'RE GETTING YOUR MONEY?              21 BY MR. STRONG:
22 A. HOW DO I ANSWER? SOMETIMES I'LL TALK WITH PEOPLE IN          22       OKAY.
23     EXCHANGE FOR MY TIME, MY SERVICE.                           23      (OFF THE RECORD 1:21 P.M. - 1:23 P.M.)
24 Q. AND WHAT ARE YOU TALKING TO THESE PEOPLE ABOUT?              24 (COURT REPORTER MARKS PLAINTIFF'S EXHIBIT NUMBER SEVEN,
25 A. DEPENDS ON THE PEOPLE, WHAT THEY WANT TO TALK ABOUT. 25 CHECKS AND BANK STATEMENTS, ATTACHED.)


                                                                                                    6 (Pages 18 to 21)

                                                                                                         4898d016-a8b8-4355-9859-eeb63c142382
             6:08-cv-03760-GRA              Date Filed 09/25/09     Entry Number 22-3            Page 11 of 94


John Howard Alexander                                                                             July 27, 2009
                                                     Page 22                                                         Page 24
1    EXAMINATION RESUMED BY MR. STRONG:                        1 A. THAT'S A PHOTOCOPY OF MY SIGNATURE.
2    Q. I'LL HAND YOU NOW WHAT'S BEEN PREVIOUSLY MARKED AS     2 Q. OKAY. AND WHO IS IT MADE OUT TO?
3      PLAINTIFF'S EXHIBIT NUMBER SEVEN, WHICH I'VE ALSO       3 A. EXCEL TELECOMMUNICATIONS.
4      HANDED A COPY TO YOUR COUNSEL. WHY DON'T YOU TAKE A 4 Q. AND WHAT IS EXCEL TELECOMMUNICATIONS?
5      MINUTE AND LOOK THROUGH THIS? THIS IS A COLLECTION      5 A. THAT'S WHO WE HAD FOR TELEPHONE SERVICE.
6      OF CHECKS AND BANK STATEMENTS.                          6 Q. AND WHERE WOULD THIS TELEPHONE HAVE BEEN LOCATED?
7    BY MR. BENNETT:                                           7 A. EXCUSE ME?
8        CAN WE GO OFF THE RECORD FOR JUST ONE SECOND?         8 Q. WHERE WOULD THE TELEPHONE ACCOUNT HAVE BEEN? WHAT
9    BY MR. STRONG:                                            9     PROPERTY?
10       OKAY.                                                 10 A. THE TELEPHONE ACCOUNT?
11      (OFF THE RECORD 1:27 P.M. - 1:28 P.M.)                 11 Q. RIGHT.
12 EXAMINATION RESUMED BY MR. STRONG:                          12 A. YOU MEAN THE PHONE ITSELF, PHYSICALLY, OR THE PHONE
13 Q. OKAY. HAVE YOU HAD AN OPPORTUNITY TO REVIEW THIS         13    COMPANY?
14     PACKET OF MATERIALS I PUT IN FRONT OF YOU?              14 Q. WHAT WOULD BE THE ADDRESS AT THE -- WHERE WOULD THE
15 A. NOT COMPLETELY.                                          15    PHONE THAT, THE PHONE THAT WAS BEING PAID FOR HERE,
16 Q. I WILL POINT YOU OUT HERE. DID THE FREEDOM TRUST         16    WHERE WAS THAT PHONE?
17     GROUP HAVE A CHECKING ACCOUNT?                          17 A. THAT WAS AT 6350.
18 A. YES.                                                     18 Q. OKAY. AND ALONG THE SIDE HERE, THERE'S A SET OF
19 Q. AND YOU WERE A SIGNATORY TO THAT ACCOUNT?                19    DEPOSIT SLIPS ALL DATED IN FEBRUARY OF 2004. WHERE
20 A. YES.                                                     20    WOULD THE MONEY THAT WAS BEING DEPOSITED, WHERE
21 Q. SO, THIS SIGNATURE ON THE FIRST PAGE HERE, IS THAT       21    WOULD THAT HAVE COME FROM?
22     YOUR SIGNATURE?                                         22 A. NO IDEA. IT DOESN'T SAY.
23 A. THAT'S A PHOTOCOPY OF MY SIGNATURE.                      23 Q. DO YOU USE THE NOTATION M.O. TO MEAN MONEY ORDER?
24 Q. OKAY. AND THAT'S YOUR SOCIAL SECURITY NUMBER?            24    IF YOU LOOK AT THE BOTTOM ONE AND THE THIRD ONE
25 A. YES.                                                     25    DOWN?

                                                     Page 23                                                         Page 25
1 Q. OKAY. AND THAT'S YOUR DRIVER'S LICENSE NUMBER AT          1 A. YEAH.
2      THE TIME?                                               2 Q. AND THE SECOND ONE DOWN SAYS I.B.S. WHAT IS I.B.S.?
3 A. YES.                                                      3 A. I.B.S. IS A CORPORATION.
4 Q. IF YOU LOOK ON PAGE TWO, IT'S STATED THAT HEATHER         4 Q. WHAT DOES IT STAND FOR?
5      WAS REMOVED AS A SIGNER ON THIS ACCOUNT, AND THAT       5 A. I THINK IT'S INTERNATIONAL BUSINESS SYSTEM.
6      JOHN HOWARD ALEXANDER IS THE ONLY AUTHORIZED SIGNER     6 Q. AND WHO FORMED INTERNATIONAL BUSINESS SYSTEM?
7      ON THIS ACCOUNT NOW.                                    7 A. HEATHER AND I FORMED THAT.
8 A. OKAY.                                                     8 Q. AND WHERE WAS IT FORMED?
9 Q. WHY WAS THAT DONE?                                        9 A. I BELIEVE IT WAS NEVIS.
10 A. HEATHER AND I SPLIT, AND SHE LEFT US, FREEDOM TRUST      10 Q. AND WHAT WAS THE PURPOSE OF I.B.S.?
11     GROUP WITH ME.                                          11 A. I DON'T REMEMBER.
12 Q. AND IF WE LOOK ON PAGE THREE, THAT STATES THERE THAT     12 Q. DO YOU RECALL IF IT HAD A ---
13     YOU'RE THE DIRECTOR OF THE FREEDOM TRUST GROUP?         13 A. GO AHEAD.
14 A. YES.                                                     14 Q. DO YOU RECALL IF IT HAD A MERCHANT ACCOUNT WITH CARD
15 Q. WHAT IS THE ROLE OF THE DIRECTOR, AS DIRECTOR OF         15    SERVICES INTERNATIONAL?
16     FREEDOM TRUST GROUP?                                    16 A. YEAH, THAT WAS THE PURPOSE OF IT. I HAD FORGOTTEN
17 A. TO DIRECT.                                               17    ABOUT THAT ONE.
18 Q. DIRECT WHAT?                                             18 Q. AND WHY DID YOU -- WHY DID I.B.S. NEED A MERCHANT
19 A. TO DIRECT OPERATIONS, MARKETING.                         19    ACCOUNT?
20 Q. OKAY. LET'S TAKE A LOOK AT -- WE'RE LOOKING FOR          20 A. BECAUSE WE WERE GOING TO GET READY TO DO SOME
21     CHECK 2259, WHICH IS ABOUT THE -- IT'S JUST ACTUALLY    21    SERIOUS MARKETING.
22     ON THE NEXT PAGE. IT'S KIND OF THE SECOND COLUMN,       22 Q. MARKETING OF WHAT?
23     THE SECOND CHECK FROM THE TOP THERE. IS THAT A ---      23 A. OF EITHER THE TRUST SOFTWARE OR ANY OTHER SOFTWARE
24 A. UH-HUH.                                                  24    WE WERE GETTING INTO, UNDERSTANDING THE SOFTWARE
25 Q. --- PHOTOCOPY OF YOUR SIGNATURE ON THE CHECK?            25    BUSINESS, AND THAT WAS THE DIRECTION THAT WE WANTED


                                                                                                7 (Pages 22 to 25)

                                                                                                     4898d016-a8b8-4355-9859-eeb63c142382
                6:08-cv-03760-GRA            Date Filed 09/25/09     Entry Number 22-3           Page 12 of 94


John Howard Alexander                                                                             July 27, 2009
                                                      Page 26                                                         Page 28
1      TO GO.                                                   1 A. OKAY.
2    Q. SO, EXPLAIN TO ME HOW IT WOULD HAVE WORKED WITH         2 Q. SO, IT'S SAFE TO SAY THAT FREEDOM TRUST GROUP WAS
3      I.B.S., THEN. I'M A LITTLE UNCLEAR AS TO ---             3    RECEIVING A LITTLE OVER $8,000 DURING THAT ONE
4    A. I CAN'T DO THAT BECAUSE I WASN'T INVOLVED WITH          4    MONTH?
5      I.B.S.                                                   5 A. DURING THAT MONTH, YEAH. THAT WOULD BE SAFE TO SAY
6    Q. BUT YOU HELPED CREATE IT?                               6    THAT.
7    A. I DISCUSSED IT WITH HEATHER, AND SHE DID THE SET UP     7 Q. BUT YOU DON'T KNOW WHERE THAT MONEY'S COMING FROM?
8      AND SHE RAN I.B.S., BASICALLY.                           8 A. YOU MEAN INDIVIDUALLY OR ---
9    Q. WELL, WHAT DID YOU GUYS DISCUSS, THOUGH, IN DECIDING    9 Q. IN THE AGGREGATE, TOTAL. I MEAN, HOW WERE YOU
10     TO DO THIS?                                              10   MAKING YOUR MONEY AT THAT, OR HOW WAS FREEDOM TRUST
11 A. THAT WE NEEDED A MERCHANT ACCOUNT AND THAT WAS THE 11          GROUP MAKING ITS MONEY?
12     WAY TO GO.                                               12 A. THAT WOULD BE FROM SOFTWARE.
13 Q. OKAY. AND WHAT WAS THE PURPOSE OF THE MERCHANT            13 Q. SALES OF SOFTWARE?
14     ACCOUNT?                                                 14 A. SALES OF SOFTWARE.
15 A. THE PURPOSE OF THE -- THE NORMAL PURPOSE OF A             15 Q. OKAY.
16     MERCHANT ACCOUNT IS TO ACCEPT CREDIT CARDS.              16 A. ARE WE THROUGH WITH THAT PAGE?
17 Q. SO, IF YOU MADE A DEPOSIT FROM I.B.S, THEN IT'S SAFE      17 Q. IF WE KEEP GOING, SKIP OVER THE NEXT PAGE OF CHECKS,
18     TO ASSUME THAT SOMEBODY PAID FOR SOMETHING WITH A        18   AND ON THE -- I'LL CALL IT PAGE FOUR. I THINK
19     CREDIT CARD AND THAT MONEY WAS BEING DEPOSITED INTO      19   YOU'VE GOT IT THERE. I'M LOOKING AT THE BOTTOM
20     THE FREEDOM TRUST GROUP?                                 20   RIGHT, CHECK NUMBER 2319.
21 A. I CAN'T ANSWER THAT, BECAUSE YOU'RE TALKING ABOUT         21 A. UH-HUH.
22     ACCOUNTING AND PAPER WORK AND THAT'S NOT MY AREA OF      22 Q. IS THAT YOUR SIGNATURE ON THE BOTTOM OF THAT CHECK?
23     EXPERTISE AT ALL.                                        23 A. A COPY OF MY SIGNATURE, YES.
24 Q. IF YOU TURN A FEW PAGES IN, WE'RE LOOKING FOR CHECK       24 Q. OKAY. AND DO YOU KNOW WHAT THIS CHECK WAS FOR?
25     NUMBER 2319. ACTUALLY, THERE IS GOING TO BE A            25 A. IT SAYS REFUND IN THE FOR SECTION.

                                                      Page 27                                                         Page 29
1      BALANCE STATEMENT BEFORE THAT, A BANK STATEMENT          1 Q. WHAT WOULD YOU HAVE BEEN REFUNDING?
2      BEFORE THAT DATED SEPTEMBER 30, 2004, RIGHT THERE.       2 A. PROBABLY THE SOFTWARE.
3    A. WHAT PAGE?                                              3 Q. OKAY. AND WHEN YOU SAY SOFTWARE, WHAT SOFTWARE DO
4    Q. THESE AREN'T CONSECUTIVELY NUMBERED, SO IT'S KIND OF    4    YOU MEAN?
5      HARD TO ---                                              5 A. THE FREEDOM TRUST GROUP SOFTWARE.
6    A. LET ME MATCH YOURS UP. OKAY.                            6 Q. AND WHAT IS THE FREEDOM TRUST GROUP SOFTWARE? WHAT
7    Q. OKAY. YOU'RE LOOKING AT A STATEMENT DATED SEPTEMBER 7        IS -- WHAT DOES THAT ALL ENTAIL?
8      30, 2004, IN THE UPPER RIGHT-HAND CORNER?                8 A. IT'S A CD WITH CONTRACTS, TEMPLATES, CONTRACT
9    A. RIGHT.                                                  9    TEMPLATES.
10 Q. I NOTICED A NUMBER OF DEPOSITS ON HERE FOR $400,          10 Q. FILL IN THE FORM TYPE OF THINGS?
11     $300, $790, $1,840. DO YOU KNOW WHERE THIS MONEY         11 A. RIGHT.
12     WAS COMING FROM TO BE DEPOSITED IN THERE?                12 Q. WHAT KIND OF FORMS WOULD THEY HAVE BEEN FILLING OUT?
13 A. I CAN'T BE SURE, NO.                                      13 A. THEY WERE CONTRACTS, TRUST CONTRACTS.
14 Q. IF YOU SPECULATED, WHERE DO YOU THINK IT WOULD COME       14 Q. SO, IT WOULD HAVE BEEN TO CREATE A TRUST?
15     FROM?                                                    15 A. TO CREATE THEIR OWN TRUST.
16 A. I CAN'T SPECULATE ON THAT.                                16 Q. AND ABOUT, I'M SKIPPING OVER SEVEN PAGES HERE. THE
17 Q. SO, YOU OWN THIS ACCOUNT, BUT YOU DON'T KNOW WHERE        17   TOP OF IT WILL SAY PAGE TWO, AND I'M SPECIFICALLY
18     THE MONEY, HOW THE MONEY IS COMING INTO IT?              18   LOOKING AT CHECK NUMBER 2352. I THINK IT'S ---
19 A. I HAVE NO INFORMATION ON IT. HOW COULD I?                 19 A. OKAY.
20 Q. YOU'RE THE OPERATOR OF THE ACCOUNT, I MEAN. BUT           20 Q. OKAY. AND AGAIN, THAT'S YOUR SIGNATURE ON THE, ON
21     SUFFICE IT TO SAY THAT FREEDOM TRUST GROUP WAS           21   THE CHECK?
22     RECEIVING MONEY IN THIS TIME, AND ON THIS PARTICULAR     22 A. IT'S A COPY OF MY SIGNATURE, YES.
23     STATEMENT, IT SAYS THAT THEY'RE RECEIVING CREDITS OF     23 Q. AND WHO IS THIS MADE OUT TO?
24     $8,177 DURING THAT, DURING THAT TIME, DURING THAT        24 A. IT'S MADE OUT TO THE SECRETARY OF STATE.
25     MONTH.                                                   25 Q. AND WHY WERE YOU WRITING A CHECK TO THE SECRETARY OF


                                                                                              8 (Pages 26 to 29)

                                                                                                     4898d016-a8b8-4355-9859-eeb63c142382
                6:08-cv-03760-GRA          Date Filed 09/25/09      Entry Number 22-3            Page 13 of 94


John Howard Alexander                                                                            July 27, 2009
                                                     Page 30                                                        Page 32
1      STATE?                                                  1 A. THAT'S FOR FREEDOM TRUST GROUP, BUT I DON'T KNOW
2    A. I CAN'T READ THAT, WHAT IT SAYS.                       2    WHAT THAT MEANS, WHAT THIS IS FOR.
3    Q. I MEAN, THERE IS ONE WORD HERE I CAN'T READ, BUT I     3 Q. OKAY. IS IT -- IN THE DEPOSIT CHECKS ABOVE WHERE
4      BELIEVE IT SAYS LIST OF OFFICERS, ONE CERTIFIED         4    THAT CHECK IS, IN THE DEPOSIT SLIPS, RATHER, IS THAT
5      COPY. I CAN'T READ THE WORD BEFORE LIST, BUT DOES       5    YOUR HANDWRITING IN THOSE?
6      THAT LOOK CORRECT?                                      6 A. IT APPEARS TO BE.
7    BY MR. BENNETT:                                           7 Q. SHOWING DEPOSITS BEGINNING JANUARY 31ST TO FEBRUARY
8        THE RECORD, I BELIEVE IT SAYS INITIAL LIST OF         8    17TH OF 2005 IN THE AMOUNTS OF $400, $300, $725, AND
9      OFFICERS, ONE CERTIFIED COPY.                           9    $132.65?
10 BY MR. STRONG:                                              10 A. UH-HUH.
11       OKAY.                                                 11 Q. OKAY. AND THOSE ARE, AGAIN, MONIES THAT YOU'RE
12 BY THE WITNESS:                                             12   RECEIVING FROM SALES OF FREEDOM TRUST GROUP
13       THAT'S NOT EVEN MY HANDWRITING.                       13   SOFTWARE?
14 EXAMINATION RESUMED BY MR. STRONG:                          14 A. IT MIGHT HAVE BEEN.
15 Q. BUT THAT'S YOUR SIGNATURE ON THE CHECK?                  15 Q. WHAT ELSE MIGHT IT HAVE BEEN?
16 A. UH-HUH.                                                  16 A. I HAVE NO IDEA.
17 Q. OKAY. DO YOU KNOW WHY YOU WOULD HAVE BEEN ASKING 17 Q. WELL, WHAT OTHER -- WHAT OTHER PRODUCTS DID FREEDOM
18     FOR A LIST OFFICERS FROM THE SECRETARY OF STATE?        18   TRUST GROUP SELL?
19 A. I HAVE NO IDEA WHAT THAT IS. THAT'S MY SIGNATURE ON      19 A. FREEDOM TRUST GROUP HAD ONE PRODUCT.
20     THE CHECK, BUT IT'S NOT MY HANDWRITING ON THAT          20 Q. OKAY. DID YOU OPERATE ANY OTHER COMPANIES DURING
21     CHECK.                                                  21   THIS TIME?
22 Q. FOR THE SAKE OF EASE, I'M JUST GOING TO SHOW YOU         22 A. DID I DO WHAT?
23     FOLKS THE NEXT PAGE I'M GOING TO LOOK AT, AND I'M       23 Q. WERE YOU A PART OF ANY OTHER COMPANIES DURING THIS
24     SPECIFICALLY LOOKING AT PAGE 2358, OR CHECK NUMBER      24   TIME?
25     2368, SO JUST GO AHEAD AND TAKE A LOOK, KEEP A          25 A. NO.

                                                     Page 31                                                        Page 33
1      GANDER AT THAT AND I'LL ---                             1 Q. WERE YOU A PART OF ---
2    A. 2368?                                                  2 A. I DON'T THINK SO.
3    BY MR. BENNETT:                                           3 Q. --- A COMPANY CALLED THE AWARE GROUP?
4        HE'S JUST LETTING YOU KEEP IT FOR A SECOND.           4 A. NO, NOT AT THIS TIME.
5    EXAMINATION RESUMED BY MR. STRONG:                        5 Q. OKAY. WHEN DID YOU CEASE BEING PART OF THE AWARE
6    Q. I'M JUST GOING TO LET YOU TAKE A LOOK AT THIS FOR A    6    GROUP?
7      SECOND SO WE DON'T HAVE TO ---                          7 A. WHEN HEATHER DIVORCED ME.
8    A. YEAH, BUT WHY DON'T I HAVE IT HERE?                    8 Q. WHICH WAS WHEN?
9    Q. I THINK IF YOU SKIP OVER TO THE NEXT ONE, THE NEXT     9 A. I DON'T REMEMBER THE DATE.
10     PAGE OF CHECKS, IT WILL BE THERE. AGAIN, THAT'S A       10 Q. THE YEAR?
11     COPY OF YOUR SIGNATURE ON THE CHECK?                    11 A. I DON'T REMEMBER THE YEAR.
12 A. A COPY OF MY SIGNATURE, YES.                             12 Q. COULD IT HAVE BEEN 2004?
13 Q. AND IT'S MADE OUT TO THE SECRETARY OF STATE AGAIN?       13 A. IT COULD HAVE BEEN.
14 A. YES.                                                     14 Q. OKAY.
15 Q. AND THAT'S YOUR HANDWRITING?                             15 A. COULD HAVE BEEN 2002, 2003, I DON'T KNOW.
16 A. THAT IS MY HANDWRITING.                                  16 Q. OKAY. WELL, WHY DON'T WE START -- I'LL START ASKING
17 Q. OKAY.                                                    17   SOME QUESTIONS NOW ABOUT THE AWARE GROUP, THE
18 A. IT APPEARS TO BE.                                        18   FREEDOM TRUST GROUP, AND SOME OF THESE OTHER
19 Q. IS THERE, IN THE MEMO BOX, IT SAYS RESERVE NAME          19   ENTITIES THAT YOU WERE INVOLVED IN. AND YOU CAN
20     F.T.G.                                                  20   TELL ME, YOU KNOW, WHEN AND WHERE, WHEN IT STARTED,
21 A. UH-HUH.                                                  21   AND WHEN IT ENDED. SO, LET'S BEGIN WITH -- LET'S
22 Q. WHAT ARE YOU RESERVING? WHAT WERE YOU RESERVING? 22           BEGIN WITH THE AWARE GROUP. WHEN WAS IT ORGANIZED?
23 A. I HAVE NO IDEA.                                          23 A. AWARE GROUP WASN'T ORGANIZED INITIALLY. WHEN
24 Q. F.T.G., YOU BELIEVE, WOULD REFER TO THE FREEDOM          24   HEATHER MOVED IN WITH ME, THAT'S WHEN IT BECAME MORE
25     TRUST GROUP?                                            25   HOW YOU SAY ORGANIZED.


                                                                                             9 (Pages 30 to 33)

                                                                                                   4898d016-a8b8-4355-9859-eeb63c142382
            6:08-cv-03760-GRA             Date Filed 09/25/09     Entry Number 22-3            Page 14 of 94


John Howard Alexander                                                                           July 27, 2009
                                                  Page 34                                                       Page 36
1 Q. WHAT WAS IT BEFORE HEATHER MOVED IN WITH YOU?          1 A. WE WERE COLLECTING INFORMATION.
2 A. BEFORE THAT, IT WAS JUST RESEARCH. ME AND PEOPLE       2 Q. OKAY.
3     ALL OVER THE COUNTRY WERE SHARING RESEARCH WITH EACH 3 A. AND WE WERE TRYING TO RECIRCULATE THAT INFORMATION
4     OTHER. THAT'S ALL THE AWARE GROUP WAS MEANT TO BE.    4      AND RECOVER ANY EXPENSES THAT WE HAD IN DOING SO.
5 Q. AND WAS ANY OF THIS RESEARCH SOLD?                     5 Q. AND HOW WOULD YOU RECOVER THOSE EXPENSES?
6 A. AFTER AWARE GOT FORMALIZED.                            6 A. WE WOULD SELL REPORTS. WE HAD TAPES THAT WE
7 Q. OKAY. AND WHO OPERATED THE AWARE GROUP?                7      RECEIVED FROM SOURCES. WE WOULD SELL THAT.
8 A. HEATHER AND I.                                         8 Q. WOULD YOU SELL MEMBERSHIP INTO THE AWARE GROUP?
9 Q. AND CAN YOU JUST GIVE ME AN OVERVIEW OF WHAT AWARE     9 A. YES.
10    GROUP WAS ORGANIZED TO DO?                            10 Q. AND ABOUT WHAT DID THAT RUN?
11 A. TO BRING OUR RESEARCH TO THE AMERICAN PEOPLE, WHAT    11 A. PROBABLY ABOUT 250, SOMETHING LIKE THAT. I DON'T
12    WE AND THE OTHER MEMBERS IN THE AWARE GROUP FIND IN   12     REMEMBER. IT VARIED.
13    THE LAW LIBRARIES AND THE DEPOSITORIES.               13 (COURT REPORTER MARKS PLAINTIFF'S EXHIBIT NUMBER EIGHT,
14 Q. AND DID AWARE GROUP DO THIS FOR FREE?                 14 FREEDOM FILES, ATTACHED.)
15 A. INITIALLY, YEAH.                                      15 EXAMINATION RESUMED BY MR. STRONG:
16 Q. WHEN DID IT STOP DOING IT FOR FREE?                   16 Q. I'LL HAND YOU NOW WHAT I'VE MARKED AS EXHIBIT EIGHT.
17 A. WHEN HEATHER CAME ON.                                 17     I'VE GIVEN A COPY TO YOUR LAWYER. TAKE A LOOK AT
18 Q. OKAY. WHEN DID YOU AND HEATHER -- WHEN DID HEATHER    18     THIS FOR A MOMENT.
19    COME ON?                                              19 A. ARE WE DONE WITH THIS, OR DO YOU WANT TO KEEP THIS
20 A. I DON'T REMEMBER THE YEAR. YOU MEAN WHEN I MET HER?   20     OUT?
21    I DON'T REMEMBER THE YEAR.                            21 Q. WELL, IT'S GOING TO GO BACK TO HER IN A MINUTE.
22 Q. WAS IT ---                                            22 A. OKAY. OKAY. I'M JUST GOING THROUGH TO SEE WHAT THE
23 A. IT WAS ABOUT TWO YEARS BEFORE WE GOT MARRIED, AND I   23     REST OF THIS IS.
24    DON'T REMEMBER THAT YEAR, EITHER.                     24 Q. READY?
25 Q. OKAY. DID YOU GET MARRIED BEFORE THE YEAR 2000?       25 A. YEAH.

                                                  Page 35                                                       Page 37
1 A. YEAH, I BELIEVE SO.                                    1    Q. OKAY. SO, THE AWARE GROUP SOLD SOMETHING CALLED THE
2 Q. MARRIED BEFORE 1998?                                   2      FREEDOM FILES SOFTWARE. IS THAT CORRECT?
3 A. I DON'T REMEMBER.                                      3    A. NO, AS A RESULT OF JOINING THE AWARE GROUP, THEY
4 Q. OKAY. BUT IT WAS BEFORE 2000?                          4      RECEIVED IT.
5 A. IT WAS BEFORE 2000.                                    5    Q. OKAY. SO, THEY SPENT MONEY, BOUGHT A MEMBERSHIP
6 Q. OKAY. SO, YOU HAD MET HER -- AND YOU MET HER A         6      INTO THE AWARE GROUP, CORRECT?
7     COUPLE YEARS BEFORE THAT?                             7    A. RIGHT.
8 A. SOMEWHERE, YEAH, SOMEWHERE IN THE '90s, MID TO LATE    8    Q. AND WITH THAT, THEN, CAME A CD OF MATERIALS CALLED
9     '90s. I'M NOT SURE WHEN.                              9      THE FREEDOM FILES?
10 Q. OKAY. AND AT THIS TIME, THIS IS WHEN YOU GUYS BEGAN   10 A. YEAH.
11    FORMALIZING THE AWARE GROUP, WAS IN THE LATE '90s,    11 Q. OKAY. PAGES ONE THROUGH FOUR, IS THAT A PRETTY --
12    THEN?                                                 12     IS THAT A COMPLETE LIST OF THE MATERIALS THAT WERE
13 A. ABOUT THE MID '90s.                                   13     INCLUDED IN THE FREEDOM FILES?
14 Q. OKAY.                                                 14 A. I CAN'T SAY IT'S COMPLETE, BUT IT LOOKS SIMILAR TO
15 A. PAST '95.                                             15     WHAT I THINK WAS ON THERE.
16 Q. SO, MID TO LATE '90s, THEN ---                        16 Q. OKAY. NOW, JUST TO BACK UP A BIT, DID YOU PREPARE
17 A. I THINK.                                              17     THIS DOCUMENT?
18 Q. --- YOU'RE ORGANIZING THE AWARE GROUP. AND SO, NOW,   18 A. NO.
19    WHEN I -- I ASKED YOU IF YOU WERE SELLING MATERIALS   19 Q. WHO WOULD?
20    WITH THE AWARE GROUP, AND YOU SAID THAT BEGAN AFTER 20 A. THIS DOCUMENT?
21    YOU FORMALIZED IT. HOW DID THAT -- HOW DID THAT       21 Q. YES, THE FIRST FOUR PAGES.
22    WORK?                                                 22 A. NO, THIS WAS A MUTUAL EFFORT WITH HEATHER AND I.
23 A. BE MORE SPECIFIC. WHAT DO YOU MEAN, HOW DID THAT      23     ALL I COULD DO WAS GIVE HER IDEAS, BUT THIS WAS DONE
24    WORK?                                                 24     ON A COMPUTER.
25 Q. WHAT WERE YOU SELLING?                                25 Q. BUT YOU WOULD HAVE -- YOU WOULD HAVE HELPED IN THE


                                                                                          10 (Pages 34 to 37)

                                                                                                4898d016-a8b8-4355-9859-eeb63c142382
                6:08-cv-03760-GRA        Date Filed 09/25/09        Entry Number 22-3            Page 15 of 94


John Howard Alexander                                                                            July 27, 2009
                                                     Page 38                                                         Page 40
1      PREPARATION OF IT INSOFAR AS PROVIDING INFORMATION      1    YEARS AGO. I DON'T EVEN SEE THE DATE ON HERE, BUT
2      TO ---                                                  2    IT'S AT LEAST THAT LONG. AND I DON'T HAVE ACCESS TO
3 A. THE MARKET ---                                            3    THESE FILES.
4 Q. INFORMATION TO INCLUDE?                                   4 Q. DO YOU HAVE ANY GENERAL SENSE OF WHAT THESE LETTERS
5 A. THIS IS A MARKETING PIECE.                                5    WERE REGARDING?
6 Q. OKAY.                                                     6 A. GENERAL SENSE? YES.
7 A. VERY CLEARLY, IT'S A MARKETING PIECE.                     7 Q. WHAT IS THAT?
8 Q. AND THIS IS A MARKETING PIECE PUT OUT BY THE AWARE        8 A. GENERAL SENSE WAS OPINIONS OF DIFFERENT PEOPLE,
9      GROUP?                                                  9    THESE VARIOUS PEOPLE, THESE VARIOUS INDIVIDUALS ON
10 A. AND -- YEAH.                                             10   THEIR STUDIES. THIS PARTICULAR CASE, ON THE TAX
11 Q. OKAY. I'VE RECEIVED MOST OF THESE MATERIALS, BUT I       11   ISSUE.
12     DID WANT TO ASK ABOUT SOME THAT I HAVEN'T RECEIVED. 12 Q. WHAT DO YOU MEAN BY THE TAX ISSUE?
13     AND LET'S START WITH THE RELIANCE MANUAL, WHICH IS      13 A. TO HELP PEOPLE WITH THEIR UNDERSTANDING OF THE TAX
14     ON PAGE TWO. WHAT IS THE RELIANCE MANUAL?               14   ISSUE.
15 A. YOU WANT ME TO READ THE LIST ON HERE?                    15 Q. CAN YOU CLARIFY WHAT YOU MEAN WHEN YOU SAY THE TAX
16 Q. I WANT YOU TO TELL ME -- I MEAN, YOU WERE GETTING A      16   ISSUE?
17     CD OF MATERIALS WITH SOMETHING CALLED THE RELIANCE 17 A. TO HELP PEOPLE WITH THEIR UNDERSTANDING OF THE
18     MANUAL. WHAT DID YOU -- WHAT DID YOU THINK THE          18   I.R.S.'S TAX.
19     RELIANCE MANUAL WAS?                                    19 Q. OKAY. WHAT UNDERSTANDING IS THAT?
20 A. I BELIEVE THAT TO BE INFORMATION THAT PEOPLE COULD 20 A. THEY HAVE TO DRAW THEIR OWN CONCLUSIONS.
21     RELY ON, WHATEVER IT WAS THAT IT WAS RELIABLE           21 Q. WELL, HOW WOULD THESE LETTERS ASSIST THEM IN DRAWING
22     INFORMATION.                                            22   THOSE CONCLUSIONS?
23 Q. RELIABLE INFORMATION ABOUT WHAT?                         23 A. DOESN'T NECESSARILY ASSIST THEM IN DRAWING A
24 A. WHATEVER THE TOPIC WAS. PICK ONE OF THE TOPICS.          24   CONCLUSION. WHAT IT DOES IS IT OPENS THEIR MINDS TO
25 Q. OKAY. WELL, LET'S START WITH LETTERS TO SENATORS,        25   OTHER POSSIBILITIES.

                                                     Page 39                                                         Page 41
1      WHAT WAS THAT?                                          1 Q. OKAY. WHAT OTHER POSSIBILITIES?
2    A. I DON'T KNOW. I'D HAVE TO SEE THAT. I'M FAMILIAR       2 A. THAT NOT ALL IS AS APPEARS TO BE.
3      WITH THE CONKLIN LETTER AND ---                         3 Q. WHAT DO YOU MEAN BY THAT?
4    Q. OKAY. WELL, WHY DON'T WE SKIP TO THE CONKLIN           4 A. I THINK THOSE WORDS ARE SELF-EVIDENT.
5      LETTER? WHAT IS THAT?                                   5 Q. WELL, CAN YOU EXPLAIN THEM IN A LITTLE BIT MORE
6    A. THERE WERE SEVERAL LETTERS THAT WE HAD FROM PEOPLE 6        DETAIL? I MEAN, WHAT IS THERE NOT ALL THAT THERE
7      THAT WE BELIEVED TO BE, THAT WE BELIEVED TO BE          7    APPEARS -- WHAT IS -- WHAT IS THE APPEARANCE?
8      RELIABLE SOURCES AND WE PASSED THOSE LETTERS ON TO      8 A. I DON'T REALLY KNOW HOW TO ANSWER THAT.
9      OTHER PEOPLE.                                           9 Q. WOULD IT BE DISCUSSING WHETHER INDIVIDUALS ARE
10 Q. WHAT WAS THE CONTENT OF THE CONKLIN LETTER?              10   REQUIRED TO FILE INCOME TAX RETURNS?
11 A. I COULDN'T TELL YOU. I DON'T KNOW. I'D HAVE TO SEE       11 A. THAT WOULD PROBABLY BE BASED ON THEIR OWN ASSESSMENT
12     THE CONKLIN LETTER, WHICH IS -- THERE'S NO DATE ON      12   OF WHAT THE FACTS WERE FOR THEIR OWN INDIVIDUAL CASE
13     HERE, BUT IT'S -- IT'S OLD.                             13   FOR THEMSELVES.
14 Q. DO YOU STILL HAVE COPIES OF THE FREEDOM FILES CD?        14 Q. AND WHAT FACTS ARE WE TALKING ABOUT HERE?
15 A. NO, I DON'T.                                             15 A. IT'S AS VARIABLE AS FINGERPRINTS. EVERYBODY'S
16 Q. ALL RIGHT. LET'S SKIP TO THE CURTIS AND CURTIS           16   DIFFERENT. I CAN'T MAKE A STATEMENT ON THAT.
17     LETTERS ON LIABILITY. WHAT DO YOU THINK -- WHAT         17 Q. BUT HOW DO THESE LETTERS ASSIST THEM IN LEARNING
18     DOES LIABILITY MEAN THERE? IN FACT, IT SAYS             18   WHAT THESE FACTS ARE?
19     LIABILITY TO FILE. IT'S ---                             19 A. BECAUSE IT DREW A LOT OF POINTS OF LAW. IT DREW A
20 A. YEAH, I SEE THAT, BUT I WOULD HAVE TO -- I WOULD         20   LOT OF INFORMATION FROM DIFFERENT CASES.
21     HAVE TO SEE THE LETTER. IT'S NOT POSSIBLE FOR ME TO     21 Q. WELL, WHAT POINTS OF LAW?
22     COMMENT ON WHAT I THINK IT WOULD BE UNLESS I SEE IT.    22 A. AGAIN, I DON'T HAVE THE LETTERS. HOW CAN I MAKE A
23 Q. WELL, YOU SOLD THIS MATERIAL, CORRECT? OR YOU WERE       23   COMMENT ON THAT?
24     PROVIDING THIS MATERIAL?                                24 Q. WELL, YOU SOLD -- BUT YOU WERE PROVIDING THESE
25 A. COUNSEL, BUT THIS WAS FIVE YEARS AGO, MAYBE SIX          25   MATERIALS TO FOLKS. CERTAINLY, YOU'VE READ THEM.


                                                                                            11 (Pages 38 to 41)

                                                                                                  4898d016-a8b8-4355-9859-eeb63c142382
            6:08-cv-03760-GRA             Date Filed 09/25/09         Entry Number 22-3          Page 16 of 94


John Howard Alexander                                                                             July 27, 2009
                                                      Page 42                                                      Page 44
1 A. BUT IT DOESN'T MEAN THAT I HAVE TO REMEMBER                1      OTHERS ASKING THEM TO JOIN THE AWARE GROUP.
2    EVERYTHING AND IT DOESN'T -- HOW MANY PAGES ARE IN         2 A. OKAY. NOW, I UNDERSTAND. YOU'RE ASKING ME IF
3    HERE? THIS RELIANCE MANUAL, THAT'S 510 PAGES BY            3      THAT'S WHAT THIS IS?
4    ITSELF. THAT'S A LOT OF MEMORY. AND COUNSELOR ---          4 Q. IF THIS IS PART OF THAT LETTER AND IF THAT IS THE
5 Q. WHEN YOU WERE WORKING WITH THE AWARE GROUP, WOULD          5      PURPOSE OF THAT LETTER.
6    PEOPLE CALL YOU AND ASK TO GET INFORMATION?                6 A. CAN YOU REPHRASE YOUR QUESTION? ARE YOU SAYING IS
7 A. YES.                                                       7      THIS LETTER ASKING FOR REFERRALS?
8 Q. AND SO, YOU WOULD PROVIDE INFORMATION REGARDING SOME 8          Q. WHY DON'T I JUST ASK A MORE GENERAL QUESTION. WHAT
9    OF THESE MATERIALS?                                        9      IS THIS LETTER?
10 A. IT DEPENDS ON WHAT THEY WOULD ASK. SOMETIMES THEY         10 A. THAT'S A LITTLE TOO GENERAL. IT'S LIKE I ALREADY
11   WOULD ASK FOR SOMETHING THAT I HAVE NO KNOWLEDGE OF        11     ANSWERED THAT. IT WAS A MARKETING PIECE.
12   OR NO IDEA OF.                                             12 Q. DID THE AWARE GROUP ASK ITS MEMBERS TO SEND OUT THIS
13 Q. BUT SOMETIMES THEY WOULD ASK YOU FOR INFORMATION          13     LETTER TO OTHERS?
14   ABOUT THESE MATERIALS?                                     14 A. CAN'T SAY YES OR NO. SOUNDS LIKE -- SOUNDS
15 A. SOMETIMES THEY WOULD.                                     15     REASONABLE TO ME.
16 Q. SO, YOU WOULD PROVIDE THEM INFORMATION REGARDING,         16 Q. IF YOU LOOK AT THE FIRST PAGE, IT SAYS WE HAVE
17   SAY, WHAT'S IN THE RELIANCE MANUAL?                        17     INCLUDED A LETTER AT THE END OF THIS SECTION.
18 A. YOU MEAN IF THEY WANTED THE MATERIALS THEMSELVES OR       18 A. OKAY.
19   CALLING TO QUESTION ME ABOUT IT?                           19 Q. SO, BASED ON THAT SENTENCE, IS IT REASONABLE TO
20 Q. NO, IF THEY HAD QUESTIONS ABOUT IT.                       20     BELIEVE THAT THE AWARE GROUP WAS ENCOURAGING ITS
21 A. OH, MISUNDERSTANDING WITH ME, NO. I DIDN'T DISCUSS        21     MEMBERS TO SEND OUT THIS LETTER TO OTHERS TO
22   THOSE LETTERS WITH THEM.                                   22     ENCOURAGE THEM TO JOIN THE AWARE GROUP?
23 Q. WHAT IS YOUR UNDERSTANDING OF WHAT IS REQUIRED BY         23 BY MR. BENNETT:
24   THE I.R.S.?                                                24       YOU NEED TO ANSWER OUT LOUD.
25 A. MY UNDERSTANDING WOULD BE THAT THEY WANT EVERYBODY 25 BY THE WITNESS:

                                                      Page 43                                                      Page 45
1    TO BE IN COMPLIANCE AND DO AS THEY ARE TOLD.               1        I'M SORRY. YES.
2 Q. HOW WOULD ONE BE IN COMPLIANCE?                            2 EXAMINATION RESUMED BY MR. STRONG:
3 A. BY DOING WHAT THEY ARE TOLD.                               3 Q. NOW, LET'S TURN BACK TO THE PAGE THAT WE WERE
4 Q. AND WHAT IS THAT?                                          4      LOOKING AT BEFORE. AND I'M SPECIFICALLY LOOKING
5 A. WHATEVER THEY TELL.                                        5      UNDER WHERE IT SAYS RELIANCE.
6 Q. WHAT ARE THEY TELLING?                                     6 A. OKAY.
7 A. WHATEVER THEY TELL. YOU DON'T ARGUE WITH POWER.            7 Q. OKAY. TAKE A MINUTE AND READ THAT PARAGRAPH IN A
8 Q. LET'S -- IF YOU ACTUALLY WILL TURN TO PAGE TEN OF          8      MINUTE HERE.
9    THIS MATERIAL, MAYBE THIS WILL HELP ANSWER SOME            9 A. OKAY.
10   QUESTIONS. I HAVE NUMBERED THEM MYSELF. ON THE             10 Q. OKAY. BASED ON YOUR UNDERSTANDING OF WHAT WAS IN
11   TOP, IT SAYS YOU WILL RECEIVE FREE SOFTWARE THAT           11     THE RELIANCE PACKAGE, IS THAT PARAGRAPH UNDERNEATH
12   SHOWS YOU ---                                              12     RELIANCE ACCURATE AS TO WHAT MATERIALS THEREIN
13 A. OKAY. LET ME ---                                          13     CONTAINED?
14 Q. YOU WILL RECEIVE FREE SOFTWARE THAT SHOWS YOU HOW TO 14 A. YOU MEAN LETTERS FROM PROFESSIONALS, ACCOUNTANTS,
15   GET THE GOVERNMENT OFF YOUR BACK AND OUT OF YOUR           15     PARALEGALS, I.R.S. AGENTS, FORMER MAGISTRATES,
16   LIFE. AND I WANT TO BACK UP HERE. THIS IS -- THIS          16     FORMER JUDGES?
17   IS A LETTER THAT, IF I'M NOT MISTAKEN, THIS IS PART        17 Q. YES.
18   OF THE LETTER THAT YOU WERE OR THE AWARE GROUP WAS         18 A. EVEN INCLUDING A U.S. SENATE LETTERHEAD.
19   ENCOURAGING MEMBERS TO SEND OUT TO OTHER PEOPLE TO         19 Q. SO, THAT'S -- OKAY. SO, THAT'S -- THE LETTERS ARE
20   ENCOURAGE THEM TO JOIN MEMBERSHIP WITHIN THE AWARE         20     WHAT WERE INCLUDED WITHIN THAT RELIANCE MANUAL,
21   GROUP.                                                     21     CORRECT?
22 A. SAY THAT AGAIN, PLEASE.                                   22 A. YES.
23 Q. THIS IS A REFERRAL -- THIS IS MY UNDERSTANDING THAT       23 Q. AND NOW, THE NEXT SENTENCE SAYS THE CONCLUSION TO
24   THIS IS A REFERRAL LETTER, WHERE YOU WOULD ENCOURAGE       24     ALL THESE LETTERS IS THE SAME AND ANSWERS THE
25   CURRENT MEMBERS OF THE AWARE GROUP TO SEND OUT TO          25     QUESTION OF WHAT MAKES ONE LIABLE TO FILE AND PAY


                                                                                              12 (Pages 42 to 45)

                                                                                                   4898d016-a8b8-4355-9859-eeb63c142382
             6:08-cv-03760-GRA           Date Filed 09/25/09           Entry Number 22-3               Page 17 of 94


John Howard Alexander                                                                                   July 27, 2009
                                                        Page 46                                                           Page 48
1      THE INCOME TAX.                                            1 Q. BUT THAT'S WHAT YOU WROTE IN THIS LETTER?
2 A. OKAY. THAT'S THE QUESTION?                                   2 A. IT WASN'T THE INTENT. IT'S NOT WORDED THAT WAY.
3 Q. BUT YOU AGREE THAT -- DO YOU KNOW WHAT THE ANSWER TO 3 Q. YOU AGREE, THOUGH, IT IS WORDED YOU CAN RELY ON THIS
4      THAT QUESTION WAS?                                         4     TAX INFORMATION.
5 A. THEY KIND OF POINT IN ONE DIRECTION, BUT IT'S --             5 A. BUT IT DOESN'T SAY TO DO WHAT.
6      EVERYBODY HAS TO MAKE UP THEIR OWN MIND.                   6 Q. WHAT IS A LEVY RELEASE PACKAGE?
7 Q. WELL, WHAT DIRECTION DOES IT POINT?                          7 A. WHERE DO YOU SEE THAT?
8 A. THESE PEOPLE WERE ALL OF THE OPINION -- THESE ARE            8 Q. LAST SENTENCE OF THAT PARAGRAPH.
9      OPINION LETTERS, IS WHAT THEY WERE CALLED. THESE           9 A. OH. THAT, I DON'T KNOW.
10     OPINION LETTERS WERE OF THEIR OPINION THAT THERE IS        10 Q. WHY DON'T WE JUST TAKE A BREAK HERE FOR A SECOND?
11     NOTHING THAT SPECIFICALLY AND UNEQUIVOCALLY MAKES          11      (OFF THE RECORD 2:08 P.M. - 2:13 P.M.)
12     ONE LIABLE.                                                12 (COURT REPORTER MARKS PLAINTIFF'S EXHIBIT NUMBER NINE,
13 Q. AND WHY IS THAT?                                            13 NEWSLETTER, ATTACHED.)
14 A. YOU'RE ASKING FOR CONJECTURE OR WHAT?                       14 EXAMINATION RESUMED BY MR. STRONG:
15 Q. WELL, I'M ASKING YOU WHAT MAKES ONE, YOU KNOW, WHAT         15 Q. THE COURT REPORTER HAS PUT IN FRONT OF YOU WHAT HAS
16     WERE THEIR CONCLUSIONS AS TO WHY ONE WOULD NOT BE          16    BEEN MARKED AS PLAINTIFF'S EXHIBIT NUMBER NINE, AND
17     LIABLE FOR THE INCOME TAX?                                 17    I'VE HANDED A COPY TO COUNSEL. IS THIS -- WHAT IS
18 A. I WOULD HAVE TO HAVE ALL THEIR LETTERS AND READ THEM 18           THIS?
19     THAT THEY HAD -- THEY HAD ALL DIFFERENT -- THEY HAD        19 A. IT'S A NEWSLETTER, WE'RE AMERICAN NEWSLETTER.
20     ALL DIFFERENT REASONS, DIFFERENT AXES TO GRIND,            20 Q. THIS IS A NEWSLETTER THAT AWARE GROUP WOULD HAVE PUT
21     DIFFERENT INFORMATION. THEY WERE NOT THE SAME.             21    OUT?
22     THEY WERE NOT -- THEY WERE NOT TEMPLATE LETTERS OR         22 A. YES.
23     STAMPED OUT LETTERS.                                       23 Q. OKAY. SO, YOU WOULD HAVE PUT THIS OUT?
24 Q. BUT AWARE GROUP DID ADVERTISE THAT YOU COULD RELY ON 24 A. WELL, WHEN YOU SAY YOU, YOU MEAN ME, SPECIFICALLY,
25     THIS TAX INFORMATION, CORRECT?                             25    OR ---

                                                        Page 47                                                           Page 49
1    A. YOU CAN RELY ON THIS INFORMATION AS FAR AS THE            1 Q. WELL, INSOFAR AS YOUR ---
2      PEOPLE THAT IT'S COMING FROM. YOU KNOW, IF YOU CANT        2 A. OR ME ALONG WITH THE AWARE ---
3      RELY ON PROFESSIONALS, ACCOUNTANTS, PARALEGALS,            3 Q. YOU'RE WORKING WITH THE AWARE GROUP AND ON THE AWARE
4      I.R.S. ENROLLED AGENTS, ATTORNEYS, MAGISTRATES,            4     GROUP?
5      JUDGES.                                                    5 A. YEAH.
6    Q. EVEN IF ---                                               6 Q. BEFORE WE TOOK THE BREAK, WE WERE TALKING ABOUT WHAT
7    A. SENATE, THE SENATE MEMBERS, WHO CAN YOU RELY ON,          7     THE LEVY RELEASE PACKAGE WAS, AND I AM NOW LOOKING
8      OTHER THAN GOD?                                            8     AT PAGE SIX OF THIS, OF EXHIBIT NINE HERE. AND
9    Q. BUT YOU'RE SAYING WHATEVER IS IN THESE LETTERS, THAT 9          SPECIFICALLY, IF YOU LOOK OVER ON THE RIGHT-HAND
10     THEY COULD RELY ON THAT INFORMATION AND THEY               10    SIDE WHERE IT SAYS BONUS NUMBER THREE, FREEDOM
11     WOULDN'T NEED TO DRAW THEIR OWN CONCLUSIONS?               11    FILES, IN THE SECOND PARAGRAPH DOWN.
12 A. NO, IT'S WORDED INTERESTINGLY, BUT THEY CAN DRAW            12 A. OKAY.
13     THEIR OWN CONCLUSION.                                      13 Q. DOES THIS JOG YOUR MEMORY AT ALL AS TO WHAT THE LEVY
14 Q. BUT THEY CAN ALSO RELY ON THE CONCLUSIONS OF THESE, 14            RELEASE PACKAGE WAS?
15     OF THESE PARTICULAR FOLKS?                                 15 A. NOT WITH FORMS AND STUFF, I WASN'T BIG ON FORMS. I
16 A. THEY CAN ALWAYS RELY ON THEIR OWN CONCLUSIONS.              16    WAS -- HEATHER WOULD DO MORE OF THAT, BUT -- I'LL DO
17     EVERYBODY DOES.                                            17    THE BEST I CAN. GO AHEAD.
18 Q. I DIDN'T -- THAT'S NOT THE QUESTION I ASKED, THOUGH.        18 Q. SO, WHAT WAS -- WHAT WAS THE LEVY RELEASE PACKAGE?
19     I ASKED WHETHER THEY COULD RELY ON THE OPINIONS            19 A. FORMS AND DOCUMENTS TO HELP WITH THE RELEASE OF
20     EXPRESSED THEREIN.                                         20    STATE OR FEDERAL TAX LEVY, HELP IN ASSET RECOVERY,
21 A. ASK IT ANOTHER WAY. ARE YOU ASKING AM I GIVING ---          21    USUALLY MONEY OR PAYCHECKS AND ACCOUNTS TAKEN UNDER
22 Q. ARE YOU -- IS THE AWARE GROUP ADVERTISING THAT YOU          22    NOTICE OF LEVY.
23     CAN RELY ON THE INFORMATION PROVIDED BY THESE              23 Q. DO YOU RECALL WHAT THESE FORMS PROVIDED?
24     PEOPLE?                                                    24 A. WELL, IF THEY -- IF IT SAYS AS IT IS, NINE-PAGE
25 A. IT WASN'T OUR INTENT, NO.                                   25    LETTER. THAT'S -- YOU MEAN CAN I CALL UP THE FORMS


                                                                                                 13 (Pages 46 to 49)

                                                                                                          4898d016-a8b8-4355-9859-eeb63c142382
             6:08-cv-03760-GRA               Date Filed 09/25/09         Entry Number 22-3            Page 18 of 94


John Howard Alexander                                                                                 July 27, 2009
                                                         Page 50                                                          Page 52
1      AND EXACTLY WHAT WAS IN THAT PACKAGE IN MY MIND?            1      PEOPLE?
2      NO.                                                         2    A. THAT THE I.R.S. HAD AUTHORITY TO LEVY GOVERNMENT
3    Q. DO YOU KNOW WHAT THEORY THEY WOULD HAVE HELPED THEM        3      EMPLOYEES. THERE WAS NO PROVISION IN THAT PARAGRAPH
4      RELEASE WITH THE STATE OR FEDERAL TAX LEVY?                 4      A. THAT'S WHY IT WAS DELETED.
5    A. WHAT THE THEORY? YOU'RE ASKING ---                         5    Q. I'M CONFUSED. WHAT DO YOU MEAN THEY HAD THE
6    Q. WHAT ---                                                   6      AUTHORITY TO LEVY ON GOVERNMENT EMPLOYEES?
7    A. YOU'RE ASKING ME TO MAKE A CONJECTURE ON THAT?             7    A. I'M JUST TELLING YOU WHAT I REMEMBER OUT OF MY HEAD.
8    Q. I'M ASKING YOU WHAT YOUR REFLECTION IS, SINCE YOU          8    Q. OKAY.
9      PROVIDED THESE FORMS, TOO.                                  9    A. SO, YOU'RE ASKING ME WHAT DO I MEAN? I WAS -- I'M
10 A. THAT'S -- I JUST WANT TO GET THE SAME, BE ON THE             10     GIVING YOU THE CIRCUMSTANCES.
11     SAME PAGE WITH THE WORDS. YOU'RE ASKING ME FOR MY           11 Q. DID THAT -- DO YOU MEAN THAT THEY WOULDN'T, THE
12     CONJECTURE ON WHAT I BELIEVE TO BE ---                      12     I.R.S. WOULD NOT HAVE AUTHORITY TO LEVY ON SOMEBODY
13 Q. NO, I'M ASKING WHAT -- YOU PROVIDED THESE FORMS.             13     WHO WAS NOT A GOVERNMENT EMPLOYEE?
14 A. UH-HUH.                                                      14 A. IT KIND OF GIVES THAT IMPRESSION WHEN THEY
15 Q. TO AWARE GROUP MEMBERS, CORRECT?                             15     DELIBERATELY LEAVE OUT PARAGRAPH A.
16 A. I'M SORRY. YES. I WON'T DO IT AGAIN.                         16 Q. IS THAT AN IMPRESSION YOU SHARE?
17 Q. BECAUSE YOU PROVIDED THESE FORMS AND DOCUMENTS, I'M          17 A. I WOULD LOOK THE COMMISSIONER RIGHT IN THE EYE AND
18     ASKING YOU WHAT WAS IN THESE FORMS AND DOCUMENTS            18     ASK WHY IS THAT LEFT OUT? WHAT'S THE PURPOSE OF
19     THAT YOU WERE PROVIDING TO THE MEMBERS OF YOUR              19     LEAVING THAT OUT?
20     GROUP.                                                      20 Q. SO, IS THAT A YES OR A NO?
21 A. OKAY. THERE'S NO WAY I CAN TELL YOU WHAT WAS IN              21 A. THAT WOULD BE A YES.
22     THEM, BECAUSE I DON'T HAVE THE DOCUMENTS.                   22 Q. CONTINUING ON WITH THIS, IN THIS BONUS NUMBER THREE,
23 Q. BUT YOU DON'T RECALL -- DO YOU RECALL WHAT WAS IN            23     IT DESCRIBES FOUR LETTERS. CAN YOU JUST TAKE A
24     THE DOCUMENTS?                                              24     MINUTE THERE AND READ THAT?
25 A. I WOULD NEED TO SEE THE DOCUMENTS TO BE ABLE TO              25 A. OKAY.

                                                         Page 51                                                          Page 53
1      RECALL THE DOCUMENTS.                                       1    Q. HAVING READ THE DESCRIPTION OF THOSE FOUR LETTERS
2    Q. IS IT FAIR TO SAY THAT THE CONCLUSION OF THESE             2      NOW, WOULD THOSE HAVE BEEN THE KIND OF LETTERS THAT
3      DOCUMENTS WOULD HAVE BEEN TO HELP TRY TO GET A LEVY 3              YOU WOULD HAVE INCLUDED IN THE RELIANCE MANUAL THAT
4      RELEASE?                                                    4      WE WERE TALKING ABOUT EARLIER?
5    A. THAT WOULD BE FAIR TO SAY.                                 5    A. YES.
6    Q. DO YOU REMEMBER WHY YOU WOULD BE, YOU WOULD BE --          6    Q. OKAY. AND DID YOU HAVE AN OPPORTUNITY TO READ THE
7      WHY BY FILLING OUT THESE FORMS, YOU WOULD BE                7      PARAGRAPH -- YOU RECALL -- LET ME, I'LL JUST BACK UP
8      ELIGIBLE FOR A LEVY RELEASE?                                8      HERE ONE SECOND. YOU RECALL WHEN WE WERE DISCUSSING
9    A. HOW DO I ANSWER THAT? I RECALL A DOCUMENT, A NOTICE        9      WITHIN EXHIBIT NUMBER EIGHT, UNDER THE RELIANCE
10     OF, I BELIEVE A NOTICE OF LIEN OR A NOTICE OF LEVY,         10     MANUAL, THE CONCLUSION OF ALL THESE LETTERS IS THE
11     AN I.R.S. DOCUMENT, AND I REMEMBER I WAS AT A               11     SAME AND ANSWERS THE QUESTION OF WHAT MAKES ONE
12     SEMINAR AND THIS GUY WAS POUNDING ON THE TABLE,             12     LIABLE TO FILE AND PAY THE INCOME TAX.
13     POUNDING ON THE TABLE, BECAUSE HE WAS ASKING PEOPLE         13 A. WHAT IS YOUR QUESTION?
14     TO READ THE FIRST PARAGRAPH, WHICH I CAN'T REMEMBER         14 Q. I'M -- WELL, I'M SETTING UP FOR THE QUESTION HERE.
15     THE GUY'S NAME. IT HAPPENED IN CALIFORNIA. AND IT           15     WE WERE DISCUSSING THAT. SO, NOW, THE NEXT, IN THE
16     GOT PASSED AROUND TO FOUR OR FIVE PEOPLE, AND HE            16     BONUS NUMBER THREE, DID YOU HAVE AN OPPORTUNITY TO
17     KEPT GETTING MADDER AND MADDER AT PEOPLE, BECAUSE           17     READ THE NEXT, THE NEXT COUPLE OF PARAGRAPHS AFTER
18     THEY WEREN'T READING THE FIRST PARAGRAPH AND WE             18     THE DESCRIPTION OF THE LETTERS?
19     DIDN'T UNDERSTAND WHAT HE WAS DOING. AND THEN, HE           19 A. YEAH, WHERE IT SAYS THE BOTTOM LINE?
20     SAID, THERE IS NO FIRST PARAGRAPH ON THIS.                  20 Q. UH-HUH. AND IN FACT, LET'S -- I'LL BACK UP ONE
21     PARAGRAPH A WAS OMITTED AND THEN HE READ OUT OF THE 21             MORE. THE PARAGRAPH BEFORE SAID LETTER NUMBER ONE,
22     CODE PARAGRAPH A, AND IT BASICALLY DESCRIBED THAT           22     IT SAYS FOUR OPINION LETTERS WRITTEN BY
23     NOTICES OF LEVY WERE GOOD FOR BASICALLY GOVERNMENT 23              PROFESSIONALS ANSWERING THE QUESTION WHERE IN THE
24     PEOPLE, I THINK, IS WHAT IT WAS.                            24     INTERNAL REVENUE CODE AM I LIABLE FOR INCOME TAXES?
25 Q. WHAT DO YOU MEAN THEY WERE GOOD FOR GOVERNMENT               25 A. UH-HUH.


                                                                                                14 (Pages 50 to 53)

                                                                                                        4898d016-a8b8-4355-9859-eeb63c142382
              6:08-cv-03760-GRA            Date Filed 09/25/09           Entry Number 22-3             Page 19 of 94


John Howard Alexander                                                                                  July 27, 2009
                                                         Page 54                                                        Page 56
1    Q. WHAT IS THE BOTTOM LINE TO THESE LETTERS?                  1      LETTER AND HOW THEY PERCEIVED IT.
2    A. WELL, BASED ON WHAT THESE PEOPLE SAY, THEY CLAIM           2    Q. BUT YOUR QUOTE MADE -- YOU PUT A QUOTATION IN HERE,
3      THAT WITH THEIR EVIDENCE AND WITH WHAT THEY HAVE,           3      YOUR INCOME TAX IS 100% VOLUNTARY TAX AND LIQUOR TAX
4      THAT ONE ISN'T LIABLE.                                      4      IS 100% ENFORCED TAX.
5    Q. OKAY. AND THAT THE INCOME TAX IS PURELY VOLUNTARY?         5    A. THAT CAME OUT OF A CONGRESSIONAL REPORT, I BELIEVE,
6      IS THAT CORRECT?                                            6      OR SOMEBODY IN FRONT OF A CONGRESSIONAL COMMITTEE.
7    A. IT DEPENDS ON HOW YOU DEFINE THE INCOME TAX.               7      I THINK THAT CAME IN 1954, OR RIGHT AROUND THERE.
8    Q. OKAY. AND WHAT DO YOU -- WHAT DO YOU THINK OF WHEN         8    Q. BUT THAT, AND THE CONCLUSION THAT CAN BE, THAT
9      I SAY THE INCOME TAX?                                       9      SHOULD BE DRAWN FROM THAT IS THAT THE INCOME TAX IS
10 A. I ONLY HAVE TO ASK YOU WHAT YOU MEAN BY IT.                  10     PURELY VOLUNTARY, CORRECT?
11 Q. WELL, WHAT IS YOUR UNDERSTANDING OF WHAT THE INCOME 11 A. THERE'S A LOT OF INFORMATION OUT THERE THAT WOULD
12     TAX IS?                                                     12     MAKE THAT APPEAR SO, IF SOMEONE STUDIES IT.
13 A. IT VARIES FROM INDIVIDUAL TO INDIVIDUAL, AND IT              13 Q. AND YOU PROVIDED THAT INFORMATION TO MEMBERS OF THE
14     VARIES FROM TIME TO TIME.                                   14     AWARE GROUP?
15 Q. WHAT DO YOU MEAN BY THAT?                                    15 A. I PROVIDED THAT INFORMATION TO MEMBERS OF THE AWARE
16 A. ASK ME -- ASK ME THE SAME QUESTION, BUT MAYBE A              16     GROUP, ALONG WITH MUCH INFORMATION, YES.
17     LITTLE DIFFERENTLY BECAUSE IT'S NOT -- IT'S NOT             17 Q. OKAY. WITHIN THE RELIANCE MANUAL, WAS THERE
18     CIRCULATING IN MY MIND, PERHAPS, THE SAME.                  18     INFORMATION WHERE SOMEBODY COULD SEND AWAY TO GET
19 Q. I'M ASKING YOU WHAT YOUR UNDERSTANDING OF WHAT THE           19     PERSONALIZED LETTERS?
20     INCOME TAX IS.                                              20 A. THERE -- I THINK THERE WAS.
21 A. MY UNDERSTANDING, YOU MEAN OF TITLE 26?                      21 Q. WHY WOULD YOU NEED A PERSONALIZED LETTER?
22 Q. OF THE INCOME TAX. YOU KNOW, IF IT MEANS TITLE 26            22 A. I WOULDN'T, BUT IF THEY DID, THEY COULD GET IT.
23     TO YOU, I MEAN, WHAT ---                                    23     THEY WOULD -- THEY WOULD -- WE PUT THEM IN TOUCH
24 A. ALL RIGHT. MY -- MY UNDERSTANDING IS THAT THERE ARE          24     WITH THE PEOPLE.
25     CERTAIN PROVISIONS WHERE PEOPLE ARE LIABLE AND THERE        25 Q. WHY DO YOU -- WHY WOULD YOU -- WHY WOULD THEY NEED

                                                         Page 55                                                        Page 57
1      ARE CERTAIN POSITIONS WHERE PEOPLE ARE NOT LIABLE.          1      TO BE PUT IN TOUCH WITH THE PEOPLE?
2    Q. AND WHAT MAKES A PERSON LIABLE FOR THE INCOME TAX?         2    A. I HAVE NO IDEA. YOU'D HAVE TO ASK THEM.
3    A. DEPENDS ON THE INDIVIDUAL. IT DEPENDS ON WHAT THEIR        3    Q. OKAY. WELL, WHY DID YOU FEEL IT NECESSARY TO
4      ACTIVITIES ARE AND WHAT THEY'RE DOING.                      4      INCLUDE THEIR ADDRESS SO THEY COULD CONTACT THEM?
5    Q. OKAY. WELL, WHAT DETERMINATIVE FACTORS ARE WE              5    A. JUST AS A SERVICE. MAYBE THEY WANTED TO QUESTION
6      LOOKING AT THAT WOULD MAKE ONE LIABLE FOR THE INCOME 6             THE LETTERS. THERE COULD BE A LOT OF DIFFERENT
7      TAX?                                                        7      ANSWERS TO THAT.
8    A. DEFINITION OF THE WORD INCOME. SOMETIMES JUST THEIR        8    Q. BUT THEY WERE GETTING -- THEY WERE -- YOU WERE
9      SIGNATURE.                                                  9      ASKING THEM TO SEND AWAY TO GET COPIES OF THESE
10 Q. OKAY. WHAT DO YOU MEAN BY THEIR SIGNATURE?                   10     LETTERS WITH THEIR NAME INCLUDED, RIGHT?
11 A. MAKING AN ADMISSION WITH A SIGNATURE ON IT.                  11 A. UH-HUH.
12 Q. AN ADMISSION TO WHOM?                                        12 Q. OKAY.
13 A. TO THE I.R.S., AN ADMISSION OF LIABILITY.                    13 A. PERSONALIZED.
14 Q. WITHIN THE LETTERS THAT YOU WERE, THAT YOU SAY WERE          14 Q. SO, THEY'RE GETTING -- BUT THEY'RE GETTING THE SAME
15     PART OF THE, OF WHAT WAS INCLUDED IN THE RELIANCE           15     FORM LETTER?
16     MANUAL, THESE FOUR LETTERS THAT ARE DESCRIBED HERE          16 A. YEAH, IT WAS A FORM LETTER. I MEAN, I NEVER GOT
17     IN THIS NEWSLETTER?                                         17     ONE, SO I WOULDN'T -- I WOULDN'T MAKE A PRESUMPTION
18 A. UH-HUH.                                                      18     THAT THAT'S WHAT THEY WERE GETTING IF THEY DID THAT.
19 Q. OKAY. WHAT THEIR CONCLUSION, IF I'M CORRECT, IS              19 Q. DO YOU KNOW WHAT THEY WOULD USE THESE FORM LETTERS
20     THAT A PERSON IS NOT LIABLE TO PAY AN INCOME TAX.           20     FOR?
21     IS THAT CORRECT?                                            21 A. NO, I WASN'T INVOLVED WITH THEIR, WHATEVER THAT IS,
22 A. PRETTY MUCH.                                                 22     IF THEY HAD AN ISSUE OR IF IT WAS THEY WERE JUST
23 Q. WHAT DO YOU MEAN, PRETTY MUCH?                               23     WANTING TO LEARN, THEY WERE BUILDING PAPER WORK. A
24 A. I MEAN, PRETTY MUCH. PEOPLE WILL DRAW THEIR OWN              24     LOT OF PEOPLE DID THAT, JUST WANTED TO HAVE PAPER
25     CONCLUSIONS ON IT, DEPENDING ON WHAT WAS IN THE             25     WORK.


                                                                                                  15 (Pages 54 to 57)

                                                                                                        4898d016-a8b8-4355-9859-eeb63c142382
             6:08-cv-03760-GRA         Date Filed 09/25/09         Entry Number 22-3            Page 20 of 94


John Howard Alexander                                                                            July 27, 2009
                                                   Page 58                                                         Page 60
1 Q. LET'S MOVE ON TO ONE OF THE OTHER PRODUCTS THAT THE 1        A. YEAH, MORE THAN LIKELY, IT IS.
2    AWARE GROUP SOLD INVOLVING LAND PATENTS.                2    Q. OKAY.
3 A. OKAY.                                                   3    A. LIKE I SAID, I DON'T HAVE THE FREEDOM FILES, AND I'D
4 Q. THE DESCRIPTION OF THIS IS, AGAIN, ON THIS PAGE,        4      LIKE TO GET IT SO I CAN REVIEW IT.
5    THIS PAGE THAT WE'VE BEEN LOOKING AT RIGHT BELOW THE 5 Q. THE SENTENCE HERE AT THE BOTTOM OF THE FIRST PAGE,
6    RELIANCE ONE. WHY DON'T YOU TAKE A MINUTE AND READ      6      IT SAYS, "LAND CANNOT BE TAKEN FOR DEBT OR TAXES,
7    THAT?                                                   7      BUT REAL ESTATE CAN BE TAKEN." CAN YOU EXPLAIN
8 A. OKAY.                                                   8      THAT?
9 Q. OKAY. IT SAYS WITH PATENTED LAND, YOUR LAND CAN'T       9    A. YEAH, A LITTLE SLIGHT OF HAND THERE. THERE'S A
10   BE TAKEN FROM YOU FOR DEBTS OR TAXES. WHAT DID YOU 10          DIFFERENCE BETWEEN LAND AND REAL ESTATE. REAL
11   MEAN BY THAT?                                           11     ESTATE IS A DIFFERENT TERM. I CAN'T RECALL EXACTLY
12 A. EXACTLY WHAT IT SAYS.                                  12     HOW TO DESCRIBE IT OR DEFINE IT, BUT THERE WAS A
13 Q. WHY COULDN'T IT BE TAKEN? WHAT MADE PATENTED LAND 13          DIFFERENCE BETWEEN THE TWO.
14   SO SPECIAL?                                             14 Q. AND ONLY GOING THROUGH THIS -- AT THE TIME THAT THIS
15 A. PATENTED LAND IS FREE HOLD LAND.                       15     WAS BEING, AT THE TIME THAT THE AWARE GROUP WAS
16 Q. CAN YOU EXPLAIN THAT TO ME?                            16     OPERATING, THERE WAS A BELIEF THAT YOU WERE SHARING
17 A. IT MEANS IT CAN'T BE TAKEN FOR DEBTS OR TAXES.         17     WITH MEMBERS OF THE AWARE GROUP THAT A LAND PATENT
18   THERE CAN BE NOTHING LIENED AGAINST IT.                 18     WAS THE ONLY WAY TO SECURE PROPERTY FROM BEING
19 Q. WHY IS THAT?                                           19     SUBJECT TO SEIZURE BY DEBT OR TAXES?
20 A. WELL, I'M NOT GOING TO GET INTO A DESCRIPTION OF       20 A. LAND PATENTS WASN'T SOMETHING THAT I THOUGHT OF ON
21   THIS.                                                   21     MY OWN. PEOPLE -- MANY PEOPLE WERE COMING TO ME
22 Q. WELL, I'M ASKING YOU FOR A DESCRIPTION OF THIS.        22     ABOUT THIS ISSUE, AND THEY WERE CONCERNED, RIGHTLY
23 A. OKAY. IT'S BEEN LATER DISCOVERED SINCE THIS THAT       23     SO, BECAUSE THERE WAS NO WAY TO PASS ON TO THEIR
24   YOU CAN'T PATENT THE LAND. THE LAND HAS ALREADY         24     POSTERITY, THEIR PROPERTY. THEY DIDN'T FEEL THAT
25   BEEN TAKEN OVER AND COMPLETELY OWNED AND                25     THEY OWNED THEIR PROPERTY. ALL THEY EVER GOT WAS A

                                                   Page 59                                                         Page 61
1    SUBORDINATED. AT THAT TIME, WE THOUGHT THERE WAS A      1      TITLE ON THEIR PROPERTY. IT WASN'T OWNERSHIP. WE
2    PROCESS WHERE WE CAN GO BACK TO HAVING PATENTED         2      WERE STUDYING THAT, AND THERE WERE MANY PEOPLE THAT
3    LAND, AND IT WAS IMPORTANT TO UNDERSTAND THAT, THAT     3      WERE STUDYING THIS.
4    AT SOME TIME IN THE HISTORY OF THE COUNTRY,             4 Q. AND YOU WERE PROVIDING INFORMATION ON HOW, ON WHAT A
5    EVERYBODY LOST OWNERSHIP, TRUE OWNERSHIP OF THEIR       5      LAND PATENT WAS?
6    LAND.                                                   6 A. WHAT I WAS DOING WAS ACTING AS A CENTRAL POINT AND
7 (COURT REPORTER MARKS PLAINTIFF'S EXHIBIT NUMBER TEN, DO   7      RECIRCULATING THE INFORMATION COMING IN TO ME AND
8 YOU OWN YOUR LAND?, ATTACHED.)                             8      PUTTING IT BACK OUT, ENCOURAGING MORE PEOPLE TO
9 EXAMINATION RESUMED BY MR. STRONG:                         9      STUDY THIS ISSUE.
10 Q. I'LL HAND YOU NOW WHAT'S BEING MARKED AS PLAINTIFF'S   10 (COURT REPORTER MARKS PLAINTIFF'S EXHIBIT NUMBER 11,
11   EXHIBIT NUMBER TEN, AND A COPY HAS BEEN PROVIDED TO     11 STEPS TO SECURE A LAND PATENT CLAIM, ATTACHED.)
12   YOUR COUNSEL, ENTITLED DO YOU OWN YOUR LAND. TAKE A 12 EXAMINATION RESUMED BY MR. STRONG:
13   MINUTE AND ---                                          13 Q. I'LL HAND YOU NOW WHAT'S BEING MARKED AS PLAINTIFF'S
14 A. UNDERSTAND I HAVEN'T READ IT ALL. I'M JUST             14     EXHIBIT NUMBER 11, ENTITLED STEPS TO SECURE A LAND
15   GENERALLY LOOKING.                                      15     PATENT CLAIM.
16 Q. THIS IS INFORMATION THAT THE AWARE GROUP PROVIDED TO 16 A. OKAY.
17   PEOPLE INTERESTED IN LAND PATENTS.                      17 Q. WOULD THIS HAVE COME OFF THE FREEDOM FILES?
18 A. OKAY. THIS CAME OFF THE FREEDOM FILES.                 18 A. IT COULD HAVE. I DON'T KNOW IF IT DID.
19 Q. THIS IS INFORMATION THAT YOU FOLKS PROVIDED TO ME AS   19 Q. WELL, LET'S REFER BACK TO MAYBE PLAINTIFF'S EXHIBIT
20   PART OF MY REQUEST FOR PRODUCTION OF DOCUMENTS.         20     NUMBER EIGHT, WHICH WAS THE REFERRAL PROGRAM LIST.
21 A. OKAY. I HAVE NO IDEA WHERE IT CAME FROM, BUT OKAY.     21     I'M LOOKING AT PAGE TWO OF THAT.
22   THAT LOOKS LIKE FREEDOM FILES, PICTURE THAT HEATHER     22 A. OKAY. IT SAYS STEPS TO SECURE, BUT YEAH, SAME
23   WOULD PUT IN.                                           23     THING. OKAY.
24 Q. SO, YOU WOULD AGREE THAT THIS WOULD COME OFF, THAT     24 Q. OKAY. AND THE FIRST ONE SAYS WHO OWNS YOUR LAND,
25   THIS IS PROBABLY OFF THE FREEDOM FILES?                 25     WHICH WE WERE DISCUSSING, PLAINTIFF'S EXHIBIT NUMBER


                                                                                           16 (Pages 58 to 61)

                                                                                                  4898d016-a8b8-4355-9859-eeb63c142382
              6:08-cv-03760-GRA             Date Filed 09/25/09        Entry Number 22-3            Page 21 of 94


John Howard Alexander                                                                                July 27, 2009
                                                        Page 62                                                      Page 64
1      TEN.                                                       1     TIME.
2    A. OKAY.                                                     2 Q. WHO COULD HAVE TYPED UP THE LETTER? I MEAN, IT
3    Q. OKAY. SO, THIS CAME OFF THE FREEDOM FILES, THEN?          3     WOULD HAVE BEEN YOU OR HEATHER ALEXANDER, CORRECT?
4    A. OKAY. IT APPEARS SO.                                      4 A. IT COULDN'T HAVE BEEN ME, BECAUSE I DON'T WORK ON
5    Q. OKAY. THIS PACKET OF MATERIALS CONTAINS A NUMBER OF       5     KEYBOARDS AND COMPUTERS.
6      FORMS ON HOW TO SECURE A LAND PATENT, CORRECT?             6 Q. BUT YOU WERE -- THIS WAS PART OF YOUR MARKETING
7    A. IT'S A LOT OF INFORMATION. WHERE, SPECIFICALLY, ARE       7     MATERIALS?
8      THE FORMS?                                                 8 A. TRUE.
9    Q. JUST CONTINUE THROUGH THE MIDDLE.                         9 Q. OKAY. SO, YOUR MARKETING MATERIALS ARE SAYING THAT
10 A. OKAY, HERE. DECLARATION. THERE'S NO PAGE NUMBERS            10    THE ONLY WAY YOU CAN SECURE TRUE OWNERSHIP OF YOUR
11     ON HERE. IT JUST SAYS DECLARATION OF LAND PATENT.          11    LAND IS THROUGH A LAND PATENT CLAIM?
12     DESCRIPTION OF PROPERTY, NOTICE AND EFFECTIVE LAND         12 A. FROM WHAT WE UNDERSTOOD AT THE TIME, YES.
13     PATENT.                                                    13 Q. AND AT THE TIME, YOU WERE PROVIDING STEP BY STEP
14 Q. SO, YOU WOULD AGREE THAT YOU WERE PROVIDING FILL IN         14    INSTRUCTIONS AND FILL IN THE BLANK FORMS ON HOW TO
15     THE BLANK FORMS FOR FOLKS WHO WANTED TO SECURE A           15    DO SO?
16     LAND PATENT?                                               16 A. WE WERE RECIRCULATING INFORMATION SUCH AS THIS BACK
17 A. NO, THIS IS INFORMATION -- I DIDN'T CREATE THIS             17    OUT TO PEOPLE.
18     DOCUMENT. THIS IS INFORMATION THAT CAME IN FROM THE        18 Q. UNDER THE MARKETING TOOL THAT THIS IS THE ONLY WAY
19     PEOPLE THAT WE WERE STUDYING BECAUSE THAT LAND             19    YOU CAN SECURE TRUE OWNERSHIP OF YOUR LAND?
20     PACKAGE HAD, LAND PATENT PACKAGE HAD A LOT OF STUFF        20 A. DIDN'T KNOW IF IT WAS OR NOT.
21     IN IT. AND ALL WE WERE DOING WAS RECIRCULATING IT          21 Q. BUT THAT'S HOW YOU'RE ---
22     BACK OUT AND ENCOURAGING PEOPLE TO GET TO THE BOTTOM 22 A. YOU'RE TAKING SOMETHING OUT OF CONTEXT ---
23     OF WHAT'S GOING ON WITH THE LAND ISSUE IN THE UNITED       23 Q. --- MARKETING ---
24     STATES OF AMERICA.                                         24 A. YOU'RE TAKING SOMETHING OUT OF CONTEXT IN ONE PLACE
25 Q. WELL, NOW, THE FIRST COUPLE OF PAGES, THOUGH, ARE           25    AND PUTTING IT TO ANOTHER.

                                                        Page 63                                                      Page 65
1      INSTRUCTIONS ON HOW TO FILL OUT THESE FORMS AND TAKE       1 Q. I'M TAKING WHAT YOU SAY IN YOUR MARKETING MATERIALS
2      THE STEPS TO SECURE THIS, CORRECT?                         2    AND APPLYING IT TO THE MATERIALS THAT YOU ARE
3 A. YES.                                                         3    MARKETING. IS THAT CORRECT?
4 Q. SO, YOU'RE PROVIDING INSTRUCTIONS ON HOW TO SECURE A         4 A. IT'S NOT AN ENDORSEMENT.
5      LAND PATENT CLAIM TO MEMBERS OF THE AWARE GROUP?           5 Q. AND IN YOUR MARKETING MATERIALS, YOU'RE SAYING THAT
6 A. JUST PROVIDING WHAT WAS SENT IN. IT'S GOING BACK             6    WITH PATENTED LAND, YOUR LAND CAN'T BE TAKEN FROM
7      OUT AGAIN.                                                 7    YOU FOR DEBTS OR TAXES.
8 Q. BUT YOU'RE PROVIDING IT?                                     8 A. IF THE LAND HAS A PATENT ON IT, YES. WE HAVEN'T
9 A. WE PROVIDED IT.                                              9    DISCOVERED HOW EXCEPT TO BUY A PIECE OF LAND THAT
10 Q. OKAY. WOULD YOU PROVIDE SOMETHING YOU COULDN'T RELY 10           HAS STILL THE ORIGINAL PATENT ON IT.
11     ON?                                                        11 Q. BUT AT THE TIME THAT YOU WERE PROVIDING INSTRUCTIONS
12 A. BAD QUESTION. IT'S LIKE ---                                 12   ON WHAT YOU THOUGHT WAS A WAY TO SECURE THAT SORT OF
13 Q. WOULD YOU DO YOUR OWN RESEARCH BEFORE YOU WOULD             13   PATENT?
14     PROVIDE SOMETHING TO THE MEMBERS OF YOUR GROUP?            14 A. IT WAS A BELIEF, YOU KNOW. A COUPLE HUNDRED YEARS
15 A. IF I COULD. LAND PATENTS WAS SOMETHING THAT                 15   AGO, WE BELIEVED THE EARTH WAS FLAT.
16     INTRIGUED ME, AND I WAS VERY INTERESTED WITH THEM.         16 (COURT REPORTER MARKS PLAINTIFF'S EXHIBIT NUMBER 12,
17     AND I COULDN'T GET TO THE BOTTOM OF IT.                    17 LAND PATENTS, EJECTMENTS AND ESTOPPEL, ATTACHED.)
18 Q. OKAY. BUT I'M SORRY, BUT GOING BACK TO PLAINTIFF'S          18 EXAMINATION RESUMED BY MR. STRONG:
19     EXHIBIT NUMBER EIGHT, WHICH WAS THE LETTER REGARDING       19 Q. AND JUST TO WRAP UP OUR DISCUSSION OF LAND PATENTS
20     SOME OF THESE MATERIALS THAT YOU WERE MARKETING, YOU 20         HERE, DO YOU RECOGNIZE THE DOCUMENT IN FRONT OF YOU
21     STATE, BUT THIS IS THE ONLY WAY YOU CAN SECURE TRUE        21   ENTITLED LAND PATENTS, EJECTMENTS, AND ESTOPPEL?
22     OWNERSHIP OF YOUR LAND. I MEAN, THIS IS -- AREN'T          22 A. NO.
23     THOSE YOUR WORDS?                                          23 Q. OKAY. DO YOU THINK THIS IS INFORMATION THAT WOULD
24 A. THAT -- NOT NECESSARILY. WHOEVER TYPED UP THE               24   HAVE BEEN PROVIDED TO MEMBERS OF THE AWARE GROUP?
25     LETTER, BUT THAT'S -- BUT THE UNDERSTANDING AT THAT        25 A. THAT, I CAN'T SAY, JUST BY LOOKING AT THE TYPE. THE


                                                                                              17 (Pages 62 to 65)

                                                                                                     4898d016-a8b8-4355-9859-eeb63c142382
               6:08-cv-03760-GRA           Date Filed 09/25/09       Entry Number 22-3          Page 22 of 94


John Howard Alexander                                                                           July 27, 2009
                                                   Page 66                                                         Page 68
1      INFORMATION LOOKS OKAY.                                 1    Q. --- 14. AND FOR THE RECORD, I HAVE PROVIDED ALSO
2    Q. DID YOU PROMOTE MATERIALS CONCERNING SOMETHING         2      EXHIBITS 13 AND 14 TO COUNSEL. THIS PACKET OF
3      CALLED, CONCERNING COMMERCIAL REDEMPTION OR             3      MATERIALS, TAKE A LOOK AT IT AND LET ME KNOW WHEN
4      REDEMPTION?                                             4      YOU'RE READY.
5    A. DID I WHAT MATERIALS TO WHOM?                          5    A. OKAY.
6    Q. PROVIDE MATERIALS.                                     6    Q. THESE ARE, AGAIN, FORMS, FILL IN THE BLANK FORMS AND
7    A. YES.                                                   7      TEMPLATES FOR MEMBERS OF THE AWARE GROUP TO USE IN
8    Q. WHAT IS THE REDEMPTION PROCESS?                        8      THE REDEMPTION PROCESS?
9    A. AM I DONE WITH THIS?                                   9    A. UH-HUH. YES.
10 Q. YES.                                                     10 Q. THAT YOU WERE PROVIDING TO THEM?
11 A. THE REDEMPTION PROCESS IS SOMETHING I DIDN'T BELIEVE 11 A. RIGHT.
12     IN. THE EDITOR OF AMERICA'S BULLETIN WORKED ON ME       12 Q. SO, THEY COULD USE THESE FORMS, THEN, TO SEPARATE
13     FOR ABOUT A YEAR TO TAKE A LOOK AT IT.                  13     THEMSELVES FROM THEIR STRAW MAN?
14 Q. UH-HUH.                                                  14 A. THAT WAS THE IDEA, THAT ---
15 A. AND WHEN I DID TAKE A LOOK AT IT, I SMELLED SMOKE        15 Q. OKAY. IF YOU DIDN'T BELIEVE IN IT, WHY WERE YOU
16     AND WHEN I SMELL SMOKE, I LOOK FOR FIRE.                16     PROVIDING THESE TO MEMBERS OF YOUR ORGANIZATION?
17 Q. OKAY. CAN YOU STILL -- WHAT IS REDEMPTION?               17 A. BECAUSE I WATCHED HOW HARD THE CASES AND THE
18 A. THE IDEA, AT THAT TIME, OF REDEMPTION WAS THAT YOU       18     GOVERNMENT WAS COMING AGAINST IT, AND IT MADE ME
19     CAN REDEEM THIS FICTIONAL PERSON THAT IS CREATED IN     19     REALIZE THAT MAYBE IT HAS MORE VALIDITY THAN I
20     EVERYBODY'S NAME.                                       20     SUSPECTED, BUT I ALSO LOOKED AT THE TENACITY WITH
21 Q. OKAY. AND WHAT IS THAT? HOW DOES THAT BENEFIT            21     WHICH THEY CAME AT THESE PEOPLE. SO, IT BROUGHT A
22     ANYBODY?                                                22     LOT OF QUESTIONS INTO MY MIND IF I WANT TO BE
23 A. WELL, IF IT WOULD WORK, IT WOULD BENEFIT PEOPLE BY       23     INVOLVED WITH THIS. I DIDN'T WANT TO BE INVOLVED
24     BEING ABLE TO TAKE BACK WHAT IS RIGHTFULLY THEIRS.      24     WITH IT IN THE BEGINNING. WHEN I GOT INVOLVED WITH
25 Q. UH-HUH. BUT TO MEMBERS OF THE AWARE GROUP, YOU           25     IT, I DIDN'T NECESSARILY LIKE WHAT I SAW AND THEN I

                                                   Page 67                                                         Page 69
1      PROVIDED SOMETHING ENTITLED THE REDEMPTION MANUAL? 1           STARTED GETTING UNINVOLVED WITH IT.
2    A. YES.                                                   2 Q. WHAT DO YOU MEAN YOU WERE GETTING UNINVOLVED WITH
3    (COURT REPORTER MARKS PLAINTIFF'S EXHIBIT NUMBER 13,      3      IT?
4    GETTING STARTED, ATTACHED.)                               4 A. I MEAN I GOT UNINVOLVED WITH IT.
5    EXAMINATION RESUMED BY MR. STRONG:                        5 Q. BUT YOU WERE STILL PROVIDING FILL IN THE BLANK FORMS
6    Q. I'LL NOW HAND YOU WHAT'S BEING MARKED AS PLAINTIFF'S   6      FOR YOUR MEMBERS TO ---
7      EXHIBIT 13.                                             7 A. IT WAS ON THE -- IT WAS ON THE FREEDOM FILES. I HAD
8    A. ARE WE DONE WITH THESE, OR SHOULD I JUST STACK THEM    8      NO CONTROL OVER HOW TO TAKE ANYTHING OFF OF THE
9      UP? IT'S GOING TO BE A MESS HERE.                       9      FREEDOM FILES OR PUT ANYTHING ON.
10 Q. YEAH, WE CAN DO THAT. OKAY. THIS PACKET OF               10 Q. COULD YOU NOT CREATE NEW CDs OF -- WITHOUT SOME OF
11     MATERIALS CALLED GETTING STARTED, DOES THIS CONCERN 11         THIS ---
12     THE REDEMPTION -- AFTER YOU'VE TAKEN A MOMENT TO        12 A. THE CDs WERE LOCKED UP TIGHTER THAN A DRUM.
13     LOOK AT IT, DOES THIS CONCERN THE REDEMPTION            13 Q. NOW, THE PRODUCT THAT YOU WERE BEST KNOWN FOR WAS
14     PROCESS?                                                14     TRUSTS, CORRECT?
15 A. YES.                                                     15 A. YOU MEAN THE SELLING PRODUCT, OR JUST GENERAL
16 Q. AND AGAIN, THIS IS MATERIAL THAT YOU WERE PROVIDING      16     KNOWLEDGE AND INFORMATION?
17     TO MEMBERS OF THE AWARE GROUP?                          17 Q. WELL, LET'S START WITH ONE AND THEN THE OTHER.
18 A. CORRECT.                                                 18     GENERAL KNOWLEDGE AND INFORMATION.
19 Q. OKAY.                                                    19 A. THE ECONOMY, MONEY.
20 (COURT REPORTER MARKS PLAINTIFF'S EXHIBIT NUMBER 14,        20 Q. OKAY. SELLING?
21 FORMS AND TEMPLATES, ATTACHED.)                             21 A. YEAH, AND SELLING.
22 EXAMINATION RESUMED BY MR. STRONG:                          22 Q. SO, REGARDING TRUSTS.
23 Q. I'LL ALSO PROVIDE YOU WHAT I'M GOING TO MARK AS          23 A. OH, OKAY. I THOUGHT -- OKAY. I MISUNDERSTOOD YOUR
24     PLAINTIFF'S EXHIBIT ---                                 24     QUESTION.
25 A. FOURTEEN?                                                25 Q. YOUR PRIMARY PRODUCT THAT YOU WERE SELLING WERE


                                                                                           18 (Pages 66 to 69)

                                                                                                   4898d016-a8b8-4355-9859-eeb63c142382
           6:08-cv-03760-GRA            Date Filed 09/25/09          Entry Number 22-3             Page 23 of 94


John Howard Alexander                                                                              July 27, 2009
                                                     Page 70                                                         Page 72
1     CALLED PURE TRUSTS?                                      1      TRUST AND YOU CAME OVER AND YOU JUMPED OVER THE
2 A. WAS CONTRACTS. WE REFER TO THEM AS CONTRACTS OF           2      FENCE AND WAS ON THE WRONG PLACE AND YOU STUMBLE
3     PURE TRUST.                                              3      BUMMED AROUND AND FELL DOWN AND BROKE YOUR NOSE,
4 Q. OF PURE TRUST. AND WHAT IS A PURE TRUST? WHAT IS A        4      YEAH, THE TRUST COULD BE LIABLE. NO QUESTION ABOUT
5     PURE TRUST?                                              5      IT.
6 A. CONTRACT.                                                 6    Q. WELL, YOU'RE INVOLVED IN THE ALEXANDER FAMILY TRUST,
7 Q. CONTRACT BETWEEN WHOM?                                    7      RIGHT?
8 A. WHOEVER WANTS TO START THE CONTRACT AND FINISH IT, 8 A. I'M THE FIRST TRUSTEE.
9     BETWEEN THE SETTLER, TRUSTEE, THE CONTRACTOR, THE        9    Q. OKAY. HOW DID YOU INTEND THAT FOR YOUR TRUST TO
10    CONTRACTEE. A LOT OF DIFFERENT TERMS FOR THEM. TWO 10           OPERATE, TO PROTECT YOUR PRIVACY?
11    SIDES TO A CONTRACT.                                     11 A. FIRST OF ALL, IT'S NOT MY TRUST. IT'S MY MOTHER'S
12 Q. HOW WOULD IT WORK?                                       12     TRUST. SHE'S THE ONE THAT ESTABLISHED IT, SO WE GO
13 A. IT WOULD WORK ANY WAY THEY WANT IT TO WORK. IT'S A 13           BACK TO THE ORIGIN. IT'S MY MOTHER'S TRUST.
14    CONTRACT. SO LONG AS THEY'RE NOT INTERFERING WITH        14 Q. AND WHAT ARE YOUR ROLES AND RESPONSIBILITIES AS
15    ANYBODY ELSE'S RIGHTS, THEY CAN DO WHATEVER THEY         15     FIRST TRUSTEE?
16    WANT IN A CONTRACT.                                      16 A. TO CARE FOR THE PROPERTY OR THE CORPUS OF THE TRUST.
17 Q. HOW IS THE PRODUCT THAT YOU SOLD, HOW IS -- HOW WAS 17 Q. NOW THAT YOUR MOTHER HAS PASSED AWAY, HOW DID THAT
18    IT INTENDED TO WORK?                                     18     AFFECT THE TRUST?
19 A. IT WAS INTENDED TO WORK FOR PRIVACY.                     19 A. REALLY, NO EFFECT. IT'S STILL IN EXISTENCE.
20 Q. WHAT DO YOU MEAN BY PRIVACY?                             20 Q. AND YOU'RE STILL FIRST TRUSTEE?
21 A. KEEP PEOPLE FROM SNOOPING INTO THEIR LIVES.              21 A. I AM STILL A FIRST TRUSTEE.
22 Q. WHO WOULD BE ABLE TO SNOOP INTO THEIR LIVES?             22 Q. AND HOW DOES THAT -- HOW DID THE TRUST PROTECT YOUR
23 A. THE EARLY 1980s, WHEN THE WHOLE THING WITH IDENTITY 23          MOTHER'S PRIVACY?
24    THEFT STARTED, I BECAME ALARMED, NEVER EVEN              24 A. BECAUSE UNTIL YOU BROUGHT IT UP, NOBODY ELSE KNOWS
25    IMAGINING IT WOULD GROW AS BIG AS IT DID. I COULD        25     SHE HAD ANYTHING TO DO WITH IT.

                                                     Page 71                                                         Page 73
1    NEVER HAVE THOUGHT OF THAT, BUT I SAW IT AS A             1 Q. DOES THE -- DOES THE TRUST HELP PROTECT YOUR PRIVACY
2    PROBLEM. HOW DO YOU KEEP THAT FROM HAPPENING? YOU         2      IN ANY WAY?
3    KEEP THAT FROM HAPPENING BY ESTABLISHING PRIVACY ANY      3 A. NO, NOT REALLY. WASN'T MEANT TO.
4    WAY YOU CAN.                                              4 Q. BUT THIS IS A HOME THAT YOU NOW LIVE IN AND RESIDE
5 Q. AND SO, HOW WOULD A PURE TRUST HELP ONE TO ESTABLISH      5      IN, CORRECT?
6    PRIVACY?                                                  6 A. I LIVE IN THIS HOME.
7 A. IF SOMETHING ISN'T IN YOUR NAME, THEY REALLY CAN'T        7 Q. SO, THE TRUST HAS AND THE PERSON WHOSE PRIVACY IT
8    DETERMINE THAT YOU, THAT IT'S YOURS.                      8      WAS INTENDED TO PROTECT HAS NOW PASSED AWAY.
9 Q. WOULD THE I.R.S. NOT BE ABLE TO DETERMINE THAT IT         9 A. NO, THERE ARE OTHERS.
10   WAS, THAT THE PROPERTY IN THE TRUST WAS ---               10 Q. WHAT OTHERS?
11 A. IT DEPENDS ON THE, DEPENDS ON THE TRUST, DEPENDS ON      11 A. BENEFICIARY.
12   THE KIND OF PROPERTY. THE I.R.S. HAS A LOT OF             12 Q. OKAY. THE BENEFICIARY IS?
13   FILINGS ON TRUSTS.                                        13 A. IS MY ADOPTED DAUGHTER.
14 Q. UH-HUH. BUT IN YOUR UNDERSTANDING OF HOW THE PURE        14 Q. AND IS THE TRUST, DOES THE TRUST HAVE ANY
15   TRUST THAT, YOU KNOW, THE CONTRACT TEMPLATES YOU          15     RESPONSIBILITIES TO THE INTERNAL REVENUE SERVICE?
16   WERE FORMING, HOW WOULD IT -- WOULD THE I.R.S. BE         16 A. NO.
17   ABLE TO LOOK IN THERE?                                    17 Q. WHY NOT?
18 A. YEAH, I MEAN, MOST OF THE -- MOST OF THE PROPERTY IN     18 A. IT'S JUST A CONTRACT WITH A HOUSE IN IT. HOW WOULD
19   TRUST IS PROPERTY OF RECORD. MOST OF IT'S REAL            19     THE I.R.S. FIT INTO IT? DOESN'T MAKE INCOME,
20   ESTATE, I WOULD IMAGINE.                                  20     DOESN'T DO ANYTHING.
21 Q. WOULD THEY BE ABLE TO -- WOULD THEY BE ABLE TO           21 Q. WHAT ARE THE BENEFITS OF OWNING A PURE TRUST?
22   ATTACH TO IT?                                             22 A. YOU JUST ASKED THAT QUESTION.
23 A. DEPENDS ON WHERE THE -- DEPENDS ON THE LIABILITY.        23 Q. WELL, I'M ASKING IT NOW.
24   WHO WAS LIABLE? WHAT WAS LIABLE? IF, SAY, FOR             24 A. PRIVACY.
25   EXAMPLE, A PIECE OF PROPERTY, LAND, HOME WAS IN A         25 Q. ANY OTHER BENEFITS?


                                                                                             19 (Pages 70 to 73)

                                                                                                    4898d016-a8b8-4355-9859-eeb63c142382
              6:08-cv-03760-GRA           Date Filed 09/25/09        Entry Number 22-3            Page 24 of 94


John Howard Alexander                                                                              July 27, 2009
                                                     Page 74                                                            Page 76
1 (COURT REPORTER MARKS PLAINTIFF'S EXHIBIT NUMBER 15,         1 Q. THAT CONTAINED INFORMATION ON HOW TO SET UP A PURE
2 BENEFITS OF A PURE TRUST, ATTACHED.)                         2      TRUST? AND ON PAGE FOUR OF THIS MATERIAL, BELOW
3 EXAMINATION RESUMED BY MR. STRONG:                           3      WHERE IT SAYS NUMBER EIGHT, STARTING IN OUR
4 Q. BEFORE YOU ANSWER, I'LL HAND YOU WHAT'S BEEN MARKED       4      RESEARCH, YOU SCRUTINIZED HUNDREDS OF COURT
5      AS PLAINTIFF'S EXHIBIT NUMBER 15, WHICH I'M ALSO        5      DECISIONS TO FIND HOW TO MAKE CERTAIN TYPES OF
6      HANDING TO YOUR COUNSEL.                                6      TRUSTS IMPENETRABLE BY JUDGES, THE I.R.S., AND OTHER
7 A. OH, OKAY. THAT MAKES IT EASY.                             7      CREDITORS. THE TRUSTS HAVE BEEN STRUCTURED AFTER
8 Q. IS ONE OF THE BENEFITS OF A PURE TRUST THAT YOU CAN       8      CONTRACTS OF TRUST THAT HAVE BEEN CHALLENGED AND
9      PAY REDUCED TAXES?                                      9      TESTED TO WITHSTAND THE MOST INTENSE SCRUTINY OF THE
10 A. IN SOME CASES.                                           10     COURTS, THE I.R.S., AND CREDITORS, AND STILL REMAIN
11 Q. HOW DOES THAT WORK?                                      11     INTACT? HOW DID THAT WORK?
12 A. DON'T KNOW. DON'T HAVE THAT CASE.                        12 A. I DON'T UNDERSTAND WHAT YOU MEAN HOW DOES THAT WORK.
13 Q. BUT HOW WOULD IT WORK WITH OTHER CASES?                  13 Q. YOU'RE PROVIDING THEM INFORMATION ABOUT THE PURE
14 A. I CAN'T ANSWER THAT QUESTION.                            14     TRUSTS THAT THESE, AND HOW THEY'RE PURPORTEDLY
15 Q. YOU'RE MARKETING IT THAT IT CAN HELP REDUCE YOUR         15     IMPENETRABLE BY THE I.R.S. OR OTHER CREDITORS.
16     TAXES. WHAT DID YOU MEAN WHEN YOU MARKETED IT THAT      16 A. IF IT'S SET UP PROPERLY.
17     WAY?                                                    17 Q. OKAY. HOW WOULD YOU SET THEM UP PROPERLY TO DO
18 A. THIS IS FIVE YEARS AGO THAT I EVEN SAW THIS. AND         18     THAT?
19     I'M NOT EXACTLY SURE WHAT YOU'RE SAYING OR ASKING OR    19 BY MR. BENNETT:
20     LOOKING FOR.                                            20       OBJECTION. CALLS FOR A LEGAL SPECULATION. YOU
21 Q. IS THIS DOCUMENT A MARKETING MATERIAL PUT OUT BY THE 21         CAN ANSWER THE QUESTION AS TO PERSONAL OPINION, AND
22     FREEDOM TRUST GROUP OR THE AWARE GROUP?                 22     I'M GOING TO KEEP THAT A RUNNING OBJECTION ON ANY OF
23 A. THIS LOOKS LIKE A PAGE THAT CAME OFF OF SOMETHING,       23     THOSE, BUT YOU CAN ANSWER THE QUESTION.
24     BUT WHERE IT CAME FROM, I'M NOT SURE.                   24 BY THE WITNESS:
25 Q. ON THE TOP, IT SAYS YOUR PRIVACY AND ASSET               25       WHAT WAS THE QUESTION AGAIN? THAT THREW ME

                                                     Page 75                                                            Page 77
1      ACCUMULATION GUIDE BY F.T.G. VERSION 10/00.             1      OFF.
2    A. OH, OKAY. YEAH, I SEE WHERE IT CAME FROM.              2    EXAMINATION RESUMED BY MR. STRONG:
3    Q. SO, THIS IS SOMETHING FROM THE FREEDOM TRUST GROUP?    3    Q. HOW WOULD YOU SET UP THE TRUST TO PROTECT IT FROM
4    A. IT WAS IN THE BOOK.                                    4      THE I.R.S.?
5    Q. BUT YOU'RE ATTACHING YOUR COMPANY'S NAME TO IT?        5    A. IT'S NOT A SET UP TO PROTECT FROM THE I.R.S. AND I
6    A. YEAH.                                                  6      WOULD NEVER SPECIFICALLY DO THAT, TO SET UP.
7    Q. OKAY. AND WITHIN THAT, YOU'RE SAYING THAT -- SO,       7    Q. BUT THAT'S WHAT YOUR MATERIALS SAY CAN BE DONE.
8      THIS IS A MARKETING TOOL, SAYING THAT A BENEFIT OF A    8    A. IT'S A BOOK.
9      PURE TRUST IS THAT IT CAN HELP YOU PAY REDUCED          9    Q. MATERIALS, THOUGH, THAT YOU'RE PROVIDING.
10     TAXES?                                                  10 A. IT'S A BOOK.
11 A. NO, THIS WASN'T USED AS A MARKETING TOOL. THIS WAS       11 Q. AND SELLING.
12     JUST AN INFORMATIONAL BOOK, IS ALL IT WAS.              12 A. IT'S A BOOK. I DON'T KNOW HOW MANY PAGES THERE WERE
13 Q. OKAY. BUT THESE ARE MATERIALS THAT YOU'RE PROVIDING 13          ON THE FREEDOM FILES, SEVERAL THOUSAND PAGES ON THE
14     TO PEOPLE WHO WOULD HAVE ORDERED ---                    14     FREEDOM FILES. IT'S NOT ALL -- IT'S NOT ALL OUR
15 A. WE PROVIDED -- WE PROVIDED THE BOOK, YES.                15     MATERIAL. WE WERE RECIRCULATING MATERIAL.
16 Q. OKAY. SINCE YOU'RE PROVIDING THIS INFORMATION,           16 (COURT REPORTER MARKS PLAINTIFF'S EXHIBIT NUMBER 16,
17     THEN, I GUESS, I MEAN, THE QUESTION I HAVE FOR YOU      17 YOUR PRIVACY AND ASSET ACCUMULATION GUIDE, ATTACHED.)
18     IS HOW DID IT HELP YOU REDUCE YOUR TAXES?               18 EXAMINATION RESUMED BY MR. STRONG:
19 A. I CAN'T ANSWER THAT.                                     19 Q. I'LL HAND YOU NOW WHAT HAS BEEN MARKED AS
20 Q. BUT YOU ARE -- YOU'RE SELLING -- YOU ARE SELLING         20     PLAINTIFF'S EXHIBIT 16, AND ONE HAS BEEN PROVIDED TO
21     PURE TRUSTS, CORRECT?                                   21     COUNSEL, ENTITLED YOUR PRIVACY AND ASSET
22 A. NO, I WAS.                                               22     ACCUMULATION GUIDE. WHO PUBLISHED THIS BOOK?
23 Q. OKAY. AT THE TIME, BETWEEN 2000 AND 2005, WITHIN         23 A. WE PUT THIS INFORMATION TOGETHER FROM A WIDE VARIETY
24     FREEDOM TRUST GROUP, YOU WERE SELLING PURE TRUSTS?      24     OF SOURCES.
25 A. SELLING SOFTWARE, YES.                                   25 Q. SO, IN FACT, THEN, ON THE FRONT PAGE, IT SAYS


                                                                                                20 (Pages 74 to 77)

                                                                                                     4898d016-a8b8-4355-9859-eeb63c142382
             6:08-cv-03760-GRA            Date Filed 09/25/09        Entry Number 22-3             Page 25 of 94


John Howard Alexander                                                                               July 27, 2009
                                                     Page 78                                                            Page 80
1      FREEDOM TRUST GROUP.                                    1      SUBJECT TO PROBATE OR ESTATE TAXES.
2    A. UH-HUH.                                                2    A. RIGHT.
3    Q. ON THE FRONT. THIS IS -- THESE ARE YOUR MATERIALS?     3    Q. WHAT DO YOU MEAN BY THAT?
4    A. YEAH, OH, YEAH. WE CREATED -- I MEAN, WE DIDN'T        4    A. JUST WHAT IT SAYS, A PURE TRUST ISN'T SUBJECT TO
5      WRITE THE DOCUMENTS. THIS IS A LOT OF COPY AND          5      PROBATE OR ESTATE TAXES.
6      PASTE.                                                  6    Q. WHY NOT?
7    Q. THEN, THROUGH THIS MATERIAL, YOU'RE SELLING FOUR       7    A. BECAUSE IT'S AN ENTITY IN ITSELF, SIMILAR TO A
8      DIFFERENT TRUSTS, CORRECT?                              8      CORPORATION. MEMBERS OF THE CORPORATION DIE, THE
9    A. I BELIEVE SO.                                          9      CORPORATION LIVES.
10 Q. AND THE PURPOSE OF THESE TRUSTS IS TO PROTECT YOUR       10 Q. NUMBER NINE SAYS YOU CAN USE THE PURE TRUST TO
11     ASSETS FROM CREDITORS?                                  11     CONTROL YOUR TAX LIABILITY, CORRECT?
12 A. TO PROTECT YOUR ASSETS, BE ABLE TO PASS YOUR LEGACY      12 A. UH-HUH. YES.
13     ON, YOU KNOW, ALL THE REASONS THAT ARE ---              13 Q. WHAT DO YOU MEAN BY THAT?
14 Q. WELL, WHO MIGHT YOU PROTECT YOUR -- WHO MIGHT YOU BE 14 A. IF YOU DIVIDE UP MONEY, YOU PUT IT IN SOME OTHER
15     PROTECTING YOUR ASSETS FROM?                            15     ENTITY, THAT OTHER -- THAT TAX LIABILITY IS GOING TO
16 A. ANGRY EX-WIFE, MAYBE.                                    16     TRANSFER WITH THE MONEY.
17 Q. ANYBODY ELSE, OTHER THAN THE ANGRY EX-WIFE?              17 Q. SO, YOU CAN TAKE MONEY THAT YOU EARN, PUT IT INTO A
18 A. COULD BE ALL KINDS OF THINGS.                            18     TRUST, AND NOT BE TAXED ON THAT INCOME BECAUSE YOU
19 Q. SUCH AS?                                                 19     PUT IT INTO A TRUST?
20 A. YOU GET INTO A CAR ACCIDENT. THEY WANT TO SUE.           20 A. THE TRUST WOULD BE TAXED FOR IT. I MEAN, I'M NOT
21     THEY GO LOOKING FOR STUFF TO TAKE.                      21     GOING TO GET INTO TAXATION ON ANY LEVEL, BUT THERE'S
22 Q. COULD IT PROTECT YOU FROM THE I.R.S. IF THEY WERE TO     22     A WAY -- THAT'S WHAT TAX ACCOUNTANTS AND TAX
23     COME AFTER YOU FOR UNPAID TAXES?                        23     ATTORNEYS ARE FOR, AND I WAS CONSTANTLY GIVING
24 A. DEPENDS.                                                 24     SPECIFIC ADVICE TO PEOPLE TO CONSULT WITH THEM.
25 Q. DEPENDS ON WHAT?                                         25 Q. PART OF THE MATERIALS THAT YOU WERE SELLING INCLUDED

                                                     Page 79                                                            Page 81
1 A. DEPENDS ON IF SOMEBODY SET IT UP TO AVOID THAT ON         1      PROVIDING FORMS TO FOLKS AS TO HOW TO SET UP THESE
2      PURPOSE. IT WOULD DEPEND ON IF THEY SET IT UP,          2      TRUSTS. IS THAT CORRECT?
3      SOMEBODY ELSE SET IT UP. I'VE SEEN INSTANCES WHERE      3    A. DO YOU MEAN TRUST DOCUMENTS THEMSELVES?
4      PEOPLE BOUGHT A PIECE OF PROPERTY AND THEN THEY         4    Q. YES.
5      TURNED AROUND AND THEY PUT IT INTO A TRUST AND          5    A. YEAH.
6      BECAME THE TRUSTEE. THAT -- MAYBE THAT WOULD BE --      6    Q. OKAY.
7      THIS BOOK, I DON'T THINK, WAS A BOOK. I THINK THIS      7    A. TEMPLATES.
8      WAS SOFTWARE.                                           8    Q. THINGS THAT THEY COULD USE TO SET UP THEIR OWN
9 Q. OKAY. BUT THIS IS INFORMATION THAT YOU'RE PROVIDING       9      TRUST?
10     TO PEOPLE WHO BOUGHT THIS PARTICULAR SOFTWARE FROM 10 A. A TEMPLATE.
11     THE FREEDOM TRUST GROUP?                                11 Q. A TEMPLATE THEY COULD USE TO SET UP THEIR OWN TRUST?
12 A. YEAH.                                                    12 A. A TEMPLATE THEY CAN USE TO ESTABLISH A CONTRACT OF
13 Q. OKAY. AND LOOKING AT THIS PARTICULAR PAGE, I DON'T       13     TRUST, YES.
14     THINK IT HAS THAT HAPPY FAMILY ON IT. SO, AGAIN,        14 BY MR. STRONG:
15     THIS LISTS SOME OF THE ADVANTAGES THAT CAN BE           15       MAYBE THIS WOULD BE A GOOD TIME TO TAKE A BREAK
16     DERIVED FROM OPENING A PURE TRUST, CORRECT?             16     REAL QUICK.
17 A. OKAY.                                                    17      (OFF THE RECORD 3:08 P.M. - 3:13 P.M.)
18 Q. DO YOU AGREE WITH THAT?                                  18 EXAMINATION RESUMED BY MR. STRONG:
19 A. WITHOUT READING IT ALL.                                  19 Q. I'M GOING TO HAND YOU NOW A SERIES OF EXHIBITS HERE.
20 Q. TAKE YOUR TIME.                                          20 A. THIS HERE?
21 A. OKAY.                                                    21 Q. YOU CAN PUT THAT ASIDE FOR A MOMENT.
22 Q. THE QUESTION I ASKED YOU IS DOES THIS LIST SOME OF       22 (COURT REPORTER MARKS PLAINTIFF'S EXHIBIT NUMBER 17,
23     THE ADVANTAGES TO OWNING A PURE TRUST.                  23 DOCUMENT, ATTACHED.)
24 A. UH-HUH.                                                  24 EXAMINATION RESUMED BY MR. STRONG:
25 Q. AND ON NUMBER EIGHT, IT SAYS THE PURE TRUST IS NEVER 25 Q. I'LL HAND YOU WHAT'S GOING TO BE MARKED AS EXHIBIT


                                                                                             21 (Pages 78 to 81)

                                                                                                     4898d016-a8b8-4355-9859-eeb63c142382
               6:08-cv-03760-GRA          Date Filed 09/25/09        Entry Number 22-3           Page 26 of 94


John Howard Alexander                                                                             July 27, 2009
                                                     Page 82                                                       Page 84
1      17.                                                     1      TRUST GROUP MATERIALS?
2    BY MR. BENNETT:                                           2 A. THE SOFTWARE.
3            THANKS.                                           3 Q. CORRECT. OKAY.
4    (COURT REPORTER MARKS PLAINTIFF'S EXHIBIT NUMBER 18,      4 (COURT REPORTER MARKS PLAINTIFF'S EXHIBIT NUMBER 22,
5    MANAGEMENT TRUSTS, ATTACHED.)                             5 PURE TRUST INFORMATION, ATTACHED.)
6    EXAMINATION RESUMED BY MR. STRONG:                        6 EXAMINATION RESUMED BY MR. STRONG:
7    Q. THIS ONE IS MARKED AS EXHIBIT 18, ENTITLED             7 Q. I'LL ALSO HAND YOU WHAT IS BEING MARKED AS
8      MANAGEMENT TRUSTS.                                      8      PLAINTIFF'S EXHIBIT 22. OPPOSING COUNSEL HAS BEEN
9    A. OH, OKAY. I SEE WHAT YOU'RE DOING.                     9      PROVIDED A COPY, AND THIS IS INFORMATION THAT YOU
10 (COURT REPORTER MARKS PLAINTIFF'S EXHIBIT NUMBER 19,        10     PROVIDED TO PEOPLE ABOUT WHAT PURE TRUSTS ARE?
11 HOLDING TRUSTS, ATTACHED.)                                  11 A. YEAH, THIS IS THE -- THIS LOOKS LIKE TO BE THE BOOK
12 EXAMINATION RESUMED BY MR. STRONG:                          12     YOU JUST SHOWED ME.
13 Q. EXHIBIT 19 WILL BE ENTITLED HOLDING TRUSTS.              13 Q. AND AT THE END HERE, THE LAST PAGE, PAGE 27, IT SAYS
14 (COURT REPORTER MARKS PLAINTIFF'S EXHIBIT NUMBER 20,        14     THE MANAGEMENT TRUST COSTS $275 EACH AND HOLDING
15 BANKING TRUSTS, ATTACHED.)                                  15     TRUSTS COST $100 EACH.
16 EXAMINATION RESUMED BY MR. STRONG:                          16 A. THAT'S WHAT IT SAYS, BUT I DON'T UNDERSTAND WHAT IT
17 Q. EXHIBIT 20 IS ENTITLED BANKING TRUSTS.                   17     MEANS BECAUSE WE WEREN'T SELLING INDIVIDUAL TRUSTS.
18 (COURT REPORTER MARKS PLAINTIFF'S EXHIBIT NUMBER 21,        18     I NEVER WROTE ONE FOR ANYBODY. THIS IS AN OLDER
19 OFFSHORE TRUSTS, ATTACHED.)                                 19     DOCUMENT. THIS HAS AN 800 NUMBER. I DIDN'T EVEN
20 EXAMINATION RESUMED BY MR. STRONG:                          20     KNOW WE HAD AN 800 NUMBER.
21 Q. AND EXHIBIT 21 IS ENTITLED OFFSHORE TRUSTS. COPIES       21 Q. BUT THAT OTHER NUMBER IN THERE, THE 864 NUMBER,
22     OF THE PREVIOUS FIVE EXHIBITS HAVE BEEN PROVIDED, OR    22     THAT'S -- THAT WAS THE NUMBER THAT YOU USED FOR THE
23     -- FIVE EXHIBITS HAVE BEEN PROVIDED TO OPPOSING         23     AWARE GROUP, RIGHT?
24     COUNSEL, AS WELL. TAKE A MINUTE, LOOK THROUGH           24 A. 1303. THAT WAS THE NUMBER.
25     THOSE, AND TELL ME IF THOSE ARE INFORMATION THAT YOU 25 Q. OKAY. DID YOU EVER CONDUCT SEMINARS WHILE YOU WERE

                                                     Page 83                                                       Page 85
1      WOULD HAVE PROVIDED THROUGH FREEDOM TRUST GROUP.        1      WORKING WITH THE AWARE GROUP?
2 A. THESE WERE COPIED EXACTLY OFF OF THE FILES? IF THEY       2    A. YEAH.
3      WERE, THEY ARE. THAT'S QUITE A BIT OF PAGES TO GO       3    Q. ABOUT HOW MANY SEMINARS?
4      THROUGH, SO.                                            4    A. I COULDN'T TELL YOU EXACTLY. PROBABLY FOUR OR FIVE,
5 Q. THIS IS THE INFORMATION THAT WAS PROVIDED TO ME BY,       5      MAYBE SIX.
6      THROUGH MY REQUEST FOR PRODUCTION OF DOCUMENTS. SO, 6        Q. ONE IN OREGON?
7      WE ARE ALL IN AGREEMENT ON THAT.                        7    A. OREGON WAS FOR THE AMERICANS BULLETIN, YEAH.
8 A. OKAY.                                                     8    Q. PENNSYLVANIA?
9 Q. THESE ARE -- SO, YOU WOULD AGREE THAT THESE ARE THE       9    A. I THINK SO.
10     MATERIALS THAT YOU PROVIDED TO ---                      10 Q. ATLANTA?
11 A. ON THE CD.                                               11 A. YEAH.
12 Q. ON THE CD, CONCERNING HOW -- GIVING THEM TEMPLATES       12 Q. ORLANDO?
13     ON HOW TO FORM THESE PARTICULAR TYPES OF TRUSTS?        13 A. ORLANDO. IS THAT FOUR?
14 A. RIGHT.                                                   14 Q. GREENVILLE?
15 Q. AND THEY'RE ALL -- ALL WOULD FALL UNDER THE CATEGORY 15 A. GREENVILLE, YEAH, I DID ONE IN GREENVILLE.
16     OF BEING A PURE TRUST, CORRECT?                         16 Q. DID YOU EVER DO ONE IN NORTH CAROLINA?
17 A. I WOULDN'T CATEGORIZE THEM -- PROBABLY.                  17 A. I DON'T REMEMBER NORTH CAROLINA.
18 Q. I'M SORRY, BUT GOING BACK TO THE EXHIBITS THAT WE        18 Q. ANYWHERE ON THE BEACH?
19     WERE -- THE FIRST EXHIBIT THAT WE WERE LOOKING AT OR    19 A. YEAH, OKAY. YEAH, I REMEMBER, YEAH. WHAT'S THAT
20     THE -- I BELIEVE IT WAS IN THE ASSET ACCUMULATION       20     BEACH PLACE OUT HERE? MYRTLE BEACH.
21     PROTECTION GUIDE -- PRIVACY AND ASSET ACCUMULATION      21 Q. ONE OUT IN MYRTLE BEACH?
22     GUIDE. WERE THEY NOT ALL LISTED AS PURE TRUSTS?         22 A. MYRTLE BEACH. I COULDN'T REMEMBER A DATE.
23 A. PROBABLY.                                                23 Q. OKAY. SO, YOU'VE DONE ABOUT FIVE OR SIX OF THESE
24 Q. SO, THIS -- OKAY. SO, THESE ARE THE TEMPLATES THAT       24     SEMINARS?
25     YOU PROVIDED TO PEOPLE WHO PAID YOU FOR THE FREEDOM     25 A. YEAH.


                                                                                               22 (Pages 82 to 85)

                                                                                                   4898d016-a8b8-4355-9859-eeb63c142382
            6:08-cv-03760-GRA             Date Filed 09/25/09      Entry Number 22-3            Page 27 of 94


John Howard Alexander                                                                            July 27, 2009
                                                    Page 86                                                          Page 88
1    Q. WHAT WAS DISCUSSED AT THE SEMINARS?                   1     OF CONDUCTING THE SEMINARS AND THEN ESTABLISHING THE
2    A. WIDE, WIDE VARIETY OF SUBJECTS.                       2     FREEDOM TRUST GROUP?
3    Q. WHAT SUBJECTS?                                        3 A. MY FOCUS WAS TO GIVE INFORMATION IF I WAS THE
4    A. ANY SUBJECTS THAT CAME OUT OF THE AUDIENCE. I WOULD 4       SPEAKER. AND USUALLY, I WAS THE SPEAKER IF I DIDN'T
5      START IMPROMPTU. MY FIRST SEMINAR I TRIED WITH         5     HAVE GUEST SPEAKERS, AS WELL, BUT MY -- MY MAIN
6      NOTES AND IT DIDN'T WORK.                              6     FOCUS WAS TO GIVE INFORMATION, AS MUCH AS I COULD AS
7    Q. WELL, OKAY, YOUR FIRST SEMINAR YOU STARTED WITH       7     FAST AS I COULD.
8      NOTES. WHAT DID YOU WANT TO DISCUSS?                   8 Q. WHAT KIND OF GUEST SPEAKERS WOULD YOU HAVE?
9    A. I HAVE NO IDEA. WE'RE TALKING YEARS AND YEARS AGO,    9 A. NOT TOO PROUD OF THE FACT THAT I HAD LANE MEREDITH
10     BUT ALL I REMEMBER IS THE INCIDENT OF TRYING TO PLAN   10    AS ONE AT THE ONE IN MYRTLE BEACH. THERE WAS AN
11     THE TIME OUT AND IT NEVER WORKED OUT LIKE I THOUGHT    11    I.R.S. AGENT IN ONE IN ATLANTA. SHE JUST CAME AS A
12     IT WOULD WORK OUT BECAUSE I WOULD -- I WOULD RAISE A   12    GUEST, BUT I SAW HER AND I RECOGNIZED HER AND SHE
13     SUBJECT OR I WOULD DEFINE A WORD. I WAS BIG ON WORD    13    CAME UP AND SHE SPOKE. I THOUGHT SHE WAS GOING TO
14     DEFINITIONS. DICTIONARY, I ALWAYS HAD A DICTIONARY     14    SAY HELLO, BUT SHE SPOKE FOR A WHILE.
15     WITH ME. AND I LEFT IT OPEN TO WHOEVER WAS THERE.      15 Q. SPOKE ABOUT WHAT?
16     IF YOU WANT TO, IF YOU'VE GOT AN ISSUE, RAISE YOUR     16 A. SPOKE ABOUT WHAT?
17     HAND. THEY WOULD RAISE THEIR HAND AND WE'D ASK DO      17 Q. YEAH.
18     YOU WANT TO TALK ABOUT THAT? AND A LOT OF PEOPLE       18 A. I DON'T REMEMBER WHAT SHE SPOKE ABOUT. IT HAD TO
19     WOULD JUMP IN, YES, WE DO. WE WOULD TALK ABOUT IT.     19    HAVE BEEN -- IT HAD TO HAVE BEEN SOMETHING WITH THE
20     IF THEY WERE NOT INTERESTED, WE WOULD MOVE ON TO THE 20      I.R.S., BUT I COULDN'T TELL YOU WHAT IT WAS. I
21     NEXT. BUT A LOT OF IT WAS DEFINING WORDS AND DOING     21    DON'T HAVE TAPES OR ANYTHING OR AN EXACT RECALL, BUT
22     CROSS DEFINITIONS OF WORDS.                            22    I REMEMBER THAT INCIDENT.
23 Q. DID YOU CHARGE PEOPLE TO ATTEND THESE SEMINARS?         23 Q. ANY OTHERS? YOU MENTIONED MEREDITH, THIS I.R.S.
24 A. YEAH, OF COURSE. WE HAD -- WE PAID TO GET IN THERE      24    AGENT. WERE THERE ANY OTHER SPEAKERS?
25     OURSELVES. WE HAD TO PAY FOR THE ROOMS AND             25 A. YEAH. I DON'T REMEMBER.

                                                    Page 87                                                          Page 89
1      TRANSPORTATION, WHATEVER.                              1 Q. HOW OFTEN DID YOU DISSEMINATE NEWSLETTERS TO MEMBERS
2    Q. DID THE SUBJECT OF THE I.R.S. EVER COME UP AT THESE   2    OF THE AWARE GROUP?
3      SEMINARS?                                              3 A. WHEN THE MOOD WOULD STRIKE US. IF THERE WAS AN
4    A. OCCASIONALLY.                                         4    EVENT.
5    Q. IN WHAT CONTEXT?                                      5 (COURT REPORTER MARKS PLAINTIFF'S EXHIBIT NUMBER 23,
6    A. WHAT CONTEXT? IT'S REALLY SIMPLE. PEOPLE, PROBABLY    6 NEWSLETTER, ATTACHED.)
7      EVERY SEMINAR, SOMEBODY WOULD STAND UP AND SAY DO I 7 EXAMINATION RESUMED BY MR. STRONG:
8      HAVE TO PAY MY TAXES? COME RIGHT OUT AND SAY IT.       8 Q. I'LL HAND YOU WHAT'S MARKED EXHIBIT NUMBER 23.
9    Q. WHAT WAS THE ANSWER TO THAT?                          9 A. YEAH.
10 A. THE ANSWER IS DO YOU HAVE TO PAY YOUR TAXES? YES,       10 Q. IS THIS AN EXAMPLE OF A NEWSLETTER THAT YOU WOULD
11     YOU HAVE TO PAY YOUR TAXES. HE OWNED IT, IT'S HIS.     11   ---
12     AND THAT'S AS FAR AS THAT WOULD GO.                    12 A. UH-HUH.
13 Q. DID YOU PROMOTE MEMBERSHIP INTO THE AWARE GROUP AT 13 Q. --- SEND OUT? IT'S INTERESTING, CAN YOU LOOK AT
14     THESE SEMINARS?                                        14   PAGE FOUR, PLEASE? THIS IS MATERIAL, THIS IS
15 A. OF COURSE.                                              15   PROMOTIONAL MATERIAL ABOUT THE BENEFITS OF A PURE
16 Q. DID YOU PROMOTE THE FREEDOM TRUST GROUP AT THESE        16   TRUST, CORRECT?
17     SEMINARS?                                              17 A. UH-HUH.
18 A. I DON'T THINK WE HAD THE FREEDOM TRUST GROUP UNTIL      18 Q. AND IT LISTS IN THE LAST COLUMN YES FOR ALL OF THE,
19     -- THERE MIGHT HAVE BEEN ONE OR TWO SEMINARS THAT WE 19     WHAT BENEFITS MIGHT BE DERIVED FROM A PURE TRUST,
20     DID. I DON'T REMEMBER WHAT THE TIMELINE IS. WHEN       20   CORRECT?
21     FREEDOM TRUST GROUP STARTED, WE GOT IT IN THE          21 A. RIGHT.
22     SOFTWARE. THIS WAS -- THIS WAS A NEW BALLGAME FOR      22 Q. INCLUDING AVOIDING I.R.S. SEIZURES?
23     ME, ALL NEW INTERESTING THINGS, THE SOFTWARE THING,    23 A. RIGHT.
24     I'M TALKING ABOUT.                                     24 Q. REDUCING INCOME TAXES?
25 Q. UH-HUH. SO, YOUR FOCUS SHIFTED, THEN, BETWEEN KIND      25 A. RIGHT.


                                                                                           23 (Pages 86 to 89)

                                                                                                  4898d016-a8b8-4355-9859-eeb63c142382
              6:08-cv-03760-GRA          Date Filed 09/25/09       Entry Number 22-3           Page 28 of 94


John Howard Alexander                                                                          July 27, 2009
                                                    Page 90                                                      Page 92
1    Q. AVOIDING ESTATE TAXES?                                1 A. THAT WHAT ARE?
2    A. RIGHT.                                                2 Q. SOCIAL SECURITY NUMBER, 1040s, W-4 TAX FORMS, VOTER
3    Q. AND THE BOOKS AND RECORDS OF THE PURE TRUSTS WOULD 3       REGISTRATION, DRIVER'S LICENSE AND VEHICLE
4      BE PROTECTED FROM A COURT-ORDERED SUBPOENA?            4    REGISTRATION, BANK ACCOUNTS AND CREDIT CARDS, POSTAL
5    A. THAT'S WHAT IT SAYS.                                  5    ADDRESS, INCORPORATION PAPERS, BUSINESS LICENSES,
6    Q. SO, YOU WERE MARKETING THE PURE TRUST AS BEING ABLE   6    MARRIAGE LICENSES AND ---
7      TO DO ALL THESE THINGS FOR YOU?                        7 A. YEAH, THIS WAS PUBLISHED SOMEPLACE ELSE AND I LIKED
8    A. THAT'S WHAT WE BELIEVED AT THE TIME, YEAH. THAT WAS   8    IT AND I READ IT AND I UNDERSTOOD IT AND I THOUGHT
9      EARLY ON, TOO. THERE'S NO DATE ON HERE, I NOTICE.      9    THAT THAT WAS GOOD INFORMATION.
10     AH, SEPTEMBER OF '96, OKAY.                            10 Q. AND SO, YOU THEN DISSEMINATED IT OUT TO THE MEMBERS
11 Q. DID THE BENEFITS OF THE PURE TRUST CHANGE OVER TIME? 11      OF THE AWARE GROUP?
12 A. NO, THE BENEFITS OF THE PURE TRUST DOESN'T CHANGE,      12 A. OF COURSE.
13     BUT OTHER THINGS CHANGE.                               13 Q. WHAT IS ABSOLUTE SOLUTIONS, INCORPORATED?
14 Q. WHAT DO YOU MEAN OTHER THINGS?                          14 A. ABSOLUTE SOLUTIONS WAS A CORPORATION THAT I HAD
15 A. EVERYTHING CHANGES.                                     15   ESTABLISHED JUST TO BE ABLE TO WORK UNDER
16 Q. EXCEPT THE BENEFITS OF THE PURE TRUST?                  16   INCORPORATION, UNDER A CORPORATE NAME TO REDUCE
17 A. PERCEPTIONS OF IT.                                      17   LIABILITY.
18 (COURT REPORTER MARKS PLAINTIFF'S EXHIBIT NUMBER 24,       18 Q. SO, YOU REGISTERED IT WITH THE SECRETARY OF STATE
19 NEWSLETTER, ATTACHED.)                                     19   THEN?
20 EXAMINATION RESUMED BY MR. STRONG:                         20 A. WITH WHAT?
21 Q. THIS HAS BEEN MARKED AS PLAINTIFF'S EXHIBIT 24. A       21 Q. THE SECRETARY OF STATE?
22     COPY HAS BEEN PROVIDED TO OPPOSING COUNSEL.            22 A. I DON'T KNOW IF IT'S REGISTERED IN SOUTH CAROLINA.
23 A. 9-11.                                                   23   I KNOW IT'S REGISTERED IN NEVADA.
24 Q. IS THIS ALSO A NEWSLETTER THAT THE AWARE GROUP PUT      24 Q. IN NEVADA? DID YOU OPEN A BANK ACCOUNT IN THEIR
25     OUT?                                                   25   NAME?

                                                    Page 91                                                      Page 93
1 A. OH, YEAH.                                                1 A. ABSOLUTE SOLUTIONS? I THINK SO.
2 Q. AND ON THE SECOND PAGE, IT LISTS SOME SEMINARS THAT 2 BY MR. STRONG:
3   WERE UPCOMING?                                       3     I THINK WE'RE ON EXHIBIT 26 NOW?
4 A. UH-HUH.                                                  4 BY THE COURT REPORTER:
5 Q. WAS ONE DONE IN CALIFORNIA?                              5       THAT'S RIGHT.
6 A. THAT ONE GOT CANCELLED.                                  6 (COURT REPORTER MARKS PLAINTIFF'S EXHIBIT NUMBER 26,
7 Q. WHAT ABOUT THE ONE IN FLORIDA?                           7 CHECKS AND BANK STATEMENTS, ATTACHED.)
8 A. I DON'T THINK WE WENT TO TAMPA. NO, WE DIDN'T GO TO      8 EXAMINATION RESUMED BY MR. STRONG:
9      TAMPA. YEAH, THAT SAME GUY THAT SPONSORED US FOR       9 Q. COPIES TO OPPOSING COUNSEL. THIS IS A SET OF CHECKS
10     TAMPA WAS THE GUY IN CALIFORNIA. THAT DIDN'T           10   AND BANK STATEMENTS FOR ABSOLUTE SOLUTIONS WITH THE
11     HAPPEN.                                                11   BANK OF TRAVELERS REST.
12 (COURT REPORTER MARKS PLAINTIFF'S EXHIBIT NUMBER 25,       12 A. SORRY ABOUT THAT. I THINK YOU NEEDED A STAPLER. IS
13 NEWSLETTER, ATTACHED.)                                     13   THAT THE BOTTOM OR THE TOP?
14 EXAMINATION RESUMED BY MR. STRONG:                         14 BY MR. BENNETT:
15 Q. AND JUST ONE MORE NEWSLETTER I WANT YOU TO TAKE A 15     THIS IS THE TOP. THAT'S THE BOTTOM.
16   LOOK AT. MARK THIS AS EXHIBIT 25. IS THIS ALSO AN  16 BY THE WITNESS:
17     EXAMPLE OF A NEWSLETTER THAT THE AWARE GROUP           17      OKAY. THANK YOU.
18     DISSEMINATED?                                          18 EXAMINATION RESUMED BY MR. STRONG:
19 A. UH-HUH.                                                 19 Q. WAS THIS CREATED AFTER YOUR DIVORCE FROM MS.
20 Q. YOU DISCUSS ADHESION CONTRACTS ON PAGE FIVE.            20   ALEXANDER OR MS. FERGUSON? WAS ABSOLUTE SOLUTIONS,
21 A. OKAY.                                                   21   NOT THE ACCOUNT?
22 Q. IS THAT CORRECT?                                        22 A. YEAH. I HAVE TO SAY PROBABLY. IT SAYS 12-7-04. I
23 A. IT'S -- YEAH, I'M READING OFF THE SAME PAGE YOU ARE.    23   DON'T HAVE THE DATE THAT WE WERE DIVORCED.
24 Q. JUST TO CLARIFY, ARE YOU SAYING THESE ARE EXAMPLES 24 Q OKAY. IF I TOLD YOU YOU WERE DIVORCED IN AUGUST OF
25   OF ADHESION CONTRACTS?                              25   '04, WOULD THAT SOUND ABOUT RIGHT?


                                                                                          24 (Pages 90 to 93)

                                                                                                 4898d016-a8b8-4355-9859-eeb63c142382
             6:08-cv-03760-GRA               Date Filed 09/25/09         Entry Number 22-3            Page 29 of 94


John Howard Alexander                                                                                 July 27, 2009
                                                          Page 94                                                        Page 96
1 A. IF THAT'S WHAT IT WAS, YEAH, THEN IT WAS DONE AFTER.           1 A. YES.
2 Q. I'M LOOKING AT CHECK 1002. DID YOU FIND IT?                    2 Q. OKAY. SO, YOU'RE PAYING THAT OUT OF FUNDS -- YOU'RE
3 BY MR. BENNETT:                                                   3    PAYING THE PROPERTY TAX OUT OF FUNDS FROM ABSOLUTE
4       DO YOU HAVE IT?                                             4    SOLUTIONS?
5 BY THE WITNESS:                                                   5 A. IN THIS PARTICULAR CASE, YES.
6       YEAH.                                                       6 Q. LET ME JUST TIE UP A COUPLE OF LOOSE ENDS HERE, AND
7 EXAMINATION RESUMED BY MR. STRONG:                                7    THEN I'LL LET MR. BENNETT HAVE HIS OPPORTUNITY TO
8 Q. THIS IS A CHECK -- IS THAT A COPY OF YOUR SIGNATURE            8    ASK YOU A FEW QUESTIONS. DID YOUR MOTHER EVER --
9     ON THE CHECK?                                                 9    DID YOUR MOTHER EVER LIVE AT 6350 WHITE HORSE ROAD?
10 A. YES.                                                          10 A. SHE STAYED WITH ME FOR A SHORT PERIOD OF TIME AFTER
11 Q. WHAT IS F.F.U.S.A.?                                           11   WE TOOK HER OUT OF ASSISTED LIVING.
12 A. I DON'T KNOW. IT SAYS DOWN HERE A MERCHANT ACCOUNT 12 Q. AND UPON HER PASSING AWAY, HOW DID THE PROPERTY --
13    ESTABLISHED.                                                  13   HOW DID THE PROPERTY -- WHAT HAPPENED TO THE
14 Q. DID YOU ESTABLISH A MERCHANT ACCOUNT?                         14   PROPERTY?
15 A. APPARENTLY SO.                                                15 A. NOTHING. THERE HAD ALREADY BEEN A TRANSFER YEARS
16 Q. DO YOU STILL HAVE THAT MERCHANT ACCOUNT?                      16   BEFORE THAT TO THE TRUST.
17 A. NO. I DON'T HAVE ABSOLUTE SOLUTIONS, EITHER.                  17 Q. AND DID THE FREEDOM TRUST GROUP OR THE AWARE GROUP
18 Q. WHEN DID ABSOLUTE SOLUTIONS CEASE?                            18   HAVE ANY OTHER EMPLOYEES OTHER THAN YOU AND HEATHER?
19 A. WITHIN THE LAST FEW YEARS. I JUST STOPPED PAYING              19 A. NO.
20    THE YEARLY ON IT AND JUST LET IT GO. THE I.R.S.               20 Q. DID YOU CONTRACT FOR ANY CONSULTING SERVICES?
21    TOOK MY ABSOLUTE SOLUTIONS' ACCOUNT AND MADE IT               21 A. YEAH, WE CONTRACTED FOR COMPUTER WORK OR GRAPHICS.
22    DISAPPEAR, SO THERE WAS NOTHING THERE.                        22 Q. WHO WOULD YOU CONTRACT WITH?
23 Q. WHEN ABSOLUTE SOLUTIONS WAS OPERATING, I SEE A FEW 23 A. THERE WAS -- PRIMARILY, HEATHER WOULD FIND PEOPLE.
24    DEPOSIT SLIPS IN THERE. WHERE WAS IT GETTING ITS              24 Q. AND THAT WAS JUST FOR, WHAT, SETTING UP A WEBSITE OR
25    MONEY?                                                        25   ---

                                                          Page 95                                                        Page 97
1 A. PROBABLY JUST SHIFTING IT OVER FROM ANOTHER ACCOUNT,           1 A. NO, ACTUALLY, SHE -- I DON'T KNOW HOW, BUT SHE SET
2    FROM PROBABLY FREEDOM TRUST GROUP.                             2    UP THE WEBSITES. NO, WHEN WE GOT INTO THE SOFTWARE,
3 Q. AND FREEDOM TRUST GROUP, AT THIS TIME, WAS STILL               3    SHE WASN'T -- SHE DID THE -- SHE PUT THE FREEDOM
4    GETTING MONEY FROM SELLING THE FREEDOM TRUST GROUP             4    FILES TOGETHER AND SHE PUT THE SECURITY ON THE
5    SOFTWARE?                                                      5    FREEDOM FILES. THE FREEDOM TRUST GROUP SOFTWARE,
6 A. WE SOLD SOME SOFTWARE AFTER HEATHER LEFT, BUT I                6    I'M PRETTY SURE SHE DID THAT, TOO, BUT THEN WE GOT
7    CAN'T SAY FOR HOW LONG. WE JUST KIND OF PETERED                7    INTO OTHER STUFF AND WE HAD TO CONTRACT THAT OUT TO
8    OUT. YOU KNOW WHAT I MEAN?                                     8    PEOPLE THAT KNEW WHAT THEY WERE DOING BECAUSE IT WAS
9 Q. WELL, WHEN DID FREEDOM TRUST GROUP CEASE OPERATING?            9    -- IT WAS BEYOND HER.
10 A. OH, GOD, IT WAS -- MEANING STOP SELLING SOFTWARE,             10 Q. WHAT WERE YOUR DAY TO DAY DUTIES AT THE AWARE GROUP
11   YEAH, QUITE A WHILE AGO. THIS IS '09, SO '04, '05,             11   AND THE FREEDOM TRUST GROUP?
12   SOMETHING AROUND THERE.                                        12 A. DO YOU REALLY WANT TO KNOW? I WAS BITCHED AT FOR IT
13 Q. AND THE -- LET'S TAKE A LOOK AT CHECK 1029.                   13   ALL THE TIME.
14 A. THE VERY BOTTOM?                                              14 Q. YES.
15 BY MR. BENNETT:                                                  15 A. I WAS A VORACIOUS READER.
16      JUST TAKE MINE.                                             16 Q. AND OTHER THAN READING, DID YOU HAVE ANY OTHER
17 BY THE WITNESS:                                                  17   DUTIES?
18      OKAY.                                                       18 A. I WOULD TAKE PHONE CALLS SOMETIMES. PEOPLE WOULD
19 EXAMINATION RESUMED BY MR. STRONG:                               19   COME BY.
20 Q. IS THAT YOUR SIGNATURE ON THE CHECK?                          20 Q. WHAT WOULD THEY CALL YOU ABOUT?
21 A. IT'S A COPY OF MY SIGNATURE, YES.                             21 A. WHATEVER KIND OF QUESTIONS THEY HAD, IF THEY WANTED
22 Q. AND MADE OUT TO THE GREENVILLE COUNTY TAX COLLECTOR? 22            INFORMATION OR THEY WOULD CALL ME AND SHARE
23 A. RIGHT.                                                        23   INFORMATION WITH ME THAT THEY FOUND.
24 Q. IS THIS CHECK PAYING THE PROPERTY TAX ON THE 6350             24 Q. WHAT KIND OF LIVING DID YOU MAKE FROM SELLING THE
25   WHITE HORSE ROAD?                                              25   FREEDOM TRUST GROUP MATERIALS AND THE AWARE GROUP


                                                                                                 25 (Pages 94 to 97)

                                                                                                         4898d016-a8b8-4355-9859-eeb63c142382
             6:08-cv-03760-GRA              Date Filed 09/25/09       Entry Number 22-3          Page 30 of 94


John Howard Alexander                                                                             July 27, 2009
                                                      Page 98                                                     Page 100
1      MEMBERSHIPS?                                             1 Q. YOU HAVE A -- YOU WERE ALSO INTO COIN COLLECTING,
2    A. WELL, OKAY. IT WASN'T ANYTHING TO BUY A BRAND NEW       2     CORRECT?
3      HOUSE OUT OF. I KNOW THAT.                               3 A. YEAH.
4    Q. WERE YOU SCRAPING BY TO BUY GROCERIES, THOUGH?          4 Q. SO, DO YOU HAVE A COLLECTION OF COINS?
5    A. NO. WE WERE GETTING BY. WE WERE GETTING BY OKAY.        5 A. I HAD A COLLECTION OF COINS.
6      IT WAS COMFORTABLE.                                      6 Q. WHAT DO YOU MEAN, HAD?
7    Q. YOU WERE ABLE TO MAKE IMPROVEMENTS TO THE HOUSE THAT    7 A. I WAS RELIEVED OF MY COINS A COUPLE OF YEARS AGO.
8      YOU WERE AT?                                             8 Q. OKAY. BY WHOM?
9    A. YEAH.                                                   9 A. I CAN'T BE EXACTLY SURE, BUT I THINK IT WAS A GUEST
10 Q. SO, YOU WERE ABLE TO PUT ON A DECK, ADD NEW PAINT,        10    THAT I HAD IN MY HOUSE FROM NEW YORK. AND I CAN'T
11     COMFORTABLY?                                             11    FINGER HIM WITHOUT SEEING IT HAPPEN, BUT HE HAD THE
12 A. NO, THE DECK WASN'T COMFORTABLE. THAT WAS A               12    OPPORTUNITY AND THE MOTIVE.
13     STRETCH.                                                 13 Q. BESIDES THE TWO ACCOUNTS WITH BANK OF TRAVELERS REST
14 Q. ABOUT HOW MANY MEMBERS WOULD JOIN THE AWARE GROUP IN 14         THAT WE'VE BEEN DISCUSSING HERE TODAY, DO YOU HAVE
15     A MONTH?                                                 15    ANY OTHER BANKING ACCOUNTS?
16 A. I HAVE NO IDEA. COULD BE AS FEW AS TWO OR THREE.          16 A. THEN?
17     IT COULD BE AS MANY AS 20 OR 30. IT DEPENDS.             17 Q. THEN AND NOW.
18 Q. DEPENDING ON WHAT?                                        18 A. NOW? I'VE GOT A SOCIAL SECURITY ACCOUNT.
19 A. IF WE HAD AN EVENT, YOU KNOW, A SEMINAR. THAT WAS         19 Q. YOU'RE DRAWING SOCIAL SECURITY. ANY PENSIONS OR
20     THE PURPOSE OF THE SEMINARS TO HELP GOOSE UP             20    I.R.A.s OR ANYTHING OF THAT SORT?
21     MEMBERSHIP. IT WAS ALWAYS AN UPHILL FIGHT.               21 A. NO.
22 Q. ABOUT WHAT WAS THE TOTAL MEMBERSHIP OF THE AWARE          22 Q. STOCKS OR BONDS?
23     GROUP?                                                   23 A. NO.
24 A. I HAVE NO IDEA.                                           24 Q. CERTIFICATES OF DEPOSIT?
25 Q. DO YOU KNOW HOW MANY PEOPLE BOUGHT FREEDOM TRUST          25 A. NO.

                                                      Page 99                                                     Page 101
1      GROUP MATERIALS?                                         1 Q. SAFETY DEPOSIT BOX?
2 A. PROBABLY SOMEWHERE BETWEEN A HUNDRED -- IF I HAD TO        2 A. DON'T BELIEVE IN THOSE.
3      PUT A NUMBER, MAYBE A HUNDRED AND FIFTY, TWO HUNDRED     3 Q. WHEN WAS THE LAST TIME YOU FILED A FORM 1040 WITH
4      MAX, BECAUSE I REMEMBER WE HAD A THOUSAND BOXES FOR      4   THE I.R.S.?
5      THE SOFTWARE MADE. AND I WOUND UP CRUSHING ALMOST        5 A. PROBABLY THE LATE '80s.
6      ALL OF THOSE BOXES.                                      6 Q. AND WHY HAVEN'T YOU FILED ONE SINCE THE LATE '80s?
7 Q. BUT YOU SOLD MORE THAN JUST FREEDOM TRUST GROUP, THE       7 A. I DON'T BELIEVE THAT I'M ONE WHO IS LIABLE FOR THAT.
8      SOFTWARE, AND THEN ALSO MEMBERSHIPS. YOU SOLD DVDs?      8 Q. WHY?
9 A. YOU MEAN WHEN I WAS WITH HEATHER?                          9 BY MR. BENNETT:
10 Q. YES.                                                      10       OBJECT AS TO FORM. CALLS FOR A LEGAL
11 A. SPECIFICALLY?                                             11     CONCLUSION, BUT YOU CAN ANSWER THE QUESTION.
12 Q. WHEN YOU WERE WORKING WITH THE AWARE GROUP AND THE 12          BY THE WITNESS:
13     FREEDOM TRUST GROUP ---                                  13       OKAY. WE'LL COVER THAT LATER THEN.
14 A. UH-HUH.                                                   14   EXAMINATION RESUMED BY MR. STRONG:
15 Q. --- DID YOU SELL CDs AND DVDs?                            15   Q. YOU CAN ANSWER THE QUESTION.
16 A. YEAH, AT SEMINARS, WE DID. OR SHE -- WELL, THEY HAD       16   BY MR. BENNETT:
17     A CATALOG. YEAH, THAT'S RIGHT. WE HAD A CATALOG.         17       YEAH, YOU CAN ANSWER THE QUESTION.
18     IT WASN'T A BIG SELLER, I DON'T THINK.                   18   BY THE WITNESS:
19 Q. BUT YOU WERE ABLE TO -- BUT YOU WERE TRYING TO SELL       19       I CAN ANSWER THE QUESTION? OH, OKAY. SAY THAT
20     SOME OTHER PRODUCTS?                                     20     AGAIN, THEN.
21 A. YEAH, WE WERE TRYING TO GET BY.                           21   EXAMINATION RESUMED BY MR. STRONG:
22 Q. DID I.B.S. HAVE A CHARLES SCHWAB ACCOUNT?                 22   Q. WHY DIDN'T YOU FILE -- WHY DO YOU FEEL YOU'RE NOT
23 A. UH-HUH.                                                   23     LIABLE FOR, TO FILE AN INCOME TAX RETURN?
24 Q. AND WHAT WAS IN THAT CHARLES SCHWAB ACCOUNT?              24   BY MR. BENNETT:
25 A. DON'T KNOW.                                               25       SAME OBJECTION, AND YOU CAN ANSWER THE

                                                                                          26 (Pages 98 to 101)

                                                                                                    4898d016-a8b8-4355-9859-eeb63c142382
             6:08-cv-03760-GRA          Date Filed 09/25/09         Entry Number 22-3           Page 31 of 94


John Howard Alexander                                                                           July 27, 2009
                                                   Page 102                                                     Page 104
1      QUESTION.                                              1 Q. SO, SOMEBODY WHO HAS NOT FORMED ONE OF THESE
2    BY THE WITNESS:
                                                              2      ADHESION CONTRACTS, AS YOU CALL THEM, AND WHO
3        OKAY. BECAUSE I DON'T FEEL THAT I'M ONE WHO IS
4      LIABLE.                                                3      RESIDED OUTSIDE OF THE DISTRICT OF COLUMBIA WOULD
5    EXAMINATION RESUMED BY MR. STRONG:
                                                              4      NOT BE A U.S. CITIZEN?
6    Q. YOU STATED THAT. I ASKED WHY YOU DID NOT FEEL THAT
7      YOU WERE LIABLE.                                       5 A. IT'S NOT POSSIBLE. THEY DO IT AT YOUR BIRTH.
8    A. BECAUSE OF ALL THE RESEARCH, ALL THE READING THAT
                                                              6 Q. OKAY.
9      I'VE DONE, ALL THE CASES THAT I'VE BEEN THROUGH AND
10     EVERYTHING. IT'S BROUGHT ME TO THAT CONCLUSION.        7 BY MR. STRONG:
11 Q. CAN YOU POINT TO WHAT CASES OR ---
                                                              8         I HAVE NO FURTHER QUESTIONS, IF YOU WANT TO ---
12 A. NO, I CAN'T. I DON'T HAVE THAT IN MY HEAD. I'M NOT
13     A COMPUTER, BUT THERE IS A LIBRARY, A WIDE VARIETY     9 BY MR. BENNETT:
14     OF INFORMATION. I WILL GIVE ONE EXAMPLE. THE 63, I
                                                              10        MERCIFULLY, I HAVE NO QUESTIONS.
15     DON'T REMEMBER, EITHER 6330 OR 31, WHATEVER IT WAS,
16     THAT THE INTENT TO LEVY.                               11 (THERE BEING NO OTHER QUESTIONS, THE DEPOSITION WAS
17 Q. UH-HUH.
                                                              12 CONCLUDED AT THE HOUR OF 3:47 P.M.)
18 A. WELL, NO, WE ALREADY DISCUSSED THAT. WHERE THEY
19     LEFT OUT THAT PARAGRAPH A. WHEN THEY SHOWED IT TO
20     ME, IT MADE ME VERY SKEPTICAL ABOUT EVERYTHING, AND
21     IT'S THAT SKEPTICISM -- BEFORE I FOUND OUT WHAT WAS
22     GOING ON OR WHAT I PERCEIVE IS GOING ON IN THE
23     GOVERNMENT, IT WAS MY GOVERNMENT. IT WAS LIKE GOD.
24     YOU COULDN'T DO ANYTHING WRONG. I FOUND OUT THAT
25     WASN'T TRUE.

                                                   Page 103                                                     Page 105
1 Q. HAVE YOU EVER HEARD THE TERM THE 14TH AMENDMENT          1        IN THE UNITED STATES DISTRICT COURT
2      CITIZEN?                                                          DISTRICT OF SOUTH CAROLINA
                                                              2            C.A. NO. 6:08-CV-3760
3 A. UH-HUH.                                                  3
4 Q. WHAT DOES THAT MEAN TO YOU?                              4    UNITED STATES OF AMERICA,
                                                              5      PLAINTIFF,
5 A. 14TH AMENDMENT CITIZEN MEANS SOMEBODY THAT IS A U.S.
                                                              6        VERSUS
6      CITIZEN.                                               7    JOHN HOWARD ALEXANDER,
7 Q. CAN YOU CLARIFY WHAT YOU MEAN BY THAT?                   8       DEFENDANT.
                                                              9
8 A. OH, YEAH. AS A MATTER OF FACT, TODAY IS THE
                                                                 I, JILL BISHOP EDWARDS, A NOTARY PUBLIC FOR THE
9      ANNIVERSARY OF THE DAY OF THE 15 STATUTES AT LARGE   10 STATE OF SOUTH CAROLINA, DULY COMMISSIONED AND QUALIFIED
10     WHERE CONGRESS PUT IN THE RIGHT TO EX PATRIATE.         AS SUCH, DO HEREBY CERTIFY THAT THE FOREGOING 104 PAGES
                                                            11 REPRESENT A TRUE AND ACCURATE TRANSCRIPT OF THE FOREGOING
11     THERE WAS NOTHING TO EX PATRIATE FROM UNTIL THE NEXT    DEPOSITION OF JOHN HOWARD ALEXANDER TAKEN BY ME ON THE
12     DAY, THE THEORETICAL RATIFICATION OF THE 14TH        12 27TH DAY OF JULY, 2009.
13     AMENDMENT, WHICH MADE PEOPLE SUBJECT TO THE               THAT THE DEPONENT WAS DULY PLACED UNDER OATH AND
                                                            13 ADMONISHED TO SPEAK THE WHOLE TRUTH. THAT THE ORAL
14     JURISDICTION THEREOF.                                   TESTIMONY WAS DULY TAKEN AND TRANSCRIBED AS TO THE
15   Q. OKAY. CAN YOU CLARIFY WHAT YOU MEAN BY THAT?        14 QUESTIONS PROPOUNDED AND THE ANSWERS GIVEN.
                                                                 THAT ALL OFFERED EXHIBITS, STIPULATIONS AND
16   A. WHAT IS IT THAT YOU NEED CLARIFICATION OF?
                                                            15 OBJECTIONS, IF ANY, INVOLVED IN THIS CAUSE ARE DULY
17   Q. WHAT DO YOU MEAN THE JURISDICTION THEREOF?             ATTACHED OR INCLUDED HEREIN.
18   A. THE JURISDICTION THEREOF IS THE UNITED STATES,      16   IN WITNESS WHEREOF, I HAVE SET MY HAND AND OFFICIAL
                                                               SEAL THIS 13TH DAY OF AUGUST, 2009.
19     A.K.A. THE DISTRICT OF COLUMBIA.
                                                            17
20   Q. SO, THE -- WHEN YOU SAY A U.S. CITIZEN, YOU'RE      18             ___________________________________
21     REFERRING ONLY TO SOMEBODY WHO IS LIVING WITHIN THE  19             JILL BISHOP EDWARDS
                                                            20             NOTARY PUBLIC FOR SOUTH CAROLINA
22     DISTRICT OF COLUMBIA?                                21             MY COMMISSION EXPIRES: 7-10-2010
23   A. NO, ANYBODY WHO HAS ANY OF THESE ADHESION CONTRACTS 22
24     AND ALL THESE OTHER CUTE LITTLE WAYS TO DRAW THEM    23 * THIS TRANSCRIPT MAY CONTAIN QUOTED MATERIAL. SUCH
                                                            24 MATERIAL IS REPRODUCED AS READ OR QUOTED BY THE
25     IN.                                                  25 SPEAKER.


                                                                                       27 (Pages 102 to 105)

                                                                                                  4898d016-a8b8-4355-9859-eeb63c142382
             6:08-cv-03760-GRA              Date Filed 09/25/09   Entry Number 22-3   Page 32 of 94


John Howard Alexander                                                                 July 27, 2009
                                                      Page 106
1    UNITED STATES OF AMERICA,
2      PLAINTIFF,
3
        VERSUS
4
     JOHN HOWARD ALEXANDER,
5
       DEFENDANT.
 6
 7               ERRATA SHEET
 8   I, JOHN H. ALEXANDER, HAVE READ THE FOREGOING 104
 9   PAGES OF TESTIMONY GIVEN BY ME ON 7.27.09.
10   THIS TESTIMONY SHOULD BE CORRECTED AS FOLLOWS:
11   PAGE LINE CHANGE FROM         CHANGE TO    REASON
12
13
14
15
16   SUBJECT TO THE FOREGOING CORRECTIONS, MY TESTIMONY IS AS
17
18   CONTAINED IN THE DEPOSITION TRANSCRIPT.
19
20   THIS ____________ DAY OF ___________________, 2009
21
22
23   _________________________ ___________________________
24   DEPONENT SIGNATURE         NOTARY PUBLIC FOR S.C.
25                  MY COMMISSION EXPIRES:




                                                                                          28 (Page 106)

                                                                                       4898d016-a8b8-4355-9859-eeb63c142382
     6:08-cv-03760-GRA      Date Filed 09/25/09   Entry Number 22-3   Page 33 of 94


Heather Ferguson                                                      July 27, 2009

                                                                                    Page 1
             IN THE UNITED STATES DISTRICT COURT
                 DISTRICT OF SOUTH CAROLINA
                    C.A. NO. 6:08-CV-3760



   UNITED STATES OF AMERICA,

        PLAINTIFF,

           VERSUS

   JOHN HOWARD ALEXANDER,

         DEFENDANT.



                      DEPOSITION OF HEATHER FERGUSON

        PURSUANT TO NOTICE AND/OR AGREEMENT, THE

   DEPOSITION OF HEATHER FERGUSON WAS CALLED BY THE

   PLAINTIFF ON THE 27TH DAY OF JULY, 2009, COMMENCING AT

   THE HOUR OF 9:29 A.M., AT THE OFFICE OF THE UNITED

   STATES ATTORNEY, 105 NORTH SPRING STREET, GREENVILLE,

   SOUTH CAROLINA, ATTENDED BY COUNSEL AS FOLLOWS:



                      JILL BISHOP EDWARDS

                       VERBATIM REPORTER




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          6:08-cv-03760-GRA             Date Filed 09/25/09         Entry Number 22-3            Page 34 of 94


Heather Ferguson                                                                                  July 27, 2009
                                                     Page 2                                                           Page 4
 1               APPEARANCES                                  1         PURSUANT TO NOTICE AND/OR AGREEMENT TO TAKE
 2                                                            2      DEPOSITIONS, THE WITHIN VIDEOTAPED DEPOSITION WAS
 3     JAMES C. STRONG, ESQUIRE, OF THE                       3      TAKEN BY THE ABOVE-NAMED COURT REPORTER, A NOTARY
 4     UNITED STATES DEPARTMENT OF JUSTICE                    4      PUBLIC FOR THE STATE OF SOUTH CAROLINA, BY CONSENT
 5     POST OFFICE BOX 7238                                   5      OF ALL PARTIES AT THE OFFICE OF THE UNITED STATES
 6     BEN FRANKLIN STATION                                   6      ATTORNEY, GREENVILLE, SOUTH CAROLINA.
 7     WASHINGTON, DISTRICT OF COLUMBIA 20044                 7          ****      ****   ****
 8     james.c.strong@usdoj.gov                               8    STIPULATIONS:
 9                                                            9      IT IS AGREED BY AND BETWEEN COUNSEL FOR THE PARTIES
10        ATTORNEY FOR THE PLAINTIFF,                         10 AS FOLLOWS:
11                                                            11     1. THE DEPOSITION IS BEING TAKEN PURSUANT TO THE
12                                                            12        FEDERAL RULES OF CIVIL PROCEDURE.
13     JESSICA ANN SALVINI, ESQUIRE, OF THE FIRM              13     2. THE READING AND SIGNING OF THE DEPOSITION
14     SALVINI AND BENNETT                                    14        TRANSCRIPT ARE RESERVED BY THE WITNESS AND THE
15     101 WEST PARK STREET                                   15        PARTIES.
16     GREENVILLE, SOUTH CAROLINA 29601                       16         ****      ****   ****
17                                                            17     THE WITNESS WAS DULY SWORN TO TELL THE TRUTH, THE
18        ATTORNEY FOR THE DEFENDANT.                         18 WHOLE TRUTH AND NOTHING BUT THE TRUTH CONCERNING THE
19                                                            19 MATTER HEREIN:
20                                                            20         ****      ****   ****
21                                                            21            HEATHER FERGUSON,
22                                                            22 BEING FIRST DULY SWORN, TESTIFIED ON HER OATH AS
23                                                            23 FOLLOWS:EXAMINATION BY MR. STRONG:
24                                                            24 Q. GOOD MORNING.
25     ALSO ATTENDING:          MIKE FERGUSON                 25 A. MORNING.

                                                     Page 3                                                           Page 5
1              INDEX                                          1    Q. WE'RE HERE TODAY ON -- IT'S JULY 27TH, 2009. WE'RE
2                                                             2      HERE ON NOTICE AND SUBPOENA TO DEPOSE HEATHER
                            PAGE                              3      FERGUSON IN THE CASE OF UNITED STATES VERSUS JOHN
3
                                                              4      ALEXANDER, CASE NUMBER 08:3760 IN THE U.S. DISTRICT
     NON-WAIVER AND STIPULATIONS............... 4
4                                                             5      COURT FOR THE DISTRICT OF SOUTH CAROLINA. GOOD
     EXAMINATION BY MR. STRONG................. 4             6      MORNING.
5                                                             7    A. MORNING.
     EXAMINATION BY MS. SALVINI................ 40
                                                              8    Q. MS. FERGUSON, HAVE YOU EVER HAD YOUR DEPOSITION
6
     RE-EXAMINATION BY MR. STRONG.............. 70            9      TAKEN BEFORE?
7                                                             10 A. NO.
    CERTIFICATE OF NOTARY PUBLIC.............. 78             11 Q. WELL, I'M GOING TO EXPLAIN TO YOU A LITTLE BIT ABOUT
 8
                                                              12     WHAT GOES ON AND THEN MAKE SURE THAT YOU'RE AWARE.
 9
10 EXHIBITS:                                                  13     I'M GOING TO ASK YOU A SET OF QUESTIONS. ANSWER
11  PLAINTIFF'S EXHIBIT NUMBER ONE, MARKED,                   14     THEM. OPPOSING COUNSEL THEN WILL HAVE AN
12  AFFIDAVIT, ATTACHED....................... 26             15     OPPORTUNITY TO ASK YOU A SET OF QUESTIONS, AND THEN
13
                                                              16     I'LL HAVE AN OPPORTUNITY TO DO SOME FOLLOW UP ---
14  PLAINTIFF'S EXHIBIT NUMBER TWO, MARKED,
15  CLIENT LIST, ATTACHED..................... 28             17 A. OKAY.
16                                                            18 Q. --- ON THAT. DO YOU UNDERSTAND?
17                                                            19 A. YES.
18                                                            20 Q. OKAY. IF AT ANY TIME YOU NEED A BREAK, YOU KNOW,
19 OBJECTIONS:
20   NONE                                                     21     NEED TO GO TO THE REST ROOM, NEED A GLASS OF WATER,
21                                                            22     LET ME KNOW, AND WE'LL STOP AND WE'LL DO THAT. DO
22                                                            23     YOU UNDERSTAND?
23                                                            24 A. YES.
24
                                                              25 Q. OKAY. DO YOU -- HAVE YOU TAKEN ANY MEDICATION TODAY
25

                                                                                                  2 (Pages 2 to 5)

                                                                                                    c77b1608-3dad-41b3-b76e-97be2fcee833
               6:08-cv-03760-GRA            Date Filed 09/25/09       Entry Number 22-3              Page 35 of 94


Heather Ferguson                                                                                      July 27, 2009
                                                        Page 6                                                              Page 8
1      OR HAD ANY ALCOHOL THAT IT MIGHT AFFECT YOUR              1     OFF THE TOP OF MY HEAD HOW LONG.
2      TESTIMONY IN ANY WAY TODAY?                               2 Q. AND THE AWARE GROUP WAS FORMED WHEN?
3    A. NO.                                                      3 A. I DON'T KNOW.
4    Q. OKAY. WERE YOU PREVIOUSLY MARRIED TO A MAN NAMED 4 Q. OH, OKAY.
5      JOHN ALEXANDER?                                           5 A. IT WAS ALREADY THERE WHEN I MET HIM.
6    A. YES.                                                     6 Q. WHEN WAS THE FREEDOM TRUST GROUP FORMED?
7    Q. WHEN DID -- WHEN WERE YOU MARRIED?                       7 A. SOMETIME IN THE LATE '90s. I DON'T KNOW OFF THE TOP
8    A. WE WERE MARRIED JUNE, I THINK IT WAS THE 22ND, 1997,     8     OF MY HEAD. THIS HAS BEEN A WHILE, SO I DON'T
9      AND WE SEPARATED, I BELIEVE IT WAS THE END OF APRIL,      9     REMEMBER THESE DATES EXACTLY, YOU KNOW.
10     THE FIRST PART OF MARCH OF '03, 2003. OUR DIVORCE         10 Q. AND I.B.S.?
11     WAS FINAL IN '05, 2005, I BELIEVE.                        11 A. SOMETIME IN THE LATE '90s, AS WELL. I'M THINKING
12 Q. AND WHERE DID YOU LIVE DURING THE MARRIAGE?                12    '97, '98 BECAUSE I MET -- I MET ALEX, WHICH THAT'S
13 A. AT HIS HOME ON WHITE HORSE ROAD IN BEREA.                  13    WHAT EVERYONE CALLS HIM. THAT'S HIS NICKNAME, I
14 Q. DO YOU REMEMBER THE ADDRESS?                               14    GUESS YOU'D SAY. SO, I MET HIM IN '95 ---
15 A. I THINK IT WAS 6350 WHITE HORSE ROAD, I THINK.             15 Q. MM-HMM (AFFIRMATIVE RESPONSE).
16 Q. AND YOU LIVED ON WHITE HORSE ROAD THE ENTIRE TIME? 16 A. BUT WE WERE MARRIED IN '97.
17 A. YES.                                                       17 Q. AND WAS HE WORKING WITH THE AWARE GROUP AS FAR BACK
18 Q. DO YOU RECALL HOW THE UTILITIES WERE PAID FOR ON           18    AS 1995?
19     WHITE HORSE ROAD?                                         19 A. OH, YES. THAT'S, LIKE I SAID, BEFORE I MET HIM.
20 A. CASH.                                                      20 Q. DO YOU KNOW A WOMAN NAMED MIRIAM GETZ?
21 Q. WHO PAID THEM?                                             21 A. YEAH, THAT'S HIS MOTHER.
22 A. YOU MEAN PHYSICALLY PAID THEM? I USUALLY WENT AND 22 Q. DO YOU KNOW IF MIRIAM GETZ IS PRESENTLY ALIVE OR ---
23     PAID THEM. I HANDLED ALL BILL PAYING.                     23 A. NO, HE TOLD ME SHE HAD PASSED AWAY SEVERAL YEARS
24 Q. AND FROM WHAT SOURCE OF INCOME WOULD YOU PAY THE 24              AGO.
25     BILLS?                                                    25 Q. DO YOU KNOW WHEN?

                                                        Page 7                                                              Page 9
1    A. THE MONEY HE WOULD GIVE ME.                              1 A. WITHIN THE LAST FIVE YEARS. THAT, I KNOW.
2    Q. DO YOU KNOW WHERE THAT MONEY CAME FROM?                  2 Q. AFTER YOUR DIVORCE?
3    A. FROM THE ORGANIZATION THAT HE RAN.                       3 A. OH, YES. YES. YEAH, BECAUSE WE WERE MARRIED IN
4    Q. CLARIFY WHICH ORGANIZATIONS.                             4     WHAT? 2005?
5    A. THE AWARE GROUP.                                         5 BY MR. FERGUSON:
6    Q. WERE THERE ANY OTHER ORGANIZATIONS?                      6        UH-HUH.
7    A. WELL, THERE WAS FREEDOM TRUST GROUP, AND THEN LATER,     7 BY THE WITNESS:
8      THERE WAS INTERNATIONAL BUSINESS SYSTEMS,                 8        NO. WAIT, IT'S 2009. LET ME GET MY DATES
9      INCORPORATED.                                             9     STRAIGHT. GIVE ME A SECOND.
10 Q. AND TO THE BEST OF YOUR KNOWLEDGE, IS THAT ALL THE         10 EXAMINATION RESUMED BY MR. STRONG:
11     SOURCES OF INCOME THAT MR. ALEXANDER AND YOU HAD          11 Q. JUST FOR THE RECORD, I GUESS WE'LL PUT IT ON THE
12     DURING THAT TIME?                                         12    RECORD HERE.
13 A. YES. WELL, WE, NOW, WHEN WE WERE MARRIED, YES.             13 A. OH, I'M SORRY.
14     WELL, WHEN WE FIRST MET, I WORKED AND STUFF, BUT          14 Q. SHE'S TALKING TO HER HUSBAND, MIKE FERGUSON, WHO'S
15     THEN I QUIT WORK AT HIS REQUEST TO ASSIST HIM.            15    ALSO IN THE DEPOSITION WITH US. ALSO, IS JESSICA
16 Q. ARE YOU AWARE IF HE HAD ANY OTHER SOURCES OF INCOME? 16          SALVINI, COUNSEL FOR -- LAW PARTNER OF BRADLEY
17 A. NO.                                                        17    BENNETT, WHO IS COUNSEL FOR ALEX ALEXANDER.
18 Q. BEFORE THE MARRIAGE?                                       18 A. I APOLOGIZE. LET ME GET MY DATES STRAIGHT REAL
19 A. NO, NO. HE WAS DOING THIS WHEN I MET HIM.                  19    QUICK, OKAY? I LEFT ALEX IN 2003.
20 Q. DO YOU KNOW HOW LONG HE HAD BEEN WORKING WITH THE          20 Q. OKAY.
21     AWARE GROUP AND THE FREEDOM TRUST GROUP?                  21 A. OUR DIVORCE WAS FINAL IN 2004. YEAH, BECAUSE WE'VE
22 A. WELL, FREEDOM TRUST -- WHEN I MET HIM THE ONLY ONE         22    BEEN MARRIED FIVE YEARS. YEAH, YEAH. OKAY. 2004.
23     HAD WAS THE AWARE GROUP.                                  23    MS. GETZ DIED AFTER THE DIVORCE WAS FINAL, SO IT WAS
24 Q. OKAY.                                                      24    2005 OR LATER, I BELIEVE.
25 A. OKAY? AND AT LEAST A COUPLE OF YEARS. I DON'T KNOW         25 Q. BUT AFTER, OKAY, AFTER 2005?


                                                                                                      3 (Pages 6 to 9)

                                                                                                        c77b1608-3dad-41b3-b76e-97be2fcee833
                6:08-cv-03760-GRA        Date Filed 09/25/09         Entry Number 22-3           Page 36 of 94


Heather Ferguson                                                                                 July 27, 2009
                                                      Page 10                                                      Page 12
1    A. YEAH, I'M SORRY.                                        1 A. TYPING UP STUFF. PUTTING TOGETHER MATERIAL. GOING
2    Q. AFTER YOUR DIVORCE WAS FINAL?                           2    AND PICKING UP TAPES FROM THE TAPE DUPLICATOR OR,
3    A. I WAS JUST TRYING TO GET ALL MY DATES STRAIGHT IN MY    3    YOU KNOW, ANY KIND OF ADMINISTRATIVE ASSISTANT KIND
4      HEAD.                                                    4    OF ACTIONS. I SPENT MY DAY AT THE COMPUTER.
5    Q. AND THE HOUSE THAT WAS ON WHITE HORSE ROAD, THAT        5 Q. DID YOU DO ANY FINANCIAL WORK FOR THE AWARE GROUP?
6      STAYED WITH MR. ALEXANDER AFTER ---                      6 A. THE AWARE GROUP DIDN'T HAVE ANY FINANCIAL -- THERE
7    A. YES.                                                    7    WAS NO AWARE GROUP BANK ACCOUNTS. THERE WAS NO
8    Q. --- AFTER THE DIVORCE?                                  8    AWARE GROUP FINANCES, SO TO SPEAK, SO I'M NOT REALLY
9    A. YES, YES BECAUSE IT WAS IN HIS MOTHER'S NAME. SHE       9    SURE HOW TO ANSWER THAT.
10     PURCHASED THE HOUSE.                                     10 Q. WHERE WERE THE FINANCES DONE?
11 Q. WHEN YOU SAY SHE PURCHASED THE HOUSE, WHAT DO YOU 11 A. FREEDOM TRUST GROUP HAD A BANK ACCOUNT AT THE BANK
12     MEAN?                                                    12   OF TRAVELERS REST.
13 A. FROM WHAT I WAS TOLD BECAUSE THIS WAS ALL BEFORE I        13 Q. DID YOU DO ANY FINANCIAL WORK FOR THE FREEDOM TRUST
14     EVER EVEN MET HIM, HE WAS IN CALIFORNIA. HE CAME         14   GROUP?
15     HERE TO TAKE CARE OF HIS MOTHER, AND SHE PUT THE         15 A. OH, YES. WELL, I HANDLED THE DEPOSITS OR WHATNOT.
16     MONEY DOWN TO PURCHASE THE HOUSE. THOUGH EACH            16 Q. SO, EXPLAIN -- CAN YOU EXPLAIN TO ME HOW, KIND OF
17     MONTH, HE MADE THE MORTGAGE PAYMENT, THE HOUSE WAS 17         HOW THE INTERACTION BETWEEN AWARE GROUP AND FREEDOM
18     IN HER NAME.                                             18   TRUST GROUP WORKED?
19 Q. HAVE YOU EVER HEARD OF AN ENTITY CALLED THE               19 A. WELL, FREEDOM TRUST GROUP HAD SOFTWARE THAT THEY
20     ALEXANDER FAMILY TRUST?                                  20   SOLD THAT WROTE TRUSTS, THAT PEOPLE COULD USE TO
21 A. NO. NOT THAT I RECALL, OKAY? THIS WAS NOT PART OF         21   WRITE TRUSTS. NEVER, TRUSTS WERE NEVER WRITTEN FOR
22     ALL THIS. DO YOU KNOW WHAT I'M SAYING?                   22   OTHER PEOPLE. OKAY? PEOPLE COULD PURCHASE THE
23 Q. WELL, WHY DON'T YOU CLARIFY? WHAT ARE YOU ---             23   SOFTWARE AND THEN WRITE TRUSTS. AND FREEDOM TRUST
24 A. WHAT I MEAN IS IT WASN'T PART OF FREEDOM TRUST GROUP 24        GROUP HAD A BANK ACCOUNT. THEREFORE, AND BECAUSE
25     AND THE AWARE -- IT WASN'T -- IF HE FORMED A TRUST,      25   AWARE DIDN'T, ANY MONIES BASICALLY WENT TO FREEDOM

                                                      Page 11                                                      Page 13
1      THE ALEXANDER FAMILY TRUST BECAUSE THERE WAS A TRUST 1        TRUST GROUP UNTIL INTERNATIONAL BUSINESS SYSTEMS WAS
2      THAT HE FORMED AFTER WE SEPARATED OR RIGHT AROUND IN     2    FORMED BECAUSE IT HAD A MERCHANT ACCOUNT AND
3      THERE TO PUT THE HOUSE IN THAT I BELIEVE OUR             3    THEREFORE HAD THE ABILITY TO TAKE CREDIT CARDS. AND
4      DAUGHTER WAS THE BENEFICIARY OF. NOW, THIS IS ALL,       4    SO, ANYONE WHO WANTED TO USE A CREDIT CARD, IT WAS
5      I COULD BE TOTALLY WRONG ON ALL OF THIS, BUT I           5    RAN THROUGH INTERNATIONAL BUSINESS SYSTEMS. AND LET
6      REMEMBER SOMETHING BEING FORMED, AND I DON'T KNOW IF     6    ME SAY THIS, OKAY? BECAUSE MR. ALEXANDER AND HIS
7      THAT'S WHAT IT WAS CALLED. I COULD BE TOTALLY            7    BELIEFS WOULD NOT HAVE HIS NAME, SOCIAL SECURITY
8      WRONG, BUT I'M THINKING THAT'S WHAT IT WAS CALLED,       8    NUMBER, SIGNATURE, OR ANY IDENTIFYING INFORMATION ON
9      BUT I HAD NOTHING TO DO WITH IT, AND I DON'T KNOW        9    ANY KIND OF BANK ACCOUNTS AND STUFF, HE HAD ME DO
10     ANYTHING BEYOND THAT. AND LIKE I SAID, I COULD BE        10   IT.
11     TOTALLY OFF BASE ON THIS.                                11 Q. SO, YOU RAN -- YOU RAN THE FINANCES, THEN, FOR
12 Q. DOES MR. ALEXANDER STILL HAVE CONTACT WITH YOUR           12   INTERNATIONAL BUSINESS SYSTEM?
13     DAUGHTER?                                                13 A. I HANDLED, I MANAGED -- WHEN YOU SAY HANDLED THE
14 A. HE HAS NOT SEEN HER, IN OCTOBER IT WILL BE THREE          14   FINANCES, I MADE SURE, I BALANCED THE CHECK BOOK.
15     YEARS WHEN THE GRANDDAUGHTER WAS BORN. HE HAS HER        15 Q. YOU MADE THE DEPOSITS?
16     CONTACT INFORMATION, BUT I DON'T THINK THEY HAVE         16 A. WELL, THEY WERE MADE OUT OF MY -- WELL, FOR
17     CONTACT. SHE'S 21 NOW, SO.                               17   INTERNATIONAL BUSINESS SYSTEMS, 99 PERCENT OF THOSE
18 Q. SO, YOU'RE NOT AWARE IF SHE'S STILL THE BENEFICIARY       18   WERE MADE AUTOMATICALLY BECAUSE IT WAS A MERCHANT
19     OF ---                                                   19   ACCOUNT. YOU KNOW, IT WAS DIRECT DEPOSITED. BUT
20 A. OH, I DON'T, MM-MM (NEGATIVE RESPONSE). I DON'T           20   BOTH HE AND I WOULD MAKE DEPOSITS, AND HE WOULD, HE
21     HAVE A CLUE ON ANYTHING, AND SHE CERTAINLY DOESN'T.      21   ALSO GOT TO THE POINT WHERE HE WOULD MAKE
22 Q. CAN YOU TELL ME ABOUT YOUR INVOLVEMENT WITH THE           22   WITHDRAWALS.
23     AWARE GROUP?                                             23 Q. HOW WERE THE PRODUCTS THAT EITHER FREEDOM TRUST
24 A. I WAS BASICALLY ALEX'S PERSONAL ASSISTANT.                24   GROUP OR AWARE GROUP PROVIDED, HOW WERE THOSE
25 Q. AND WHAT KIND OF DUTIES WOULD THAT ENTAIL?                25   DISSEMINATED? HOW WERE THOSE GIVEN OUT?


                                                                                              4 (Pages 10 to 13)

                                                                                                   c77b1608-3dad-41b3-b76e-97be2fcee833
             6:08-cv-03760-GRA             Date Filed 09/25/09         Entry Number 22-3             Page 37 of 94


Heather Ferguson                                                                                      July 27, 2009
                                                       Page 14                                                            Page 16
1    A. PEOPLE WOULD ORDER THEM BY THE MAIL OR ONLINE AND        1      AND UTILIZING A U.C.C. ONE, YOU COULD GET BACK
2      THEY WERE SHIPPED. WELL, THEY HAD -- THERE WAS A          2      CONTROL OVER YOUR BIRTH CERTIFICATE.
3      MAILBOXES AT THE U.P.S. STORE ON EAST NORTH STREET,       3 Q. AND WHAT WERE THE ADVANTAGES IN DOING THAT?
4      AND THEY WERE JUST PACKAGED AND SHIPPED OUT TO            4 A. I DON'T KNOW. IT WAS SUPPOSEDLY TO, THAT PEOPLE
5      PEOPLE ALL OVER THE COUNTRY.                              5      COULD DO THIS AND THEN THEY WOULD BE A REAL PERSON
6    Q. AND WHO WOULD DO THAT?                                   6      -- WAIT, PERSON WAS A BAD WORD. THEY COULD BE A
7    A. HE OR I.                                                 7      HUMAN. I DON'T, LIKE I SAID, FIRST OF ALL, THIS HAS
8    Q. AND WHAT KIND OF MATERIALS WOULD BE SHIPPED OUT?         8      BEEN MANY, MANY YEARS AGO. WELL, NOT MANY, MANY,
9    A. AUDIO TAPES, VIDEO TAPES, WRITTEN MATERIAL, CD-ROMS.     9      BUT A DECADE. OKAY? AND FROM WHAT I RECALL AND
10     I THINK AT THE END THERE WAS A DVD, BUT YOU KNOW.         10     STUFF, IT WAS A BELIEF THAT THIS WOULD PUT YOU OUT
11 Q. WHAT KIND OF -- WELL, LET'S START WITH PERHAPS LIKE        11     OF ONE JURISDICTION AND BACK INTO THE NATURAL WORLD
12     THE CDs.                                                  12     OR ORDER OR I DON'T KNOW. I REALLY DON'T. I DON'T
13 A. OKAY.                                                      13     REMEMBER THE PARTICULARS OF IT. ALL I DID WAS TYPE
14 Q. WHAT KIND OF CDs WOULD BE MAILED OUT? WHAT, I MEAN, 14            UP WHAT I WAS TOLD TO TYPE UP.
15     DO YOU HAVE A TITLE?                                      15 Q. DID YOU AND MR. ALEXANDER EVER CONDUCT ANY SEMINARS?
16 A. OH, THE -- OKAY, THERE WAS THE FREEDOM FILES.              16 A. YES.
17 Q. MM-HMM (AFFIRMATIVE RESPONSE).                             17 Q. CAN YOU -- HOW MANY SEMINARS?
18 A. OKAY. THAT WAS WHAT PEOPLE GOT WITH AWARE GROUP            18 A. OH, LET ME THINK. THERE WAS ONE IN OREGON, ONE IN
19     MEMBERSHIP, AND IT WAS THE WHOLE BUNCH OF DIFFERENT 19           PENNSYLVANIA, ONE IN FLORIDA. ONE IN, I THINK HERE
20     INFORMATION THAT HE GOT TOGETHER AND WAS PUT ON THE 20           IN GREENVILLE. I'M THINKING. THAT'S ALL I CAN
21     CD REGARDING VARIOUS SUBJECTS THAT HE BELIEVED IN.        21     RECALL OFF THE TOP OF MY HEAD.
22 Q. SUCH AS?                                                   22 Q. SO, AT LEAST FOUR SEMINARS?
23 A. WRIT OF HABEAS CORPUS, HOW TO WRITE TRUSTS, GOING          23 A. AT LEAST.
24     BACK TO THE TRUST ISSUE. THE U.S. CODE, TITLE 42.         24 Q. AND MAYBE MORE?
25     BASICALLY, CIVIL RIGHTS SORT OF THINGS, PROTECTING        25 A. MAYBE.

                                                       Page 15                                                            Page 17
1      YOUR CIVIL RIGHTS IF THEY'VE BEEN VIOLATED, THINGS        1    Q. WHAT WAS DISCUSSED AT THESE SEMINARS?
2      ALONG THAT NATURE. WHAT SOME PEOPLE WOULD CALL,           2    A. ALL OF THESE ISSUES. THE PATRIOT SUBJECT MATTER,
3      WELL, FOR A WHILE, THEY CALLED PATRIOT ARGUMENTS OR       3      THE REDEMPTION, THE RELIANCE, TRUSTS, WACO. NO, NOT
4      PATRIOT -- HE WAS HEAVILY INTO THE PATRIOT MOVEMENT       4      REALLY THAT MUCH. NO, IT WAS JUST THEIR BELIEF THAT
5      OR WHATEVER THEY CALLED IT AT THAT TIME, IN THE           5      THE GOVERNMENT WAS IN THE WRONG. BUT ANYWAY, JUST A
6      '90s, AT LEAST THAT'S WHAT I CALL, I HAVE NO IDEA         6      WHOLE BUNCH OF CIVIL RIGHTS ISSUES, CIVIL LIBERTY
7      WHAT THEY CALL IT NOW.                                    7      ISSUES. VARIOUS, VARIOUS SUBJECTS.
8    Q. WAS PART OF THE FREEDOM FILES, WAS THERE SOMETHING       8    Q. DID THE TOPIC OF THE I.R.S. EVER COME UP?
9      CALLED THE RELIANCE PACKAGE?                              9    A. OH, YEAH.
10 A. YES.                                                       10 Q. IN WHAT CONTEXT?
11 Q. WHAT WAS THE RELIANCE PACKAGE?                             11 A. THAT IT WAS UP TO EACH PERSON TO DETERMINE WHETHER
12 A. THE RELIANCE PACKAGE WAS GOING BACK TO THE U.C.C. --       12     OR NOT THEY WERE LIABLE, AND THAT EACH PERSON, BY
13     WAIT, NO, I'M MISTAKEN. THAT'S NOT WHAT THAT WAS.         13     LAW, HAD THE RIGHT TO REDUCE, THROUGH WHATEVER LEGAL
14     WHAT WAS RELIANCE? RELIANCE PACKAGE, IF I RECALL          14     MEANS AVAILABLE, THEIR OBLIGATION, IF THEY HAD ONE.
15     CORRECTLY, WAS LETTERS WRITTEN BY ATTORNEYS, FORMER       15 Q. AND HOW WOULD -- HOW MIGHT THEY GO ABOUT DOING THAT?
16     I.R.S. AGENTS, VARIOUS OTHER PROFESSIONALS STATING        16 A. WELL, UTILIZING A TRUST. WELL, AND LET'S SEE. THE
17     THEIR PROFESSIONAL OPINION ON THE U.S. TAX CODE.          17     TAX ISSUE WAS NOT REALLY AT THE FOREFRONT OF
18 Q. AS PART OF THE FREEDOM FILES, WAS THERE SOMETHING          18     ANYTHING HE DID BECAUSE HIS THING WAS ALWAYS THAT IT
19     CALLED THE REDEMPTION PACKAGE?                            19     WAS HERE'S THE INFORMATION. IT'S UP TO EACH
20 A. YES. THAT WAS THE U.C.C.                                   20     INDIVIDUAL TO DETERMINE WHAT THEY'RE RESPONSIBLE
21 Q. CAN YOU EXPLAIN THAT?                                      21     FOR, WHAT THEY'RE LIABLE FOR. IT WAS -- AND SO IT
22 A. IT WAS A BELIEF THAT WHEN SOME, WHEN A U.S., A             22     WAS NEVER -- NEVER EVER WAS IT SAID YOU DON'T HAVE
23     PERSON IN THE U.S. WAS BORN, THEIR BIRTH CERTIFICATE      23     TO PAY. OKAY? THAT WAS NEVER, NO TAX FORMS WERE
24     WAS USED AS A COMMODITY, AND THEREFORE, THEY BECAME       24     EVER FILLED OUT FOR ANYBODY. IT WAS NEVER SAID YOU
25     CHATTEL PROPERTY AND THROUGH THE REDEMPTION PROCESS 25           ARE NOT LIABLE TO PAY TAXES OR DON'T PAY YOUR TAXES.


                                                                                                  5 (Pages 14 to 17)

                                                                                                        c77b1608-3dad-41b3-b76e-97be2fcee833
             6:08-cv-03760-GRA            Date Filed 09/25/09          Entry Number 22-3           Page 38 of 94


Heather Ferguson                                                                                   July 27, 2009
                                                       Page 18                                                         Page 20
1    NONE OF THAT WAS EVER -- IT WAS, IT WAS ALWAYS,             1      YOU, WHICH I THINK IS WHAT YOU'RE TRYING TO ASK ME,
2    HERE'S INFORMATION. YOU DETERMINE WITH IT WHAT YOU,         2      CORRECT?
3    HOW YOU FEEL IT APPLIES TO YOU.                             3    Q. CORRECT.
4 Q. BUT WITH REGARDS TO THE TRUSTS ---                          4    A. OKAY. IS THAT THESE LETTERS COULD BE USED AS A FORM
5 A. OKAY.                                                       5      OF DEFENSE ON DEFENDING WHERE YOU STOOD AND WHERE
6 Q. WERE BLANK FORMS PROVIDED?                                  6      YOU THOUGHT YOU WERE LIABLE OR NOT LIABLE FOR
7 A. WELL, IT WAS TEMPLATES. IT WAS, IT WAS BASICALLY            7      CERTAIN TAXES.
8    THE BY-LAWS AND INDENTURES OF A TRUST, WHICH WAS            8    Q. WOULD MR. ALEXANDER CHARGE MONEY TO ATTEND THESE
9    PRETTY GENERIC TEXTS, AND THEN THE PEOPLE WOULD GO          9      SEMINARS?
10   IN AND THEY WOULD NAME THE TRUSTS AND SET UP THE            10 A. YES.
11   TRUSTEES AND THE BENEFICIARIES AND ALL OF THOSE             11 Q. AND WAS IT ---
12   PARTS OF IT.                                                12 A. I'M ALMOST POSITIVE. I'M ALMOST 100 PERCENT
13 Q. AND WITH THE REDEMPTION MANUAL ---                         13     POSITIVE. I'M TRYING TO THINK BACK.
14 A. MM-HMM (AFFIRMATIVE RESPONSE).                             14 Q. AND WAS THERE A CHARGE TO GET THE CD OF THE FREEDOM
15 Q. WERE BLANK FORMS PROVIDED IN CONNECTION WITH ---           15     FILES?
16 A. YEAH, TEMPLATES.                                           16 A. NO, THE FREEDOM FILES CAME WITH MEMBERSHIP TO THE
17 Q. --- THOSE MATERIALS?                                       17     AWARE GROUP. YOU WERE PURCHASING MEMBERSHIP AND
18 A. YES.                                                       18     WITH MEMBERSHIP, YOU GOT A BUNCH OF INFORMATION.
19 Q. ALONG WITH THE RELIANCE MANUAL, WERE BLANK FORMS           19 Q. HOW MUCH DID MEMBERSHIP COST?
20   PROVIDED?                                                   20 A. IT CHANGED WITH TIME. I'M THINKING, THE LAST I
21 A. WELL, THOSE, NOW THOSE IN RELIANCE, FROM WHAT I            21     REMEMBER WAS 240 OR 295, AND IT WAS LIFETIME. THERE
22   RECALL, IT WAS SAMPLES OF LETTERS AND THEN IT WAS           22     WAS NO DUES. THERE WAS NO NOTHING. IT WAS A ONE-
23   CONTACT INFORMATION ON HOW TO CONTACT WHO WROTE             23     TIME, BUT I COULD BE WRONG BECAUSE I ---
24   THESE LETTERS TO GET THE LETTERS YOURSELF BECAUSE           24 Q. WERE THERE ANY OTHER MATERIALS THAT EITHER AWARE
25   THEY WEREN'T ANY GOOD UNLESS THEY WERE PERSONALIZED 25             GROUP OR FREEDOM TRUST SOLD?

                                                       Page 19                                                         Page 21
1    TO YOU.                                                     1    A. WELL, THERE WERE AUDIOS FROM THE SEMINARS. THEY
2 Q. WHAT DO YOU MEAN THEY WEREN'T ANY GOOD?                     2      WERE RECORDED. THERE WERE VIDEOS THAT HE GOT FROM
3 A. WELL, THESE WERE JUST SAMPLES. THESE, IT'S LIKE,            3      OTHER SOURCES. ALEX'S MAIN THING, THE ONE THING HE
4    LIKE IF, LIKE IF YOU HAD AN ATTORNEY THAT YOU               4      ALWAYS SAYS TO ME, SAID TO ME WAS A WISE MAN COPIES
5    PERSONALLY WENT TO AND SAID I NEED A PROFESSIONAL           5      AND A FOOL CREATES, AND SO HE WOULD GLEAN
6    OPINION LETTER AND THEY WROTE A LETTER TO, ADDRESSED        6      INFORMATION FROM VARIOUS OTHER SOURCES AND COMPOUND
7    TO YOU, OKAY? THAT'S YOUR, THEIR LETTER TO YOU.             7      IT INTO ONE, BUT IT WAS VERY RARE THAT HE CREATED
8    OKAY? THIS WAS LETTERS ATTORNEYS OR OTHER                   8      SOMETHING FROM SCRATCH. THAT MAKE SENSE?
9    PROFESSIONALS HAD WRITTEN TO OTHER PEOPLE WITH THOSE        9    Q. MM-HMM (AFFIRMATIVE RESPONSE). DID HE EVER CREATE
10   NAMES REDACTED. SO, THESE WERE, THESE WERE JUST             10     ANY MATERIALS BY SCRATCH THOUGH?
11   EXAMPLES OF LETTERS, BUT IF YOU WANTED LETTERS              11 A. WITH JUST WHATEVER -- WELL, OKAY, LIKE THE AUDIO
12   ADDRESSED TO YOU, THEN YOU WOULD NEED TO CONTACT            12     TAPES FROM THE SEMINARS WOULD BE HIM TALKING, SO YOU
13   THESE PEOPLE TO GET THEM. YOU SEE?                          13     COULD SAY HE CREATED, YOU KNOW, THOSE AUDIO TAPES,
14 Q. WHEN YOU SAY THEY WOULDN'T BE GOOD FOR SOMETHING,          14     BUT THE MATERIAL HE WAS DISCUSSING, NONE OF -- NONE
15   WHAT DO YOU ---                                             15     OF THE MATERIAL HE WENT OVER ORIGINATED WITH HIM.
16 A. WELL, I MEAN THEY WOULD HAVE NO PERTINENCE. THEY           16 Q. HOW WERE RECORDS MAINTAINED AT THE AWARE GROUP OR
17   WOULD, IT WOULD BE LIKE IF I CAME TO YOU AND SAID,          17     THE FREEDOM TRUST GROUP?
18   HEY, I GOT A LETTER FROM JOE AND JOE SAID WE'RE             18 A. THERE WAS A DATABASE, INTELLIMAGIC, OF YOU KNOW, WHO
19   GOING TO PARTY ON THE 4TH, WELL, THAT DOESN'T APPLY         19     JOINED, AND THERE WAS A NOTE PAD THAT YOU COULD
20   TO YOU. SO, YOU WOULD NEED TO GET A LETTER FROM JOE         20     BRING UP AND IT, WHERE WE'D WRITE, YOU KNOW, YOU
21   SAYING HEY, WE'RE GOING TO GO PARTY ON THE 4TH FOR          21     DATE STAMP IT AND GO, OKAY, ON THIS DATE, RECEIVED
22   YOU TO BE INVITED TO THE PARTY. I MEAN, I DON'T, I          22     SUCH AND SUCH OR WHATEVER AND STUFF, BUT IT WAS NO
23   DON'T, MY POINT BEING IS THAT THEY WERE OF NO               23     DETAILED, YOU KNOW, LIKE OH, I HAD A CONVERSATION
24   CONSEQUENCE, AND WHAT CONSEQUENCE THEY WOULD HAVE IF 24            WITH SO AND SO TODAY AND THIS WAS DISCUSSED.
25   THEY WERE DIRECTED TO YOU, IF THEY WERE ADDRESSED TO        25     NOTHING LIKE THAT WAS EVER KEPT.


                                                                                                6 (Pages 18 to 21)

                                                                                                     c77b1608-3dad-41b3-b76e-97be2fcee833
            6:08-cv-03760-GRA          Date Filed 09/25/09         Entry Number 22-3             Page 39 of 94


Heather Ferguson                                                                                  July 27, 2009
                                                   Page 22                                                             Page 24
1 Q. WHO HAD ACCESS TO THAT?                                 1    BY MS. SALVINI:
2 A. HE AND I.                                               2         OKAY.
3 Q. AND WHO MAINTAINED IT?                                  3       (OFF THE RECORD 9:58 A.M. - 10:03 A.M.)
4 A. HE AND I.                                               4    EXAMINATION RESUMED BY MR. STRONG:
5 Q. AND HOW, I MEAN, HOW ARE ENTRIES ENTERED?               5    Q. OKAY. WE'RE BACK ON THE RECORD. CAN YOU REMIND US
6 A. SAT AT THE KEYBOARD AND ENTERED THEM. I MEAN, HE        6      WHERE WE LEFT OFF?
7    AND I. YEAH.                                            7    BY THE COURT REPORTER:
8 Q. DAILY? WEEKLY? MONTHLY?                                 8         YOU ASKED WHAT CIVIL CASE WAS SHE REFERRING TO.
9 A. DAILY.                                                  9    EXAMINATION RESUMED BY MR. STRONG:
10 Q. WERE THOSE THE ONLY SORTS OF RECORDS THAT WERE KEPT 10 Q. OKAY.
11   AT, BY THE ---                                          11 A. WHEN I WAS CONTACTED BY THE I.R.S. SAYING THAT THEY
12 A. WELL, THERE WAS -- NOW, WHEN PEOPLE BECAME AWARE       12     WERE LOOKING AT PURSUING ME CRIMINALLY AND/OR
13   GROUP MEMBERS, THEY HAD TO FILL OUT A MEMBERSHIP        13     CIVILLY OR WHATEVER, I DON'T REMEMBER, FOR THE
14   FORM AND THEY WOULD SEND THAT IN. THOSE WERE KEPT.      14     ACTIVITIES DONE WHILE I WAS WITH HIM AND WITH THE
15 Q. DO YOU KNOW WHERE THOSE MIGHT BE NOW?                  15     AWARE GROUP. THAT'S WHAT I'M REFERRING TO.
16 A. THEY'RE DESTROYED. THEY'RE A PART OF EVERYTHING.       16 Q. WAS THAT BACK IN ABOUT 2006?
17   LIKE I PUT IN THE STATEMENT THAT I PROVIDED WAS         17 A. YEAH. SOMEWHERE AROUND IN THERE. LET ME SEE. IT
18   Y'ALL HAD ASKED FOR ALL THIS INFORMATION AND WHEN --    18     WAS BEFORE THEN. MY CONTACT JUST ABOUT POPPED OUT.
19   WHEN MY CIVIL CASE ENDED WITH THE INTERNAL REVENUE      19     BECAUSE I SIGNED A VITAL, AN AFFIDAVIT ON FEBRUARY
20   SERVICE AND THE GOVERNMENT AND STUFF, FIRST OF ALL,     20     OF '06, I THINK. WELL, HERE'S -- YEAH, IT WAS IN
21   WHEN IT WAS ONGOING, I PROVIDED THEM WITH COPIES OF     21     '05. IT STARTED SOMETIME IN '05.
22   EVERYTHING. I PROVIDED THE I.R.S. WITH COPIES OF        22 Q. AND YOU'RE LOOKING AT A LETTER FROM THE I.R.S.
23   EVERYTHING I HAD, EVERY AUDIO SERIES, EVERY VIDEO       23     THERE?
24   SERIES, EVERY CD, ALL THE DATABASE, EVERYTHING.         24 A. YEAH, FROM THE DEPARTMENT OF TREASURY.
25   OKAY?                                                   25 BY MS. SALVINI:

                                                   Page 23                                                             Page 25
1 BY MS. SALVINI:                                            1        CAN WE GO OFF THE RECORD FOR A MOMENT?
2      I'M SORRY. I MISSED THAT. COULD YOU REPEAT            2    BY MR. STRONG:
3    WHAT YOU SAID? YOU PROVIDED ALL THIS? I'M SORRY.        3        SURE.
4 BY THE WITNESS:                                            4       (OFF THE RECORD 10:03 A.M. - 10:04 A.M.)
5      YES, YES.                                             5    EXAMINATION RESUMED BY MR. STRONG:
6 BY MR. STRONG:                                             6    Q. ALL RIGHT. WE'RE BACK ON THE RECORD. OKAY. WE
7      I'LL ASK HER IN FOLLOW UP TO CLARIFY WHERE WE         7      WERE DISCUSSING -- WE WERE DISCUSSING YOUR CIVIL
8    ARE.                                                    8      SUIT.
9 BY MS. SALVINI:                                            9    A. RIGHT.
10     OKAY.                                                 10 Q. BACK ABOUT THREE YEARS AGO.
11 BY THE WITNESS:                                           11 A. YEAH. FOUR. FOUR OR FIVE, ACTUALLY, BECAUSE THIS
12     OKAY.                                                 12     IS '09, SO '05, AT LEAST.
13 BY MR. STRONG:                                            13 Q. OKAY.
14     GO AHEAD AND FINISH.                                  14 A. SO, AT LEAST FOUR YEARS AGO.
15 BY THE WITNESS:                                           15 Q. AND WHAT WAS THE END RESULT OF THAT?
16     ALL RIGHT. SO, WHEN MY CIVIL CASE WAS DONE AND        16 A. THE END RESULT OF THAT WAS THAT THEY ASKED ME TO
17   THEY SAID, OKAY, YOU SIGN THIS AFFIDAVIT AND WE'RE      17     FILE THE TAXES FROM WHEN I LEFT ALEX WHICH WAS 2003
18   DONE AND STUFF, EVERYTHING I HAD EXCEPT FOR             18     TO 2000 AND WHATEVER, AND SIGN AN AFFIDAVIT, WHICH
19   FINANCIAL RECORDS FOR TAX PURPOSES, I STILL HAVE ALL    19     YOU HAVE A COPY OF, STATING THAT I GAVE FALSE
20   THAT, BUT EVERYTHING ELSE, I CHUCKED IN A BIG OLD       20     INFORMATION TO CLIENTS LEADING THEM TO BELIEVE THERE
21   BARREL AND HAD A BONFIRE BECAUSE ALL I WANTED TO DO 21         WAS NO REQUIREMENT TO FILE FEDERAL INCOME TAXES ON
22   WAS PUT THIS MESS, THIS NIGHTMARE BEHIND ME.            22     EARNINGS AND STUFF. AND THEY PROCEEDED TO SCREW ME
23 EXAMINATION RESUMED BY MR. STRONG:                        23     OVER, BECAUSE I WAS TOLD DIRECTLY BY THE ATTORNEY
24 Q. WHAT CIVIL CASE ARE YOU REFERRING TO? DO YOU NEED A 24        FROM THE GOVERNMENT AND FROM THE I.R.S. AGENT THAT
25   -- DO YOU WANT TO TAKE A BREAK? LET'S TAKE A BREAK.     25     IF I HELPED THEM, IF I PROVIDED WHAT THEY ASKED FOR,


                                                                                                7 (Pages 22 to 25)

                                                                                                    c77b1608-3dad-41b3-b76e-97be2fcee833
             6:08-cv-03760-GRA            Date Filed 09/25/09     Entry Number 22-3            Page 40 of 94


Heather Ferguson                                                                                July 27, 2009
                                                  Page 26                                                          Page 28
1     THEY WOULDN'T SEEK ANY CIVIL PENALTIES, BUT THEY       1 EXAMINATION RESUMED BY MR. STRONG:
2     DID. LIKE TO THE TERM OF A QUARTER OF A MILLION        2 Q. I'M HANDING A COPY OF THIS TO MS. SALVINI. TAKE A
3     DOLLARS. I JUST LOST MY HOME IN FORECLOSURE. WHERE     3    MOMENT AND LOOK THIS OVER. IT'S A LITTLE BIT OF A
4     DO I GET $250,000? ESPECIALLY WHEN YOU COUNT           4    LONG DOCUMENT, AND JUST LOOK UP WHEN YOU'RE READY.
5     EVERYTHING ---                                         5 A. OKAY.
6 Q. ALL RIGHT. LET'S TAKE ANOTHER BREAK.                    6 Q. DO YOU RECOGNIZE THIS DOCUMENT?
7 A. I'M SORRY.                                              7 A. WELL, I RECOGNIZE SOME OF THE NAMES ON THESE.
8 Q. NO, THAT'S ---                                          8 Q. WHAT DO YOU MEAN WHEN YOU SAY YOU RECOGNIZE SOME OF
9 BY MS. SALVINI:                                            9    THE NAMES?
10      IT'S OKAY.                                           10 A. THAT THESE WERE CLIENTS OR MEMBERS OF THE AWARE
11    (OFF THE RECORD 10:06 A.M. - 10:07 A.M.)               11   GROUP OR OTHER ORGANIZATIONS THAT, YOU KNOW, WHICH
12 EXAMINATION RESUMED BY MR. STRONG:                        12   WE ARE DISCUSSING TODAY.
13 Q. I'M GOING TO SHOW YOU WHAT I'LL HAVE THE COURT         13 Q. AND IS THIS SIMILAR TO THE DATABASE THAT YOU WOULD
14    REPORTER MARK AS PLAINTIFF'S EXHIBIT ONE.              14   HAVE CREATED FOR THE AWARE GROUP?
15 (COURT REPORTER MARKS PLAINTIFFS EXHIBIT ONE, AFFIDAVIT, 15 A. WELL, IT'S THE NAME AND ADDRESSES, YEAH.
16 ATTACHED.)                                                16 Q. AND WHAT -- DO THE NUMBERS TO THE RIGHT HAND SIDE
17 EXAMINATION RESUMED BY MR. STRONG:                        17   HAVE ANY SIGNIFICANCE TO YOU?
18 Q. A COPY HAS ALREADY BEEN PROVIDED TO MS. SALVINI.       18 A. I HAVE NO IDEA WHAT THAT IS. I DID NOT DO THAT. I
19 A. YES.                                                   19   DON'T KNOW WHAT IT MEANS. LIKE I SAID, I PROVIDED
20 Q. YOU WERE TALKING JUST A MOMENT AGO ABOUT AN            20   THEM A CD-ROM. I DIDN'T PROVIDE THEM ANYTHING IN
21    AFFIDAVIT THAT YOU PROVIDED TO THE I.R.S.              21   WRITING THAT I CAN RECALL.
22 A. YES.                                                   22 Q. WHAT KIND OF PROGRAM WOULD YOU HAVE USED TO CREATE
23 Q. TAKE A MOMENT AND LOOK AT THAT.                        23   YOUR DATABASE?
24 A. YES.                                                   24 A. IT WAS IN A PROGRAM CALLED TELEMAGIC. THE FORMAT
25 Q. IS THAT YOUR SIGNATURE ON THE BOTTOM?                  25   WAS FOXPRO. THAT WAS THE ACTUAL DATABASE EXTENSION

                                                  Page 27                                                          Page 29
1 A. YES, IT IS.                                             1    WAS FOXPRO, BUT TELEMAGIC IS THE BRAND THE PROGRAM
2 Q. DO YOU RECOGNIZE THIS DOCUMENT?                         2    USED.
3 A. YES, I DO.                                              3 Q. AND WERE YOU RESPONSIBLE FOR MAINTAINING THAT
4 Q. WHAT DO YOU RECOGNIZE IT AS?                            4    DATABASE?
5 A. THE AFFIDAVIT THAT THE GOVERNMENT DREW UP THAT THEY     5 A. WE BOTH WERE.
6    ASKED ME TO SIGN TO CLOSE MY CASE.                      6 Q. OKAY. WHO DID THE DATA ENTRY PRIMARILY?
7 Q. AND YOU'VE READ THIS MATERIAL BEFORE?                   7 A. ME.
8 A. YES.                                                    8 Q. WHEN YOU WERE TALKING WITH THE I.R.S., DID THEY ASK
9 Q. AND TO THE BEST OF YOUR KNOWLEDGE, ARE THE              9    YOU TO TRY TO ASSIGN CUSTOMERS TO YOURSELF OR MR.
10   STATEMENTS MADE THEREIN STILL ACCURATE?                 10   ALEXANDER?
11 A. SURE.                                                  11 A. NOT THAT I -- WELL, YOU MEAN FROM WHEN WE WERE
12 Q. DO YOU WANT TO TAKE A MINUTE AND ---                   12   TOGETHER TO WHEN WE WERE APART? BECAUSE I DON'T
13 A. NO.                                                    13   REMEMBER. I DON'T -- I DON'T, I DON'T HAVE A CLUE.
14 Q. WHEN THE I.R.S. CONTACTED YOU, DID THEY ASK YOU TO     14   THEY COULD HAVE, BUT I DON'T REMEMBER THEM ASKING ME
15   PROVIDE INFORMATION ABOUT THE CUSTOMERS OF THE AWARE 15      THAT.
16   GROUP?                                                  16 Q. DID THEY ---
17 A. YES.                                                   17 A. EXCEPT, I DON'T KNOW. I DON'T KNOW. I DON'T KNOW.
18 Q. DID YOU PROVIDE THAT INFORMATION TO THEM?              18 Q. DID YOU CONTINUE TO HAVE CUSTOMERS AFTER YOU AND MR.
19 A. YES.                                                   19   ALEXANDER DIVORCED?
20 Q. IN WHAT FORMAT?                                        20 A. YES, WE, BECAUSE I HANDLED THE DAY TO DAY OPERATIONS
21 A. A CD-ROM WITH THE DATABASE ON IT.                      21   -- WHEN I SAY OPERATIONS, LET ME CLARIFY, OKAY?
22 Q. I'M GOING TO HAND YOU NOW WHAT I'M GOING TO ASK THE    22   EVERYTHING THAT WAS DONE WITH ANY OF THESE
23   COURT REPORTER TO MARK AS PLAINTIFF'S EXHIBIT TWO.      23   ORGANIZATIONS WAS DONE BECAUSE THAT'S WHAT HE WANTED
24 (COURT REPORTER MARKS PLAINTIFF'S EXHIBIT TWO, CLIENT     24   AND WHAT HE SAID TO DO. WHEN I SAY I HANDLED THE
25 LIST, ATTACHED.)                                          25   DAY TO DAY OPERATIONS, I MEAN LIKE AN ADMINISTRATIVE


                                                                                            8 (Pages 26 to 29)

                                                                                                  c77b1608-3dad-41b3-b76e-97be2fcee833
             6:08-cv-03760-GRA             Date Filed 09/25/09          Entry Number 22-3              Page 41 of 94


Heather Ferguson                                                                                        July 27, 2009
                                                        Page 30                                                          Page 32
1      ASSISTANT, YOU KNOW. I ORGANIZED EVERYTHING AND            1      SOFTWARE CALLED THE MONEY TRUST, AND IT WAS, THAT
2      WHEN I LEFT ALEX, FOR A WHILE, WE TRIED WORKING            2      WAS ALL THAT I'M AWARE OF.
3      TOGETHER, BUT OF COURSE IN THAT SITUATION, IT DIDN'T       3    BY MS. SALVINI:
4      WORK BECAUSE HE HAD NO IDEA. HE HAD NO IDEA HOW I          4            JAMES, CAN WE GO OFF THE RECORD FOR A MOMENT?
5      RAN THE DAY TO DAY OPERATIONS OF IT AND SO,                5       (OFF THE RECORD 10:16 A.M. - 10:17 A.M.)
6      THEREFORE, I GAVE HIM THE OPTION. FOR A WHILE, LIKE        6    EXAMINATION RESUMED BY MR. STRONG:
7      I SAID, I WORKED FOR HIM AND HE PAID ME TO WORK FOR        7    Q. ABOUT HOW MANY MEMBERS JOINED THE AWARE GROUP IN AN
8      HIM. OKAY? AND THEN, I GAVE HIM A CHOICE BECAUSE I         8      AVERAGE MONTH?
9      WAS IN A SITUATION WHERE, YOU KNOW, I HAD A DAUGHTER       9    A. I WOULD SAY FIVE TO TEN. YEAH. ABOUT FIVE TO TEN.
10     TO PROVIDE FOR, AND THIS IS ALL I HAD KNOWN FOR            10     SOMETIMES MORE, SOMETIMES LESS. I MEAN, I DON'T, I
11     EIGHT YEARS, SO I SAID, YOU KNOW, EITHER YOU, AS           11     ---
12     PART OF THE DIVORCE, YOU CAN EITHER GIVE ME A CASH         12 Q. WOULD ANYTHING AFFECT MORE OR LESS?
13     SETTLEMENT OR YOU CAN GIVE ME THE AWARE GROUP              13 A. OH, YEAH. LIKE, IF WE HAD A SEMINAR, YOU KNOW,
14     BECAUSE I KNEW HOW TO, HOW TO RUN IT. YOU KNOW, THE        14     THERE WOULD BE AN INFLUX. PEOPLE WOULD JOIN AT THE
15     ACTUAL DAY TO DAY OPERATIONS OF IT, BUT NOT THE            15     SEMINAR OR THEY WOULD JOIN AFTER THE SEMINAR OR IF
16     INFORMATION. THE INFORMATION NEVER CHANGED BECAUSE         16     HE DID ANY KIND OF PROMOTIONS.
17     YOU'VE GOT TO UNDERSTAND THAT HE SPENT HIS DAYS            17 Q. WHAT KIND OF PROMOTIONS MIGHT HE DO?
18     READING AND RESEARCHING AND GOING OVER MATERIALS AND 18 A. THERE WERE SOME DIRECT MAIL PIECES BECAUSE NOT
19     DECIDING WHAT WAS NEXT.                                    19     EVERYONE ON THE DATABASE WAS A MEMBER. OKAY? THERE
20 Q. AND WHAT DID YOUR DAY LOOK LIKE?                            20     WAS JUST PEOPLE WHO HAD JOINED THE EMAIL LIST OR
21 A. SITTING IN FRONT OF THE COMPUTER ENTERING, ENTERING         21     REQUESTED A CATALOG OR SOMETHING BECAUSE BEFORE THE
22     STUFF. ANSWERING EMAILS. PROCESSING ORDERS. YOU            22     INTERNET GOT REAL BIG, YOU KNOW, AND STUFF,
23     KNOW, THE OPERATIONS SIDE OF IT.                           23     EVERYTHING WAS IN THE MAIL. YOU KNOW?
24 Q. AND THE DATABASE THAT YOU REFERRED TO WAS ALSO, WAS 24 Q. MM-HMM (AFFIRMATIVE RESPONSE).
25     THAT ALSO DESTROYED IN THE BONFIRE THAT YOU ---            25 A. AND STUFF, SO THERE WAS AN ACTUAL HARD CATALOG OF

                                                        Page 31                                                          Page 33
1    A. MM-HMM (AFFIRMATIVE RESPONSE).                            1      VIDEOS AND AUDIOS AND WHATNOT AND STUFF, AND PEOPLE
2    Q. --- HAD REFERRED TO EARLIER?                              2      WOULD REQUEST THOSE, AND THEN AFTER WE GOT A WEBSITE
3    A. MM-HMM (AFFIRMATIVE RESPONSE). OH, YEAH. I HAD NO         3      AND STUFF, EVERYTHING WAS ONLINE, SO THEY WOULD JOIN
4      USE FOR IT.                                                4      THE EMAIL LIST AND THERE WAS AN E-ZINE OR LITTLE
5    Q. ARE YOU AWARE IF THERE WOULD BE ANY DUPLICATES OF         5      NEWSLETTER THAT WAS PUT OUT AND STUFF. AND SO HE
6      THOSE RECORDS OR DID YOU HAVE THE ---                      6      WOULD GET NAMES AND ADDRESSES THROUGH THAT AND THEY
7    A. Y'ALL -- THE I.R.S. SHOULD HAVE A COPY OF IT.             7      MAY JOIN LATER AND WHATEVER.
8    Q. BUT NOBODY OUTSIDE THE GOVERNMENT SHOULD?                 8 Q. DID YOU FOLKS MAINTAIN SEPARATE DATABASES ABOUT,
9    A. WELL, ALEX HAD A COPY OF IT BECAUSE PART OF THE           9      BETWEEN PEOPLE WHO WERE JUST ON THE EMAIL LIST AND
10     AGREEMENT WAS, IS I WAS TO KEEP HIM UPDATED ON THE         10     FOLKS WHO WERE MEMBERS?
11     DATABASE, NOW, UP UNTIL THE POINT WHERE AWARE              11 A. WELL, IT WAS ALL IN ONE DATABASE, BUT YOU HAD THE
12     CEASED. LET ME SAY THAT. OKAY? HE HAD LIKE ALL             12     ABILITY IN TELEMAGIC TO FILTER IT. YOU KNOW, SO I
13     THESE PEOPLE. HE HAD IT BECAUSE HE HAD TELEMAGIC,          13     COULD PUT IN A CERTAIN COLUMN THAT THEY WERE MEMBERS
14     TOO. YOU KNOW, SO, HE HAD ALL OF THIS, AND I WAS TO        14     OR I COULD PUT IN A CERTAIN COLUMN THAT THEY WERE ON
15     -- PART OF OUR AGREEMENT WAS EVERY MONTH I WAS TO          15     THE EMAIL LIST OR WHAT HAVE YOU.
16     PROVIDE HIM WITH ANY NEW ADDRESSES, YOU KNOW, NEW          16 Q. AND YOU WOULD HAVE BEEN ABLE TO -- SO YOU, WOULD
17     PEOPLE SO HE COULD CONTACT WHATEVER IT WAS HE WAS          17     HAVE BEEN ABLE TO CREATE MAYBE A SUB LIST ---
18     DOING. THIS IS AFTER WE DIVORCED OR AFTER WE               18 A. YEAH.
19     SEPARATED.                                                 19 Q. --- OF JUST CUSTOMERS?
20 Q. WHAT WAS HE DOING AFTER THE DIVORCE?                        20 A. YES.
21 A. WELL, HE GOT FREEDOM TRUST GROUP. I HAD, I DIDN'T           21 Q. AND A SUB LIST OF JUST PEOPLE ON, WHO WERE JUST
22     HAVE ANYTHING TO DO WITH TRUSTS WHEN I TOOK OVER           22     RECEIVING EMAILS?
23     AWARE. HE WAS DOING THAT, AND TO BE HONEST WITH            23 A. YES. YES.
24     YOU, I DON'T KNOW WHAT ELSE HE WAS DOING. HE HAD --        24 Q. AND WHEN THE I.R.S. CONTACTED YOU ---
25     HE TOOK THE TRUSTS AND PUT THEM IN ANOTHER FORMAT, A 25 A. MM-HMM (AFFIRMATIVE RESPONSE).


                                                                                                    9 (Pages 30 to 33)

                                                                                                          c77b1608-3dad-41b3-b76e-97be2fcee833
            6:08-cv-03760-GRA            Date Filed 09/25/09        Entry Number 22-3          Page 42 of 94


Heather Ferguson                                                                               July 27, 2009
                                                     Page 34                                                     Page 36
1 Q. --- ABOUT PROVIDING A LIST, DO YOU REMEMBER WHAT          1     THEN FELT IT WAS OKAY FOR HIM TO BE ON THE BANK
2    SORT OF LIST YOU WOULD HAVE ---                           2     ACCOUNT, SO HE BECAME, HE CAME ON THE BANK ACCOUNT,
3 A. I GAVE THEM EVERYONE.                                     3     AS WELL. BUT THERE WAS NOTHING REALLY IN THERE.
4 Q. YOU GAVE THEM EVERYONE?                                   4 Q. AND YOU HAD MENTIONED BEFORE THAT FREEDOM TRUST
5 A. EVERYONE.                                                 5     GROUP HAD A BANK ACCOUNT.
6 Q. DID YOU MAKE ANY DISTINCTIONS FOR THEM BETWEEN ---        6 A. YES.
7 A. I DON'T REMEMBER. I REALLY DON'T. I JUST, I DON'T,        7 Q. AND YOU HAD MENTIONED THAT INTERNATIONAL BUSINESS
8    I DON'T REMEMBER BECAUSE THERE WERE -- WHEN THEY          8     SYSTEMS HAD A MERCHANT ACCOUNT?
9    BROUGHT UP THE DATABASE, IF THEY BROUGHT IT UP ON CD      9 A. A MERCHANT ACCOUNT WHERE IT COULD TAKE, WE COULD
10   BECAUSE I REALLY DON'T REMEMBER IF I GAVE THEM A          10    TAKE CREDIT CARD SALES, AND IT HAD AN ACCOUNT AT
11   HARD COPY OR NOT. I KNOW THIS WAS, IF I GAVE THEM A       11    CHARLES SCHWAB.
12   HARD COPY, THIS WASN'T IT BECAUSE THERE WOULDN'T          12 Q. WHAT KIND OF ACCOUNT WITH CHARLES SCHWAB?
13   HAVE, I DON'T KNOW WHAT THAT IS, BUT THERE WERE THE       13 A. A BROKERAGE ACCOUNT THAT WAS TREATED LIKE A BANK
14   ABILITY, YOU HAD THE ABILITY TO PRINT THE NOTES.          14    ACCOUNT.
15   AND SO, THEREFORE, IN THE NOTES YOU COULD HAVE SEEN       15 Q. OKAY. WERE THERE ANY OTHER ACCOUNTS IN ANY OF THE
16   A HISTORY OF WHAT THEY DID EXCEPT TELEMAGIC'S A           16    VARIOUS GROUPS THAT YOU TWO HAD?
17   REALLY LOOPY PROGRAM. IT FROZE AND CRASHED ALL THE        17 A. NO. NO, THAT WAS IT.
18   TIME, AND THIS PERSON'S NOTES WOULD END UP IN THAT        18 Q. OKAY. OTHER THAN THE HOUSE, WERE THERE ANY OTHER
19   PERSON'S NOTES OR THAT PERSON'S NOTES WOULD BE GONE.      19    ASSETS THAT ---
20   YOU KNOW, IT'S A WINDOWS PROGRAM, SO YOU KNOW, IT         20 A. CARS.
21   DOES THAT SORT OF THING AND STUFF, SO I DON'T REALLY      21 Q. --- YOU TWO SHARED? CARS. NO STOCKS, NO BONDS?
22   REMEMBER OTHER THAN GIVING THEM THE CD WITH ALL           22 A. WELL, THERE WERE -- THERE WERE THREE, AT ONE TIME,
23   CONTACTS. I DON'T REMEMBER.                               23    THREE LITTLE STOCKS THROUGH THE SCHWAB ACCOUNT.
24 Q. WOULD THE DATABASE HAVE INCLUDED INFORMATION ABOUT 24          THEY ALL LOST MONEY AND THEY ALL GOT SOLD AND THEY
25   WHEN PEOPLE JOINED?                                       25    WERE ALL MINIMUM AND IT WAS NOTHING, BUT THAT WAS

                                                     Page 35                                                     Page 37
1 A. YES. IN THE NOTE PADS, IT WOULD HAVE SAID THAT.           1    IT. THAT WAS THE ONLY OTHER STOCKS. THERE WAS NO
2 Q. WOULD YOU HAVE BEEN ABLE TO FILTER BASED ON THAT?         2    SAVINGS ACCOUNTS OR NOTHING.
3 A. I'M SURE YOU COULD HAVE, BUT I DON'T THINK SO. I          3 Q. NO CDs?
4    MEAN, I NEVER DID THAT, SO I DON'T KNOW. I DIDN'T,        4 A. NO.
5    I NEVER PULLED FROM WITHIN THE NOTE PAD TO FILTER.        5 Q. NO ---
6 Q. BUT THE PROGRAM YOU DID INCLUDE WHAT DAY OR WHAT          6 A. NOW, HE DID, HE DID AT ONE TIME BUY A CD FOR OUR
7    YEAR ---                                                  7    DAUGHTER AND STUFF, BUT IT WAS A ONE YEAR AND THEN
8 A. MM-HMM (AFFIRMATIVE RESPONSE).                            8    IT GOT CASHED IN, AND IT WAS LIKE $500 OR SOMETHING
9 Q. WHY DON'T I JUST ASK THE QUESTION HOW? I MEAN,            9    LIKE THAT.
10   WOULD YOU INCLUDE THE DAY, THE YEAR, THE MONTH, I         10 Q. ANY COINS, ANY ---
11   MEAN ---                                                  11 A. YES.
12 A. WELL, WHAT IT WAS IS THERE WAS A DATE STAMP. YOU         12 Q. CAN YOU DESCRIBE THOSE?
13   COULD HIT DATE STAMP AND IT WOULD PUT THE DATE AND        13 A. WELL, ALEX HAS ALWAYS BEEN A COIN COLLECTOR. HE WAS
14   THE TIME OF WHAT, AND THEN YOU COULD TYPE OUT             14   A COMMODITIES BROKER IN THE '70s IN CALIFORNIA AND
15   WHATEVER NOTES YOU WANTED TO PUT IN THERE, AND WE         15   STUFF, SO HE COLLECTED COINS.
16   WOULD PUT RECEIVED MEMBERSHIP, OR YOU KNOW, ORDERED       16 Q. WHAT KIND OF COINS?
17   A VIDEO OR WHATEVER, YOU KNOW, THAT'S -- WE WOULD         17 A. GOLD AND SILVER, EITHER THE KIND THAT, EITHER,
18   DATE IT AND THEN PUT IT IN THERE.                         18   EITHER LOOSE, YOU KNOW, JUST LIKE CHANGE KIND OF
19 Q. OKAY. WHEN YOU AND MR. ALEXANDER WERE TOGETHER, DID 19        COIN. YOU KNOW WHAT I'M SAYING? OR THOSE THAT ARE
20   EITHER ONE OF YOU MAINTAIN ANY BANK ACCOUNTS?             20   IN THE SLABS, THE ONES THAT ARE CERTIFIED BY THE
21 A. OH, YES, I HAD A PERSONAL BANK ACCOUNT I HAD ALWAYS      21   CERTIFIED COMPANIES. WHATEVER THEY'RE CALLED.
22   HAD.                                                      22 Q. BUT NOT REGULAR U.S. CURRENCY?
23 Q. WITH WHOM?                                               23 A. OH, YOU MEAN LIKE DOLLAR BILLS SORT OF THING?
24 A. WELL, AT THE BEGINNING, IT WAS JUST MINE AND THEN        24 Q. SILVER DOLLARS.
25   WHEN ALEX WENT THROUGH THIS REDEMPTION PROCESS, HE        25 A. YEAH, THAT'S WHAT I'M SAYING WHEN I SAY GOLD AND


                                                                                            10 (Pages 34 to 37)

                                                                                                 c77b1608-3dad-41b3-b76e-97be2fcee833
            6:08-cv-03760-GRA              Date Filed 09/25/09       Entry Number 22-3            Page 43 of 94


Heather Ferguson                                                                                   July 27, 2009
                                                      Page 38                                                          Page 40
1     SILVER COINS. THAT'S WHAT I MEAN.                         1          I'VE GOT SOME QUESTIONS. DO YOU NEED TO TAKE A
2 Q. OKAY. DID YOU FOLKS PAY THE PROPERTY TAXES ON THE          2    BREAK OR USE THE REST ROOM?
3     HOUSE ON WHITE HORSE ROAD?                                3 BY THE WITNESS:
4 A. YES.                                                       4          I'M FINE.
5 Q. AND YOU USED THE FUNDS FROM FREEDOM TRUST GROUP TO         5 BY MS. SALVINI:
6     PAY THE PROPERTY TAXES?                                   6          YOU DOING OKAY?
7 A. I'M ASSUMING, UNLESS -- WELL, LET ME REPHRASE THAT         7 BY THE WITNESS:
8     BECAUSE I DON'T KNOW IF THE MORTGAGE ON THAT WAS THE      8          MM-HMM (AFFIRMATIVE RESPONSE).
9     TYPE WHERE IT HAD THE ESCROW ACCOUNT WHERE IT PAID        9 BY MS. SALVINI:
10    THE TAXES OR NOT. I DON'T REMEMBER WHETHER OR NOT         10         ALL RIGHT. AND AGAIN, I JUST WANT TO, YOU
11    WE EVER GOT A TAX BILL. YOU KNOW WHAT I'M SAYING?         11   KNOW, SAY AGAIN, IF YOU NEED A BREAK, OR YOU KNOW,
12    AND SO, SO I DON'T REALLY KNOW WHICH WAY -- I DON'T       12   YOU WANT TO TAKE A BREATHER OR USE THE REST ROOM,
13    REMEMBER WHICH WAY THOSE WERE PAID.                       13   PLEASE GO AHEAD AND DO SO.
14 Q. DO YOU REMEMBER -- DID THE COUNTY OR THE STATE            14 BY THE WITNESS:
15    DEPARTMENT OF TRANSPORTATION EVER HAVE ANY INTEREST 15               MM-HMM (AFFIRMATIVE RESPONSE).
16    IN THE PROPERTY?                                          16 EXAMINATION BY MS. SALVINI:
17 A. OH, YES. THEY DID. THEY WERE WIDENING WHITE HORSE,        17 Q. I'M NOT -- HEATHER, I'M NOT GOING TO TRY TO ASK YOU
18    AND SO, THEY MADE AN OFFER, YOU KNOW, TO TAKE THAT        18   ANY QUESTIONS TO CONFUSE YOU OR TO TRY TO MISLEAD
19    PART OF THE EASEMENT OR WHATEVER IT'S CALLED. YES.        19   YOU. IF I ASK A QUESTION AND YOU'RE NOT SURE WHAT
20    AND THAT WAS USED, THE MONEY THAT WAS USED WAS USED 20         IT MEANS ---
21    TO PAY OFF THE MORTGAGE.                                  21 A. MM-HMM (AFFIRMATIVE RESPONSE).
22 Q. AND WHO -- WHO WORKED WITH THE FOLKS FROM THE             22 Q. OR YOU DON'T UNDERSTAND IT, PLEASE ASK ME TO CLARIFY
23    DEPARTMENT OF TRANSPORTATION?                             23   IT.
24 A. OH, THAT WOULD HAVE BEEN ALEX. YEAH.                      24 A. I WILL.
25 Q. THE ADDRESS THAT YOU FOLKS USED, 2435 EAST NORTH          25 Q. AND MY LAW PARTNER, BRADLEY BENNETT, ACTUALLY

                                                      Page 39                                                          Page 41
1     STREET ---                                                1    REPRESENTS ALEX, AND I'M GOING TO BE STANDING IN FOR
2 A. MM-HMM (AFFIRMATIVE RESPONSE).                             2    HIM TODAY. SO, I HAVE A GOOD UNDERSTANDING OF THE
3 Q. --- WHAT IS THAT?                                          3    CASE, BUT I KNOW I DON'T KNOW EVERYTHING ABOUT IT.
4 A. THAT'S THE U.P.S. STORE THAT THEY HAD A BOX AT. IT         4    I'VE JUST BEEN TRYING TO ASSIST, SO IF I ASK A
5     USED TO BE MAILBOXES, ET CETERA, BUT NOW THEY'RE          5    QUESTION THAT SEEMS REDUNDANT OR THAT MAYBE MR.
6     U.P.S. STORES.                                            6    STRONG ALREADY ASKED, I APOLOGIZE. IT'S JUST THAT I
7 Q. AND WHERE DID -- WHERE DID AWARE GROUP AND FREEDOM         7    MAY NOT ACTUALLY UNDERSTAND A NUANCE IN THE CASE AND
8     TRUST GROUP OPERATE OUT OF?                               8    SO I WANT TO MAKE SURE I'M GETTING THE CORRECT
9 A. THE HOUSE AT WHITE HORSE ROAD.                             9    INFORMATION, OKAY?
10 Q. SO, IT WAS A HOME OFFICE?                                 10 A. OKAY.
11 A. YEAH.                                                     11 Q. ALL RIGHT. SO, I FIRST WANT TO ASK YOU ABOUT THE
12 Q. DID YOU FOLKS EVER MAINTAIN A SAFETY DEPOSIT BOX?         12   SOURCES OF INCOME THAT YOU AND ALEX HAD WHILE YOU
13 A. NO, NOT THAT I'M AWARE OF.                                13   ALL WERE MARRIED.
14 Q. DO YOU RECALL HOW MANY CUSTOMERS AWARE GROUP HAD OR 14 A. MM-HMM (AFFIRMATIVE RESPONSE).
15    HOW MANY MEMBERS AWARE GROUP HAD, TOTAL?                  15 Q. AND I BELIEVE THAT JAMES ASKED YOU ABOUT WHAT
16 A. NO, NOT EXACTLY, BUT I THINK IT WAS -- IT WAS IN THE      16   SOURCES OF INCOME YOU ALL HAD AND YOU INDICATED THAT
17    UPPER HUNDREDS. HE ALWAYS CLAIMED THERE WERE A LOT        17   IN THE BEGINNING OF THE MARRIAGE, THAT YOU WERE
18    MORE THAN THERE ACTUALLY WAS. WELL, HE'D GIVE             18   WORKING.
19    MEMBERSHIP NUMBERS IN THE THOUSANDS WHEN THEY WERE        19 A. RIGHT.
20    REALLY LIKE NUMBER 30.                                    20 Q. IS THAT RIGHT?
21 BY MR. STRONG:                                               21 A. RIGHT.
22      I THINK THAT'S ALL THE QUESTIONS I HAVE FOR MS.         22 Q. WHAT WERE YOU DOING?
23    FERGUSON. MS. SALVINI WILL HAVE THE OPPORTUNITY TO        23 A. NOT IN THE BEGINNING OF THE MARRIAGE.
24    ASK YOU SOME QUESTIONS NOW.                               24 Q. OKAY.
25 BY MS. SALVINI:                                              25 A. IN THE BEGINNING OF THE RELATIONSHIP.


                                                                                             11 (Pages 38 to 41)

                                                                                                     c77b1608-3dad-41b3-b76e-97be2fcee833
             6:08-cv-03760-GRA          Date Filed 09/25/09       Entry Number 22-3           Page 44 of 94


Heather Ferguson                                                                              July 27, 2009
                                                   Page 42                                                      Page 44
1 Q. ALL RIGHT.                                              1    YOU REMEMBER?
2 A. BECAUSE WE MET IN '95, BUT WE DIDN'T GET MARRIED        2 A. WELL, IT WOULD JUST REALLY DEPEND. ONCE WE GOT THE
3     UNTIL '97.                                             3    MERCHANT ACCOUNT, THEY COULD PAY BY CREDIT CARD AND
4 Q. OKAY.                                                   4    STUFF, BUT ALEX'S PREFERRED METHOD OF PAYMENT WAS A
5 A. OKAY? SO, IN '95 AND '96, I WAS WORKING.                5    MONEY ORDER.
6 Q. AND WHAT WERE YOU DOING?                                6 Q. OKAY. SO, WHEN YOU SAID THAT HE GAVE YOU MONEY, IS
7 A. RETAIL.                                                 7    THAT THAT HE WOULD GIVE YOU A MONEY ORDER AND THEN
8 Q. OKAY.                                                   8    YOU WOULD DEPOSIT IT INTO YOUR ACCOUNT?
9 A. AND THEN, HE WAS LIKE YOU'RE NOT MAKING ENOUGH TO       9 A. YES. YEAH. I MEAN, OCCASIONALLY. WE DIDN'T, WE
10    JUSTIFY DAY CARE AND EVERYTHING ELSE.                  10   DIDN'T HARDLY EVER USE THE PERSONAL ACCOUNT.
11 Q. MM-HMM (AFFIRMATIVE RESPONSE).                         11 Q. OKAY. AND DID HE TELL YOU EVERY SINGLE TIME HE GAVE
12 A. COME WORK WITH ME.                                     12   YOU A MONEY ORDER WHERE THAT MONEY ORDER CAME FROM?
13 Q. OKAY. AND SO, WHEN DID YOU FINALLY QUIT YOUR JOB IN    13 A. NO.
14    RETAIL AND WORK WITH ALEX?                             14 Q. OKAY. DID YOU ALL DISCUSS THAT THOSE MONEY ORDERS
15 A. I THINK IT WAS THE END OF '96.                         15   WERE COMING FROM INDIVIDUALS WHO WERE EITHER MEMBERS
16 Q. OKAY. SO, BEFORE YOU ALL GOT MARRIED ---               16   OF THE AWARE GROUP OR SOMEBODY WHO HAD PURCHASED
17 A. YES.                                                   17   SOMETHING FROM ---
18 Q. --- YOU STOPPED WORKING?                               18 A. WELL, I WOULD KNOW THAT BECAUSE I WAS THERE. YOU
19 A. YES.                                                   19   KNOW WHAT I'M SAYING AND STUFF? WE'D OPEN THE MAIL
20 Q. OKAY. AND THEN, DURING THAT TIME, WAS ALEX EMPLOYED 20      AND GO THROUGH THE MAIL, JUST LIKE ANY BUSINESS.
21    OR WAS IT JUST WITH, WITH THE BUSINESSES THAT WE'VE    21   YOU KNOW, YOU GET ORDERS IN, YOU PROCESS THE ORDERS,
22    BEEN TALKING ABOUT?                                    22   AND YOU SEND THE ORDERS OUT AND STUFF. AND SO, YOU
23 A. YEAH, HE'S NEVER, THE WHOLE TIME WE WERE TOGETHER HE 23     KNOW, I, HE WOULDN'T HAVE TO TELL ME WHERE IT CAME
24    NEVER WORKED ANYWHERE BUT WITH THE BUSINESSES WE'RE 24      FROM. I KNEW WHERE IT CAME FROM.
25    DISCUSSING.                                            25 Q. OKAY. DO YOU KNOW IF HIS MOTHER EVER GAVE HIM ANY

                                                   Page 43                                                      Page 45
1 Q. OKAY. AND YOU TESTIFIED THAT YOU HAD A BANK             1    MONEY?
2     ACCOUNT. WAS THAT AN ACCOUNT THAT YOU HAD BEFORE       2 A. OH, YES.
3     YOU ALL ---                                            3 Q. OKAY. HOW OFTEN WOULD SHE GIVE HIM MONEY?
4 A. YES.                                                    4 A. NOT OFTEN. AND AFTER WE FIRST GOT TOGETHER, NOT
5 Q. --- GOT MARRIED AND THAT YOU KEPT AFTER YOU ALL WERE    5    REALLY BECAUSE SHE DIDN'T HAVE ANY. SHE HAD BLOWN
6     MARRIED?                                               6    IT ALL AND SPENT IT ALL.
7 A. YES. YEAH, IT WAS JUST A PERSONAL BANK ACCOUNT.         7 Q. BUT SHE DID GIVE HIM SOME MONEY.
8 Q. AND WHAT FUNDS WOULD YOU DEPOSIT INTO THAT ACCOUNT? 8 A. WELL, SHE GAVE, SHE PUT THE MONEY DOWN ON THE HOUSE.
9 A. WHEN -- WELL, WHEN I WAS WORKING, MY PAYCHECK.          9 Q. OKAY.
10 Q. MM-HMM (AFFIRMATIVE RESPONSE).                         10 A. AND I DON'T REALLY RECALL ANY OTHER TIME WHICH
11 A. AND THEN AFTER THAT, IF HE GAVE ME MONEY TO COVER A    11   MIRIAM GAVE HIM ANY MONEY. I MEAN, IT -- NOW, SHE
12    BILL OR SOMETHING, BECAUSE HE HANDLED -- ANY MONEY     12   GAVE HIM SOME MONEY TO BUY HER SOME GOLD AND SILVER
13    IN HOUSE, ANY MONEY THAT CAME IN, IF IT WASN'T MADE    13   HERE AND THERE. I HAVE NO IDEA HOW MUCH OR WHAT
14    OUT TO FREEDOM TRUST GROUP OR IF IT WASN'T MADE OUT    14   HAVE YOU AND STUFF, BUT SORT OF AS AN INVESTMENT.
15    TO INTERNATIONAL BUSINESS SYSTEMS, SO YOU KNOW, IT     15   YOU KNOW, FOR FUTURE, AND BUT SHE DIDN'T GIVE, LIKE
16    AUTOMATICALLY WENT INTO ONE OF THOSE BANK ACCOUNTS, 16      GIVE HIM MONEY REGULARLY OR SHE DIDN'T SUPPORT HIM.
17    HE -- HE WOULD TELL ME WHAT TO DO WITH IT OR ELSE HE   17 Q. DO YOU KNOW IF SHE MADE ANY OF THE MORTGAGE PAYMENTS
18    JUST KEPT IT.                                          18   ON THE HOUSE THAT SHE PUT THE MONEY DOWN ON AND YOU
19 Q. OKAY. AND WHEN YOU SAID WHEN MONEY WOULD COME IN,      19   ALL WERE LIVING IN?
20    WHAT MONEY ARE YOU REFERRING TO?                       20 A. NOT WHILE WE WERE TOGETHER.
21 A. WELL, LIKE, IF SOMEONE ORDERED SOMETHING FROM THE      21 Q. WOULD YOU HAVE KNOWN IF -- WOULD YOU HAVE KNOWN IF
22    AWARE GROUP OR FREEDOM TRUST GROUP, YOU KNOW, CDs,     22   SHE WOULD HAVE GIVEN HIM MONEY? WOULD HE HAVE TOLD
23    MEMBERSHIP.                                            23   YOU?
24 Q. AND WHEN PEOPLE WOULD ORDER CDs OR MEMBERSHIPS,        24 A. NOT NECESSARILY. THERE'S A LOT HE DIDN'T TELL ME,
25    WOULD THEY PAY WITH A CHECK OR A MONEY ORDER OR DO     25   BUT HE DIDN'T NEED HER HELP WHEN WE WERE TOGETHER.


                                                                                         12 (Pages 42 to 45)

                                                                                                c77b1608-3dad-41b3-b76e-97be2fcee833
               6:08-cv-03760-GRA          Date Filed 09/25/09        Entry Number 22-3            Page 45 of 94


Heather Ferguson                                                                                   July 27, 2009
                                                     Page 46                                                          Page 48
1 Q. WHY DO YOU SAY THAT?                                      1    Q. --- AS LIKE AN AUTHORIZED SIGNATORY?
2 A. I MEAN, BECAUSE HE HAD MONEY COMING IN WITH THESE         2    A. NO. NOT THAT, NOT WHILE WE WERE TOGETHER. NOW,
3      BUSINESSES.                                             3      AFTERWARDS, BUT, BUT SEE, IT GOT TO THE POINT WHERE
4 Q. WHAT ABOUT AFTER YOU ALL SEPARATED? YOU SAID THAT         4      MIRIAM HAD NO MONEY. SHE WAS IN THE -- SHE WAS IN A
5      YOU CONTINUED TO OPERATE THE AWARE GROUP.               5      NURSING HOME AND ALEX, IT GOT TO THE POINT WHERE FOR
6 A. THE AWARE GROUP. HE CONTINUED TO OPERATE FREEDOM          6      A WHILE, ALEX HAD TO PAY FOR THE NURSING HOME AND
7      TRUST GROUP, AND THEN HE WAS ALWAYS LOOKING FOR THE     7      THEN SHE MOVED OUT OF THE NURSING HOME BECAUSE
8      NEXT THING. AND I KNOW THAT FOR A WHILE HE WAS, HE      8      NEITHER ONE OF THEM COULD AFFORD IT AND SHE MOVED IN
9      TOLD ME THAT HE WAS ASSISTING, LIKE MARKETING WITH      9      WITH HER GRANDSON. AND THAT'S THE LAST I HEARD.
10     SOME MOTORCYCLE COMPANY SOMEWHERE IN THE UPSTATE. I 10         I'VE NOT SPOKEN OR SEEN ALEX IN ALMOST THREE YEARS.
11     DON'T REMEMBER WHO OR WHAT BECAUSE LIKE I SAID, WE      11 Q. I UNDERSTAND. I WANT TO ASK YOU ABOUT THE FREEDOM
12     WEREN'T TOGETHER, SO THESE WERE CASUAL CONVERSATIONS 12        TRUST GROUP AND I.B.S. AND THE AWARE GROUP, AND I
13     AND STUFF, BUT OTHER THAN THAT, I HAVE NO IDEA.         13     WANT TO START WITH THE AWARE GROUP.
14 Q. AND SO, WHILE YOU WERE OPERATING THE AWARE GROUP         14 A. OKAY.
15     WERE YOU THEN HANDLING ANY MONEY THAT CAME IN, ANY      15 Q. WHAT WAS YOUR UNDERSTANDING OF WHAT THE AWARE GROUP
16     MEMBERSHIP, I GUESS, FEES THAT PEOPLE WERE PAYING       16     WAS SUPPOSED TO DO?
17     ---                                                     17 A. AWARE GROUP WAS AN INFORMATION PROVIDER FOR PEOPLE.
18 A. OH, YEAH. I WAS HANDLING IT ALL AND THEN I HAD TO        18     IT WAS -- IT HAD A NICHE. THOSE WHO WERE INTERESTED
19     PAY HIM ROYALTIES.                                      19     IN LIKE WHAT I SAID WAS WHAT, AT THAT POINT IN TIME
20 Q. WHAT WERE YOU PAYING HIM? HOW MUCH WERE YOU PAYING 20           WAS CALLED THE PATRIOT MOVEMENT ---
21     HIM?                                                    21 Q. MM-HMM (AFFIRMATIVE RESPONSE).
22 A. IT WAS A PERCENTAGE. I DON'T HAVE THAT INFORMATION       22 A. AND I SAY IN QUOTES. THOSE THAT WERE IN IT HATED
23     IN FRONT OF ME, BUT I DID, FOR, WHILE AWARE WAS         23     THAT TERM. THEY CALLED THEMSELVES FREEDOM PEOPLE.
24     THERE, THAT WAS PART OF THE DIVORCE AGREEMENT WAS,      24     THEY -- PEOPLE WHO WERE LOOKING FOR ALTERNATIVE
25     AND IT'S IN THE DIVORCE AGREEMENT THAT HE WOULD GET     25     INFORMATION THAN THAT THAT WAS PROVIDED BY THE MASS

                                                     Page 47                                                          Page 49
1      ROYALTIES, SO EACH MONTH.                               1      MEDIA.
2    Q. AND YOU MENTIONED THE CASE THAT YOU HAD WITH THE       2    Q. OKAY. AND I BELIEVE YOU TESTIFIED TO THIS BEFORE,
3      I.R.S. ---                                              3      BUT I WANT TO MAKE SURE I UNDERSTAND. THE AWARE
4    A. RIGHT.                                                 4      GROUP ESSENTIALLY HAD MEMBERS THAT WERE MEMBERS FOR
5    Q. DID YOU PROVIDE THE I.R.S. WITH INFORMATION ON HOW     5      LIFE.
6      MUCH OR WHAT THE PERCENTAGE OF THE ROYALTIES YOU        6    A. CORRECT.
7      PAID TO ALEX WERE DURING THAT TIME?                     7    Q. OKAY. AND THOSE MEMBERS, I GUESS AS A RESULT OF
8    A. YES. YES.                                              8      THEIR MEMBERSHIP, THEY WOULD RECEIVE INFORMATION ON
9    Q. AND SO, THE BILLS FOR THE HOUSE THAT YOU ALL LIVED     9      A CD.
10     IN TOGETHER, DID YOU HANDLE THE PAYMENT FOR ALL         10 A. CORRECT. AND SOME AUDIOS AND VIDEOS.
11     THOSE BILLS OR DID ALEX?                                11 Q. AND WHAT WERE THE REPRESENTATIONS MADE TO THESE
12 A. WELL, HE WOULD GIVE ME THE CASH TO GO PAY THEM           12     MEMBERS AS TO WHAT THAT CD WAS FOR, WHAT IT
13     BECAUSE HE WANTED THEM ALL PAID IN CASH, LIKE THE       13     CONTAINED?
14     ONES I COULD PAY IN CASH, LIKE THE LOCAL, LIKE THE      14 A. GEEZ. IT WAS INFORMATION ON HOW TO REGAIN YOUR
15     POWER BILL AND THE WATER BILL OR ANYTHING LIKE THAT,    15     FREEDOM. INFORMATION THAT SUPPOSEDLY THE GOVERNMENT
16     HE WOULD GIVE ME THE CASH TO GO PAY IT BECAUSE HE       16     DIDN'T WANT YOU TO KNOW. A LOT OF, IT WAS A LOT OF
17     KEPT ALL THE MONEY.                                     17     DIFFERENT SUBJECTS, BUT IT WAS ALL BASED ON WHAT,
18 Q. OKAY. DO YOU KNOW IF HE HANDLED ANY FINANCES FOR         18     THAT WHAT THEY CALLED THAT PATRIOT MOVEMENT.
19     HIS MOTHER?                                             19     BELIEVING THAT WE, AS THE CITIZENS OR OF THE PEOPLE
20 A. NO, NOT THAT I -- NOT THAT I RECALL. SHE HAD HER         20     OF THE U.S. WERE -- THAT THE GOVERNMENT WAS SUPPOSED
21     OWN ACCOUNT AND SHE HAD, AT THE BANK, A DEAR FRIEND     21     TO WORK FOR US. YOU KNOW, THAT WE WEREN'T SUPPOSED
22     OF HERS WHO HELPED HER. I THINK HER NAME WAS PAT.       22     TO WORK FOR THEM, AND THAT EVERYTHING HAD GOT TURNED
23 Q. DO YOU KNOW IF ALEX WAS ON ANY OF HER BANK ACCOUNTS 23          AROUND AND THAT THE GOVERNMENT WAS NOT AND THIS
24     ---                                                     24     COUNTRY WAS NOT WHAT THE FOUNDING FATHERS HAD
25 A. NO.                                                      25     DESIGNED IT TO BE, AND THAT WE WERE NO LONGER UNDER


                                                                                             13 (Pages 46 to 49)

                                                                                                     c77b1608-3dad-41b3-b76e-97be2fcee833
             6:08-cv-03760-GRA            Date Filed 09/25/09         Entry Number 22-3           Page 46 of 94


Heather Ferguson                                                                                  July 27, 2009
                                                      Page 50                                                         Page 52
1      THE RULE OF LAW AND THAT -- YOU CAN'T, IT'S NOT A        1    A. I DIDN'T NECESSARILY BELIEVE -- THIS IS MY PERSONAL
2      SITUATION WHERE YOU CAN JUST GO IT WAS THIS.             2      OPINION. OKAY? YOU HAVE TO UNDERSTAND MY MINDSET.
3 Q. MM-HMM (AFFIRMATIVE RESPONSE).                             3    Q. OKAY.
4 A. YOU KNOW, IT'S, IT'S, IT WASN'T ONE CERTAIN THING.         4    A. I WAS MARRIED TO ALEX. I WORKED WITH ALEX. I LIVED
5      IT WAS A WHOLE WAY OF THINKING AND A WHOLE WAY OF        5      WITH ALEX. I WAS WITH ALEX 24/7. THE ONLY TIME I
6      LIVING.                                                  6      WAS BY MYSELF IS I WENT TO THE GROCERY STORE OR WENT
7 Q. IN ALL THE DOCUMENTS THAT WERE ON THIS CD FOR              7      YOU KNOW, AND GOT THE MAIL. IT GOT TO THE POINT
8      MEMBERS TO LOOK AT, THOSE WERE DOCUMENTS PREPARED BY 8          WHERE I PRETTY MUCH BELIEVED WHATEVER HE TOLD ME TO
9      THIRD PARTIES. IS THAT RIGHT?                            9      BELIEVE.
10 A. YES.                                                      10 Q. WELL, BUT THAT'S NOT WHAT I'M ASKING YOU. I'M
11 Q. INFORMATION THAT ALEX OR YOU FOUND ---                    11     ASKING YOU WHETHER OR NOT YOU BELIEVE, AND I'LL BE
12 A. THAT HE FOUND.                                            12     SPECIFIC, DID YOU EVER TELL ANYBODY THAT THEY DIDN'T
13 Q. OKAY.                                                     13     HAVE TO PAY FEDERAL INCOME TAXES?
14 A. LET ME -- LET ME -- LET ME BE ADAMANT ABOUT THIS.         14 A. OH, NO.
15     ALEX WAS ALWAYS IN CONTROL. ALEX IS ALWAYS IN            15 Q. DID ALEX EVER TELL ANYBODY ---
16     CONTROL IN EVERY ASPECT. OKAY? NOTHING WAS DONE          16 A. NO.
17     WITHOUT HIS SAY SO.                                      17 Q. SO, ALEX NEVER TOLD ANYBODY OR REPRESENTED TO
18 Q. OKAY.                                                     18     ANYBODY HERE'S A BUNCH OF FORMS. HERE'S A BUNCH OF
19 A. OKAY? I NEVER FOUND ANYTHING. I NEVER CREATED             19     INFORMATION. THIS IS GOING TO HELP YOU SO YOU
20     ANYTHING. LIKE I SAID, MY -- MY ROLE WAS TOTALLY         20     CAN'T, YOU DON'T HAVE TO PAY FEDERAL INCOME TAX?
21     THAT OF LIKE AN ADMINISTRATIVE ASSISTANT, WHICH IS       21 A. NO. THAT, IN FACT, HE WENT OUT OF HIS WAY NOT TO
22     WHAT I DO NOW. OKAY? I'M GOOD AT THAT, BUT HE WAS        22     SAY THAT. YOU KNOW, THE WHOLE POINT WAS IS THAT
23     THE THINKER. OKAY? BUT HE NEVER CREATED THESE            23     HERE'S THIS INFORMATION. YOU READ IT. YOU DECIDE.
24     DOCUMENTS FROM SCRATCH.                                  24     THIS IS EDUCATIONAL MATERIAL.
25 Q. MM-HMM (AFFIRMATIVE RESPONSE).                            25 Q. MM-HMM (AFFIRMATIVE RESPONSE).

                                                      Page 51                                                         Page 53
1    A. BUT HE FOUND THEM AND THEN THEY WERE ALTERED OR         1 A. THIS, YOU KNOW, BUT WHEN YOU'RE DEALING WITH A GROUP
2      MANIPULATED OR WHAT HAVE YOU TO WHERE HE COULD THEN 2           OF PEOPLE WHO ALREADY BELIEVE THAT, BUT NO, HE NEVER
3      USE THEM.                                                3      SAID IT AND I CERTAINLY NEVER SAID THAT.
4    Q. OKAY. SO, WHEN YOU SAY ALTERED OR MANIPULATED, I        4 Q. SO, AND I KNOW THIS MAKES YOU UPSET AND I DON'T WANT
5      BELIEVE THAT WHEN YOU TESTIFIED BEFORE, YOU SAID         5      TO MAKE YOU UPSET ---
6      THAT HE NEVER CREATED ANYTHING ---                       6 A. I KNOW.
7    A. RIGHT.                                                  7 Q. BUT YOU SIGNED AN AFFIDAVIT.
8    Q. SO, DOES THAT MEAN THAT HE WOULD JUST CUT AND PASTE     8 A. YEAH, I KNOW I DID. AND IT'S NOT ---
9      SECTIONS THAT HE THOUGHT ---                             9 Q. IN WHICH YOU SAID, AND I'M LOOKING JUST AT ---
10 A. EXACTLY.                                                  10 A. MM-HMM (AFFIRMATIVE RESPONSE).
11 Q. --- WERE APPROPRIATE TO GIVE TO THE MEMBERS ---           11 Q. I DON'T WANT TO REPRESENT WHAT THE AFFIDAVIT SAYS.
12 A. YEAH.                                                     12     I KNOW IT SPEAKS FOR ITSELF, BUT WHERE YOU SAID THAT
13 Q. --- AND THEN PUT IT ON A CD.                              13     YOU REPRESENTED OR LEAD CLIENTS TO BELIEVE ---
14 A. WELL, WELL, HE WOULD TAKE PARTS OF THIS GUY'S             14 A. MM-HMM (AFFIRMATIVE RESPONSE).
15     RESEARCH AND THIS GUY'S RESEARCH AND THEN THIS GUY'S     15 Q. THAT THERE IS NO FEDERAL TAX ---
16     RESEARCH AND COMBINE THEM INTO ONE RESEARCH.             16 A. MM-HMM (AFFIRMATIVE RESPONSE).
17 Q. OKAY. AND I WROTE DOWN THAT WHEN YOU WERE                 17 Q. INCOME TAXES TO BE PAID, THAT THEY DIDN'T HAVE TO DO
18     TESTIFYING WHEN MR. STRONG WAS ASKING YOU QUESTIONS      18     THAT.
19     THAT, THAT THE REPRESENTATIONS THAT WERE MADE IS         19 A. MM-HMM (AFFIRMATIVE RESPONSE). WELL, THE
20     THAT THEY WERE TO LOOK AT THIS, AND YOU USED THE         20     INFORMATION WOULD LEAD THEM TO BELIEVE THAT.
21     WORD LEGAL, AND DETERMINE WHAT WAS LEGAL OR              21 Q. WHY DO YOU SAY THAT IF YOU TOLD THEM AND ALEX TOLD
22     APPROPRIATE OR APPLIED TO THEM. IS THAT RIGHT?           22     THEM THAT WERE TO DETERMINE FOR THEMSELVES HOW IT
23 A. RIGHT.                                                    23     APPLIED TO THEM AND HOW THEY SHOULD HANDLE IT
24 Q. DID YOU BELIEVE THAT WHAT YOU WERE GIVING THEM WAS        24     LEGALLY?
25     FALSE INFORMATION?                                       25 A. BECAUSE THE WHOLE POINT WAS IS THAT IT'S, IT'S A


                                                                                               14 (Pages 50 to 53)

                                                                                                    c77b1608-3dad-41b3-b76e-97be2fcee833
            6:08-cv-03760-GRA            Date Filed 09/25/09         Entry Number 22-3            Page 47 of 94


Heather Ferguson                                                                                   July 27, 2009
                                                      Page 54                                                          Page 56
1     VERY FINE LINE. OKAY? AND THE INFORMATION, IF             1 A. WHICH EXISTED BEFORE I CAME INTO THE PICTURE. AND
2     ANYONE WAS TO READ THE INFORMATION PROVIDED, THAT'S       2    HE HAD NUMEROUS OTHER VIDEOS ON OTHER SUBJECTS LIKE
3     WHAT THEY WOULD BE LEAD TO BELIEVE, THAT THEY             3    LAND PATENTS AND OTHER THINGS, AND ALL OF THOSE, ALL
4     WEREN'T LIABLE TO FILE, BUT WERE THEY EVER TOLD THEY      4    THE VIDEOS EXISTED BEFORE I CAME ALONG. SO, WHERE
5     WERE NOT LIABLE TO FILE? NO. THOSE WORDS NEVER            5    THEY ORIGINATED, NO CLUE. MORE THAN LIKELY, THEY
6     CAME OUT OF HIS MOUTH. THEY NEVER CAME OUT OF MY          6    WERE BOUGHT IN THE BACK OF, OUT OF A BACK OF A
7     MOUTH.                                                    7    MAGAZINE OR SOMEWHERE THEN DUPLICATED. BUT AND THEN
8 Q. DID YOU ALL, NOW, I'M GOING TO ASK, I GUESS, MORE          8    THE FREEDOM FILES CD AND ANY, ANY, YOU KNOW,
9     SPECIFICALLY, AS OPPOSED TO BEING VAGUE. DID YOU          9    ANYTHING THAT WE HAD THAT WE SOLD THAT I HAD COPIES
10    HOLD YOURSELF OUT AS BEING AN EXPERT ON TAXES?            10   OF, I GAVE THEM COPIES OF.
11 A. OH, I DIDN'T, NO.                                         11 Q. OKAY. AND SO, THEN, WHAT DID YOU BURN?
12 Q. DID YOU HOLD YOURSELF OUT AS BEING A LAWYER OR ---        12 A. EVERYTHING I HAD. IF I HAD ANY INVENTORY OF THE
13 A. NO, NO.                                                   13   DIFFERENT VIDEOS OR ANY CDs I HAD, PAPERWORK I HAD,
14 Q. SOMEBODY WHO UNDERSTOOD THE CODES OR THE CASE LAW OR 14        ALL THE MEMBERSHIP APPLICATIONS, YOU KNOW, THAT I
15    THE LETTERS THAT WERE BEING SUBMITTED TO THEM?            15   MAY HAVE HAD AND ANYTHING LIKE THAT. I JUST -- MINE
16 A. NO.                                                       16   WAS DONE AND I WAS DONE WITH IT.
17 Q. WHAT ABOUT ALEX? DID HE EVER HOLD HIMSELF OUT AS          17 Q. I THINK YOU INDICATED THAT YOU THOUGHT THAT ALEX HAD
18    BEING A TAX EXPERT?                                       18   COPIES OF SOME OF THIS STUFF.
19 A. NO.                                                       19 A. YEAH, I KNOW HE HAD COPIES OF THE FREEDOM -- IN
20 Q. DID HE EVER HOLD HIMSELF OUT AS BEING A LAWYER OR         20   FACT, HE HAD COPIES OF EVERYTHING BECAUSE THAT WAS
21    SOMEBODY THAT HE HAD INTERPRETED THESE THINGS AND         21   PART OF THE DIVORCE AGREEMENT WAS HE WOULD -- HE WAS
22    THIS IS WHAT THEY MEANT?                                  22   TO BE CONSIDERED TO BE THE FIRST MEMBER OF AWARE.
23 A. HE NEVER REPRESENTED HIMSELF AS AN ATTORNEY.              23   THEREFORE, HE HAD ACCESS TO EVERYTHING AWARE HAD.
24 Q. OKAY.                                                     24   OKAY? AND SO, THE VIDEOS, THE AUDIOS, THE CDs, ALL
25 A. HE DID REPRESENT HIMSELF AS SOMEONE WHO WAS               25   THE INFORMATION, HE HAD.

                                                      Page 55                                                          Page 57
1     KNOWLEDGEABLE OF THE INFORMATION AND THIS WAS HIS         1 Q. SO, HE WOULD HAVE, HE HAD A COPY OF THAT INFORMATION
2     BELIEFS AND WHAT THIS INFORMATION MEANT.                  2    AND THEN YOU HAD THE INVENTORY AND THE STUFF THAT
3 Q. AND IS THAT WHAT WAS, I GUESS, WHAT WAS STATED AT          3    WAS SENT OUT TO PEOPLE ---
4     THE SEMINARS?                                             4 A. MM-HMM (AFFIRMATIVE RESPONSE). RIGHT.
5 A. YEAH. YEAH. IT WOULD BE THIS IS WHAT I BELIEVE AND         5 Q. SO -- OKAY. WHEN YOU SIGNED THIS AFFIDAVIT FOR THE
6     THIS IS WHY I BELIEVE IT.                                 6    I.R.S. -- LET ME ASK IT LIKE THIS. PRIOR TO SIGNING
7 Q. AND THEN, AFTER HE WOULD SAY THAT, WOULD HE TELL,          7    THIS AFFIDAVIT, DID YOU BELIEVE THAT YOU HAD
8     BECAUSE I REMEMBER YOU BEING VERY SPECIFI. , WOULD        8    VIOLATED THE LAW WHEN YOU WERE SUBMITTING, SENDING
9     HE TELL THEM, THEN, THEY WOULD NEED TO DETERMINE HOW      9    OUT INFORMATION ---
10    THIS INFORMATION APPLIED TO THEM?                         10 A. NO.
11 A. OH, I'M SURE HE DID, BUT I MEAN, THEY HAD THE             11 Q. --- TO MEMBERS OF THE AWARE GROUP?
12    AUDIOS.                                                   12 A. NO. NO. NO. ALL I, ONLY, THE ONLY THING THAT I
13 Q. AND I WANT -- THAT'S WHAT I WANT TO ASK YOU NEXT.         13   BELIEVED THAT I HAD DONE WRONG WAS WHEN I WAS WITH
14    YOU SAID THAT YOU PROVIDED THE I.R.S. WITH                14   ALEX AND THE YEARS RIGHT AFTER I LEFT HIM BECAUSE I
15    EVERYTHING ---                                            15   REALLY DIDN'T KNOW HOW TO GET OUT OF THE HOLE, SO I
16 A. THAT I HAD.                                               16   DID NOT FILE TAX RETURNS BECAUSE LORD KNOWS, YOU
17 Q. THAT YOU HAD. SO, I WANT TO FIND OUT WHAT THAT IS.        17   COULD NOT DO THAT WITH ALEX. YOU COULDN'T FILE
18 A. IT WAS COPIES OF THE AUDIOS FROM THE SEMINARS THAT        18   THEM. AND THEN, WHEN I LEFT HIM, I WAS KIND OF IN
19    WE HAD THAT WERE RECORDED. THERE WERE NEVER VIDEOS. 19         THE MINDSET OF, LIKE, WELL, HOW DO I GET BACK? DO
20    HE REFUSED TO BE ON VIDEO.                                20   YOU SEE WHAT I'M SAYING?
21 Q. OKAY.                                                     21 Q. MM-HMM (AFFIRMATIVE RESPONSE).
22 A. SO, THEY WAS ALWAYS DONE IN AUDIO FORMAT. IT WAS A        22 A. AND STUFF. BUT NO, I WAS, I WAS NOT UNDER THE
23    VIDEO THAT HE HAD GOTTEN SOMEWHERE, AND I HAVE NO         23   BELIEF THAT I HAD BROKEN ANY LAW.
24    IDEA WHERE IT CAME FROM, CALLED ALL ABOUT TRUSTS.         24 Q. WELL, WHEN YOU, I WANT TO SPECIFICALLY FIND OUT HOW
25 Q. OKAY.                                                     25   YOU DETERMINED WHEN YOU SIGNED THIS AFFIDAVIT THAT,


                                                                                             15 (Pages 54 to 57)

                                                                                                     c77b1608-3dad-41b3-b76e-97be2fcee833
             6:08-cv-03760-GRA             Date Filed 09/25/09     Entry Number 22-3         Page 48 of 94


Heather Ferguson                                                                              July 27, 2009
                                                   Page 58                                                        Page 60
1      FOR EXAMPLE ---                                        1    SAID BEFORE, WAS LED TO BELIEVE THINGS THAT DIDN'T
2    A. MM-HMM (AFFIRMATIVE RESPONSE).                        2    COME TRUE.
3    Q. THE LAST PARAGRAPH SAYS, THE V.H.S. TAPE ALL ABOUT    3 Q. WITH -- WITH THE AWARE GROUP, WHEN YOU WERE
4      TRUSTS ---                                             4    OPERATING IT, AND ---
5    A. MM-HMM (AFFIRMATIVE RESPONSE).                        5 A. YEAH.
6    Q. --- WAS INCLUDED ON MY WEBSITE. AND THAT WAS          6 Q. AND THEN, AFTER, WHEN YOU ALL SEPARATED, IT SOUNDED
7      REFERRING TO THE AWARE GROUP.                          7    LIKE TO ME YOU WERE DOING THE DAY TO DAY ---
8    A. MM-HMM (AFFIRMATIVE RESPONSE).                        8 A. MM-HMM (AFFIRMATIVE RESPONSE).
9    Q. AND THAT LAST SENTENCE, IT SAYS, THE TAPE INCLUDES    9 Q. BUSINESS OPERATIONS AND THEN JUST PROVIDING ALEX, I
10     FRIVOLOUS ARGUMENTS REGARDING I.R.C. SECTION 861-877   10   GUESS, WITH SORT OF AN UPDATE OR INFORMATION AS TO
11     ---                                                    11   WHAT WAS GOING ON?
12 A. MM-HMM (AFFIRMATIVE RESPONSE).                          12 A. RIGHT. WELL, HE WOULD GET ANY UPDATES BECAUSE HE
13 Q. --- REGARDING THE REQUIREMENTS FOR FEDERAL INCOME       13   WAS A MEMBER.
14     TAXES TO BE PAID ON WAGES AND EARNINGS OF A U.S.       14 Q. MM-HMM (AFFIRMATIVE RESPONSE).
15     CITIZEN AND TITLE 26 U.S.C.                            15 A. AND THEN, I OWED HIM ROYALTIES BASED ON OUR DIVORCE
16 A. RIGHT.                                                  16   AGREEMENT AND STUFF, BUT NOTHING -- THE MOMENT I
17 Q. END QUOTE. HOW DO YOU KNOW THAT?                        17   TOOK AWARE OVER AS PART OF OUR DIVORCE AGREEMENT AND
18 A. I DON'T KNOW THAT. I DIDN'T WRITE THIS.                 18   STUFF AND HE RETIRED AND STUFF, NOTHING NEW EVER
19 Q. WHY DID YOU SIGN IT THEN?                               19   CAME OUT OF THE AWARE GROUP. IT WAS THE SAME OLD.
20 A. BECAUSE WHEN YOU HAVE AGENTS ACROSS THE TABLE FROM 20        ALL I DID WAS MAKE CDs AND SEND OUT TAPES AND MAKE
21     YOU SAYING YOU WILL SIGN THIS ---                      21   CDs AND SEND OUT TAPES. YOU KNOW, BECAUSE IT WAS A
22 Q. MM-HMM (AFFIRMATIVE RESPONSE).                          22   WAY FOR ME TO MAKE A LIVING.
23 A. OR ELSE WE WILL PURSUE YOU CRIMINALLY OR WHATEVER.      23 Q. MM-HMM (AFFIRMATIVE RESPONSE). AND DURING THAT, YOU
24     I JUST WANTED IT TO GO AWAY.                           24   INDICATED DURING YOUR TESTIMONY THAT ON AN AVERAGE
25 Q. AND I'M NOT TRYING TO MAKE YOU UPSET, HEATHER. I        25   MONTH, THERE COULD BE ANYWHERE BETWEEN FIVE NEW

                                                   Page 59                                                        Page 61
1      JUST WANT TO UNDERSTAND WHY YOU WOULD SIGN IT.         1    MEMBERS TO TEN NEW MEMBERS.
2    A. BECAUSE THAT'S WHAT MY ATTORNEY TOLD ME TO DO         2 A. YEAH.
3      BECAUSE I ASKED HIM. I, WHEN THEY SENT IT              3 Q. WERE THERE MONTHS WHEN YOU DIDN'T HAVE ANY NEW
4      ORIGINALLY, I SENT HIM QUESTIONS BACK GOING YOU        4    MEMBERS SIGN UP?
5      KNOW, I'M NOT COMFORTABLE WITH THIS. I'M NOT           5 A. PROBABLY. I DON'T REMEMBER. YOU KNOW, I DON'T
6      COMFORTABLE WITH THIS. I'M NOT COMFORTABLE WITH        6    REMEMBER MONTH BY MONTH, BUT I DON'T THINK SO. I
7      THIS. HE SAID THERE'S NO GETTING AROUND IT. IF YOU     7    MEAN, MAYBE A MONTH WHEN THERE WAS LIKE ONE OR
8      WANT THIS TO GO AWAY, YOU'VE GOT TO SIGN THIS. SO,     8    WHATEVER AND STUFF, BUT I DON'T RECALL THERE WOULD
9      I SIGNED IT.                                           9    BE ANY BECAUSE -- NO.
10 Q. SO, YOU DON'T KNOW WHETHER OR NOT THIS ARGUMENT IS      10 Q. OKAY. BUT THERE WERE MONTHS WHERE THERE WAS AS
11     FRIVOLOUS ---                                          11   LITTLE AS ONE PERSON WHO WOULD BECOME A MEMBER?
12 A. NO, I DON'T. I NEVER EVEN SEEN THE VIDEO.               12 A. OH, YEAH. OH, YEAH.
13 Q. AND I'M ASSUMING, BUT I DON'T WANT TO ASSUME            13 Q. AND THEN, THE INFORMATION, I GUESS, THAT YOU WERE
14     ANYTHING ---                                           14   SENDING OUT WOULD HAVE BEEN TO ALL THE EXISTING
15 A. OKAY.                                                   15   MEMBERS IF SOMETHING NEW CAME IN OR WERE THEY
16 Q. BUT THAT THE OTHER REPRESENTATIONS IN HERE THAT, FOR 16      UPDATED REGULARLY? HOW DID THAT WORK?
17     EXAMPLE, SOMETHING VIOLATES A TAX CODE, SOMETHING IS 17 A. WELL, NO, ACTUALLY, NOW, ARE YOU TALKING ABOUT WHEN
18     NOT CONSISTENT WITH TITLE 26 ---                       18   I TOOK OVER AWARE?
19 A. I WOULDN'T HAVE THE FOGGIEST NOTION AS A MAN IN THE     19 Q. MM-HMM (AFFIRMATIVE RESPONSE).
20     MOON WHETHER OR NOT.                                   20 A. NOW, WHEN I TOOK OVER AWARE, THERE WAS NO NEW
21 Q. SO, YOU SIGNED IT, YOU SIGNED THE AFFIDAVIT TO MAKE     21   INFORMATION. IT WOULD -- I WOULD GO ONLINE AND FIND
22     THEM STOP CONTACTING YOU AND TO CLOSE YOUR CASE?       22   ARTICLES THAT I THOUGHT WOULD BE OF INTEREST TO THE
23 A. YEAH. TO MAKE THEM GO AWAY. LIKE, I THINK JUST          23   PEOPLE ABOUT -- IT SORT OF -- AWARE SORT OF BECAME
24     ABOUT ANYBODY WOULD. AND BECAUSE THAT'S WHAT MY        24   LIKE A WATCH DOG GROUP, MEANING THAT IF I FOUND
25     ATTORNEY TOLD ME TO DO. AND BECAUSE I WAS, LIKE I      25   ARTICLES ONLINE ABOUT LEGISLATION THAT WAS BEING


                                                                                           16 (Pages 58 to 61)

                                                                                                  c77b1608-3dad-41b3-b76e-97be2fcee833
           6:08-cv-03760-GRA             Date Filed 09/25/09        Entry Number 22-3           Page 49 of 94


Heather Ferguson                                                                                 July 27, 2009
                                                     Page 62                                                       Page 64
1    PASSED OR LIKE WHAT CERTAIN SENATORS ARE DOING, LIKE      1 Q. MM-HMM (AFFIRMATIVE RESPONSE).
2    RON PAUL IN TEXAS IS A, THERE'S A BIG FAN BASE IN         2 A. AND STUFF, SO HE SET UP INTERNATIONAL BUSINESS
3    THIS GROUP OF PEOPLE, OKAY?                               3     SYSTEMS AND THEN WENT TO CHARLES SCHWAB AND, OF
4 Q. MM-HMM (AFFIRMATIVE RESPONSE).                            4     COURSE, THEY USED MY SOCIAL SECURITY NUMBER BECAUSE
5 A. BECAUSE HE STICKS UP FOR THE INDIVIDUAL'S RIGHTS          5     LORD KNOWS, HE WASN'T GOING TO USE HIS AND STUFF.
6    VERSUS THE GOVERNMENT'S RIGHT. SO, IF I FOUND, YOU        6     SO, THAT'S THE REASON WHY I'M TIED TO ALL THESE
7    KNOW, THAT HE WAS INTRODUCING LEGISLATION OR              7     ACCOUNTS. OF COURSE, ALL THESE, WELL, I DON'T KNOW
8    WHATEVER, I'D SEND THAT OUT OR, YOU KNOW, THAT KIND       8     ABOUT FREEDOM TRUST GROUP'S ACCOUNT BECAUSE HE KEPT
9    OF STUFF. AND AWARE TOOK ON KIND OF A DIFFERENT           9     THAT AND STUFF, BUT INTERNATIONAL BUSINESS SYSTEM'S
10   MEANING WHEN I CAME ABOARD, YOU KNOW, WHEN IT BECAME 10         ACCOUNT HAS BEEN CLOSED.
11   MINE BECAUSE I DIDN'T KNOW ANYTHING ABOUT ALL OF          11 Q. AND WHAT WAS YOUR UNDERSTANDING OF WHAT FREEDOM
12   THIS KIND OF STUFF. SO, I DIDN'T, YOU KNOW, THERE         12    TRUST GROUP DID?
13   WAS NO NEW INFORMATION.                                   13 A. THAT WAS THE TRUST, THE TRUST SOFTWARE.
14 Q. AND THEN, WHAT ABOUT BEFORE THE DIVORCE WAS              14 Q. SO, AND DID IT PROVIDE -- WHO WAS PROVIDED WITH
15   FINALIZED AND YOU TOOK OVER, WERE PEOPLE RECEIVING        15    THAT, THAT TRUST SOFTWARE? DO YOU KNOW?
16   REGULAR UPDATES OR INFORMATION OR CDs OR HOW DID          16 A. WHAT DO YOU MEAN WHO WAS PROVIDED WITH THAT?
17   THAT WORK BECAUSE THERE WAS A LIFETIME MEMBERSHIP         17 Q. WELL, LIKE ---
18   AND IT WAS A ONE-TIME FEE, SO ---                         18 A. YOU MEAN CUSTOMERS?
19 A. RIGHT, NOW, WELL, RIGHT, WELL, ONCE EVERYTHING WENT      19 Q. MM-HMM (AFFIRMATIVE RESPONSE). FOR EXAMPLE, WAS IT
20   ONLINE AND ONCE THEY BECAME A MEMBER, IT'S LIKE IF        20    PEOPLE, MEMBERS OF THE AWARE GROUP?
21   WE CAME UP WITH NEW INFORMATION, YOU KNOW, THAT CAME 21 A. NO. NO, NO, NO. IT WAS -- IT WAS SEPARATE.
22   OUT, YOU KNOW, LIKE THIS REDEMPTION STUFF WAS ADDED       22    FREEDOM TRUST GROUP WAS A TOTALLY SEPARATE THING AND
23   LATER. YOU KNOW, THAT WAS ONE OF THE LAST THINGS          23    IT HAD SOFTWARE AND YOU COULD PURCHASE THE SOFTWARE
24   AND STUFF. IF YOU WERE A MEMBER, YOU COULD GET,           24    AND IT HAD FIVE DIFFERENT TYPES OF TRUSTS WHERE YOU
25   WE'D BY EMAIL, WE'D SEND OUT UPDATES OR ANYTHING.         25    COULD WRITE YOUR OWN TRUST, AND THEN THERE WAS A

                                                     Page 63                                                       Page 65
1    YOU KNOW, THE NEWSLETTER WENT OUT, YOU KNOW, ONLINE, 1          MANUAL ON, YOU KNOW, HOW TO PROPERLY SET UP TRUSTS.
2    AND OCCASIONALLY, ONE WENT OUT IN PRINT. LIKE, BUT        2 Q. AND WHERE DID THAT SOFTWARE COME FROM?
3    IT WAS SO EXPENSIVE TO DO SO, SO IT WAS LIKE ONCE A       3 A. WELL, IT WAS, IT WAS -- THE TRUST ORIGINALLY STARTED
4    YEAR. BUT, YEAH, THEY WOULD RECEIVE UPDATES.              4     AS HARD COPIES, AND THEN WHEN THE COMPUTER STARTED,
5 Q. WHAT, WHAT DID INTERNATIONAL BUSINESS SYSTEMS DO?         5     YOU KNOW, YOU'VE GOT TO THINK THIS WAS THE EARLY
6    WHAT WAS YOUR UNDERSTANDING ---                           6     '90s, MID-'90s ---
7 A. IT WAS A JUST A WAY, A WAY TO -- INTERNATIONAL            7 Q. THAT'S TRUE.
8    BUSINESS SYSTEMS IS A CORPORATION THAT WAS SET UP IN      8 A. AND STUFF, THAT THEY THEN WENT ON TO JUST BEING
9    NEVIS, THE COUNTRY OF NEVIS. IT'S AN OFFSHORE             9     DOCUMENTS ON A FLOPPY AND THEN THEY WENT TO
10   CORPORATION, THOUGH IT NEVER HAD ANY OFFSHORE BANKS, 10         DOCUMENTS BEING ON CDs, AND THEN HE HIRED A
11   NO OFFSHORE NOTHING. THE ONLY ACCOUNT IT EVER HAD         11    PROGRAMMER TO MAKE IT INTO A PROGRAM AND JUST LIKE
12   WAS CHARLES SCHWAB. OKAY? AND ALL INTERNATIONAL           12    THE FREEDOM FILES BECAME, ALL THE AWARE STUFF ENDED
13   BUSINESS SYSTEMS DID WAS HANDLE THE MERCHANT              13    UP ON A CD CALLED THE FREEDOM FILES THAT HAD A
14   ACCOUNT. YOU KNOW, THERE WAS, INTERNATIONAL               14    LITTLE SCREEN WITH A MENU AND STUFF. ALL THAT WAS
15   BUSINESS PER SE NEVER HAD MERCHANDISE. YOU KNOW           15    DONE BY A PROGRAMMER THAT HE HIRED.
16   WHAT I'M SAYING? OR ANYTHING LIKE THAT. IT WAS            16 Q. AND SO, WHEN MR. STRONG WAS ASKING YOU ABOUT
17   JUST, IT WAS ALMOST LIKE A D/B/A. YOU KNOW, IT WAS        17    TEMPLATES ---
18   ALMOST LIKE THE AWARE GROUP DOING D/B/A, BUT I MEAN,      18 A. MM-HMM (AFFIRMATIVE RESPONSE).
19   NOT THAT IT -- IT WAS NEVER CLASSIFIED THAT WAY, BUT      19 Q. IS THAT WHAT THE PROGRAMMER DID, IS HE MADE A
20   THAT'S WHAT IT ENDED UP BEING. YOU KNOW, THAT WAS         20    TEMPLATE THAT THEY COULD ---
21   JUST A PLACE TO PUT THE MONEY, SO THAT WE COULD TAKE      21 A. RIGHT. RIGHT.
22   CREDIT CARDS BECAUSE IF YOU GOT THEM, YOU KNOW,           22 Q. --- ENTER INFORMATION?
23   BUSINESS SPEAKING WISE, IF YOU WANT TO INCREASE YOUR      23 A. LIKE, THERE WOULD BE A SCREEN THAT THEY COULD FILL
24   BUSINESS, YOU NEED THE ABILITY TO TAKE MERCHANT, YOU      24    IN WITH LIKE THE NAME OF THE BENEFICIARY AND THE
25   KNOW, CREDIT CARDS.                                       25    NAME OF THE TRUSTEES OR THE NAME OF THE TRUST OR


                                                                                           17 (Pages 62 to 65)

                                                                                                  c77b1608-3dad-41b3-b76e-97be2fcee833
             6:08-cv-03760-GRA            Date Filed 09/25/09         Entry Number 22-3            Page 50 of 94


Heather Ferguson                                                                                   July 27, 2009
                                                      Page 66                                                         Page 68
1      COUNTY OR WHATEVER AND STUFF AND HIT A BUTTON AND IT     1    A. AND THEN TELL ME WHAT TO DO WITH IT. YOU KNOW, IT'S
2      WOULD INSERT IT INTO THE DOCUMENT. IT WOULD              2      LIKE HE SPENT HIS DAYS STUDYING, STUDYING. HE HAD
3      COMPLETE THE DOCUMENT, SO THEN ALL THEY'D HAVE TO DO     3      AMGER, HE HAD A NUMBER OF TAX BOOKS. HE HAD BLACK'S
4      IS PRINT IT OUT.                                         4      LAW DICTIONARIES. HE WAS ALL ABOUT THE BLACK'S LAW
5    Q. AND WHAT WAS THE REPRESENTATION MADE TO CUSTOMERS       5      DICTIONARIES AND THE DEFINITIONS. HE REMINDED ME OF
6      WHO PURCHASED THOSE, THAT SOFTWARE, THOSE TEMPLATES? 6          BILL CLINTON, WHAT THE DEFINITION OF IS IS, BUT HIS
7    A. IT WAS JUST A FORM OF ASSET PROTECTION. IT WAS          7      -- HIS DAYS WERE SPENT ON THE PHONE SELLING OR
8      LIKE, IT, LIKE THE STORY THAT WAS USED WAS THAT          8      TALKING TO PEOPLE OR RESEARCHING AND READING AND
9      YOU'RE IN A CAR ACCIDENT, YOU KNOW, AND THEY SUE         9      COMING UP WITH IDEAS AND NEW THINGS OR INFORMATION
10     YOU, YOU KNOW. A LOT OF TIMES HE USED THE TED            10     TO SEND OUT OR THAT SORT OF STUFF.
11     KENNEDY, MARY JO KOPECHNE STORY ABOUT GOING OFF THE      11 Q. AND I THINK YOU TOLD MR. STRONG THAT HE DID AT LEAST
12     BRIDGE IN MASSACHUSETTS OR WHEREVER IT WAS AND           12     FOUR SEMINARS.
13     STUFF, THAT HER FAMILY WENT TO SUE THE KENNEDYS BUT      13 A. YEAH, AT LEAST.
14     FOUND OUT THEY DIDN'T OWN ANYTHING BECAUSE               14 Q. BUT YOU SAID THERE ALSO COULD BE MORE.
15     EVERYTHING WAS OWNED BY A TRUST AND IT'S ASSET           15 A. YEAH. I JUST, THOSE ARE JUST THE ONES I REMEMBER
16     PROTECTION. YOU KNOW, PROTECTING, IT'S JUST LIKE IF      16     BECAUSE I SET THEM UP. LIKE I SAID, AS AN ASSISTANT
17     YOU HAD AN L.L.C. OR SOMETHING YOU SET UP, YOU KNOW,     17     SORT OF ROLE, YOU KNOW, I WOULD SET UP THE SEMINARS.
18     TO PROTECT YOURSELF. AND IT WAS NEVER, IT WAS NEVER      18     YOU KNOW, ARRANGE THE HOTEL, AND YOU KNOW THAT SORT
19     PRESENTED AS A FOR -- OKAY, LET ME -- I DON'T KNOW       19     OF THING.
20     ABOUT ON THE VIDEO BECAUSE I NEVER SAW THE VIDEO,        20 Q. COULD THERE HAVE BEEN MORE THAN TEN SEMINARS?
21     BUT PERSON TO PERSON AND EVERYTHING ELSE, THE TRUSTS     21 A. NO.
22     WERE NEVER PRESENTED AS TAX HAVENS OR TAX AVOIDANCE 22 Q. OKAY. SO, LESS THAN TEN ---
23     OR ANYTHING LIKE THAT. IT WAS PRESENTED AS ASSET         23 A. YEAH, I ---
24     PROTECTION, AS A WAY TO PROTECT YOURSELF SO THAT IF      24 Q. --- BUT AT LEAST, FOUR.
25     JOE SHMOE FELL ON YOUR PROPERTY AND WANTED TO SUE        25 A. YEAH. BECAUSE I KNOW THERE WAS ONE IN ORLANDO AND I

                                                      Page 67                                                         Page 69
1      YOU, YOU, YOU KNOW, THE ONLY THING IN THIS TRUST WAS 1          KNOW THERE WAS ONE IN OREGON. AND I KNOW THERE WAS
2      THIS HOUSE, AND YOU KNOW, AND THINGS SUCH AS THAT.   2          ONE IN PENNSYLVANIA. NOT PENNSYLVANIA.
3 Q. AND DID ALEX OR DID YOU REPRESENT THAT BY FILLING IN 3            PHILADELPHIA. WELL, THAT IS PENNSYLVANIA. AND
4   THAT TEMPLATE, THAT THAT WOULD BE A VALID TRUST?      4            THEN, THERE WAS ONE IN GREENVILLE. AND I KNOW HE
5    A. IF, IF THE RULES WERE FOLLOWED BECAUSE IT'S JUST A      5      SPOKE AT SOMEONE ELSE'S SEMINAR. I'M THINKING IT
6      CONTRACT. IT'S JUST A DOCUMENT, BUT YOU KNOW, THERE 6           WAS EITHER IN CHARLOTTE OR ATLANTA OR THE BEACH.
7      ARE RULES OR A TRUST ISN'T VALID.                   7           SOMEWHERE IN THE CAROLINAS OR GEORGIA, BUT THAT'S
8    Q. AND THEN, HOW WOULD A PERSON WHO WAS USING THAT         8      ALL I CAN REMEMBER OFF THE TOP OF MY HEAD, AT LEAST
9      TEMPLATE DETERMINE WHAT THE RULES WERE?                  9      WHILE WE WERE TOGETHER.
10 A. THERE WAS A BOOK THAT WENT WITH IT. AT FIRST, THE   10 Q. OKAY. AND HOW WOULD YOU ALL, I GUESS, ADVERTISE OR
11   BOOK WAS IN WRITING, WAS HARD COPY, BUT THEN IT JUST 11   GET PEOPLE TO ATTEND THE SEMINAR?
12   GOT PUT ONTO IT AND THEY COULD PRINT IT OFF.         12 A. SEND IT OUT THROUGH THE DATABASE.
13 Q. AND WHO CREATED THAT BOOK?                          13 Q. SO, LIKE A MASS MAILING OR A MASS EMAIL, I GUESS ---
14 A. IT WAS A PLETHORA OF INFORMATION FROM VARIOUS             14 A. MM-HMM (AFFIRMATIVE RESPONSE). YES.
15     SOURCES THAT ALEX FOUND. IT WAS ARTICLES. IT WAS         15 Q. WHEN YOU ALL WERE FINALLY ELECTRONIC ---
16     INFORMATION. IT WAS CODE. IT WAS JUST, AND IT CAME       16 A. AND ALSO PUT AN ANNOUNCEMENT ON THE WEBSITE.
17     FROM ALL OVER THE PLACE. THERE WAS NO ONE SOURCE         17 Q. I THINK I'M ALMOST DONE. JUST GIVE ME ONE MOMENT.
18     FOR ANYTHING THAT ANY OF THESE ENTITIES PROVIDED.        18 BY MS. SALVINI:
19 Q. EXPLAIN TO ME WHAT, I UNDERSTAND THAT YOU HANDLED 19               I THINK THAT'S ALL I HAVE, JAMES.
20     THE DAY TO DAY OPERATIONS ---                            20 BY MR. STRONG:
21 A. MM-HMM (AFFIRMATIVE RESPONSE).                            21       WHY DON'T WE TAKE, CAN WE TAKE A COUPLE MINUTE
22 Q. --- OF THINGS. I WROTE DOWN THAT YOU SAID THAT            22     BREAK HERE? I'M JUST GOING TO LOOK AND THEN I'LL
23     ALEX'S DAY TO DAY WAS HE WOULD JUST READ ---             23     HAVE JUST A FEW MORE QUESTIONS ---
24 A. HE WOULD RESEARCH.                                        24 BY THE WITNESS:
25 Q. --- INFORMATION AND RESEARCH.                             25       OKAY.


                                                                                                18 (Pages 66 to 69)

                                                                                                     c77b1608-3dad-41b3-b76e-97be2fcee833
            6:08-cv-03760-GRA              Date Filed 09/25/09       Entry Number 22-3            Page 51 of 94


Heather Ferguson                                                                                   July 27, 2009
                                                      Page 70                                                       Page 72
1    BY MR. STRONG:                                             1 A. GOLD AND SILVER.
2        AND THEN WE'LL BE DONE FOR THE DAY.                    2 Q. DID YOU -- SO, YOU FOLKS WEREN'T LIVING HAND TO
3    BY THE WITNESS:                                            3    MOUTH?
4        OKAY.                                                  4 A. NO. NO. WE WEREN'T WORRIED. WE WERE NOT, WE WERE
5       (OFF THE RECORD 11:02 A.M. - 11:04 A.M.)                5    BY NO MEANS RICH, BUT WE WERE COMFORTABLE.
6    RE-EXAMINATION BY MR. STRONG:                              6 Q. AND WAS THAT PRETTY CONSISTENT THROUGHOUT THE
7    Q. I JUST HAVE A COUPLE OF FOLLOW UP QUESTIONS ON WHAT 7        RELATIONSHIP?
8      MS. SALVINI ASKED YOU. YOU TOLD MS. SALVINI THAT         8 A. YES, IN FACT, IT GOT BETTER THE LONGER WE WERE
9      ALEX WOULD NOT ALLOW YOU FOLKS TO FILE TAX RETURNS 9          TOGETHER BECAUSE AS THE BUSINESS GREW, BUSINESS
10     WHILE YOU WERE MARRIED.                                  10   GREW.
11 A. RIGHT.                                                    11 Q. SO, YOU WERE EARNING MORE AND MORE MONEY OVER ---
12 Q. DO YOU KNOW THE REASON FOR THAT?                          12 A. YES.
13 A. BECAUSE HE, HE DIDN'T WANT TO COME UNDER THE              13 Q. OVER TIME?
14     JURISDICTION.                                            14 A. YEAH.
15 Q. CAN YOU EXPLAIN WHAT YOU MEAN BY THAT?                    15 Q. YOU TESTIFIED THAT PART OF ALEX'S DAY WAS ALSO SPENT
16 A. LET ME, LET ME, LET ME, ALL RIGHT, LET ME SAY THIS.       16   ON THE PHONE SELLING.
17     LET ME BACK UP A MINUTE. IT WAS UNDERSTOOD THAT WE 17 A. RIGHT.
18     WOULD NOT BE FILING TAXES BECAUSE ALEX WAS OF THE        18 Q. WHAT WAS HE SELLING?
19     BELIEF THAT HE WAS NOT LIABLE.                           19 A. AWARE STUFF.
20 Q. DO YOU KNOW WHY HE BELIEVED THAT?                         20 Q. WHO WAS HE SELLING IT TO?
21 A. IT ALL GOES BACK TO ALL THIS, ALL HIS RESEARCH.           21 A. WHOEVER WOULD CALL IN. PEOPLE THAT, I MEAN, I
22     EVERYTHING HE HAD READ, EVERYTHING HE HAD STUDIED        22   DON'T, YOU KNOW, IT WAS PEOPLE THAT ARE IN THE
23     HAD LED HIM TO BELIEVE THAT.                             23   DATABASE, YOU KNOW.
24 Q. IS THERE ANYTHING SPECIFIC THAT LED HIM TO BELIEVE        24 Q. HE WASN'T MAKING COLD CALLS, THOUGH?
25     THAT?                                                    25 A. NO. NO, NO, NO, NO, NO, NO. THESE WERE ALWAYS

                                                      Page 71                                                       Page 73
1    A. I DON'T KNOW. HE HAD THIS OPINION BEFORE I MET HIM.     1    PEOPLE WHO CALLED HIM OR ASKED HIM TO CALL THEM.
2    Q. YOU TESTIFIED REGARDING THE MONEY THAT WAS COMING IN 2       NO, NO, HE NEVER -- HE DIDN'T NEED TO COLD CALL.
3      FROM THE GROUPS WAS WHAT YOU AND ALEX LIVED ON.          3 Q. BECAUSE THE INCOME THAT WAS COMING IN WAS ---
4    A. MM-HMM (AFFIRMATIVE RESPONSE).                          4 A. MM-HMM (AFFIRMATIVE RESPONSE). AND ENOUGH PEOPLE
5    Q. THAT'S CORRECT?                                         5    WERE CALLING. HE WOULD, WHEN WE WERE FIRST
6    A. RIGHT.                                                  6    TOGETHER, HE WOULD HAVE ME HAVE THE WORK PHONE IN
7    Q. HOW MUCH INCOME WAS COMING IN?                          7    THE BEDROOM AND IF SOMEONE CALLED AT THREE O'CLOCK
8    A. WELL, I DID MY TAXES BASED OFF OF THE BANK              8    IN THE MORNING, THE PHONE WAS SUPPOSED TO BE
9      STATEMENTS, WHICH OF COURSE, THE I.R.S. HAS, AND FOR     9    ANSWERED.
10     THOSE YEARS, 2003, THEY HAD ME DO HALF OF THE INCOME     10 Q. YOU ALSO TESTIFIED THAT HE WOULD CONSULT TAX BOOKS.
11     BECAUSE HE AND I WERE STILL TOGETHER IN '03. OKAY?       11 A. MM-HMM (AFFIRMATIVE RESPONSE). ACTUAL FEDERAL
12     BECAUSE I LEFT HIM IN PART OF '03 AND STUFF, AND         12   BOOKS.
13     HALF OF THAT WAS, THIS IS OFF THE TOP OF MY HEAD.        13 Q. DO YOU RECALL THE TITLE OF ANY OF THESE OR ---
14     IT WAS OVER A HUNDRED THOUSAND.                          14 A. WHATEVER THE CODE IS FOR THE I.R.S., WHATEVER THE
15 Q. WELL, LET ME ASK THE QUESTION A DIFFERENT WAY.            15   I.R.S. CODE IS, TITLE WHATEVER ---
16 A. OKAY.                                                     16 Q. OKAY. SO, HE WAS CONSULTING THE ACTUAL ---
17 Q. HOW WOULD YOU CHARACTERIZE YOUR STANDARD OF LIVING 17 A. YEAH, YEAH. I'M TALKING ABOUT THE ACTUAL CODES.
18     WHILE YOU WERE FOLKS WERE OPERATING THESE BUSINESSES 18 Q. OKAY. WHEN YOU PREPARED THIS AFFIDAVIT THAT WE HAVE
19     TOGETHER?                                                19   BEEN DISCUSSING, PLAINTIFF'S EXHIBIT ONE IN FRONT OF
20 A. WE WERE COMFORTABLE. WE DIDN'T TAKE EXOTIC                20   YOU. YOU CONSULTED WITH AN ATTORNEY THOUGH ---
21     VACATIONS. WE ATE OUT A LOT. HE DID BUILD A DECK         21 A. YES.
22     OFF THE BACK OF THE HOUSE, BUT MOST INCOME, MOST         22 Q. --- BEFORE YOU SIGNED THAT.
23     MONIES COMING IN WERE TRANSFERRED INTO OTHER ASSETS      23 A. YES.
24     AND PUT AWAY.                                            24 Q. AND HE, YOU FELT COMFORTABLE WITH HIS, WITH HIS
25 Q. WHAT OTHER ASSETS?                                        25   REPRESENTATION OF YOU?


                                                                                             19 (Pages 70 to 73)

                                                                                                     c77b1608-3dad-41b3-b76e-97be2fcee833
              6:08-cv-03760-GRA           Date Filed 09/25/09         Entry Number 22-3              Page 52 of 94


Heather Ferguson                                                                                     July 27, 2009
                                                      Page 74                                                        Page 76
1 A. OH, YEAH. WITH HIS REPRESENTATION, YEAH, IT WAS            1    BY MR. STRONG:
2    FINE.                                                      2        -- YOU'LL HAVE, IF YOU ELECT TO, YOU'LL HAVE 30
3 Q. YOU TESTIFIED THAT ALEX OR MR. ALEXANDER DID NOT           3      DAYS, THE OPPORTUNITY TO REVIEW THAT INFORMATION ---
4    HOLD HIMSELF OUT AS AN ATTORNEY.                           4    BY THE WITNESS:
5 A. NO.                                                        5        MM-HMM (AFFIRMATIVE RESPONSE).
6 Q. DID HE HOLD HIMSELF OUT, THOUGH, AS AN AUTHORITY ON        6    BY MR. STRONG:
7    THESE PATRIOT TOPICS?                                      7        CHECK IT FOR ACCURACY. LET HER KNOW IF THERE
8 A. OH, YES.                                                   8      ARE ANY ERRORS IN TESTIMONY OR WHATNOT.
9 Q. AND DID HE HOLD HIMSELF OUT AS, YOU KNOW, AS THIS IS       9    BY THE WITNESS:
10   INFORMATION THAT IS, THAT HE'S RESEARCHED?                 10       RIGHT.
11 A. YES.                                                      11 BY MR. STRONG:
12 Q. AND THAT HE CONCLUDED WAS VALID?                          12       OR YOU CAN WAIVE THAT.
13 A. YES.                                                      13 BY THE WITNESS:
14 BY MR. STRONG:                                               14       RIGHT.
15         I THINK THAT'S ALL I HAVE.                           15 BY MR. STRONG:
16 BY THE WITNESS:                                              16       WE SAID WE WOULD WAIT UNTIL THE END OF THE
17         CAN I SAY SOMETHING?                                 17     DEPOSITION ---
18 BY MR. STRONG:                                               18 BY THE WITNESS:
19         PLEASE.                                              19       RIGHT. YEAH. I WOULD LIKE A COPY OF IT AND TO
20 BY THE WITNESS:                                              20     REVIEW IT BEFORE I SIGN IT.
21         BECAUSE I WANT THIS CLARIFIED BECAUSE THIS HAS       21 BY MR. STRONG:
22   BEEN OUT THERE FOREVER AND IT HAS ALWAYS BEEN WRONG, 22             OKAY. SHE WILL, SHE WILL NEED YOUR ADDRESS ---
23   AND THAT HE OR I EVER FILLED OUT TAX FORMS FOR OTHER       23 BY THE WITNESS:
24   PEOPLE. NEVER, EVER, EVER WAS THAT DONE, AND I WANT        24       RIGHT.
25   THAT CLARIFIED THAT, AND I WANT IT ON THE RECORD           25 BY MR. STRONG:

                                                      Page 75                                                        Page 77
1    THAT WE NEVER FILED TAXES FOR ANYBODY, NOT EVEN            1        YOU CAN GIVE THAT AFTER, AFTER THE ---
2    OURSELVES, MUCH LESS, MUCH LESS ANYBODY ELSE. LIKE
                                                                2    BY THE WITNESS:
3    THERE WAS A BIG ARGUMENT, THE BIG THING WAS THE ZERO
4    RETURN SO THEY COULDN'T GET YOU FOR NOT FILING AND         3        OKAY.
5    SO, NEVER, NOTHING, WAS THAT EVER DONE, SO I JUST
                                                                4    BY MR. STRONG:
6    WANT THAT CLARIFIED AND ON THE RECORD. THAT WAS
7    NEVER DONE WHILE WE WERE TOGETHER.                         5        AFTER THE DEPOSITION. THANK YOU.
8 BY MS. SALVINI:
                                                                6    BY THE WITNESS:
9          THAT'S ALL I HAVE.
10 BY MR. STRONG:                                               7        THANK YOU.
11         OKAY. BEFORE MS. SALVINI GOT HERE, I HAD
12   EXPLAINED TO YOU YOUR RIGHT TO WAIVE OR TO REVIEW
                                                                8    (THERE BEING NO OTHER QUESTIONS, THE DEPOSITION WAS
13   AND SIGN YOUR DEPOSITION.                                  9    CONCLUDED AT THE HOUR OF 11:10 A.M.)
14 BY THE WITNESS:
15         MM-HMM (AFFIRMATIVE RESPONSE).
16 BY MR. STRONG:
17         DO YOU RECALL THAT CONVERSATION?
18 BY THE WITNESS:
19         RIGHT.
20 BY MR. STRONG:
21         DURING THAT TIME, I HAD SAID THAT ONCE THE
22   COURT REPORTER FINISHES YOUR DEPOSITION TRANSCRIPT
23   ---
24 BY THE WITNESS:
25         MM-HMM (AFFIRMATIVE RESPONSE).


                                                                                             20 (Pages 74 to 77)

                                                                                                      c77b1608-3dad-41b3-b76e-97be2fcee833
             6:08-cv-03760-GRA              Date Filed 09/25/09   Entry Number 22-3   Page 53 of 94


Heather Ferguson                                                                      July 27, 2009
                                                       Page 78
1        IN THE UNITED STATES DISTRICT COURT
           DISTRICT OF SOUTH CAROLINA
2            C.A. NO. 6:08-CV-3760
3
4    UNITED STATES OF AMERICA,
5      PLAINTIFF,
6        VERSUS
7    JOHN HOWARD ALEXANDER,
8       DEFENDANT.
9
     I, JILL BISHOP EDWARDS, A NOTARY PUBLIC FOR THE
10 STATE OF SOUTH CAROLINA, DULY COMMISSIONED AND QUALIFIED
   AS SUCH, DO HEREBY CERTIFY THAT THE FOREGOING 75 PAGES
11 REPRESENT A TRUE AND ACCURATE TRANSCRIPT OF THE FOREGOING
   DEPOSITION OF HEATHER FERGUSON TAKEN BY ME ON THE 27TH
12 DAY OF JULY, 2009.
     THAT THE DEPONENT WAS DULY PLACED UNDER OATH AND
13 ADMONISHED TO SPEAK THE WHOLE TRUTH. THAT THE ORAL
   TESTIMONY WAS DULY TAKEN AND TRANSCRIBED AS TO THE
14 QUESTIONS PROPOUNDED AND THE ANSWERS GIVEN.
     THAT ALL OFFERED EXHIBITS, STIPULATIONS AND
15 OBJECTIONS, IF ANY, INVOLVED IN THIS CAUSE ARE DULY
   ATTACHED OR INCLUDED HEREIN.
16   IN WITNESS WHEREOF, I HAVE SET MY HAND AND OFFICIAL
   SEAL THIS 11TH DAY OF AUGUST, 2009.
17
18             ___________________________________
19             JILL BISHOP EDWARDS
20             NOTARY PUBLIC FOR SOUTH CAROLINA
21             MY COMMISSION EXPIRES: 7-10-2010
22
23 * THIS TRANSCRIPT MAY CONTAIN QUOTED MATERIAL. SUCH
24 MATERIAL IS REPRODUCED AS READ OR QUOTED BY THE
25 SPEAKER.

                                                       Page 79
1    UNITED STATES OF AMERICA,
2      PLAINTIFF,
3
        VERSUS
4
     JOHN HOWARD ALEXANDER,
5
       DEFENDANT.
 6
 7             ERRATA SHEET
 8   I, HEATHER FERGUSON, HAVE READ THE FOREGOING 77
 9   PAGES OF TESTIMONY GIVEN BY ME ON 7.27.09.
10   THIS TESTIMONY SHOULD BE CORRECTED AS FOLLOWS:
11   PAGE LINE CHANGE FROM       CHANGE TO      REASON
12
13
14
15
16   SUBJECT TO THE FOREGOING CORRECTIONS, MY TESTIMONY IS AS
17
18   CONTAINED IN THE DEPOSITION TRANSCRIPT.
19
20   THIS ____________ DAY OF ___________________, 2009
21
22
23   _________________________ ___________________________
24   DEPONENT SIGNATURE         NOTARY PUBLIC FOR S.C.
25                  MY COMMISSION EXPIRES:

                                                                                  21 (Pages 78 to 79)

                                                                                       c77b1608-3dad-41b3-b76e-97be2fcee833
   6:08-cv-03760-GRA          Date Filed 09/25/09        Entry Number 22-3      Page 54 of 94




                           UNITED STATES DISTRICT COURT FOR THE
                                DISTRICT OF SOUTH CAROLINA
                                    GREENVILLE DIVISION

     UNITED STATES OF AMERICA,                       )
                                                     )
                              Plaintiff,             )
                                                     )
                                                     )       Civil Case No. 6:08-cv-3760-GRA
     v.                                              )
                                                     )
                                                     )
     JOHN HOWARD ALEXANDER,                          )       ANSWER OF JOHN-HOWARD
     a/k/a HOWARD IRA SMALL,                         )       (“ALEX”) ALEXANDER, a/k/a
     individually and as TRUSTEE OF THE              )       HOWARD IRA SMALL and as
     ALEXANDER FAMILY TRUST                          )       THE TRUSTEE OF THE
                                                     )       ALEXANDER FAMILY TRUST
                                                     )       TO PLAINTIFF’S
                                                     )       INTERROGATORIES, SET ONE
                              Defendant.             )
                                                     )

PROPOUNDING PARTY:            Plaintiff, UNITED STATES OF AMERICA

RESPONDING PARTY:             Defendant, JOHN HOWARD ALEXANDER

SET NUMBER:                   ONE

        Plaintiff hereby initially responds pursuant to the Federal Rules of Civil Procedure to the
Interrogatories propounded by Plaintiff as follows.

                                 RESERVATION OF RIGHTS


   1. Responding to the Interrogatories, Defendant does not waive any objections which may
      be appropriate to (a) use by Defendant or any answer to these Interrogatories for any
      purpose or (b) the materiality of any of the Interrogatories to any issue in the case.

   2. Defendant specifically reserves all right to objections which may otherwise be available
      to him and further states that no response should be deemed as an admission of relevancy,
      materiality or admissibility into evidence (of any particular interrogatory or the response
      thereto). Defendant further reserves the right to alter or amend his answers to be more
      accurate if other information becomes available to him at a subsequent time.



                                                 1
6:08-cv-03760-GRA        Date Filed 09/25/09      Entry Number 22-3       Page 55 of 94




3. The answers herein are subject to the rights of Defendant to object and not be bound at
   any time to a demand for further response to these or other interrogatories or other
   discovery procedures.
                             GENERAL OBJECTIONS

1. Defendant objects to responding to any Interrogatory that seeks information which
   constitutes confidential attorney-client communications or which falls within the scope of
   the attorney work-product doctrine.

2. Defendant objects to responding to any Interrogatory that exceeds the scope and limits of
   discovery set forth in the Federal Rules of Civil Procedure.


                       ANSWERS TO INTERROGATORIES

 1. Identify the person answering these interrogatories and requests for production of
    documents.

     ANSWER: John Howard Alexander, with the assistance of his attorney, Bradley
     Bennett (and Jessica Salvini, Mr. Bennett’s law partner).

 2. Identify each individual likely to have discoverable information that you may use to
    support your claims or defenses.

     ANSWER:

     a. Defendant, John Howard Alexander


     b. Heather Alexander Ferguson
        Former Spouse of Defendant
        Address & Telephone Number Unknown
        864-967-3238 (Sister’s, Kelly’s, Telephone Number)

     c. Marc J. Winter
        Bankruptcy Attorney
        Taylor, Simonson & Winter
        144 North Indian Hill Blvd.
        Claremont, CA 91711
        (714) 625-4785

     Defendant reserves the right to supplement his response to this interrogatory.

 3. If you dispute the accuracy of the income tax assessments against you as set forth in
    paragraph 9 of the complaint, please state the facts and identify any documents in your
                                            2
6:08-cv-03760-GRA       Date Filed 09/25/09      Entry Number 22-3       Page 56 of 94




    possession or under your custody and control or in the possession or custody and
    control of anyone other than you to support your position.

    ANSWER:

    Defendant disputes the income tax assessments set forth in paragraph 9 of the
    Complaint. The basis of Defendant’s objection is that he did not have any employment
    or other source of revenue from 1990 through 1995. Further, Defendant filed for
    Bankruptcy on or about June 3, 1991. During those years, Defendant’s mother
    supported him financially. Defendant does not have any documents in his possession to
    support his claims herein. However, Defendant asserts his mother’s bank records from
    BB& T and her account at the South Carolina Telco Credit Union will support his claim
    that his mother financially supported him.

    Defendant reserves the right to supplement his response to this interrogatory.

 4. If you dispute the accuracy of the civil penalty assessments against you as set forth in
    paragraph 45 of the complaint, please state the facts and identify any documents in your
    possession or under your custody and control or in the possession or custody and
    control of anyone other than you to support your position.

    ANSWER:

    Defendant disputes the income tax assessments set forth in paragraph 45 of the
    Complaint. The basis of the Defendant’s objection is that he asserts there is no basis
    for the government to assess a civil penalty against Defendant. Defendant does not
    have any documents in his possession to support his objection. However, as stated
    herein above, Defendant’s mother’s bank records will support his claim that his mother
    supported him.

    Defendant reserves the right to supplement his response to this interrogatory.

 5. Identify all bank accounts, mutual funds, investment funds, and other financial and
    commercial accounts in which defendant has or has had an interest at any time since
    January 1, 2000. For each account, provide the financial institution’s name and address,
    the name on the account, and the account number.

    ANSWER:

    Defendant did not have any personal bank accounts (until on or about December 2008
    or January 2009), mutual funds, or investment funds.

    a. Bank Account: John Howard Alexander
                     Account Number Will Be Made Available
                                           3
6:08-cv-03760-GRA       Date Filed 09/25/09      Entry Number 22-3       Page 57 of 94




                        Bank of Travelers Rest
                        42 Plaza Drive
                        Greenville, SC

    b. Bank Account: John Howard Alexander
                     Freedom Trust Group
                     Account No. 10105030920

                        Bank of Travelers Rest
                        42 Plaza Drive
                        Travelers Rest, SC 29690

    c. Bank Account: John Howard Alexander
                     Aware Group
                     Account Number Unknown

                        Bank of Travelers Rest
                        42 Plaza Drive
                        Travelers Rest, SC 29690


    d. Bank Account: John Howard Alexander
                     Absolute Solutions
                     Account No. 105030920

                        Bank of Travelers Rest
                        42 Plaza Drive
                        Travelers Rest, SC 29690

    Defendant cannot recall having any other bank accounts; but states that if he did have
    an account or an interest in any accounts it would have been at the Bank of Travelers
    Rest in South Carolina. However, Defendant may have had signing authority on his
    former spouse’s (Heather Ferguson’s) bank account(s). Defendant does not recall the
    banking institutions in which Heather Ferguson maintained an account.

    Defendant reserves the right to supplement his response to this interrogatory.

 6. Identify, by name, taxpayer identification number (i.e. Social Security number or
    employer identification number), address, telephone number, and e-mail address all
    defendant’s customers who purchased tax-related products, including pure trusts, the
    “Reliance Defense” package, and the “Redemption” program from January 1, 2000 to
    December 31, 2005.



                                           4
6:08-cv-03760-GRA        Date Filed 09/25/09       Entry Number 22-3        Page 58 of 94




    ANSWER:

    Defendant does not have any information to be able to identify by name, identification
    number, address, telephone number and/or email address Defendant’s purported
    customers who purchased tax-related products: the “Reliance Defense” package, and/or
    the “Redemption” program from January 1, 2000. Defendant states that his former
    spouse, Heather Ferguson, maintained all records on her computer, which is not in
    Defendant’s possession.

 7. To the extent that you contend that persons whom you assisted in forming trusts are
    entitled to federal income tax benefits through the use of trusts, state the basis for your
    contention.

    ANSWER:

    Defendant’s position is that the value of a contract of trust is that an individual may be
    able to protect assets from identity theft through the use of trusts. There may or may
    not be federal tax consequences or benefits from the use of a contract of trust.
    Defendant has never represented that individuals who formed contract of trusts are
    entitled to federal income tax benefits through the use of a contract of trust. Rather,
    Defendant informed individuals he assisted they would have to consult a tax
    professional or their Certified Public Accountant regarding their tax issues and/or
    potential tax issues.

 8. Explain why you contend that the “Reliance Defense” letters you sold provided a basis
    for your customers’ exemption from taxation or a defense to criminal tax offenses.

    ANSWER:

    Defendant does not maintain nor can he disavow that the “Reliance Defense” letters
    formed a basis for his purported customer’s to be exempt from taxation or a defense to
    criminal tax offenses. Defendant provided his purported customers with information
    that appeared to have some basis of legitimacy.

 9. Explain in detail the “Redemption” program sold by defendant through the Aware
    Group or the Freedom Trust Group.

    ANSWER:

    Defendant states that the “Redemption” program was a program that for every
    individual born in the United States there are two identities for that person: the living
    breathing person and a “straw man” for that individual and how the United States assert
    jurisdiction over those two identities.

                                             5
6:08-cv-03760-GRA       Date Filed 09/25/09      Entry Number 22-3        Page 59 of 94




    Defendant reserves the right to supplement his response to this interrogatory.



 10. Explain in detail defendant’s contention that individuals earning U.S. source income are
     not required to file income tax returns to pay federal taxes.

    ANSWER:

    Defendant cannot respond to this interrogatory without a definition from the Plaintiff’s
    of the term “income” and the term “United States.”

 11. Identify all tax-related seminars in which defendant participated from January 1, 1997.

    ANSWER:

    Defendant states that he did not participate in any tax-related seminars. Defendant
    asserts that he participated in seminars, but those seminars were over all “freedom
    related” questions, issues and information sharing.

 12. Describe in detail the services and products Defendant provided to customers of the
     Aware Group, the Freedom Trust Group and International Business Systems.

    ANSWER:

    Defendant states that the International Business Systems did not provide any purported
    customers with any products. International Business Systems was a referral service.

    Defendant states the Aware Group had Freedom File CD’s that contained information
    that was motivational, had case law, trust information, land tax, Redemption, Reliance
    Letters, and other miscellaneous info. that was provided to individuals. Defendant also
    would review information or documents provided to Defendant by individuals.

    Defendant states the Freedom Trust Group provided a CD that had contract templates
    regarding establishing a contract of trust. No other “services” were provided.

 13. Identify all sources of income that defendant has had, including the amounts of income,
     at any time: a( between January 1, 1989 and December 31, 1994 and b) since January 1,
     2000.

    ANSWER:

    Defendant cannot respond to this interrogatory without the Plaintiff defining the term
    “income.”


                                           6
6:08-cv-03760-GRA        Date Filed 09/25/09      Entry Number 22-3         Page 60 of 94




 14. Identify any trust in which defendant has had an interest of fiduciary duty as trustee.
     Identify by name, taxpayer identification number (i.e. Social Security number or
     employer identification number), address, telephone number, and e-mail address all
     settlers, trustees, and beneficiaries of the trust. Identify the property of the trust.

    ANSWER:

    Defendant had an interest in or had a fiduciary duty in the following contract of trusts:

        a. Alexander Family Trust: Real Property identified in the Complaint.

        b. Associated Management Trust: No contract of trust property in existence;
           formed on or about 1994. Defendant is the Trustee for this contract of trust.

 15. Identify any real property in which defendant has had an interest or fiduciary duty as
     trustee. For each parcel of property, identify by count and state and provide a legal
     description and street address.

    ANSWER:

    Defendant states the only interest he has in any real property is the interest in the
    contract of trust of the Alexander Family Trust as Trustee.



                                 Respectfully Submitted this 26th day of June, 2009,

                                 s/John Howard Alexander
                                 John Howard Alexander




                                            7
    6:08-cv-03760-GRA               Date Filed 09/25/09     Entry Number 22-3             Page 61 of 94


                                                                                                           Page 1
Not Reported in F.Supp., 1993 WL 78311 (D.Minn.), 71 A.F.T.R.2d 93-989, 93-1 USTC P 50,087
(Cite as: 1993 WL 78311 (D.Minn.))




                                                           that the Noskes had not filed administrative claims,
                                                           which are a prerequisite to the district court's juris-
 United States District Court, D. Minnesota, Third         diction, and, for that reason, these lawsuits were
                     Division.                             dismissed. The IRS eventually found the claim
 James L. NOSKE and Joan M. Noske, Plaintiffs,             forms and admitted in a “Declaration ... Re: Newly
                         v.                                Discovered Evidence” that they had been timely
   UNITED STATES of America, Defendant.                    filed. In this declaration, although the government
                No. 3-92 CIV 169.                          admitted that it had found the Noskes' claim forms,
                                                           it still insisted that subject matter jurisdiction did
                   Jan. 14, 1993.
                                                           not exist because the Noskes' claim forms did not
                                                           specifically set forth the legal and factual basis for
                      ORDER                                their claims. Therefore, the government argued, the
                                                           original civil actions should not be reinstated, and
ALSOP, District Judge:                                     the Noskes should have to file new administrative
                                                           claims to properly invoke the district court's juris-
*1 This matter came before the Court on December
                                                           diction.
11, 1992, on the plaintiffs' Motion for Injunctive
Relief pursuant to 26 U.S.C. § 6703(c)(1).                 Joan Noske paid an additional $850 to the IRS and
                                                           James Noske paid an additional $2850 to the IRS,
                I. BACKGROUND                              and, on January 15, 1986, they each filed a second
                                                           administrative claim. The IRS did not respond to
On December 16, 1985, the Internal Revenue Ser-            these claims, and the Noskes filed civil refund ac-
vice (the “IRS”) sent to each of the plaintiffs, James     tions in district court on June 10, 1987. See Joan
and Joan Noske (the “Noskes”), a notice assessing a        M. Noske v. United States [88-2 USTC ¶ 9582], No.
$186,000 penalty under 26 U.S.C. § 6700 “for pro-          6-87-399 (D.Minn.) and James L. Noske v. United
moting an abusive tax shelter.” This section of the        States [88-2 USTC ¶ 9582], No. 6-87-400
Internal Revenue Code provides, in relevant part,          (D.Minn.) (collectively referred to as “the refund
that any person promoting abusive tax shelters             actions”).
“shall pay a penalty equal to the greater of $1000 or
20 percent of the gross income derived or to be de-        To invoke the jurisdiction of the district court in a
rived by such person from such activity.” 26 U.S.C.        refund action, a person that has been assessed a tax
§ 6700. The $186,000 assessments were calculated           penalty normally must first pay the full amount of
by multiplying 186 trust transactions by $1000.            the assessment. However, because the Noskes' as-
This method of calculating a penalty is commonly           sessments      had     been      calculated   on    a
referred to as a “transactional” or “per sale” assess-     “per-transaction” basis, they were able to invoke
ment.                                                      the jurisdiction of the district court by each paying
                                                           the assessment for one transaction.
The Noskes contested these assessments by paying
$150 each and filing administrative claims. After          In their refund actions, the Noskes challenged the
the IRS failed to respond to these administrative          assessed penalties and sought a refund of the sums
claims, the Noskes filed civil actions in federal          they paid to the IRS. In response, the government
court, challenging the assessments and seeking a re-       admitted that the Noskes had properly invoked the
fund of the sums they had paid. The IRS argued             jurisdiction of the district court and counterclaimed
                                                           against each of the Noskes for the balance of the as-




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    6:08-cv-03760-GRA              Date Filed 09/25/09      Entry Number 22-3             Page 62 of 94
                                                                                                          Page 2
Not Reported in F.Supp., 1993 WL 78311 (D.Minn.), 71 A.F.T.R.2d 93-989, 93-1 USTC P 50,087
(Cite as: 1993 WL 78311 (D.Minn.))




sessments.                                                 in the refund actions pending disposition of a crim-
                                                           inal investigation and (2) granted the government a
*2 On May 15, 1989, while the Noskes' refund ac-           protective order that stayed all discovery in the re-
tions were pending in district court, the Eighth Cir-                    FN1
                                                           fund actions.      On March 11, the refund actions
cuit held that a section 6700 penalty must be as-          were transferred to the undersigned United States
sessed on the basis of the greater of $1000 or 20%         District Judge.
of the tax shelter income and that a $1000 penalty
may not be assessed on a transactional or “per sale”       On March 16, 1992, the Noskes began this lawsuit
basis. See Gates v. United States [89-1 USTC ¶             (“the injunction action”) by filing a “Complaint for
9328], 874 F.2d 584, 586-87 (8th Cir.1989).                Injunctive Relief.” In this action, the Noskes ask
                                                           this Court for injunctive relief against the IRS' col-
On June 22, 1989, the IRS notified the Noskes that,        lection activities on the section 6700 penalties.
in light of Gates, it would recalculate their penalties
using the percentage-of-gross-income method.               The Noskes brought a motion in the refund actions
                                                           on May 29, 1992, to vacate the ex parte order and
On August 29, 1989, the district court, sua sponte,        lift the stay. On July 28, 1992, this Court issued an
dismissed the Noskes' refund actions for lack of           order in the refund actions that kept the stay in
subject matter jurisdiction. Because Gates held that       place on the condition that the government refrain
section 6700 penalties are not divisible into separ-       from any collection activities against the Noskes
ate transactions, the court reasoned that the Noskes       with respect to the section 6700 penalties. The or-
were each required to pay the full assessment              der also granted the Noskes permission to renew
($186,000) to properly invoke the district court's         their motion to lift the stay in six months.
jurisdiction. The Noskes had not paid the full as-
sessments, and, therefore, the court dismissed the         The government brought a motion on May 29,
refund actions for lack of subject matter jurisdic-        1992, to dismiss the Noskes' injunction action for
tion.                                                      lack of subject matter jurisdiction. The Court issued
                                                           an order on July 28, 1992, denying that motion. In
The Noskes appealed this order of dismissal, and           large part, this order resulted from the government's
the Eighth Circuit reversed. See Noske v. United           untenable argument that it should be allowed to
States [90-2 USTC ¶ 50,449], 911 F.2d 133, 137             proceed with collection activities on the section
(8th Cir.1990). Specifically, the Eighth Circuit held      6700 penalties while the Noskes' refund actions
that “the Gates non-divisibility holding should not        should remain stayed.
be applied retroactively to divest the district court
of subject matter jurisdiction.” Id. at 136. The No-       *3 On December 11, 1992, the Noskes brought
skes' refund actions were reinstated in the district       their present motion for injunctive relief from the
court.                                                     government's collection activities. The Noskes ask
                                                           this Court for an order requiring the government to
On November 6, 1989, the IRS notified the Noskes           remove tax lien notices that have been filed against
that their penalties had been recalculated under the             FN2
                                                           them.
“percentage-of-gross-income” method authorized
by Gates. The Noskes were each assessed the addi-
tional amount of $304,174, for a total assessment of                          II. ANALYSIS
$490,174 each.
                                                           The Noskes seek relief under 26 U.S.C. §
On February 27, 1992, the government obtained an           6703(c)(1). This section of the Internal Revenue
ex parte order that (1) stayed the civil proceedings       Code allows a person assessed a penalty under sec-
                                                           tion 6700 to stay certain types of government col-




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    6:08-cv-03760-GRA              Date Filed 09/25/09      Entry Number 22-3             Page 63 of 94
                                                                                                           Page 3
Not Reported in F.Supp., 1993 WL 78311 (D.Minn.), 71 A.F.T.R.2d 93-989, 93-1 USTC P 50,087
(Cite as: 1993 WL 78311 (D.Minn.))




lection activity by paying fifteen percent of the as-      USTC ¶ 9263], 755 F.2d 728, 729 (9th Cir.1985).
sessed penalty and filing an administrative claim.         In relevant part, section 6703(c) reads as follows:
The government argues that the Noskes are not en-
titled to protection under section 6703(c)(1) be-          (c) Extension of period of collection where per-
cause they did not pay the requisite fifteen percent         son pays 15 percent of penalty.
of their $186,000 penalties before filing their ad-
                     FN3                                     (1) In general. If, within 30 days after the day on
ministrative claim.       The Noskes admit that they
                                                             which notice and demand of any penalty under
have not paid fifteen percent of that amount, but
                                                             section 6700 ... is made against any person, such
they argue that the Eighth Circuit, in Noske v.
                                                             person pays an amount which is not less than 15
United States [90-2 USTC ¶ 50,449], 911 F.2d 133
                                                             percent of the amount of such penalty and files a
(8th Cir.1990), held that they had nonetheless prop-
                                                             claim for refund of the amount so paid, no levy or
erly invoked the jurisdiction of the district court un-
                                                             proceeding in court for the collection of the re-
der section 6703(c). To properly resolve this mo-
                                                             mainder of such penalty shall be made, begun, or
tion, it is first necessary to step back and examine
                                                             prosecuted until the final resolution of a proceed-
the law applicable to both the Noskes' refund ac-
                                                             ing begun as provided in paragraph (2). Notwith-
tions and this injunction action.
                                                             standing the provisions of [the Anti-Injunction
Federal district courts are granted subject matter           Act], the beginning of such proceeding or levy
jurisdiction for tax penalty refund actions by 28            during the time such prohibition is in force may
U.S.C. § 1346(a)(1), which provides that “[t]he dis-         be enjoined by a proceeding in the proper court....
trict courts shall have original jurisdiction ... of
                                                             *4 (2) Person must bring suit in district court
[a]ny civil action against the United States for the
                                                             to determine his liability for penalty. If, within
recovery of any internal-revenue tax alleged to have
                                                             20 days after the day on which his claim for re-
been erroneously or illegally assessed or collected,
                                                             fund of any partial payment of any penalty under
or any penalty claimed to have been collected
                                                             section 6700 ... is denied (or, if earlier, within 30
without authority.” To invoke a district court's jur-
                                                             days after the expiration of 6 months after the day
isdiction under this statute, a plaintiff is normally
                                                             on which he filed the claim for refund), the per-
required to pay the full amount of the tax or penalty
                                                             son fails to begin a proceeding in the appropriate
before filing a refund action (the “full payment
                                                             United States district court for the determination
rule”). See Flora v. United States [58-2 USTC ¶
                                                             of his liability for such penalty, paragraph (1)
9606], 357 U.S. 63, 75 (1958), aff'd on reh'g [ 60-1
                                                             shall cease to apply with respect to such penalty,
USTC ¶ 9347], 362 U.S. 145 (1960). However, a
                                                             effective on the day following the close of the ap-
judicially-created exception to this rule exists when
                                                             plicable 30-day period referred to in this para-
a plaintiff is challenging a “divisible” assessment.
                                                             graph.
In that circumstance, the plaintiff may invoke the
district court's jurisdiction by paying one of the di-     Id. To summarize, a person assessed penalties un-
visible assessments (the “divisible penalty excep-         der section 6700 may stay “any levy or proceeding
tion”). Flora [60-1 USTC ¶ 9347], 362 U.S. at 171          in court for collection” by paying fifteen percent of
n. 37, 175 n. 38.                                          the penalty and filing an administrative claim for a
                                                           refund. 26 U.S.C. § 6703(c)(1). If this claim is
Section 6703(c) of the Internal Revenue Code
                                                           denied, the claimant must bring a civil action in dis-
provides a statutory exception to the full payment
                                                           trict court within twenty days, or the stay will be
rule and establishes special procedures that are
                                                           lifted. 26 U.S.C. § 6703(c)(2). If the IRS does not
available to individuals assessed penalties under 26
                                                           respond to the claim within six months, the stay
U.S.C. § 6700. See Thomas v. United States [85-1
                                                           will be lifted unless the claimant files a civil action




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    6:08-cv-03760-GRA               Date Filed 09/25/09      Entry Number 22-3             Page 64 of 94
                                                                                                           Page 4
Not Reported in F.Supp., 1993 WL 78311 (D.Minn.), 71 A.F.T.R.2d 93-989, 93-1 USTC P 50,087
(Cite as: 1993 WL 78311 (D.Minn.))




in district court within thirty days. Id.                   *5 Although the applicability of section 6703(c) to
                                                            the Noskes' refund actions was not before the
In 1985, when the Noskes were first assessed penal-         Eighth Circuit in Noske, it was discussed in dictum.
ties under section 6700, the IRS calculated these as-       The court first rejected the Noskes' argument that
sessments on a transactional basis. The Noskes'             they could establish jurisdiction under section
penalties were, therefore, “divisible” for purposes         6703(c)(2) upon payment of any amount, even if it
of the divisible penalty exception. Accordingly, the        was less than fifteen percent of the assessed pen-
Noskes could have invoked the jurisdiction of the           alty. Noske [90-2 USTC ¶ 50,449], 911 F.2d at 136.
                                        FN4
district court in two different ways.        The No-        The court then inserted a footnote that both the No-
skes could have each paid fifteen percent of their          skes and the government cite in support of their po-
respective $186,000 penalties and invoked the spe-          sitions in the present motion. This footnote reads as
cial protection of section 6703(c)(1), or they could        follows:
have each paid one of the divisible assessments and
invoked the district court's jurisdiction through the         After Gates ..., taxpayers like the Noskes who
divisible penalty exception.                                  have been assessed a § 6700 penalty must pay
                                                              15% of the full amount of the penalty assessed
The Noskes elected to proceed under the divisible             before they can stop collection proceedings, file
                     FN5
penalty exception.          In 1989, however, the             an administrative claim and file a refund suit. In
Eighth Circuit held that section 6700 penalties are           the present case neither Joan M. Noske nor James
not divisible and should not be assessed on a                 L. Noske has paid either 15% of the initial pen-
“per-transaction” basis. See Gates v. United States           alty assessment (15% of $186,000 = $27,900) or
[89-1 USTC ¶ 9328], 874 F.2d 584, 586 (8th                    the reassessment (15% of $490,174 =
            FN6
Cir.1989).        This meant that the divisible pen-          $73,526.10) necessary to invoke jurisdiction un-
alty exception could not be used to invoke the juris-         der this exception.
diction of the district court for a refund action chal-
lenging a section 6700 penalty. The district court          Id. at 136 n. 2. On the basis of this footnote, the
subsequently dismissed the Noskes' refund actions           Noskes argue that the Eighth Circuit held that they
for lack of subject matter jurisdiction because they        had properly invoked the district court's jurisdiction
had relied on the divisible penalty exception to in-        under section 6703(c). The Noskes focus on the
voke the court's jurisdiction.                              first sentence in the footnote and argue that the
                                                            phrase “[a]fter Gates” implies that, because their
When the Eighth Circuit reversed the district court's       refund actions were filed before Gates, they do not
dismissal of the Noskes' refund actions, it decided a       have to pay fifteen percent of their assessed penal-
narrow question of law. The Eighth Circuit noted            ties to invoke section 6703(c)(1) protection. The
that the Gates court had “not applied its non-              government focuses on the second sentence in the
divisibility ruling to divest the district court of sub-    footnote and argues that the Eighth Circuit ex-
ject matter jurisdiction,” and it declined to do so         pressly found that the Noskes did not meet the stat-
with regard to the Noskes. Noske v. United States           utory requirements of section 6703(c)(1).
[90-2 USTC ¶ 50,449], 911 F.2d 133, 137 (8th
Cir.1990). In other words, if a plaintiff originally        Although this footnote is somewhat confusing, the
invokes the jurisdiction of the district court under        two apparently contradictory sentences can be re-
the divisible penalty exception, that plaintiff's law-      conciled if they are read in the context of the pro-
suit will not be dismissed when it is later estab-          cedural history of the Noskes' refund actions. As
lished that the penalty he or she was assessed is not       the Court has previously explained, when the No-
divisible.                                                  skes began their refund actions, they had the option
                                                            of either paying fifteen percent of the penalty and




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    6:08-cv-03760-GRA              Date Filed 09/25/09      Entry Number 22-3             Page 65 of 94
                                                                                                          Page 5
Not Reported in F.Supp., 1993 WL 78311 (D.Minn.), 71 A.F.T.R.2d 93-989, 93-1 USTC P 50,087
(Cite as: 1993 WL 78311 (D.Minn.))




proceeding under section 6703(c) or paying a divis-        annotation of the Eighth Circuit's Noske decision
ible penalty and invoking the jurisdiction of the dis-     provided by West Publishing Company in the
trict court through the divisible penalty exception.       United States Code Annotated supports their posi-
In the first sentence of the footnote, the court           tion. Although annotations are intended only as leg-
simply recognized that, after Gates, the second op-        al research aids and are in no way authoritative, the
tion is no longer viable because section 6700 penal-       Court recognizes that, in this case, the annotation
ties are not divisible. In the second sentence, the        may have caused some confusion and, therefore,
court noted that the Noskes had not met the require-       the Court will address the Noskes' argument. The
ments of section 6703(c). Therefore, the Noskes' re-       annotation reads as follows:
fund actions would have been properly dismissed,
but for the Eighth Circuit's decision that Gates           Ruling that penalty for promoting abusive tax shel-
should not be applied retroactively to divest district      ters was nondivisible could not be applied retro-
courts of subject matter jurisdiction. This Court           actively to divest district court of subject matter
concludes that the Eighth Circuit did not hold that         jurisdiction in action for tax refund, on grounds
the Noskes had invoked the jurisdiction of the dis-         that taxpayer had not paid 15% of total penalty
trict court under section 6703(c).                          assessed.

In their supporting memoranda, the Noskes argue            The wording of the annotation can be reconciled
that the government should be foreclosed from ar-          with that case's procedural history. If the Gates rul-
guing that the Noskes have not met the require-            ing had been retroactively applied, the district court
ments of section 6703(c) because it previously ad-         would not have had jurisdiction because the Noskes
mitted in the refund actions that they had properly        had not paid fifteen percent of the penalty to meet
invoked the jurisdiction of the district court. This       the jurisdictional requirements of section 6703(c).
argument fails to recognize that an individual con-        The annotation is misleading, however, because it
testing a tax penalty can invoke the jurisdiction of       is included in the annotations for section 6703 un-
the district court in several different ways. The in-      der the subheading of “jurisdiction.” As the Court
dividual could pay the full penalty and satisfy the        previously stated, the Eighth Circuit's Noske opin-
full payment rule. If the penalty is assessed under        ion can not be read for the proposition that the No-
section 6700, he or she could also pay fifteen per-        skes properly invoked jurisdiction under section
cent of the penalty and utilize the exception created      6703(c).
in section 6703(c). If the penalty is divisible, he or
                                                           Because the Noskes have not met the statutory re-
she could pay one divisible assessment and utilize
                                                           quirements for section 6703(c) protection, their mo-
the divisible penalty exception. The government
                                                           tion for injunctive relief under that section must be
previously admitted that the Noskes properly in-
                                                           denied. It is therefore unnecessary for this Court to
voked the jurisdiction of the district court through
                                                           reach the government's argument that the bar on
the divisible penalty exception. It did not admit,
                                                           collection activities under section 6703(c)(1) does
and has not admitted, that the Noskes fulfilled the
                                                           not apply to filing lien notices.
requirements of section 6703(c). If the Noskes had
actually invoked the district court's jurisdiction un-     Furthermore, because this injunction suit was
der section 6703(c) for their refund actions, this         brought under section 6703(c)(1) and the Court has
separate “injunction action” would be unnecessary          found that the Noskes have not met that section's
because the Noskes could simply move this Court            statutory requirements, the Court concludes that it
for injunctive relief in their refund actions.             does not have subject matter jurisdiction over this
                                                           action. The Federal Rules of Civil Procedure state
*6 At oral argument, the Noskes also argued that an
                                                           that “[w]henever it appears ... that the court lacks




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    6:08-cv-03760-GRA             Date Filed 09/25/09      Entry Number 22-3             Page 66 of 94
                                                                                                          Page 6
Not Reported in F.Supp., 1993 WL 78311 (D.Minn.), 71 A.F.T.R.2d 93-989, 93-1 USTC P 50,087
(Cite as: 1993 WL 78311 (D.Minn.))




jurisdiction of the subject matter, the court shall               FN3. Although the government made this
dismiss the action.” Fed.R.Civ.P. 12(h)(3). Dis-                  same argument in its previous motion to
missal of this action is therefore appropriate, al-               dismiss, it only utilized a single paragraph
though in no way does it effect the stay on collec-               in its supporting memorandum to develop
tion proceedings ordered in the Noskes' refund ac-                the argument. This inadequate presenta-
tions.                                                            tion, along with the government's unten-
                                                                  able position, resulted in the denial of the
Accordingly, based upon a review of all the files,                previous motion.
records, and proceedings herein,
                                                                  FN4. The Court assumes that a third op-
IT IS HEREBY ORDERED That:                                        tion, paying the entire penalty to satisfy the
                                                                  full payment rule, was not a feasible al-
1. The plaintiffs' Motion for Injunctive Relief is
                                                                  ternative for the Noskes.
DENIED.
                                                                  FN5. See Theodore D. Peyser, Is Full Pay-
2. This action is DISMISSED for lack of subject
                                                                  ment Always Required Before Filing a Re-
matter jurisdiction.
                                                                  fund Suit? 74 J. Tax'n 162 (1991)
        FN1. In its memorandum, the government                    (discussing Noske v. United States) (“The
        refers to the district court's action as “sua             taxpayers declined to follow the Section
        sponte.” This characterization is a misrep-               6703 rules permitting payment of 15% fol-
        resentation of what actually occurred. The                lowed by the filing of a refund claim and
        court's February 27, 1992 order makes it                  the institution of a suit in district court. In-
        clear that the order was issued upon the                  stead, one taxpayer paid $1,000 and the
        government's motion.                                      other $3,000, after which they filed claims
                                                                  and then sued for refunds.”).
        FN2. The Court feels compelled to com-
        ment on the government's conduct with re-                   The Noskes originally attempted to in-
        gard to the briefing schedule for this mo-                  voke section 6703(c) protection by pay-
        tion. After receiving the Noskes' reply                     ing $150 and arguing that the maximum
        memorandum, the government filed a mo-                      amount they could be penalized under
        tion for leave to file a supplemental                       section 6700 was $1000, rather than
        memorandum, claiming that the Noskes                        $1000 per transaction (15% of $1000 =
        had raised “new points” in their reply                      $150). As previously explained, the No-
        memorandum. Rather than submitting its                      skes' first refund suits were dismissed
        proposed supplemental memorandum un-                        when the government argued that admin-
        der separate cover or in a separate envel-                  istrative claims had not been filed.
        ope, the government stapled the memor-
                                                                    Before the Noskes filed the refund ac-
        andum to its moving papers. The Court
                                                                    tions currently pending, Joan Noske paid
        views this procedure as inappropriate. The
                                                                    an additional $850, James Noske paid an
        Court denied the government's motion for
                                                                    additional $2,850, and they each filed a
        leave to file a supplemental memorandum,
                                                                    second administrative claim. In para-
        and, therefore, the arguments put forth in
                                                                    graph IX of the complaints in the No-
        the proposed supplemental memorandum
                                                                    skes' civil refund actions, the Noskes
        have not been read or considered in the
                                                                    state that “[t]o come within this Court's
        resolution of this motion.
                                                                    jurisdiction a second time, what is called




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   6:08-cv-03760-GRA            Date Filed 09/25/09       Entry Number 22-3          Page 67 of 94
                                                                                                Page 7
Not Reported in F.Supp., 1993 WL 78311 (D.Minn.), 71 A.F.T.R.2d 93-989, 93-1 USTC P 50,087
(Cite as: 1993 WL 78311 (D.Minn.))




          the ‘Pay and Sue Rule’ controlled.”
          Therefore, the Noskes “had to pay full
          penalties of $1000 rather than 15% of
          this amount.”

          The record before the Court does not ex-
          plain why James Noske paid $3000
          rather than the $1000 paid by Joan No-
          ske. The government admitted, however,
          that the Noskes properly invoked the jur-
          isdiction of the district court by paying
          divisible portions of the penalties.

        FN6. After Gates was decided, Congress
        amended section 6700 to make it clear that
        penalties under this section could be as-
        sessed on a “per transaction” basis. The
        precedential value of Gates is, therefore,
        quite limited.

D.Minn.,1993.
Noske v. U.S.
Not Reported in F.Supp., 1993 WL 78311
(D.Minn.), 71 A.F.T.R.2d 93-989, 93-1 USTC P
50,087

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    6:08-cv-03760-GRA            Date Filed 09/25/09       Entry Number 22-3             Page 68 of 94


                                                                                                      Page 1
Not Reported in F.Supp.2d, 2004 WL 1089116 (M.D.Fla.), 93 A.F.T.R.2d 2004-1926, 17 Fla. L. Weekly Fed. D 759
(Cite as: 2004 WL 1089116 (M.D.Fla.))




                                                          (Doc. 29). The injunction prohibits the Defendants
                                                          from engaging in certain conduct violative of 26
            United States District Court,                 USC §§ 6700 and 6701 of the Internal Revenue
                    M.D. Florida.                         Code and further requires the performance of spe-
    UNITED STATES OF AMERICA, Plaintiff,                  cific affirmative acts. A hearing on the matter was
                          v.                              held on February 24, 2004, which all Parties atten-
  Eddie Ray KAHN, a/k/a Eddie Ray, a/k/a Eddie            ded except for Defendant Bryan Malatesta. Accord-
 Ray: House of Kahn; Milton Hargraves Baxley II;          ingly, upon due consideration, the Government's
   Bryan Malatesta; Kathleen Kahn, a/k/a Kookie           motion for a show cause order (Doc. 47) is due to
Kahn; David Stephen Lokietz, a/k/a David Stephen,         be granted. The Defendants shall have ten (10) days
 a/k/a David-Stephen: House of Lokietz; American          in which to respond to this Order, and the Govern-
 Rights Litigators, a purported trust; Guiding Light      ment another ten (10) days to reply, after which the
  of God Ministries, a purported corporation sole;        Court will enter an appropriate ruling.
and Eddie Kahn and Associates, a purported limited
         liability corporation. Defendants.
           No. 5:03CV-436-OC-10GRJ.                                      Background and Facts

                 March 30, 2004.                          The Court has previously found that the Defend-
                                                          ants, through the business entities American Rights
Anne Norris Graham, Evan J. Davis, U.S. Depart-           Litigators (“ARL”), Guiding Light of God Minis-
ment of Justice, Tax Division, Washington, DC, for        tries (“GLGM”), and Eddie Kahn & Associates and
Plaintiff.                                                through various websites, organize and sell several
                                                          “abusive tax schemes” designed to obstruct or frus-
Eddie Ray Kahn, Sorrento, FL, pro se.                     trate the Internal Revenue Service in carrying out
                                                          its duty to enforce the internal revenue laws. These
Milton Hargraves Baxley, II, Gainesville, FL, pro
                                                          abusive tax schemes include such outlandish mach-
se.
                                                          inations as: (1) counterfeit checks and bonds pur-
Bryan Malatesta, Cleburne, TX, pro se.                    porting to draw on fictitious accounts held by the
                                                          Treasury in the customer's name; (2) false UCC fin-
Kathleen Kahn, Sorrento, FL, pro se.                      ancing statements and related documents purporting
                                                          to create a security interest in favor of the customer
David Stephen Lokietz, Mount Dora, FL, pro se.            in the customer's own name, birth certificate, prop-
                                                          erty, and even in the customer's own person; (3)
                                                          corporations sole used to shelter assets and income
 FINDINGS OF FACTS AND ORDER TO SHOW                      from creditors and the IRS; and (4) “Individual
                CAUSE                                     Master File” or “Business Master File” decoder
                                                          packages (“IMF/BMF decoder”) purporting to
HODGES, J.                                                “decode” and “correct” IRS records to reflect that
                                                          the customer is not subject to taxation. Further, the
*1 This case is before the Court for consideration
                                                          Defendants interfere with the administration of the
of the Government's motion for an order to show
                                                          internal revenue laws by frivolous and harassing
cause (Doc. 47) and to adjudicate each of the De-
                                                          letters to the IRS or third parties, false and frivol-
fendants in civil contempt (Doc. 46) for their fail-
                                                          ous complaints to the Treasury Inspector General
ure to comply with this Court's injunctive order
                                                          for Tax Administration (“TIGTA”), burdensome




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    6:08-cv-03760-GRA              Date Filed 09/25/09      Entry Number 22-3           Page 69 of 94
                                                                                                      Page 2
Not Reported in F.Supp.2d, 2004 WL 1089116 (M.D.Fla.), 93 A.F.T.R.2d 2004-1926, 17 Fla. L. Weekly Fed. D 759
(Cite as: 2004 WL 1089116 (M.D.Fla.))




Freedom of Information Act (“FOIA”) and Privacy                      3. Selling or organizing any business ar-
Act requests, assisting customers in hiding assets in                rangement, including corporations sole,
corporations sole, advising customers to obstruct                    that encourages noncompliance with the
IRS examinations and collections efforts, and ad-                    income tax laws, misrepresents the tax
vising customers not to file federal tax returns or                  savings realized by using the arrange-
pay federal taxes.                                                   ment, or conceals the receipt of income;
                                                                     or selling any purported draft check,
The Court concluded that a preliminary injunction                    bond or other similar instrument to be
was warranted and, pursuant to 26 USC §§ 7408                        used by the purchaser to pay federal
and 7402(a), enjoined the Defendants from enga-                      taxes;
                                         FN1
ging in the activities described above.       The
Court also directed the Defendants to take two af-                   4. Preparing or assisting in the prepara-
firmative actions: (1) produce to the Government                     tion of complaints to the TIGTA;
“any records in their possession or to which they
have access identifying by name, Social Security                     5. Preparing or assisting in the prepara-
numbers, and address the members of ARL/GLGM                         tion of FOIA and Privacy Act requests
and the persons who have purchased Defendants'                       on behalf of any other person or entity;
abusive tax shelters, plans, arrangements or pro-
                                                                     6. Representing any other person or en-
grams”; and (2) “prominently and conspicuously
                                                                     tity before the IRS;
display on the first page of any internet website
maintained by them a complete copy of this prelim-                   7. Preparing or assisting in the prepara-
inary injunction.”                                                   tion of documents purporting to
                                                                     “decode” IRS files;
        FN1. Specifically, the injunctive order
        (Doc. 29) reads:                                             8. Falsely advising anyone that they are
                                                                     not require to file federal tax returns or
           The Court ORDERS and DECREES pur-
                                                                     pay federal taxes; and
           suant to 26 USC § 7408 that each of the
           Defendants, their agents, servants, em-                   9. Engaging in other similar conduct that
           ployees, attorneys, and those persons in                  substantially interferes with the adminis-
           active concert or participation with them                 tration and enforcement of the internal
           who receive actual notice of this Order                   revenue laws.
           by personal service or otherwise are
           hereby preliminarily enjoined, directly                   The Court further ORDERS pursuant to
           or indirectly from:                                       I.R.C. § 7402(a) that Defendants pro-
                                                                     duce to the United States any records in
           1. Preparing or assisting in the prepara-                 their possession or to which they have
           tion of correspondence to the IRS on be-                  access identifying by name, Social Se-
           half of any other person or entity;                       curity numbers, and address the mem-
                                                                     bers of ARL/GLGM and the persons
           2. Preparing or assisting in the prepara-
                                                                     who have purchased Defendants' abusive
           tion of UCC forms purporting to give the
                                                                     tax shelters, plans, arrangements or pro-
           customer a security interest in his or her-
                                                                     grams. The individual Defendants must
           self, own name, own birth certificate, or
                                                                     each file a sworn certificate of compli-
           own property;
                                                                     ance stating that he or she has complied
                                                                     with this portion of the Order, within




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    6:08-cv-03760-GRA              Date Filed 09/25/09      Entry Number 22-3             Page 70 of 94
                                                                                                      Page 3
Not Reported in F.Supp.2d, 2004 WL 1089116 (M.D.Fla.), 93 A.F.T.R.2d 2004-1926, 17 Fla. L. Weekly Fed. D 759
(Cite as: 2004 WL 1089116 (M.D.Fla.))




           twenty (20) days of the date of this Or-                 F.3d 1277, 1296 (11th Cir.2002); Mc-
           der.                                                     Gregor v. Chierico, 206 F.3d 1378, 1383
                                                                    (11th Cir.2000); Commodity Futures Trad-
           The Court further ORDERS pursuant to                     ing Comm'n v. Wellington Precious
           26 USC § 7402(a) that Defendants                         Metals, Inc., 950 F.2d 1525, 1529 (11th
           jointly and/or individually, and their rep-              Cir.1992); Jordan v. Wilson, 851 F.2d
           resentatives, agents, servants, employ-                  1290, 1292 n. 2 (11th Cir.1988).
           ees, attorneys and those persons in active
           concert or participation with them,                      FN4. Howard Johnson Co. v. Khimani, 892
           prominently and conspicuously display                    F.2d 1512, 1516 (11th Cir.1990) (internal
           on the first page of any internet website                quotations omitted).
           maintained by them a complete copy of
           this preliminary injunction. The indi-                   FN5. Wellington Precious Metals, Inc.,
           vidual Defendants must each file a                       950 F.2d at 1529; United States v. Haves,
           sworn certificate of compliance stating                  722 F.2d 723, 725 (11th Cir.1984).
           that he or she has complied with this
                                                                    FN6. In re Lawrence, 279 F.3d 1294, 1300
           portion of the Order, within twenty (20)
                                                                    (11th Cir.2002); Pesaplastic, C.A. v. Cin-
           days of the date of this Order.
                                                                    cinnati Milacron Co., 799 F.2d 1510. 1521
             Civil Contempt Standard                                (11th Cir.1986).

*2 District courts possess the inherent power to en-       The focus of the court's inquiry regarding civil con-
force compliance with their lawful injunctive orders       tempt is whether the alleged contemnors complied
                         FN2                               with the order at issue, and not the subjective belief
through civil contempt.        The party seeking a
contempt order has the initial burden of proving by        or intent of the contemnors in complying with the
                                                                  FN7
clear and convincing evidence that the alleged con-        order.        However, conduct that evidences
temnors have failed to comply with an unambigu-            “substantial, but not complete, compliance with the
                                     FN3                   court order may be excused if it was made as part
ous and lawful order of the court.         Once the                                                FN8
moving party presents a prima facie case by clear          of a good faith effort at compliance.”        In mak-
and convincing evidence, the burden shifts to the          ing this determination, the order is subject to reas-
alleged contemnors “to show a present inability to         onable interpretation and may not be expanded bey-
                                                                                         FN9
comply that goes beyond a mere assertion of inabil-        ond the meaning of its terms.
     FN4
ity”       and establish that they have “made in
                                                                    FN7. McComb v. Jacksonville Paper Co.,
good faith all reasonable efforts to meet the terms
                     FN5                                            336 U.S. 187, 191, 69 S.Ct. 497, 93 L.Ed.
of the court order.”     While the inability to com-
                                                                    599 (1949) (“The absence of wilfulness
ply is a defense to a contempt action, it is unavail-
                                                                    does not relieve civil contempt.... Since the
able where the inability to comply was self-im-
        FN6                                                         purpose is remedial, it matters not with
posed.
                                                                    what intent the defendant did the prohib-
        FN2. Gunn v. Univ. Comm. to End War in                      ited act.”); Khimani, 892 F.2d at 1516.
        Vietnam, 399 U.S. 383, 389, 90 S.Ct. 2013,
                                                                    FN8. Khimani, 892 F.2d at 1516.
        26 L.Ed.2d 684 (1970); Shillitani v. United
        States, 384 U.S. 364, 370, 86 S.Ct. 1531,                   FN9. Id.
        16 L.Ed.2d 622 (1966).
                                                           District courts are afforded wide discretion in fash-
        FN3. Riccard v. Prudential Ins. Co., 307                                               FN10
                                                           ioning a remedy for civil contempt.        However,




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    6:08-cv-03760-GRA              Date Filed 09/25/09      Entry Number 22-3               Page 71 of 94
                                                                                                      Page 4
Not Reported in F.Supp.2d, 2004 WL 1089116 (M.D.Fla.), 93 A.F.T.R.2d 2004-1926, 17 Fla. L. Weekly Fed. D 759
(Cite as: 2004 WL 1089116 (M.D.Fla.))




this discretion is not unfettered, as sanctions cannot          www.eddiekahnoverseer.org,
be any greater than necessary to ensure                         www.taxtruthnews.com, and www.cpe4me.com;
             FN11                                               FN15
compliance.         In fashioning a remedy, the Court
must consider “the character and magnitude of the
harm threatened by continued contumacy, and the
                                                                      FN15. Throughout this Order, reference to
probable effectiveness of any suggested sanction in
                                       FN12                           www.cpe4me.com includes reference to
bringing about the result desired.”          “The dis-
                                                                      www.cpeforme.com.
trict court must make a determination in each case
whether there is a realistic possibility that the con-     2. with respect to Defendant Malatesta, preparing or
                                         FN13
temnor will comply with the order.”            Appro-        assisting in the preparation of FOIA and Privacy
priate sanctions for civil contempt include: (1) a co-       Act requests and IMF/BMF decoding through the
ercive fine; (2) a compensatory fine; (3) attorney's         website www.cpe4me.com;
                                                FN14
fees and costs; and (4) coercive incarceration.
                                                           3. providing form letters on www.eddiekahn.com
         FN10. McGregor, 206 F.3d at 1385 n. 5.              for persons to complete and send to the IRS in re-
                                                             sponse to IRS letters;
         FN11. Citronelle-Mobile Gathering, Inc. v.
         Watkins, 943 F.2d 1297, 1304 (11th                4. continuing to promote or advertise abusive tax
         Cir.1991) (“Sanctions may be imposed to             schemes      on    www.eddiekahn.com        and
         coerce the contemnor to comply with the             www.taxtruthnews.com;
         court's order, but may not be so excessive
         as to be punitive in nature.”); United States     5.      falsely advising through postings on
         v. City of Miami, 195 F.3d 1292, 1298                  www.eddiekahn.com and www.taxtruthnews.com
         (11th Cir.1999) (“[A] District Court may               that individuals are not required to file a federal
         not use the civil contempt power to impose             tax return or pay federal taxes; and
         what amounts to a criminal contempt sanc-
         tion.”).                                          *3 6. failing to provide to the Government any re-
                                                             cords in their possession or to which they have
         FN12. United States v. United Mine Work-            access identifying the members of ARL/GLGM
         ers of America, 330 U.S. 258, 304, 67               or the persons who have purchased their abusive
         S.Ct. 677, 91 L.Ed. 884 (1947).                     tax shelters, plans, arrangements, or programs.

         FN13. In re Lawrence, 279 F.3d 1294,
         1300 (11th Cir.2002).                                        A. www.eddiekahnoverseer.org,
                                                                   www.eddiekahn.com, www.glgm.org, and
         FN14. Watkins, 943 F.2d at 1304.                                 www.taxtruthnews.com

                                                           As     of    the     writing     of    this   Order,
                     Discussion                            www.eddiekahnoverseer.org has ceased to be a val-
                                                           id web-address. The website www.eddiekahn.com
The Government cites the following conduct on the
                                                           continues to exist; however, its entire content, in-
part of the Defendants as being contumacious of the
                                                           cluding the form letters to the IRS, has been re-
Court's lawful injunctive order:
                                                           moved and replaced with a brief explanation of the
1. failing to “prominently and conspicuously dis-          pending litigation, the first page of the injunction,
  play” the injunctive order on the first page of the      and links to the other pages of the injunction. The
  websites: www.eddiekahn.com, www.glgm.org,               site www.glgm.org contains a similar display of the




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    6:08-cv-03760-GRA               Date Filed 09/25/09      Entry Number 22-3            Page 72 of 94
                                                                                                      Page 5
Not Reported in F.Supp.2d, 2004 WL 1089116 (M.D.Fla.), 93 A.F.T.R.2d 2004-1926, 17 Fla. L. Weekly Fed. D 759
(Cite as: 2004 WL 1089116 (M.D.Fla.))




injunctive order, but also contains a link to the site's    The Court finds by clear and convincing evidence
pre-injunction content. The Court finds that                that Defendant Bryan Malatesta is currently in viol-
www.eddiekahn.com and www.glgm.org are in com-              ation of multiple provisions of the injunctive order.
pliance with a reasonable interpretation of the in-         First, Malatesta has failed to produce to the Gov-
junctive order.                                             ernment any records in his possession or to which
                                                            he has access identifying the members or customers
The     Court      also     finds,     however,     that    of ARL/GLGM. Second, Malatesta has failed to
www.taxtruthnews.com is not compliant. This site            prominently and conspicuously display the injunct-
has remained essentially unchanged since these              ive order on the first page of his website,
proceedings were commenced. The injunctive order            www.cpe4me.com. Third, Malatesta continues to
is not displayed on any page, and the website con-          prepare or assist in the preparation of FOIA and
tinues to make available to its paying members the          Privacy Act requests through www.cpe4me.com,
“Tax Truth Newsletter”-a bi-weekly, online news-            and, in particular, through the “online FOIA gener-
letter containing descriptions of numerous, often           ator” available on that website. Fourth, Malatesta
fraudulent, schemes designed to avoid paying taxes.         continues to prepare or assist in the preparation of
Most, if not all, of the articles are devoted to the ex-    IMF/BMF decoding through www.cpe4me.com.
ploits of Defendant Eddie Kahn and ARL/GLGM
and their interaction with the IRS. In fact, the site       *4 The Government has submitted convincing evid-
boasts that it is “dedicated to bringing the latest up-     ence that Defendant Malatesta, a licensed CPA,
dates from Eddie Kahn.” Until very recently, the            entered into an arrangement whereby, in exchange
main page of www.taxtruthnews.com displayed a               for compensation, he permitted ARL/GLGM to af-
picture of Defendant Kahn and the caption, “Never           fix his signature to documents, including more than
miss another Eddie Kahn update.” Tellingly, the             one-thousand powers of attorney, which were then
picture and caption were removed after the Govern-          transmitted by ARL/GLGM to the IRS or third
                                                                                                            FN16
ment moved for contempt.                                    parties on behalf of members or customers.
                                                            The circumstances of this arrangement suggest that,
The Government avers, perhaps correctly, that De-           at a minium, Defendant Malatesta has the right to
fendant Kahn directly or indirectly maintains and           require ARL/GLGM to produce to him any records
controls the content of www.taxtruthnews.com and            identifying those persons on whose behalf it created
uses the site as his “mouthpiece.” While this might         and transmitted documents bearing his signature.
be so, at present the Government offers little evid-        There is nothing in the record showing that Defend-
ence to establish Kahn's control. The site is re-           ant Malatesta made any effort to obtain such re-
gistered to Jeromy Shephard, a known member of              cords from ARL/GLGM. The Defendant has made
ARL/GLGM, and although the injunctive order is              no explanation of his deficiency in this regard.
broad enough to subject Mr. Shephard to its pro-
scriptions (provided he first receives proper notice),              FN16. Doc. 7, tabs 18, 22, 23, 24, 33; Doc.
Mr. Shephard has, thus far, not been the focus of                   6, at tab. 7, p. 70.
the Government's motions. Accordingly, at this
time the Government has not established by clear            The Government has also presented clear and con-
and convincing evidence that Defendant Kahn or              vincing evidence that Defendant Malatesta is in vi-
any other Defendant has the ability to bring                olation of the injunction by virtue of his control
www.taxtruthnews.com into compliance with the in-           over the website, www.cpe4me.com. Through this
junction.                                                   website, the Defendant continues to prepare or as-
                                                            sist in the preparation of FOIA and Privacy Act re-
                                                            quests and IMF/BMF decoding. In further contra-
           B. Defendant Bryan Malatesta                     diction of the clear and unambiguous terms of the




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    6:08-cv-03760-GRA            Date Filed 09/25/09       Entry Number 22-3           Page 73 of 94
                                                                                                      Page 6
Not Reported in F.Supp.2d, 2004 WL 1089116 (M.D.Fla.), 93 A.F.T.R.2d 2004-1926, 17 Fla. L. Weekly Fed. D 759
(Cite as: 2004 WL 1089116 (M.D.Fla.))




Court's order, www.cpe4me.com contains no men-                    puters known as “domain name servers”
tion of the injunction.                                           for the information needed to match the
                                                                  domain name to the IP address. A domain
Although the Defendant denies having the ability to               name is broken into several levels that tell
control www .cpe4me.com, the Government has                       the computer how to search for the match-
presented sufficient evidence that Defendant Mal-                 ing information. The “.com” of the web-
atesta is intimately involved with the maintenance                address is known as the first or top-level
and operation of this site so that he currently pos-              domain name. The address query is direc-
sesses the ability to alter the content of                        ted to the “.com” top-level domain file
www.cpe4me.com in order to bring about its com-                   zone where information about “.com” files
pliance. As late as January 15, 2004, one month be-               are located and is then directed to the file
fore the injunctive order was issued, Malatesta was               corresponding to the second-level domain
the registered owner of the domain name                           name, “cpe4me.com,” where the informa-
“cpe4me.com” and his name, email address, and                     tion is retrieved. See e.g., Thomas v. Net-
business address were listed on www.cpe4me.com                    work Solutions, Inc., 176 F.3d 500, 503-04
                                   FN17
as the site's contact information.       On January               (D.C.Cir.1999). The “www” is not technic-
21, 2004, one week before the motion for contempt                 ally a part of the domain name.
             FN18
was filed,           the contact information on
www.cpe4me.com suddenly changed. Defendant                        FN18. The Government notified the De-
Malatesta was no longer listed as the contact per-                fendants on January 21, 2004, pursuant to
son; however, the contact address remained Mal-                   Local Rule 3.01(g), of its intention to
                           FN19
atesta's business address.       As of February 26,               move for contempt. Doc. 49.
2004, the contact information on www.cpe4me.com
                                               FN20               FN19. Doc. 50, exh. C at 6.
ceased altogether to list a mailing address.
Also by that date, the registered owner of the do-
                                                                  FN20. Doc. 77, exh. A at 7.
main name “cpe4me.com” was changed to Kevin
                                               FN21
Phelps, apparently a resident of Australia.                       FN21. Doc. 72, attachment 2.
The originating servers, one of which is operated by
                       FN22
Malatesta's employer,        remained the same, and               FN22. Docs. 50, exh. A; Doc.72, attach-
Thomas Selgas continued to be listed as the admin-                ment 2. One of the named servers for the
istrative and technical contact.                                  domain name “cpe4me.com” is listed as
                                                                  “NS2.ARROWPLASTICS.COM.”              De-
        FN17. Doc. 50, exh. A at 6. A “domain                     fendant Malatesta is listed as the CPA for
        name” is a series of alphanumeric fields, or              Arrow Custom Plastics. Doc. 77 exh. B.
        “domains,” separated by periods, or “dots,”
        which corresponds to a unique Internet            The Defendant attempts to explain that, although he
        Protocol (IP) address assigned to each            owned     the    second-level     domain      name
                                                                         FN23
        computer on the Internet. The domain              “cpe4me.com,”        he never controlled the third-
                                                                                                 FN24
        name system is used because domain                level domain name, www.cpe4me.com.            In an
        names are much easier for users to remem-         attempt to further distance himself from
        ber than the numeric IP addresses to which        www.cpe4me.com and thereby establish his inabil-
        they correspond. When one types                   ity to comply, Malatesta maintains that his owner-
        “www.cpe4me.com” into a web browser,              ship of “cpe4me.com” lapsed on January 18, 2004
                                                                                                      FN25
        the computer performs an “address query”          and was subsequently transferred to Phelps.
        whereby it searches various other com-
                                                                  FN23. For a brief explanation of domain




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    6:08-cv-03760-GRA              Date Filed 09/25/09     Entry Number 22-3             Page 74 of 94
                                                                                                      Page 7
Not Reported in F.Supp.2d, 2004 WL 1089116 (M.D.Fla.), 93 A.F.T.R.2d 2004-1926, 17 Fla. L. Weekly Fed. D 759
(Cite as: 2004 WL 1089116 (M.D.Fla.))




        names see supra note 17.                          to the Government. Defendant Baxley has done
                                                          little more than make an assertion of his inability to
        FN24.     Malatesta       claims     that         comply, which is insufficient to avoid compliance
        www.cpe4me.com      is   controlled   by          with the injunction.
        someone he refers to only as “witness 2.”
        Doc. 72.                                                   FN26. Doc. 8, at tab 24, Doc. 5, at tab 4.
                                                                   On October 24, 2003, an administrative
        FN25. Curiously, http://cpe4me.com's only                  law judge disbarred Defendant Baxley
        content continues to read “Preliminary In-                 from practicing law before the IRS. See
        junction Issued to Bryan Malatesta” even                   Doc. 5, at tab 5. The judge found by clear
        though the Defendant swears that he no                     and convincing evidence that Baxley com-
        longer controls this site.                                 mitted fourteen counts of misconduct cen-
                                                                   tering around his filing of frivolous claims
*5 The Court is not persuaded. Indeed, the Court
                                                                   and pleadings on behalf of his clients. Sim-
finds the Defendant's explanation incredible and
                                                                   ilarly, in 1996, Judge Paul of the Northern
unsubstantiated. For one thing, the “www” part of a
                                                                   District of Florida imposed Rule 11 sanc-
web-address is not technically part of a domain
                                                                   tions against Baxley for filing frivolous
name, and it certainly does not have to be registered
                                                                   pleadings in a matter involving the IRS.
along with the second-level domain name. More
                                                                   Nutt       v.    United      States,     No.
importantly, it is clear from the information once
                                                                   1:96-cv-96-MMP, 1996 WL 741592
displayed on www.cpe4me.com that Malatesta has
                                                                   (N.D.Fla. Oct.7, 1996).
some degree of control over its content. Consider-
ing the totality of the evidence, it is apparent that              FN27. Doc. 2, at tab 13; Docs. 5-8, at tabs
the Defendant has done little more than attempt to                 4, 7, 8, 18, 22-25, & 31. Defendant Eddie
avoid the proscriptions of the injunction by mask-                 Kahn characterized the compensation Bax-
ing his control of this website.                                   ley and Malatesta received in this arrange-
                                                                   ment as “gifts.” Doc. 6, at tab. 7 p. 70.
          C. Defendant Milton Baxley II
                                                                 D. Defendant David Stephen Lokietz
The Government has presented clear and convin-
cing evidence that Defendant Baxley, a licensed at-       Defendant Lokietz admits that he was the
        FN26
torney,        entered into an arrangement with           “Executive Trustee and General Manager” of ARL,
ARL/GLGM similar to the arrangement between               a purported trust. In his affidavit he states that on
ARL/GLGM and Defendant Malatesta. Like Mal-               December 18, 2003, days after the complaint and
atesta's arrangement, Baxley received compensation        motion for preliminary injunction were filed, ARL
for permitting ARL/GLGM to affix his signature to         was dissolved by unanimous decision of the trust-
documents, including over one-thousand powers of                                   FN28
                                                          ees and ceased to exist.       According to the De-
attorney, which were then transmitted by ARL/             fendant, all of ARL's records were then transferred
GLGM to the IRS and third parties on behalf of                                                            FN29
                        FN27                              to Defendant Eddie Kahn, the head of GLGM.
members or customers.          At a minimum, De-          He relies on these events as demonstrating his
fendant Baxley has the actual or implied contractual      present inability to comply with the injunctive or-
right to require ARL/GLGM to produce to him the           der. However, inability to comply is not a defense
names of those persons on whose behalf it created         to contempt if, as the Court finds to be the case
and transmitted documents bearing his signature.          with Defendant Lokietz, the inability was self-
To date, Baxley has not produced any such records                                                     FN30
                                                          imposed in an effort to avoid compliance.          By




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    6:08-cv-03760-GRA               Date Filed 09/25/09      Entry Number 22-3            Page 75 of 94
                                                                                                      Page 8
Not Reported in F.Supp.2d, 2004 WL 1089116 (M.D.Fla.), 93 A.F.T.R.2d 2004-1926, 17 Fla. L. Weekly Fed. D 759
(Cite as: 2004 WL 1089116 (M.D.Fla.))




law, the Defendant was required to make all reason-         language of the injunction which requires the pro-
able efforts to gain access to the ARL member re-           duction of not only the GLGM member list, but
cords and thereby accomplish compliance. Defend-            also ARL's member list. Further, the injunction un-
ant Lokietz has not done so.                                ambiguously calls for the production of the identit-
                                                            ies of persons who have purchased the Defendant's
         FN28. Doc. 65.                                     abusive tax shelters, plans, arrangement, and pro-
                                                            grams. This means that Defendant Kahn must pro-
         FN29. Doc. 82, at 50.
                                                            duce to the Government any records in his posses-
         FN30. Pesaplastic, C.A., 799 F.2d at 1521;         sion or to which he has access identifying those
         In re Lawrence, 279 F.2d at 1300.                  persons who, regardless of their affiliation vel non
                                                            with ARL/GLGM, purchased or for whom was pre-
                                                            pared a corporation sole, UCC financing statements
              E. Defendant Eddie Kahn                       or other related documents, draft checks or bonds,
                                                            FOIA or Privacy Act requests, TIGTA complaints,
Defendant Kahn is the self-described “Presiding
                                                            IMF/BMF decoders, or any other correspondence to
Overseer” of GLGM, a purported corporation sole,
                                                            the IRS or third parties regarding a member's or
and the “Executive Trustee” of ARL, a purported
       FN31                                                 customer's tax matters. To date, the Defendant has
trust.        The Defendant initially refused to com-
                                                            produced no such list and given no valid excuse for
ply with the injunction, flippantly conditioning his
                                                            his non-performance.
compliance on the Government's ability to produce
a “notice of acceptance” evidencing its jurisdiction
                      FN32
over his property.          It was only after the De-                           Conclusion
fendant's frivolous jurisdictional argument was con-
futed and the Government's ensuing motion for               Accordingly, upon due consideration, it is adjudged
contempt was filed that the Defendant submitted his         that the Government's Motion for Show Cause Or-
                                 FN33                       der (Doc. 47) is GRANTED, and the following Or-
first certificate of compliance.       In this certific-
ate, the Defendant swore that, despite the fact that        der to Show Cause is hereby issued to Defendants
he had yet to produce any ARL/GLGM member-                  Bryan Malatesta, Milton Baxley II, David Lokietz,
                                                                             FN35
ship records, he was in compliance with the injunc-         and Eddie Kahn.
tion. It was not until the contempt hearing that he
                                                                    FN35. Because the Government has pro-
finally produced a compact disc containing, or at
                                                                    duced insufficient evidence that Defendant
least purporting to contain, the GLGM member list.
                                                                    Kookie Kahn, Defendant Eddie Kahn's
The Defendant explained his tardiness as “simply
                FN34                                                wife, is currently in violation of the injunc-
inadvertent.”
                                                                    tion, she is not subject to the Order to
         FN31. Doc. 82, at 40; Doc. 6, at tab 7.                    Show Cause.

         FN32. Doc. 35.
                                                                        ORDER TO SHOW CAUSE
         FN33. Doc. 63.
                                                            Defendant Bryan Malatesta is ORDERED to show
         FN34. Doc. 82 at 34.                               cause by sworn written pleading within ten (10)
                                                            days of the date of this Order why he should not be
*6 However, the Defendant's state of mind is irrel-         adjudicated in contempt of this Court's injunctive
evant to these proceedings. Moreover, production            order (Doc. 29) for:
of the GLGM member list is not sufficient to com-
plete compliance with the clear and unambiguous             1. failing to produce to the Government any records




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    6:08-cv-03760-GRA              Date Filed 09/25/09      Entry Number 22-3             Page 76 of 94
                                                                                                      Page 9
Not Reported in F.Supp.2d, 2004 WL 1089116 (M.D.Fla.), 93 A.F.T.R.2d 2004-1926, 17 Fla. L. Weekly Fed. D 759
(Cite as: 2004 WL 1089116 (M.D.Fla.))




in his possession or to which he has access identify-      this Court's injunctive order (Doc. 29) for:
ing by name, Social Security numbers, and address
the members or customers of ARL/GLGM, in par-              1. failing to produce to the Government any records
ticular, those members or customers on whose be-           in his possession or to which he has access identify-
half his signature was used;                               ing by name, Social Security numbers, and address
                                                           the member or customers of ARL/GLGM;
2. failing to prominently and conspicuously display
a complete copy of the injunctive order (Doc. 29)          2. failing to produce to the Government any records
on the first page of the website www.cpe4me.com or         in his possession or to which he has access identify-
                       FN36                                ing by name, Social Security numbers, and address
www.cpeforme.com;
                                                           persons who, regardless of their affiliation vel non
         FN36. The Court has found that the man-           with ARL/GLGM, purchased or for whom was pre-
         ner in which the injunction is displayed on       pared a corporation sole, UCC financing statements
         www.eddiekahn.com and www.glgm.org,-              or other related documents, draft checks or bonds,
         prominently and conspicuously displaying          FOIA or Privacy Act requests, TIGTA complaints,
         the complete first page of the injunction on      IMF/BMF decoders, or any other correspondence to
         the first page of the site together with links    the IRS or third parties regarding a member's or
         to the remaining pages of the injunction-is       customer's tax matters.
         adequate to achieve compliance.
                                                           FURTHER, Defendant Eddie Ray Kahn is
3. preparing or assisting in the preparation of FOIA       ORDERED to show cause by sworn written plead-
and Privacy Act requests on behalf of other persons        ing within ten (10) days of the date of this Order
or    entities   through      www.cpe4me.com       or      why he should not be adjudicated in contempt of
www.cpeforme.com, and, in particular, through the          this Court's injunctive order (Doc. 29) for:
online FOIA generator available on that site; and
                                                           1. failing to produce to the Government any records
4. preparing or assisting in the preparation of docu-      in his possession or to which he has access identify-
ments purporting to decode IRS files through               ing by name, Social Security numbers, and address
www.cpe4me.com or www.cpeforme.com.                        members or customers of ARL; and

FURTHER, Defendant Milton Hargraves Baxley II              2. failing to produce to the Government any records
is ORDERED to show cause by sworn written                  in his possession or to which he has access identify-
pleading within ten (10) days of the date of this Or-      ing by name, Social Security numbers, and address
der why he should not be adjudicated in contempt           persons who, regardless of their affiliation vel non
of this Court's injunctive order (Doc. 29) for failing     with ARL/GLGM, purchased or for whom was pre-
to produce to the Government any records in his            pared a corporation sole, UCC financing statements
possession or to which he has access identifying by        or other related documents, draft checks or bonds,
name, Social Security numbers, and address the             FOIA or Privacy Act requests, TIGTA complaints,
members or customers of ARL/GLGM, in particu-              IMF/BMF decoders, or any other correspondence to
lar, those members or customers on whose behalf            the IRS or third parties regarding a member's or
his signature was used.                                    customer's tax matters.

*7 FURTHER, Defendant David Stephen Lokietz is             FURTHER, the Government shall have ten (10)
ORDERED to show cause by sworn written plead-              days from the date of the filing of the individual
ing within ten (10) days of the date of this Order         Defendants' responses, if any, in which to reply.
why he should not be adjudicated in contempt of            The Court will then enter its ruling.




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    6:08-cv-03760-GRA             Date Filed 09/25/09      Entry Number 22-3          Page 77 of 94
                                                                                                     Page 10
Not Reported in F.Supp.2d, 2004 WL 1089116 (M.D.Fla.), 93 A.F.T.R.2d 2004-1926, 17 Fla. L. Weekly Fed. D 759
(Cite as: 2004 WL 1089116 (M.D.Fla.))




IT IS SO ORDERED.                                         IT IS SO ORDERED.

                                                          M.D.Fla.,2004.
                      ORDER                               U.S. v. Kahn
                                                          Not Reported in F.Supp.2d, 2004 WL 1089116
This case is before the Court for consideration of
                                                          (M.D.Fla.), 93 A.F.T.R.2d 2004-1926, 17 Fla. L.
the Government's Request for Entry of Default
                                                          Weekly Fed. D 759
(Doc. 58) against the pro se Defendants Eddie
Kahn, Kathleen Kahn, David Lokietz, Bryan Mal-            END OF DOCUMENT
atesta, American Rights Litigators, Guiding Light
of God Ministries, and Eddie Kahn & Associates
for their failure to timely answer the complaint.
Rule 55(a) of the Federal Rules of Civil Procedure
provides for the entry of default when “a party
against whom a judgment for affirmative relief is
sought has failed to plead or otherwise defend as
provided by these rules.”

The entry of default is viewed with disfavor in the
                  FN1
Eleventh Circuit.       Instead, there is a strong
policy of determining cases upon their merit. Upon
reviewing the record, the Court finds that the entry
of default is not warranted at this time. However,
the Defendants will be directed to answer the Gov-
ernment's complaint.

        FN1. In re Worldwide Web Sys. Inc., 328
        F.3d 1291, 1295 (11th Cir.2003); Florida
        Physician's Ins. Co. v. Ehlers, 8 F.3d 780,
        783 (11th Cir.1993).

*8 Accordingly, upon due consideration, it is ad-
judged that:

(1) the Government's Request for Entry of Default
(Doc. 58) is DENIED; and

(2) Defendants Eddie Kahn, Kathleen Kahn, David
Lokietz, Bryan Malatesta, American Rights Litigat-
ors, Guiding Light of God Ministries, and Eddie
Kahn & Associates are directed to answer the com-
plaint within ten (10) days from the date of this Or-
der. The Defendants' answers must be in accord-
ance with the applicable provisions of Rules 7-16
of the Federal Rules of Civil Procedure and Rule
1.05 of the Local Rules of the Middle District of
Florida.




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6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-3   Page 78 of 94


                                                                              3
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-3   Page 79 of 94
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-3   Page 80 of 94


                                                                              2
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-3   Page 81 of 94
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-3   Page 82 of 94
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-3   Page 83 of 94
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-3   Page 84 of 94


                                                                              4
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-3   Page 85 of 94
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-3   Page 86 of 94


                                                                              5
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-3   Page 87 of 94
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-3   Page 88 of 94
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-3   Page 89 of 94
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-3   Page 90 of 94
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-3   Page 91 of 94
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-3   Page 92 of 94
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-3   Page 93 of 94
6:08-cv-03760-GRA   Date Filed 09/25/09   Entry Number 22-3   Page 94 of 94
